               Declaration of James F. Hasson – Volume 2




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 1 of 216
                      EXHIBIT F




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 2 of 216
                                                                                                                     Developmental Psychology                                                                                                         © 2016 American Psychological Association
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                                                                                                                                    Peer Influence on Gender Identity Development in Adolescence
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                                                                                                                                                    During adolescence, gender identity (GI) develops through a dialectic process of personal reflection and
                                                                                                                                                    with input from the social environment. Peers play an important role in the socialization of gendered
                                                                                                                                                    behavior, but no studies to-date have assessed peer influences on GI. Thus, the goal of the present study
                                                                                                                                                    was to examine peer influences on four aspects of adolescents’ GI in racially and ethnically diverse 7th-
                                                                                                                                                    and 8th-grade students (N ⫽ 670; 49.5% boys, M age ⫽ 12.64) using a longitudinal social network
                                                                                                                                                    modeling approach. We hypothesized stronger peer influence effects on between-gender dimensions of
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                                                                                                                                                    GI (intergroup bias and felt pressure for gender conformity) than on within-gender dimensions of GI
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                                                                                                                                                    (typicality and contentedness). Consistent with expectations, we found significant peer influence on
                                                                                                                                                    between-gender components of GI–intergroup bias among 7th and 8th graders as well as felt pressure for
                                                                                                                                                    gender conformity among 8th graders. In contrast, within-gender components of GI showed no evidence
                                                                                                                                                    of peer influence. Importantly, these peer socialization effects were evident even when controlling for
                                                                                                                                                    tendencies to select friends who were similar on gender, gender typicality, and contentedness (8th graders
                                                                                                                                                    only). Employing longitudinal social network analyses provides insights into and clarity about the roles
                                                                                                                                                    of peers in gender development.

                                                                                                                                                    Keywords: gender identity, peer influence, social network analysis, stochastic actor-based modeling,
                                                                                                                                                    adolescence

                                                                                                                                                    Supplemental materials: http://dx.doi.org/10.1037/dev0000200.supp




                                                                                                                        Although gender development has been a focus of adolescent                           are related to social and psychological adjustment outcomes (e.g.,
                                                                                                                     research for many years, much of this research has been concen-                         Carver, Yunger, & Perry, 2003; Smith & Leaper, 2006).
                                                                                                                     trated on the development of gender stereotypes or attitudes (see                          As adolescents consolidate their identities, questions about GI
                                                                                                                     Ruble, Martin, & Berenbaum, 2006, for a review) rather than                             become relevant to their emerging sense of self and peer experi-
                                                                                                                     changes in gender-related self-concepts. However, in 2001, with                         ences may influence how youth think about and experience aspects
                                                                                                                     the introduction of a multidimensional view and measure of gender                       of GI. Individual differences in GI self-concepts emerge through
                                                                                                                     identity (GI) by Egan and Perry (2001), research on GI flourished.                      an increased capacity for making social comparisons (Ruble &
                                                                                                                     This model posits that young children develop a single component                        Dweck, 1995) and due to pressure from parents or peers to con-
                                                                                                                     of GI—membership knowledge—and by middle childhood, they                                form to gender norms (Yunger, Carver, & Perry, 2004). Although
                                                                                                                     develop four additional self-concepts, all of which comprise the                        some attention has been paid to the role of peers in gender typing
                                                                                                                     construct of GI: gender typicality, gender contentedness, inter-                        (Jewell & Brown, 2014; Smith & Leaper, 2006) and sexism
                                                                                                                     group bias, and felt pressure to conform to gender norms. Once                          (Leaper & Brown, 2008), and theoretical arguments have been
                                                                                                                     reaching adolescence, normative changes occur in these four di-                         made about the importance of peers in influencing gender devel-
                                                                                                                     mensions of GI, and individual differences in these aspects of GI                       opment (Leaper & Friedman, 2007; Maccoby, 1998; Harris, 1995),
                                                                                                                                                                                                             to our knowledge, no studies have empirically tested peer influ-
                                                                                                                                                                                                             ence on dimensions of GI. This gap is surprising given a large
                                                                                                                                                                                                             number of studies documenting the potent role of peer influence on
                                                                                                                        This article was published Online First September 1, 2016.
                                                                                                                                                                                                             adolescent socioemotional and behavioral development (for re-
                                                                                                                        Olga Kornienko, Department of Psychology, Arizona State University;                  views, see Brechwald & Prinstein, 2011; Dishion & Tipsord, 2011;
                                                                                                                     Carlos E. Santos, Counseling and Counseling Psychology, Arizona State                   Veenstra, Dijkstra, Steglich, & Van Zalk, 2013).
                                                                                                                     University; Carol Lynn Martin and Kristen L. Granger, T. Denny Sanford                     We address this gap by examining peer influence on GI in
                                                                                                                     School of Social and Family Dynamics, Arizona State University.                         adolescent friendship networks. Because GI is, by definition, an
                                                                                                                        This research was supported in part by funds provided by the T. Denny                evolving aspect of the self, its development needs to be considered
                                                                                                                     Sanford School of Social Dynamics at Arizona State University as part of                using longitudinal designs (Egan & Perry, 2001). When examining
                                                                                                                     the Lives of Girls and Boys Research Enterprise (http://lives.clas.asu.edu/).           the role that friendship networks play in contributing to changes in
                                                                                                                     We thank the graduate and undergraduate students who contributed to this
                                                                                                                                                                                                             GI self-concepts, it is particularly important to control for how
                                                                                                                     project and the students, teachers, principal, staff, and parents for their
                                                                                                                     participation. We are grateful for the helpful comments regarding analyses
                                                                                                                                                                                                             adolescents initially select their friends (to prevent inflated esti-
                                                                                                                     provided by David R. Schaefer.                                                          mates of peer influence; Snijders, van den Bundt, & Steglich,
                                                                                                                        Correspondence concerning this article should be addressed to Olga                   2010). In other words, do friends become similar to one another on
                                                                                                                     Kornienko, Department of Psychology, Arizona State University, P.O. Box                 dimensions of GI over the course of their friendships (influence),
                                                                                                                     871104, Tempe, AZ 85287-1104. E-mail: olga.kornienko@asu.edu                            or does this similarity between adolescents and friends result from

                                                                                                                                                                                                      1578


                                                                                                                              Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 3 of 216
                                                                                                                                                                      PEER INFLUENCE ON GENDER IDENTITY                                                      1579

                                                                                                                     adolescents preferring to befriend others with similar levels of GI     ality traits (Egan & Perry, 2001). Additionally, as children grow
                                                                                                                     self-concepts (selection)? Answering the former question requires       older, peers take on even greater importance in their social lives
                                                                                                                     also considering the latter, and involves employing longitudinal        (Harris, 1995), and peer group comparisons may begin to contrib-
                                                                                                                     designs to study the changes in GI dimensions and friendship            ute to feelings of typicality. Another, albeit less studied, aspect of
                                                                                                                     networks. Because we are interested in examining contributions of       GI is gender contentedness, which describes the degree to which
                                                                                                                     a broader network of social relationships (i.e., multiple friends of    one feels positive toward one’s gender group. Gender contented-
                                                                                                                     the focal individual, friends of friends, etc.; for a review, see       ness is more likely to occur when children are happy with their
                                                                                                                     Veenstra et al., 2013), we do not restrict our examination to best      gender (Carver, Yunger, & Perry, 2003; Egan & Perry, 2001).
                                                                                                                     friendships, which are commonly a focus of developmental re-            These within-gender aspects of GI appear to be positively related
                                                                                                                     search (for reviews, see Gifford-Smith & Brownell, 2003; Bagwell        with psychological adjustment, social skills, and peer acceptance
                                                                                                                     & Schmidt, 2011). Accordingly, we use longitudinal social net-          (Carver et al., 2003; Smith & Leaper, 2006; Yunger et al., 2004).
                                                                                                                     work analysis (SNA) methods that have been developed to disen-             Regarding between-gender dimensions of GI, felt pressure for
                                                                                                                     tangle peer influence from confounding processes of network             gender conformity captures the extent to which children feel pres-
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                                                                                                                     selection (Snijders et al., 2010). Thus, the main objective of this     sure from parents, peers or themselves to conform to gender norms
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                                                                                                                     study is to examine the role of peer influence on changes in            (Egan & Perry, 2001). For instance, this dimension addresses
                                                                                                                     dimensions of adolescent GI. We also describe the role of gender        pressures not to behave in cross-gender ways (e.g., for a girl,
                                                                                                                     and GI for network selection (who adolescents select as friends)        “Other kids, who are girls like me, would get upset if someone
                                                                                                                     and explore gender differences in the magnitude of influence on GI      who is a girl acts like a boy”). Finally, intergroup bias describes
                                                                                                                     self-concepts.                                                          the extent to which youth tend to associate more positive and fewer
                                                                                                                                                                                             negative traits to their own gender group compared with the other
                                                                                                                            Development of Multiple Dimensions of GI                         gender (Powlishta, 1995; Yee & Brown, 1992; Zosuls, Miller,
                                                                                                                                                                                             Ruble, Martin, & Fabes, 2011). These between-gender GI dimen-
                                                                                                                        The Egan and Perry (2001) model of GI consists of five com-          sions operate through magnification of gender differences and
                                                                                                                     ponents, including: self-identification (typically as ‘female’ or       expanded stereotype use (Powlishta, 1995), and can translate into
                                                                                                                     ‘male,’ though it is plausible for a young person to identify outside   challenges with peer relations and can potentially result poor
                                                                                                                     of the gender binary, and less is known about how such identifi-        psychological adjustment (Carver et al., 2003; Smith & Leaper,
                                                                                                                     cation might alter GI development), gender typicality (the degree       2006; Yunger et al., 2004).
                                                                                                                     to which one feels as a typical member of one’s gender group),
                                                                                                                     gender contentedness (the degree to which one is happy with one’s
                                                                                                                     gender group), felt pressure for gender conformity (the degree to          The Role of Peer Context and Peer Influence for
                                                                                                                     which one feels pressure from parents, peers, and self for confor-                 Development of GI Dimensions
                                                                                                                     mity to gender stereotypes), and intergroup bias (the extent to
                                                                                                                     which one believes one’s own gender is superior to the other;              Although peers are theorized to have a major impact on chil-
                                                                                                                     Carver et al., 2003). After achieving self-identification early in      dren’s gender development (Bussey & Bandura, 1999; Maccoby,
                                                                                                                     life, the four remaining dimensions involve adolescents making          1998), few studies have tested their influence, and the few that
                                                                                                                     global, summary judgments about themselves and others, which            have, focused on gendered behaviors such as interests and activi-
                                                                                                                     are constructed through a dialectical process involving personal        ties among preschool children (see Martin & Fabes, 2001; Martin
                                                                                                                     reflection and input from the social environment (Yunger et al.,        et al., 2013). No research has examined peer influence on GI
                                                                                                                     2004). Research has shown that GI dimensions are relatively stable      development in adolescents. However, existing research has illus-
                                                                                                                     but undergo changes (Priess, Lindberg, & Hyde, 2009; Yunger et          trated links between GI and peer relationships. For instance, stud-
                                                                                                                     al., 2004). It is also useful to distinguish between-gender and         ies have revealed how aspects of GI are associated with various
                                                                                                                     within-gender facets of GI (Pauletti, Cooper, & Perry, 2014), such      dimensions of peer relations including peer popularity, acceptance,
                                                                                                                     that intergroup bias and felt pressure focus more on how an             teasing, and victimization. Specifically, youth who describe them-
                                                                                                                     individual relates to the other gender, typicality and contentedness    selves as being gender typical and being content with their gender
                                                                                                                     concern how an individual relates to his or her own gender. These       tend to be more accepted by, and popular with their peers, whereas
                                                                                                                     different facets find some support in the correlations among di-        adolescents who score low in gender typicality are more likely to
                                                                                                                     mensions. For both genders, typicality and contentedness are pos-       be teased by peers (Egan & Perry, 2001; Jewell & Brown, 2014;
                                                                                                                     itively related, but only for girls are intergroup bias and felt        Young & Sweeting, 2004). Adolescents who report feeling a
                                                                                                                     pressure related (also related to contentedness; Egan & Perry,          strong pressure to conform to gender norms tend to become less
                                                                                                                     2001; Carver et al., 2003).                                             accepted by their peers over time (Yunger et al., 2004). Felt
                                                                                                                        Considering within-gender GI self-concepts, gender typicality is     pressure for gender conformity has been found to mediate the
                                                                                                                     the dimension of GI that has received the largest share of empirical    relation between gender atypicality and peer victimization, under-
                                                                                                                     attention. To appraise oneself as being gender typical involves         scoring the importance of peer dynamics surrounding GI develop-
                                                                                                                     considering both the specific and more abstract features of one’s       ment for adolescent psychosocial adjustment (Drury, Bukowski,
                                                                                                                     gender to derive a global view of oneself (e.g., “Overall, I am/am      Velásquez, & Stella-Lopez, 2013). Finally, little is known about
                                                                                                                     not a good fit for my gender category”; Spence, 1985; Egan &            peer relations correlates or antecedents of gender intergroup bias.
                                                                                                                     Perry, 2001). Younger children may appraise their typicality based      However, evidence regarding gender-related biases (e.g., ho-
                                                                                                                     on their activities and playmate preferences, whereas older chil-       mophobic biases; Poteat, 2007) has documented peer contributions
                                                                                                                     dren may expand their perspectives and take into account person-        in influencing such attitudes.



                                                                                                                            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 4 of 216
                                                                                                                     1580                                         KORNIENKO, SANTOS, MARTIN, AND GRANGER


                                                                                                                        The notion that the peer context may shape emerging self-            ethnic, socioeconomic background, and other characteristics (Aboud
                                                                                                                     concepts of GI is consistent with a large body of evidence docu-        & Mendelson, 1996; Mehta & Strough, 2009; McPherson, Smith-
                                                                                                                     menting that the peer group is a potent source of influence for         Lovin, & Cook, 2001). Second, given that preference for similarity
                                                                                                                     adolescents (Brechwald & Prinstein, 2011; Dishion & Tipsord,            on gender-typed behaviors has been shown in children’s peer
                                                                                                                     2011). Adolescents spend increasingly higher amount of time in          networks (Martin et al., 2013), preferences to affiliate with friends
                                                                                                                     the company of their peers (Larson & Richards, 1991), whose             who have similar levels of GI self-concepts may also contribute to
                                                                                                                     motivational and affective salience is heightened (Parker, Rubin,       friendship network selection. The final contribution to network
                                                                                                                     Erath, Wojslawowicz, & Buskirk, 2006), making peer experiences          selection comes from structural processes describing how connec-
                                                                                                                     relevant for shaping GI. Youth may be susceptible to peer influ-        tions between individuals depend on the nature of their ties with
                                                                                                                     ence due to an increased capacity for making social comparisons         other members of a group (e.g., triad closure, or a tendency to form
                                                                                                                     (Ruble & Dweck, 1995), or due to increased peer pressure to             ties with friends of friends; Snijders et al., 2010). Triad closure, as
                                                                                                                     conform to social norms (Brechwald & Prinstein, 2011; Yunger,           well as other structural processes (i.e., reciprocity, popularity), will
                                                                                                                     Carver, & Perry, 2004). Specifically, social comparisons to own-        further amplify network selection on individual attributes, such as
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                                                                                                                     gender peers allow youth opportunities to weigh how they com-           gender and GI (Wimmer & Lewis, 2010). The consequence of
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                                                                                                                     pare to others in their gender group and change their behaviors to      these multiple, intertwined processes generating networks is that if
                                                                                                                     become more similar to perceived peer group norms. Becoming             we attempt to study peer influence on GI within a network without
                                                                                                                     more similar to peer group norms may foster a positive self-            statistically controlling for network selection processes, we are
                                                                                                                     concept (Gibbons, Gerrard, & Lane, 2003) and increase a sense of        likely to obtain inflated estimates of peer socialization effects. For
                                                                                                                     belongingness (Walton, Cohen, Cwir, & Spencer, 2012). Overall,          these reasons, SABM methods are gaining popularity in develop-
                                                                                                                     emerging mastery of social comparison (Ruble & Dweck, 1995)             mental science research focusing on peer socialization of various
                                                                                                                     combined with an increasingly rich peer environment, may lead to        outcomes (e.g., Veenstra et al., 2013).
                                                                                                                     changes in adolescent’s social and personal identities, including
                                                                                                                     GI.
                                                                                                                                                                                                                    The Present Study
                                                                                                                        Another source of peer influence on GI involves peer rewards
                                                                                                                     and punishments for gender-related behaviors. A number of stud-            Decades of research underscore the role of peers in gender
                                                                                                                     ies have illustrated that negative sanctions (or less acceptance) for   socialization, but no studies to-date have examined whether youth
                                                                                                                     certain behaviors may be directed toward adolescents who are            become more similar to their friends on dimensions of GI. Because
                                                                                                                     gender atypical or who behave in atypical ways (Horn, 2008;             GI is an evolving aspect of the self, its development needs to be
                                                                                                                     Jewell & Brown, 2014; Leaper & Brown, 2008; Lee & Troop-                considered over time; thus, our use of SABM permits estimating
                                                                                                                     Gordon, 2011). It is likely that adolescents are sensitive to mes-      changes in GI as a part of the network-behavior co-evolution,
                                                                                                                     sages from peers about gender typicality expressed through gender       which is an important methodological advantage. For each dimen-
                                                                                                                     teasing or bullying (Drury, Bukowski, Velásquez, & Stella-Lopez,        sion of GI, SABM estimates peer influence on GI while controlling
                                                                                                                     2013). Peers may also play a role in contributing to youth’s sense      for confounding processes including the effects of youth selecting
                                                                                                                     of felt pressure for gender conformity through peers’ acceptance or     peers who are similar to themselves on gender and GI dimensions,
                                                                                                                     nonacceptance of youth’s behaviors, appearance, or interests. In-       as well as network structural processes. We examined peer influ-
                                                                                                                     deed, adolescents, who felt strong pressure to conform to gender        ence on GI by using panel data on GI and friendship networks
                                                                                                                     norms, became less accepted by their peers (Yunger et al., 2004).       collected from seventh- and eighth-grade students from an ethni-
                                                                                                                     Presumably, peers may also influence each other to develop gender       cally diverse public middle school. We hypothesized that adoles-
                                                                                                                     group-related biases because these comments are likely expressed        cents would change their GI self-concepts to become similar to
                                                                                                                     overtly and can be easily overheard or observed. Although the           their friends, and that these effects would occur even when net-
                                                                                                                     evidence is limited, these studies suggest that peers express the       work selection effects were controlled. We also explored the
                                                                                                                     norms of their group and are involved in the reinforcement of           possibility of peer influence being more pronounced on certain
                                                                                                                     similar views within their group.                                       dimensions of GI rather than others, informed by the distinction
                                                                                                                                                                                             between between-gender and within-gender dimensions of GI
                                                                                                                          Contributions From SNA to the Study of Peer                        (Pauletti et al., 2014). We hypothesized stronger peer influence
                                                                                                                                                                                             effects on between-gender dimensions of GI (intergroup bias and
                                                                                                                                 Influence on GI Development
                                                                                                                                                                                             felt pressure for gender conformity) than on within-gender dimen-
                                                                                                                        Investigating peer influence on GI dimensions without control-       sions of GI (typicality and contentedness). This pattern was ex-
                                                                                                                     ling for how adolescents come to have a particular network of           pected due to the differences in salience of peer feedback and
                                                                                                                     friends (i.e., network selection) risks overestimating the impor-       social norms for the two dimensions. Specifically, we expected
                                                                                                                     tance of peer influence in GI development. Fortunately, stochastic      stronger socialization effects for between-gender dimensions be-
                                                                                                                     actor-based modeling (SABM) methods have been developed to              cause this information may be made very salient: youth may
                                                                                                                     estimate peer socialization effects while controlling for alternative   engage in discussions about the other gender collective, similar to
                                                                                                                     processes implicated in peer network selection (Snijders et al.,        how they discuss stigmatized racial groups (Kiesner, Maass,
                                                                                                                     2010). Consider the following processes linking gender and GI           Cadinu, & Vallese, 2003), which would contribute to reinforce-
                                                                                                                     self-concepts to network selection. First, developmental and social     ment and magnification of gender differences and peer socializa-
                                                                                                                     networks literatures show that homophily, or preference for similar     tion of between-gender identity self-concepts. Increased salience
                                                                                                                     others, contributes to friendship formation such that friend choices    of social categories, such as gender could occur in these peer
                                                                                                                     are driven by preferences for friends who are of the same gender,       discussions, and it is one factor that has been proposed as contrib-



                                                                                                                            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 5 of 216
                                                                                                                                                                      PEER INFLUENCE ON GENDER IDENTITY                                                       1581

                                                                                                                     uting to social stereotyping and prejudice in developmental inter-       Table 1
                                                                                                                     group theory (Bigler & Liben, 2007). We anticipated weaker               Descriptive Statistics on Sociodemographic Characteristics of
                                                                                                                     socialization effects for within-gender dimensions because these         the Sample
                                                                                                                     aspects of self-concept appear to be driven largely by private
                                                                                                                     cognitive processes comparing how adolescents view themselves                    Characteristic                 Grade 7              Grade 8
                                                                                                                     in relation to their own gender, although there may be some              Boy                                     46%                  53%
                                                                                                                     contribution by external social forces. Given the largely private        Age, M (SD)                          12.12 (0.53)         13.15 (0.52)
                                                                                                                     nature of gender typicality and contentedness, we expected these         Ethnic/racial background
                                                                                                                     aspects of GI to be less susceptible to peer influence than the other      European American                     12%                  11%
                                                                                                                                                                                                African American                      16%                  19%
                                                                                                                     two aspects of GI.                                                         Native American                        8%                   7%
                                                                                                                        A related goal of this study is to explore how peers select their       Latina/o                              57%                  56%
                                                                                                                     friends (i.e., network selection). Consistent with large literature        Other race/ethnicity                   7%                   8%
                                                                                                                     documenting gender segregation in peer groups (e.g., Maccoby,            Free/reduced lunch                      79.9%                79.2%
                                                                                                                                                                                              Generational status of parents
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                                                                                                                     1998; Mehta & Strough, 2009), we expected that adolescents
                                                                                                                                                                                                Both U.S. born                        47.2%                43.5%
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                                                                                                                     would have a tendency to select peers based on being of the same           One parent foreign born               11.7%                12.8%
                                                                                                                     gender. Because past research has documented that children prefer          Both parents foreign born             40.5%                42.2%
                                                                                                                     to affiliate with others who have similar levels of gender-typed         Languages spoken at home
                                                                                                                     activities (Martin et al., 2013), it is possible that youth may prefer     English                               37.8%                37.6%
                                                                                                                                                                                                Spanish                                3.0%                 1.6%
                                                                                                                     to form friendships with those who have similar levels of GI dimen-        English and Spanish                   54.8%                53.7%
                                                                                                                     sions (both between- and within-gender self-concepts). Given that          Other language                         4.3%                 6.7%
                                                                                                                     past research has documented that intergroup bias and felt pressure      Family structure
                                                                                                                     for gender conformity can translate into externalizing problems            Two-parent family                     63.6%                57.2%
                                                                                                                                                                                                Single-parent family                  29.8%                32.6%
                                                                                                                     and peer difficulties (Carver et al., 2003; Smith & Leaper, 2006;
                                                                                                                     Yunger et al., 2004), we anticipated that these between-gender           Note.   Each categorical variable was dummy-coded (1 ⫽ yes, 0 ⫽ no).
                                                                                                                     self-concepts would be deleterious for friendship selection dynam-
                                                                                                                     ics and thus negatively associated with the number of friendship         loca parentis of the study. All study recruitment and measurement
                                                                                                                     nominations sent out to and received from grade-mates. On the            procedures were approved by the school district and the universi-
                                                                                                                     other hand, because the same research has shown that within-             ty’s institutional review board. Rates of participation of the student
                                                                                                                     gender dimensions have positive effects on peer acceptance and           population in our study were high in any given wave by grade,
                                                                                                                     social skills, we expected that gender typicality and contentedness      ranging from 89% to 96% across waves.
                                                                                                                     would promote friendship network selection processes and be                 The present study includes all students who participated in the
                                                                                                                     associated with higher number of friendship nominations sent and         study from seventh and eighth grades between Fall 2011 and
                                                                                                                     received. Past research has documented that relative to girls, boys      Spring 2012 (i.e., Wave 2 and 3 of the larger study). Wave 1 data
                                                                                                                     endorse higher levels of some of the GI dimensions (e.g., felt           of the larger study were rendered unusable for two reasons. First,
                                                                                                                     pressure; Ruble et al., 2006); thus, as a final exploratory goal, we     the questionnaire at Wave 1 (Spring 2011) did not include the final
                                                                                                                     examine whether gender differences exist in network selection and        version of the felt pressure subscale. Second, due to another
                                                                                                                     in the magnitude of peer network influence.                              school’s closure in the district, 142 new students were added to
                                                                                                                                                                                              seventh grade (48% of total seventh-grade population at Wave 2)
                                                                                                                                                   Method                                     and 95 new students from another school were added to Grade 8
                                                                                                                                                                                              (30% of total eighth-grade population at Wave 2) during the fall of
                                                                                                                     Participants                                                             2011. Given this addition of large number of new students due to
                                                                                                                                                                                              the closing of a nearby school, the proportion of stable ties based
                                                                                                                        Participants of the present study were part of a large study          on Jaccard index between Spring 2011 (Wave 1) and Fall 11
                                                                                                                     examining longitudinal associations between identity develop-            (Wave 2) fell below 13.5%, which violates SABM assumption that
                                                                                                                     ment, psychological adjustment, friendship networks and educa-           network ties represent stable states (as opposed to brief events,
                                                                                                                     tional outcomes (Kornienko & Santos, 2014; Santos, Kornienko, &          Snijders et al., 2010). Thus, we focused on Waves 2 and 3 of the
                                                                                                                     Rivas-Drake, in press; Santos & Updegraff, 2014). This study was         larger study, and, unfortunately, also had to exclude 6 graders who
                                                                                                                     conducted at a large Title I public middle school in a southwestern      participated in Waves 2 and 3 from the current analysis because
                                                                                                                     U.S. metropolitan city, where 89.7% students were racially and           only 16% of the friendships present at both time points were
                                                                                                                     ethnically diverse, including 62.5% Latina/o students, and 85.5%         present at either one of the time points (based on Jaccard index, see
                                                                                                                     of students were eligible for a free and reduced-price lunch (see        Snijders et al., 2010). This indicates there was not enough stability
                                                                                                                     Table 1 for a more detailed description of sociodemographic              in 6th graders’ friendships to support the SABM assumption that
                                                                                                                     characteristics of this sample). All students (N ⫽ 1052) attending       friendships represent stable states. Because 19% of seventh grad-
                                                                                                                     sixth, seventh, and eighth grades were invited to participate in the     ers’ friendships and 22% of eighth graders’ friendships remained
                                                                                                                     study. Teachers introduced the study to students and parents via an      stable from Wave 2 to 3 (based on Jaccard index), the analytical
                                                                                                                     informational letter in either English or Spanish (to accommodate        sample was restricted to students from seventh and eighth grades
                                                                                                                     Spanish-speaking parents). In this letter, parents were given the        from Waves 2 and 3 of the larger study. For simplicity, they are
                                                                                                                     option to opt out of their child’s participation in the study as the     herein referred to as Wave 1 and 2 of this longitudinal network-
                                                                                                                     study used a passive consent procedure since the school served as        behavior study.



                                                                                                                            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 6 of 216
                                                                                                                     1582                                         KORNIENKO, SANTOS, MARTIN, AND GRANGER


                                                                                                                        Our analytic sample (N ⫽ 670) consisted of 330 students from         were .86 across the grades at Wave 1 and .89 at Wave 2). A higher
                                                                                                                     seventh grade and 340 students from eighth grade for whom peer          score indicates feelings that one is a typical member of their
                                                                                                                     nomination and survey data were obtained. In Wave 1, 95% of             gender category. We also adapted Egan and Perry’s gender peer
                                                                                                                     seventh graders and 96% of eighth graders completed our survey.         felt pressure scale because the original scale includes 10 items
                                                                                                                     In Wave 2, 92% of seventh graders and 94% of eighth graders             assessing felt pressure from peers as well as family. Because these
                                                                                                                     completed our survey. Considering the percentage of students who        may represent distinct sources of pressure, and because we are
                                                                                                                     participated in the study at both time-points, 84.9% of students        particularly interested in felt pressure from peers, we kept only
                                                                                                                     from seventh grade and 87.2% of students from eighth grade              four adapted items that assessed felt pressure from peers (e.g.,
                                                                                                                     completed assessments at both time points. Boys comprised 46%           “Other kids, who are girls like me, would get upset if someone
                                                                                                                     of seventh and 53% of eighth grades. The mean age for seventh           who is a girl acts like a boy”). The gender peer felt pressure scale
                                                                                                                     graders was 12.12 (SD ⫽ .53) and for eighth graders, it was 13.15       was shown to be internally consistent and reliable (Cronbach’s
                                                                                                                     (SD ⫽ .52). For each grade, we provided descriptive information         alpha’s were .75 across the grades at Wave 1 and .92 at Wave 2).
                                                                                                                     (see Table 1) on the percentage of students receiving free/reduced
                                                                                                                                                                                             The gender intergroup bias scale adapted for the present study
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                                                                                                                     lunch (school-district reported proxy for socioeconomical status),
                                                                                                                                                                                             consisted of three items (original measure consists of eight), and
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                                                                                                                     generational status of parents, languages spoken at home, and
                                                                                                                                                                                             the adapted version of this scale was shown to be internally
                                                                                                                     family structure.
                                                                                                                                                                                             consistent and reliable (Cronbach’s alpha’s were .85 across the
                                                                                                                                                                                             grades at Wave 1 and .85 at Wave 2). A higher score indicates
                                                                                                                     Procedure                                                               negative feelings toward the other gender group. In order to
                                                                                                                        All participating students completed a survey packet in their        measure gender contentedness (the degree to which one feels
                                                                                                                     classrooms. Nonparticipating students were asked to read a book         content with one’s gender group), we adapted Sellers, Smith,
                                                                                                                     or complete homework assignment during survey administration.           Shelton, Rowley, and Chavous (1998) measure of private regard (3
                                                                                                                     Student assent was obtained on the day of data collection. The          items). We did so because the items in the Sellers et al. (1998)
                                                                                                                     survey was completed in English as all students were fluent in          scale are already in Likert-format and due to similarities to the
                                                                                                                     English. Research staff read the survey aloud to the students to        Egan and Perry measure of contentedness (for a boy, e.g., “I feel
                                                                                                                     facilitate comprehension, and individual assistance was provided        good about being a boy”). In keeping with our use of Egan and
                                                                                                                     to students if needed. The survey took approximately two class          Perry’s framing, we refer hereafter to this adapted scale as gender
                                                                                                                     periods (⬃90 min) total to complete, and students responded             contentedness. The gender contentedness scale was shown to be
                                                                                                                     questions about their identity, psychological and educational out-      internally consistent and reliable (Cronbach’s alpha’s were .64
                                                                                                                     comes on Day 1, and completed friendship nominations on Day 2.          across the grades at Wave 1 and .76 at Wave 2). A higher score
                                                                                                                     To thank participants for their time, all students received a small     indicates feelings that one is content with one’s gender category.
                                                                                                                     gift (i.e., a pen and a water bottle with the school’s logo).           Because SABM requires discrete ordinal behavioral outcome vari-
                                                                                                                                                                                             ables, we recoded each of the continuous GI variables into ordinal
                                                                                                                     Measures                                                                variables. Each was recoded to four levels, using increments of 1
                                                                                                                                                                                             SD of the continuous z-score (z ⬍ ⫺1, ⫺1 ⱕ z ⬍ 0, 0 ⱕ z ⬍ 1,
                                                                                                                        GI. We developed a modification of Egan and Perry’s (2001)           z ⱖ 1; e.g., Delay, Ha, Van Ryzin, Winter, & Dishion, 2016).
                                                                                                                     measure of GI to assess the five dimensions of GI: self-                   Friendship networks. Participants received a roster listing all
                                                                                                                     identification as a member in a gender category (assessed as a          students from their grade and were asked to nominate up to 10
                                                                                                                     categorical question in the demographic section of our survey), and     friends of either gender. These friendship nomination data were
                                                                                                                     four continuous measures of GI: gender typicality (the degree to        used to construct friendship network matrices of seventh and
                                                                                                                     which one feels as a typical member of one’s gender group), felt        eighth grade students for Wave 1 and Wave 2 such that these
                                                                                                                     pressure from peers for gender conformity (the degree to which
                                                                                                                                                                                             matrices contained unilateral (i.e., A nominated B) friendship
                                                                                                                     one feels pressure from peers to conformity to gender stereotypes),
                                                                                                                                                                                             nominations that were coded in a binary fashion such that 1
                                                                                                                     and intergroup bias (the degree to which one holds negative views
                                                                                                                                                                                             denoted that a friendship tie existed between A and B, and 0
                                                                                                                     toward the other gender). In a study with a similar sample (i.e.,
                                                                                                                                                                                             indicated no tie existed between A and B.
                                                                                                                     multiethnic, 9 to 14-year-olds) conducted in the same region as the
                                                                                                                                                                                                Demographic variables. Adolescents reported their gender
                                                                                                                     present study, the Harter response format (originally used by Egan
                                                                                                                     and Perry) was shown to be confusing to children (Michaels, Barr,       (male ⫽ 1, female ⫽ 0) and race/ethnicity (dummy-coded: 1 ⫽
                                                                                                                     Roosa, & Knight, 2007), therefore, we used a Likert format to           yes, 0 ⫽ no, for the following categories: English European
                                                                                                                     assess the four continuous measures of GI with response options to      American, African American, Native American, Latina/o, Other
                                                                                                                     the items ranging from 1 (strongly disagree) to 5 (strongly agree).     Race/Ethnicity), language spoken at home (dummy-coded: 1 ⫽
                                                                                                                     In order to use a Likert scale, we also had to make minor modi-         yes, 0 ⫽ no, for the following categories: English, Spanish,
                                                                                                                     fications in the wording of the questions. For gender typicality,       both English and Spanish, and other language), family structure
                                                                                                                     questions included, for example (for girls), “I feel that I am just     (two parent ⫽ 1 vs. single parent ⫽ 0), and generational status
                                                                                                                     like all other girls” (see the appendix in the Online Supplemental      (dummy-coded: 1 ⫽ yes, 0 ⫽ no, for the following categories:
                                                                                                                     materials for all items in these scales). The gender typicality         both U.S. born, one parent foreign born, both parents foreign
                                                                                                                     adapted scale for the present study consisted of five items (original   born). The district provided data on each student’s free and
                                                                                                                     measure consists of six), and the adapted version of this scale was     reduced lunch status (a proxy for socioeconomic status, coded
                                                                                                                     shown to be internally consistent and reliable (Cronbach’s alpha’s      1 ⫽ yes, 0 ⫽ no).



                                                                                                                            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 7 of 216
                                                                                                                                                                       PEER INFLUENCE ON GENDER IDENTITY                                                        1583

                                                                                                                     Overview of Stochastic Actor-Based Modeling                               iprocity captured whether adolescents were more likely to nomi-
                                                                                                                                                                                               nate peers who had nominated them. We used geometrically
                                                                                                                        Employing SABM approach provides key advantages for the                weighted edgewise shared partners (GWESP) effects and an inter-
                                                                                                                     study of peer influence on GI dimensions because it allows for            action of GWESP and reciprocity to model triadic closure pro-
                                                                                                                     estimation of the degree of peer influence on changes in GI               cesses by assessing whether having multiple friends in common
                                                                                                                     dimensions while controlling for a host of potentially confounding        increased the likelihood of friendship formation. The indegree
                                                                                                                     processes, including (a) initial selection into friendships based on      popularity effect estimated whether students who previously re-
                                                                                                                     gender and similar levels of GI aspects and (b) network structural        ceived more nominations were more likely to receive additional
                                                                                                                     processes (e.g., reciprocity and popularity).                             nominations over time. The indegree activity effect estimated
                                                                                                                        Model overview. The SABM consists of two submodels that                whether students who received more nominations were more likely
                                                                                                                     are simultaneously estimated (Snijders et al., 2010). The network         to send out a greater number of nominations. Finally, the outde-
                                                                                                                     submodel tests the likelihood of friendship ties between adoles-          gree activity effect estimated whether students who previously sent
                                                                                                                     cents based on various network selection processes. The behavior          out a higher number of ties were more likely to subsequently send
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                                                                                                                     submodel captures effects related to changes in GI over time. The         many ties. We used a square-root transformation of these activity
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                                                                                                                     model estimates changes between the observed networks using a             and popularity effects to give greater weight to differences in
                                                                                                                     continuous-time Markov process that allows for a sequence of a            popularity and activity at low versus high levels. The network
                                                                                                                     large number of unobserved microsteps to be taken between ob-             function also included effects for outdegree, which controlled for
                                                                                                                     servation points (one network tie or a behavior can be changed in         the number of ties. Finally, network rate effect represented net-
                                                                                                                     one microstep). An evaluation function describes the “rules” that         work change opportunities.
                                                                                                                     guide actors’ decisions, which are the model parameters for the              Turning to the behavior submodel, we tested two effects that
                                                                                                                     hypothesized selection and influence effects. A rate function de-         represent feedback on the four dimensions of GI. The linear shape
                                                                                                                     termines how many opportunities for change occurs between                 effect expresses the basic tendency toward higher or lower values
                                                                                                                     waves. Model estimation uses a method of moments procedure to             of GI, whereas the quadratic shape effect allows for the self-
                                                                                                                     estimate parameters. This procedure calculates summary statistics         reinforcement of GI that can result in a bimodal distribution of GI.
                                                                                                                     based on the effects included in the model. These statistics are          We then estimated the peer influence effect on each of the four GI
                                                                                                                     counts that represent various network structures, such as the num-        dimensions using total similarity effect. This effect predicts
                                                                                                                     ber of gender homophilous dyads, observed at Time 2 (for details,         changes in GI based upon how similar an adolescent’s GI is to the
                                                                                                                     see Snijders, Steglich, & Schweinberger, 2007). The goal during           total levels of GI across all of his or her friends. A positive effect
                                                                                                                     estimation is to identify parameter values that allow the model to        indicates that changes in GI bring an adolescent closer to his or her
                                                                                                                     produce networks whose summary statistics match those observed            friends’ level of GI. This effect is weighted by the total number of
                                                                                                                     in the data (i.e., at Time 2). The estimation algorithm reaches           friends, and thus it considers the overall level of a particular aspect
                                                                                                                     convergence when t statistics representing deviations between the         of GI in a friendship network. Lastly, for each of GI dimensions,
                                                                                                                     observed and model-implied networks are less than 0.1 for each            the models included distinct rates representing behavior change
                                                                                                                     model parameter and less than 0.25 across all of the model pa-            opportunities.
                                                                                                                     rameters. Model parameters are tested for significance based on a
                                                                                                                     t-ratio (estimate divided by the standard error).                                                       Results
                                                                                                                        Model effects. With respect to the SABM specification, for
                                                                                                                     the network submodel, we considered three types of effects on
                                                                                                                                                                                               Descriptive Analyses
                                                                                                                     network selection for each of the four dimensions of GI. The GI
                                                                                                                     ego effect estimates the effect of GI (e.g., typicality, felt pressure)      For each grade, we present descriptive statistics for the sample
                                                                                                                     on an adolescent’s tendency to nominate others as friends. A              in Table 1. Zero-order correlations among GI dimensions are
                                                                                                                     positive effect would indicate that adolescents with greater levels       presented for each grade by gender in Table 2. Results indicated
                                                                                                                     of GI nominated more friends over time. The GI alter effect               relative stability in GI dimensions from Time 1 to 2: significant
                                                                                                                     describes how GI affects adolescents’ likelihood of receiving nom-        and positive correlations were found between Waves 1 and 2 for
                                                                                                                     inations from peers. A positive effect would indicate that adoles-        gender typicality, intergroup bias, felt pressure, and contentedness,
                                                                                                                     cents with higher levels of GI (e.g., typicality, felt pressure) were     for both boys and girls from seventh and eighth grades. Correla-
                                                                                                                     more likely to be nominated as friends by their peers. In our             tions across GI dimensions are presented for each grade and by
                                                                                                                     preliminary models, we also considered alter squared effect that          gender in Table 2. Results reveal relatively low but significant
                                                                                                                     accounts for nonlinearity in the associations between GI dimen-           associations and somewhat similar patterns across the two grades.
                                                                                                                     sions and incoming friendship ties; however, these effects were not          To examine gender differences in GI dimensions, we used
                                                                                                                     significant and thus were omitted from the final models. The GI           independent samples t tests and reported Cohen’s d values, which
                                                                                                                     similarity effect estimates the tendency of adolescents to nominate       assessed the magnitude of mean-level differences in GI dimen-
                                                                                                                     friends who have similar levels of respective GI self-construct           sions that is attributable to each gender (Cohen, 1988; Table 3).
                                                                                                                     (measured by their absolute difference). A positive effect of GI          For seventh graders, results showed gender differences at Waves 1
                                                                                                                     similarity would mean that adolescents were more likely to form           and 2 in typicality, intergroup bias, and felt pressure. Specifically,
                                                                                                                     friendships among peers with similar levels of GI. Additionally,          at both waves, boys reported feeling more gender typical and
                                                                                                                     we estimated the effect of similarity on gender and ethnic/racial         reported more felt pressure for gender conformity from peers than
                                                                                                                     background on the likelihood of network selection. Finally, we            girls. However, girls reported higher intergroup bias than boys at
                                                                                                                     included parameters for several network structural processes. Rec-        both waves. Interestingly, there were no significant gender differ-



                                                                                                                            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 8 of 216
                                                                                                                     1584                                             KORNIENKO, SANTOS, MARTIN, AND GRANGER


                                                                                                                     Table 2
                                                                                                                     Correlations Among GI Dimensions Per Grade

                                                                                                                                  Dimension                       1             2                  3                  4           5              6                  7            8

                                                                                                                     7 grade
                                                                                                                       1. GI   typicality Wave 1              —                .475ⴱⴱ             .259ⴱⴱ         .125         ⫺.103             .080               .150       ⫺.017
                                                                                                                       2. GI   typicality Wave 2             .578ⴱⴱ             —                 .134           .395ⴱⴱ       ⫺.023            ⫺.057               .069        .001
                                                                                                                       3. GI   contentedness Wave 1          .438ⴱⴱ            .329ⴱⴱ              —             .317ⴱⴱ        .100             .023               .106       ⫺.013
                                                                                                                       4. GI   contentedness Wave 2          .450ⴱⴱ            .438ⴱⴱ             .549ⴱⴱ          —            .064             .140              ⫺.012        .120
                                                                                                                       5. GI   intergroup bias Wave 1        .267ⴱⴱ            .334ⴱⴱ             .258ⴱⴱ         .214ⴱⴱ         —               .250ⴱⴱ            ⫺.130        .071
                                                                                                                       6. GI   intergroup bias Wave 2        .241ⴱⴱ            .233ⴱⴱ             .306ⴱⴱ         .470ⴱⴱ        .395ⴱⴱ            —                 .056        .120
                                                                                                                       7. GI   felt pressure Wave 1         ⫺.068             ⫺.11               ⫺.183ⴱ         ⫺.226ⴱ         .163ⴱ           ⫺.003                —          .429ⴱⴱ
                                                                                                                       8. GI   felt pressure Wave 2         ⫺.108             ⫺.25ⴱⴱ              .141          ⫺.213ⴱ        ⫺.071            ⫺.119               .412ⴱⴱ       —
                                                                                                                     8 grade
                                                                                                                       1. GI   typicality Wave 1                 —             .522ⴱⴱ             .434ⴱⴱ         .210ⴱ         .042            ⫺.044               .093        .020
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                                                                                                                       2. GI   typicality Wave 2                .685ⴱⴱ          —                 .274ⴱⴱ         .388ⴱⴱ        .086             .086               .161        .213ⴱⴱ
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                                                                                                                       3. GI   contentedness Wave 1             .402ⴱⴱ         .495ⴱⴱ              —             .398ⴱⴱ        .035            ⫺.091               .226ⴱⴱ      .035
                                                                                                                       4. GI   contentedness Wave 2             .306ⴱⴱ         .570ⴱⴱ             .538ⴱⴱ          —           ⫺.054             .055               .125        .254ⴱⴱ
                                                                                                                       5. GI   intergroup bias Wave 1           .075           .188ⴱ              .180ⴱ          .141           —               .424ⴱⴱ            ⫺.025       ⫺.156
                                                                                                                       6. GI   intergroup bias Wave 2           .294ⴱⴱ         .382ⴱⴱ             .246ⴱⴱ         .230ⴱ         .316ⴱⴱ            —                ⫺.141       ⫺.025
                                                                                                                       7. GI   felt pressure Wave 1             .018          ⫺.057              ⫺.011          ⫺.028         ⫺.033            ⫺.022                —          .274ⴱⴱ
                                                                                                                       8. GI   felt pressure Wave 2             .001           .091               .028           .045          .111             .165               .465ⴱⴱ       —
                                                                                                                     Note. GI ⫽ gender identity. Boys are above the diagonal and girls below the diagonal. Ns range from 240 to 333.
                                                                                                                     ⴱ
                                                                                                                       p ⬍ .05. ⴱⴱ p ⬍ .01. ⴱⴱⴱ p ⬍ .001.



                                                                                                                     ences in contentedness at either waves. Results were similar for                      2246 among eighth-grade students; at Wave 2, there were 1881
                                                                                                                     eighth grade, with the exception of contentedness at Wave 1, in                       and 2306 friendships in these grade-level networks. To assess the
                                                                                                                     which girls reported feeling more gender contentedness than boys.                     degree of network change, we calculated the Jaccard index, which
                                                                                                                        Considering network characteristics for the two grade-level net-                   denotes the proportion of ties that are present at both waves. These
                                                                                                                     works, our descriptive analyses revealed that at Wave 1, on aver-                     indices were .19 for seventh and .22 for eighth grades suggesting
                                                                                                                     age, seventh graders nominated 6.33 friends and eighth graders                        a sufficient balance of stability and change in friendships over
                                                                                                                     reported 6.83 friendship ties (at Wave 2, the respective average                      time, making the SABM approach suitable (Snijders et al., 2010).
                                                                                                                     outdegrees were 6.02 and 6.98). We observed that the grade-level
                                                                                                                     networks had a fairly low density (i.e., proportion of existing
                                                                                                                                                                                                           Overview of SABM Analyses
                                                                                                                     friendship ties relative to the total possible ties) of .02, sug-
                                                                                                                     gesting that most of the total possible ties in the network do not                      We estimated two types of models for each of the two grades.
                                                                                                                     exist. In Wave 1, there were 2032 ties among seventh-grade and                        The first model addressed our main goal of examining peer net-


                                                                                                                     Table 3
                                                                                                                     Gender Differences in GI Dimension Per Grade

                                                                                                                                                                                     7 Grade                                                          8 Grade
                                                                                                                                  Dimension                 M            SD           t             df        Cohen’s d       M         SD               t              df   Cohen’s d
                                                                                                                                                                                            ⴱⴱ                                                               ⴱⴱ
                                                                                                                     Girl GI typicality Wave 1             3.51       0.93          ⫺4.46           295         ⫺0.52       3.43        0.88         ⫺3.80           311      ⫺0.43
                                                                                                                     Boy GI typicality Wave 1              3.95       0.73                                                  3.81        0.87
                                                                                                                                                                                            ⴱⴱ                                                               ⴱⴱ
                                                                                                                     Girl GI typicality Wave 2             3.38       0.90          ⫺4.60           271         ⫺0.56       3.32        0.84         ⫺4.81           288      ⫺0.57
                                                                                                                     Boy GI typicality Wave 2              3.86       0.813                                                 3.80        0.85
                                                                                                                     Girl GI intergroup bias Wave 1        3.52       1.03           8.20ⴱⴱ         295           0.95      3.41        0.91          7.54ⴱⴱ         310        0.86
                                                                                                                     Boy GI intergroup bias Wave 1         2.61       0.86                                                  2.65        0.86
                                                                                                                                                                                            ⴱⴱ                                                               ⴱⴱ
                                                                                                                     Girl GI intergroup bias Wave 2        3.50       0.96           6.85           269           0.83      3.26        0.93          6.21           287        0.73
                                                                                                                     Boy GI intergroup bias Wave 2         2.75       0.82                                                  2.60        0.88
                                                                                                                     Girl GI felt pressure Wave 1          2.49       1.06       ⫺11.05ⴱⴱ           294         ⫺1.29       2.41        0.98      ⫺13.68ⴱⴱ           309      ⫺1.56
                                                                                                                     Boy GI felt pressure Wave 1           3.84       1.03                                                  4.02        1.07
                                                                                                                                                                                            ⴱⴱ                                                               ⴱⴱ
                                                                                                                     Girl GI felt pressure Wave 2          2.40       1.05          ⫺8.77           268         ⫺1.07       2.420        .95      ⫺11.70             287      ⫺1.38
                                                                                                                     Boy GI felt pressure Wave 2           3.65       1.27                                                  3.85        1.11
                                                                                                                     Girl GI contentedness Wave 1          4.37       0.67          ⫺0.02           295           0         4.33        0.62          1.98ⴱ          311        0.22
                                                                                                                     Boy GI contentedness Wave 1           4.37       0.56                                                  4.20        0.58
                                                                                                                     Girl GI contentedness Wave 2          4.25       0.72          ⫺0.72           271         ⫺0.09       4.13        0.79         ⫺1.55           287      ⫺0.18
                                                                                                                     Boy GI contentedness Wave 2           4.32       0.67                                                  4.26        0.65
                                                                                                                     Note. GI ⫽ gender identity. The effect size corresponding to Cohen’s d is determined using the following ranges (Cohen, 1988): small (.2–.3), medium
                                                                                                                     (.31–.50), and large (⬎.8) effect sizes.
                                                                                                                     ⴱ
                                                                                                                       p ⬍ .05. ⴱⴱ p ⬍ .001.




                                                                                                                            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 9 of 216
                                                                                                                                                                      PEER INFLUENCE ON GENDER IDENTITY                                                       1585

                                                                                                                     work influence on GI dimensions while controlling for contribu-          mity. We also observed significant and positive peer influence on
                                                                                                                     tions of gender and GI to network selection as well as network           intergroup bias among both seventh and eighth graders (est. ⫽ .80,
                                                                                                                     structural effects. A second model addressed our exploratory goal        p ⬍ .001; est. ⫽ .52, p ⬍ .001). Considering the magnitude of
                                                                                                                     of examining whether gender moderated peer network influence             these effects, the results show that for seventh graders, having one
                                                                                                                     and network selection on the four dimensions of GI. We conducted         additional friend who felt higher levels of intergroup bias than the
                                                                                                                     these analyses using RSiena 4.0 (version 1.1–290; Ripley, Sni-           focal individual increased the odds for the focal youth to also
                                                                                                                     jders, Boda, Voros, & Preciado, 2016) in R (version 3.3, R-Project;      increase their levels of intergroup bias compared with no change
                                                                                                                     http://www.r-project.org). We followed the recommended forward-          by a factor of exp(.80/3) ⫽ 1.31, or a 31% increase in the odds of
                                                                                                                     fitting model specification approach to avoid multicollinearity          GI change. Among eighth graders, the same scenario of peer
                                                                                                                     among network effects (Snijders et al., 2010). This iterative ap-        influence would result in an increase of intergroup bias change by
                                                                                                                     proach uses a score-type test to compare the fit of statistics           a factor of exp(.52/3) ⫽ 1.19, or an 19% increase in the odds of GI
                                                                                                                     representing potential effects with the effect included versus ex-       change. Finally, we did not document significant peer influence
                                                                                                                     cluded from the model (Schweinberger, 2012). Effects that are            effects for gender typicality and gender contentedness (i.e., the
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                                                                                                                     significant, indicating that they are likely to improve the fit of the   within-person dimensions of GI) in the networks of seventh or
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                                                                                                                     model, are sequentially included. Our preliminary score-type test        eighth graders.
                                                                                                                     analyses indicated that there were no significant gender differences        Network selection on gender and GI dimensions. To deter-
                                                                                                                     in contributions of GI components to network selection, but there        mine whether influence occurred and to obtain unbiased estimates
                                                                                                                     were potential gender differences in magnitude of peer influence         of influence, we examined these processes in a model that also
                                                                                                                     and GI dimensions levels, which were examined in the second              controlled for network selection on GI dimensions of interest (i.e.,
                                                                                                                     model. Additionally, because students were given an option to            how GI affects initial selection of friends; Network Selection
                                                                                                                     nominate up to 10 friends, we initially specified maximum outde-         Dynamics, Model 1, Table 4). Thus, we assessed how the four GI
                                                                                                                     gree to be 10. When evaluating the goodness of fit, which com-           dimensions were associated with network selection. Our results
                                                                                                                     pares characteristics of model-implied simulated networks to the         showed that eighth graders befriended others with similar levels of
                                                                                                                     characteristics of the observed network at Time 2, we discovered         gender contentedness (est. ⫽ .42, p ⬍ .01) and gender typicality
                                                                                                                     that our model implied simulated data had fewer networks with            (est. ⫽ .31, p ⬍ .05). We found that both seventh and eighth
                                                                                                                     outdegrees of 9 and 10 compared with the observed data. This             graders who reported higher levels of gender contentedness were
                                                                                                                     lower simulated count of outdegrees occurred because for those           more like to send out a higher number of friendship ties (est. ⫽ .12,
                                                                                                                     individuals with 10 outgoing ties, the model proceeded by drop-          p ⬍ .05; est. ⫽ .12, p ⬍ .01). Our results showed that seventh
                                                                                                                     ping ties and adding new ties, not necessarily exchanging ties.          graders with higher levels of intergroup bias were less likely to be
                                                                                                                     Thus, in the final models we specified maximum outdegree to be           nominated as friends by their peers (est. ⫽ ⫺.08, p ⬍ .05). We
                                                                                                                     11 to approximate the number of higher outdegrees in simulated           found no evidence that adolescents selected friends based on
                                                                                                                     networks and improve the goodness of fit. We present the good-           similarity on levels of intergroup bias or on felt pressure for
                                                                                                                     ness of fit for the first model for seventh and eighth grades (see       gender conformity.
                                                                                                                     Figures 1A and 1B in the online supplementary materials). Finally,          Network selection on control variables and network struc-
                                                                                                                     in the presented models, convergence was achieved because t              tural processes. Our modeling approach obtained estimates of
                                                                                                                     statistics representing deviations between the observed and model-       network influence and selection on GI dimensions, while control-
                                                                                                                     implied networks were less than 0.1 for individual model param-          ling for several confounding network selection and network struc-
                                                                                                                     eters and less than 0.25 across all of the model parameters.             tural processes. When studying associations between GI self-
                                                                                                                        Peer influence on GI dimensions. We begin by considering              concepts and networks, the key process to control for is gender
                                                                                                                     the results of Model 1, which addressed our goal of examining peer       segregation in friendship networks. Our models included such
                                                                                                                     influence on GI while controlling for network selection dynamics         controls and revealed a significant homophily on gender in both
                                                                                                                     (GI Dynamics, Model 1, Table 4). Whereas we expected to find             grades (est. ⫽ .43, p ⬍ .001, OR ⫽ 1.54 for seventh graders; est. ⫽
                                                                                                                     network influence on GI, we considered the possibility that the          .25, p ⬍ .001, OR ⫽ 1.28 for eighth graders) suggesting that
                                                                                                                     four dimensions of GI may show differing levels of influence, with       friendship ties were 54% more likely to be formed among seventh
                                                                                                                     influence being greater for the between-gender aspects of GI. As         graders of the same gender and 28% more likely among eighth
                                                                                                                     anticipated, we found evidence for significant and positive peer         graders of the same gender. We also controlled for contribution of
                                                                                                                     influence on felt pressure for gender conformity for eighth graders      similarity on ethnic/racial background as affecting the likelihood
                                                                                                                     (est. ⫽ .31, p ⬍ .05) suggesting that, over time, these students’        of friendship ties. In both grades, we found significant and positive
                                                                                                                     levels of gender felt peer pressure became similar to those of their     Latina/o similarity effect suggesting that friendships were more
                                                                                                                     friends compared with those with whom they were not friends. To          likely to form among Latina/o youth (est. ⫽ .16, p ⬍ .001; est. ⫽
                                                                                                                     assess the magnitude of this effect, we calculated odds ratio for        .10, p ⬍ .001). Among eighth graders only, we also documented
                                                                                                                     change in these dimensions of GI (see Ripley et al., 2016 for            that students were more likely to select each other as friends if both
                                                                                                                     details). Having one additional friend who felt higher level of          of them were African American (est. ⫽ .19, p ⬍ .001). In both
                                                                                                                     pressure for gender conformity than the focal individual increased       grades, being in the same Social Studies classroom increased the
                                                                                                                     the odds for the focal youth to also increase their levels of felt       odds of friendship ties (est. ⫽ .44, p ⬍ .001; est. ⫽ .51, p ⬍ .001).
                                                                                                                     pressure by a factor of exp(.31/3) ⫽ 1.11, compared with no                 In addition to estimating these confounding network selection
                                                                                                                     change in this GI dimension. This means that eighth-grade students       processes, we also included network structural effects (e.g., reci-
                                                                                                                     had an 11% increase in the odds of GI change when at least on            procity, transitivity) in our models. We found that adolescents’
                                                                                                                     their friends had a higher level of felt pressure for gender confor-     networks were formed through several common network structural



                                                                                                                           Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 10 of 216
                                                                                                                     1586                                             KORNIENKO, SANTOS, MARTIN, AND GRANGER


                                                                                                                     Table 4
                                                                                                                     SABM Results for Peer Influence on GI and Network Selection on GI

                                                                                                                                                                                               7th grade                                           8th grade
                                                                                                                                                                                   Model 1                    Model 2                   Model 1                  Model 2
                                                                                                                                          Effects                          Est.      St. Er     p      Est.     St. Er   p      Est.      St. Er   p      Est.     St. Er   p

                                                                                                                                                                                              GI dynamics
                                                                                                                     GI typicality linear shape                           ⫺.02         .08            ⫺.03        .10             .10      .09             .12       .10
                                                                                                                     GI typicality quadratic                              ⫺.12         .19            ⫺.30        .24             .01      .18            ⫺.21       .24
                                                                                                                     Peer influence on GI typicality                       .10         .22            ⫺.08        .26             .32      .22             .13       .25
                                                                                                                                                                                                                         ⴱ                                                  ⴱⴱⴱ
                                                                                                                     GI typicality from Boy                                                             .56       .26                                      .62       .21
                                                                                                                     Peer influence on GI Typicality ⫻ Boy                                            ⫺.29        .21                                      .02       .21
                                                                                                                                                                                                ⴱⴱⴱ                      ⴱⴱⴱ
                                                                                                                     GI contentedness linear shape                         .31         .09              .30       .09             .11      .07             .11       .07
                                                                                                                     GI contentedness quadratic shape                     ⫺.18         .21            ⫺.17        .18             .09      .14             .09       .15
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                                                                                                                     Peer influence on GI contentedness                   ⫺.23         .25            ⫺.23        .23             .13      .17             .13       .18
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                                                                                                                                                                                                                                                                            ⴱ
                                                                                                                     GI contentedness from Boy                                                          .11       .16                                      .34       .15
                                                                                                                     Peer influence on GI Contentedness ⫻ Boy                                           .03       .18                                      .06       .17
                                                                                                                                                                                                                                                   ⴱⴱⴱ                      ⴱⴱⴱ
                                                                                                                     Intergroup bias linear shape                            .10       .10              .05       .11             .28      .09             .27       .10
                                                                                                                     Intergroup bias quadratic shape                         .26       .18              .01       .23             .13      .15            ⫺.04       .18
                                                                                                                                                                                                ⴱⴱⴱ                                                ⴱⴱⴱ
                                                                                                                     Peer influence on intergroup bias                       .80       .29              .61       .32             .52      .19             .36       .21
                                                                                                                     Intergroup bias from Boy                                                         ⫺.45        .29                                     ⫺.33       .20
                                                                                                                     Peer influence on intergroup bias ⫻ Boy                                            .59       .35                                     ⫺.12       .21
                                                                                                                     Felt pressure linear shape                              .10       .07              .09       .07             .05      .08             .05       .08
                                                                                                                     Felt pressure quadratic shape                           .15       .11            ⫺.05        .20             .15      .11            ⫺.15       .19
                                                                                                                                                                                                                                                   ⴱ
                                                                                                                     Peer influence on felt pressure                         .24       .14              .02       .22             .31      .15             .05       .20
                                                                                                                                                                                                                                                                            ⴱ
                                                                                                                     Felt pressure from Boy                                                             .46       .31                                      .68       .30
                                                                                                                     Peer influence on felt pressure ⫻ Boy                                            ⫺.11        .18                                     ⫺.23       .20

                                                                                                                                                                                         Network dynamics
                                                                                                                     GI effects on network selection
                                                                                                                       GI typicality alter                                ⫺.02         .03            ⫺.02        .04          ⫺.03        .03            ⫺.03       .03
                                                                                                                                                                                                                                                   ⴱ
                                                                                                                       GI typicality ego                                  ⫺.01         .05            ⫺.01        .04          ⫺.10        .05            ⫺.11       .06
                                                                                                                                                                                                ⴱ                                                  ⴱ                        ⴱ
                                                                                                                       GI typicality similarity                            .34         .17             .34        .19           .31        .15             .31       .16
                                                                                                                       GI contentedness alter                              .06         .05             .06        .05          ⫺.02        .04            ⫺.02       .04
                                                                                                                                                                                                ⴱ                        ⴱ                         ⴱⴱ
                                                                                                                       GI contentedness ego                                .12         .06             .12        .06           .12        .05             .11       .06
                                                                                                                                                                                                                                                   ⴱⴱ                       ⴱⴱⴱ
                                                                                                                       GI contentedness similarity                        ⫺.08         .26            ⫺.08        .24           .42        .17             .42       .16
                                                                                                                                                                                                ⴱ
                                                                                                                       Intergroup bias alter                              ⫺.08         .04            ⫺.08        .05           .04        .04             .05       .04
                                                                                                                       Intergroup bias ego                                ⫺.02         .06            ⫺.02        .07           .05        .06             .05       .07
                                                                                                                       Intergroup bias similarity                         ⫺.39         .20            ⫺.40        .26          ⫺.07        .19            ⫺.07       .23
                                                                                                                       Felt pressure alter                                 .01         .04             .01        .05           .02        .03             .02       .04
                                                                                                                       Felt pressure ego                                  ⫺.01         .05            ⫺.01        .06           .05        .05             .06       .06
                                                                                                                                                                                                ⴱ                        ⴱ
                                                                                                                       Felt pressure similarity                           ⫺.39         .18            ⫺.42        .21           .03        .14             .03       .15
                                                                                                                     Individual attributes effects on network selection
                                                                                                                       Boy alter                                          ⫺.11         .08            ⫺.11        .09          ⫺.02        .07            ⫺.02       .07
                                                                                                                       Boy ego                                            ⫺.01         .09            ⫺.01        .11          ⫺.04        .08            ⫺.06       .10
                                                                                                                                                                                                ⴱⴱⴱ                      ⴱⴱⴱ                       ⴱⴱⴱ                      ⴱⴱⴱ
                                                                                                                       Boy similarity                                      .43         .05             .44        .06           .25        .04             .24       .05
                                                                                                                       European American similarity                        .07         .07             .06        .08           .12        .07             .12       .07
                                                                                                                                                                                                                                                   ⴱⴱⴱ                      ⴱⴱⴱ
                                                                                                                       African American similarity                         .08         .06             .08        .06           .19        .05             .19       .05
                                                                                                                       Native American similarity                          .06         .08             .07        .08           .03        .08             .04       .08
                                                                                                                                                                                                ⴱⴱⴱ                      ⴱⴱⴱ                       ⴱⴱ                       ⴱ
                                                                                                                       Latina/o similarity                                 .16         .05             .16        .05           .10        .04             .10       .04
                                                                                                                       Other ethnicity similarity                          .09         .09             .09        .10          ⫺.11        .07            ⫺.11       .08
                                                                                                                       Same wave started                                   .06         .04             .06        .04           .00        .04             .00       .04
                                                                                                                                                                                                ⴱⴱⴱ                      ⴱⴱⴱ                       ⴱⴱⴱ                      ⴱⴱⴱ
                                                                                                                       Same classroom                                      .44         .06             .44        .06           .51        .06             .51       .06
                                                                                                                     Network structural processes
                                                                                                                                                                                                ⴱⴱⴱ                      ⴱⴱⴱ                       ⴱⴱⴱ                      ⴱⴱⴱ
                                                                                                                       Network rate                                       22.93       1.11            22.95      1.41          22.99       .95           22.98      1.22
                                                                                                                                                                                                ⴱⴱⴱ                      ⴱⴱⴱ                       ⴱⴱⴱ                      ⴱⴱⴱ
                                                                                                                       Outdegree (density)                                ⫺1.43        .31            ⫺1.40       .38          ⫺1.87       .33           ⫺1.87       .35
                                                                                                                                                                                                ⴱⴱⴱ                      ⴱⴱⴱ                       ⴱⴱⴱ                      ⴱⴱⴱ
                                                                                                                       Reciprocity                                         1.83        .14             1.82       .15           2.01       .11            2.01       .11
                                                                                                                                                                                                ⴱⴱⴱ                      ⴱⴱⴱ                       ⴱⴱⴱ                      ⴱⴱⴱ
                                                                                                                       Number of actors at distance 2                      ⫺.16        .04             ⫺.16       .05           ⫺.11       .04            ⫺.11       .03
                                                                                                                                                                                                ⴱⴱⴱ                      ⴱⴱⴱ                       ⴱⴱ                       ⴱⴱⴱ
                                                                                                                       GWESP i ¡ k ¡ j                                      .62        .20              .62       .23            .44       .18             .44       .17
                                                                                                                                                                                                                                                   ⴱ
                                                                                                                       GWESP i ¢ k ¢ j                                     ⫺.04        .12             ⫺.04       .12           ⫺.19       .09            ⫺.19       .11
                                                                                                                                                                                                ⴱ                        ⴱⴱ                        ⴱⴱⴱ                      ⴱⴱⴱ
                                                                                                                       GWESP i ¡ k ¢ j                                      .50        .23              .50       .21            .84       .12             .83       .20
                                                                                                                                                                                                ⴱⴱ                       ⴱⴱ                        ⴱⴱⴱ                      ⴱⴱⴱ
                                                                                                                       GWESP i ↔ k ↔ j                                     ⫺.60        .15             ⫺.60       .17           ⫺.62       .19            ⫺.62       .12
                                                                                                                                                                                                ⴱ                                                  ⴱ                        ⴱ
                                                                                                                       Indegree—popularity (sqrt)                           .09        .04              .09       .05            .07       .03             .07       .03
                                                                                                                                                                                                                                                   ⴱⴱⴱ                      ⴱⴱ
                                                                                                                       Indegree—activity (sqrt)                            ⫺.09        .11             ⫺.10       .12           ⫺.30       .10            ⫺.29       .12
                                                                                                                       Outdegree—activity (sqrt)                           ⫺.09        .07             ⫺.10       .09            .14       .08             .14       .08
                                                                                                                     Note. Peer influence was parameterized as total similarity. Categorical variables (boy, ethnic/racial categories, same school wave started, same social
                                                                                                                     studies classroom) were dummy-coded (1 ⫽ yes, 0 ⫽ no). SABM ⫽ stochastic actor-based modeling; GI ⫽ gender identity; GWESP ⫽ geometrically
                                                                                                                     weighted edgewise shared partners; sqrt ⫽ square root.
                                                                                                                     ⴱ
                                                                                                                       p ⬍ .05. ⴱⴱ p ⬍ .01. ⴱⴱⴱ p ⬍ .001 (all two-tailed).




                                                                                                                            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 11 of 216
                                                                                                                                                                      PEER INFLUENCE ON GENDER IDENTITY                                                    1587

                                                                                                                     processes. Specifically, a high degree of reciprocation of friend-      2011). Using the sienaGOF function, goodness of fit is assessed by
                                                                                                                     ship nominations was observed (est. ⫽ 2.51, p ⬍ .001; est. ⫽ 3.05,      comparing the observed values at the end of the period (i.e., Time
                                                                                                                     p ⬍ .001). To model transitivity, we examined several GWESP             2) with simulated values from the model (Ripley et al., 2016).
                                                                                                                     effects that represented relevant triadic configurations. First, a      These differences are assessed by the Mahalanobis distance, which
                                                                                                                     significant and positive GWESP i ¡ k ¡ j effect indicated that          at p ⬎ .05 levels suggests that the predicted auxiliary statistic
                                                                                                                     individual i was increasingly likely to form a connection to j when     distribution does not significantly depart from the observed statis-
                                                                                                                     they had at least one mutual friend k such that i nominated k and       tic, indicating adequate fit of the model to the data. Considering
                                                                                                                     k nominated j, whereas having additional mutual friends beyond k        GOF for the seventh-grader network (see Figure 1A in the online
                                                                                                                     contributed to a smaller extent to this likelihood (est. ⫽ .62, p ⬍     supplemental materials), our results show that the distributions of
                                                                                                                     .001; est. ⫽ .44, p ⬍ .001). Next, a significant and positive           indegrees (p ⫽ .34), triadic configurations (p ⫽ .70), GI content-
                                                                                                                     GWESP i ¡ k ¢ j effect indicated that individual i was increas-         edness (p ⫽ .41), and gender intergroup bias (p ⫽ .26) in the
                                                                                                                     ingly likely to form a connection to j when they had at least one       model-implied simulated networks were not different from the
                                                                                                                     mutual friend k such that both i and j nominated k, whereas having
                                                                                                                                                                                             distribution of these configurations in the observed network at
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                                                                                                                     additional mutual friends beyond k contributed to a smaller extent
                                                                                                                                                                                             Time 2. Our GOF results demonstrated that for the eighth graders
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                                                                                                                     to this likelihood (est. ⫽ .50, p ⬍ .05; est. ⫽ .84, p ⬍ .001).
                                                                                                                                                                                             (see Figure 1B in the online supplemental materials) the distribu-
                                                                                                                     Finally, a significant and negative GWESP i ↔ k ↔ j effect
                                                                                                                                                                                             tions of indegrees (p ⫽ .50), gender typicality (p ⫽ .22), gender
                                                                                                                     showed that i was less likely to form a connection to j when they
                                                                                                                                                                                             intergroup bias (p ⫽ .30), and felt pressure for gender conformity
                                                                                                                     had at least one mutual friend k to whom they were connected
                                                                                                                     through reciprocated ties, whereas having additional mutual recip-      (p ⫽ .08) in the model-implied simulated networks were not
                                                                                                                     rocally connected friends beyond k contributed to a smaller extent      different from the distribution of these configurations in the ob-
                                                                                                                     to this likelihood (est. ⫽ ⫺.60, p ⬍ .001; est. ⫽ ⫺.62, p ⬍ .001).      served network at Time 2. These analyses suggest that, overall, our
                                                                                                                     The negative parameter for the number of actors at distance of 2 is     model did a good job at reproducing these properties of the
                                                                                                                     another indicator of transitivity in the network, suggesting that       observed networks. The GOF for outdegree distributions for the
                                                                                                                     individuals are not friends when they do not have several friends       seventh graders (p ⫽ .004) and eighth graders (p ⫽ .007) and
                                                                                                                     in common (est. ⫽ - 0.16, p ⬍ .001; est. ⫽ - 0.11, p ⬍ .001). In        geodesic distance distributions for both age groups (p’s ⫽ .00)
                                                                                                                     both grades, the positive indegree popularity effect (est. ⫽ .09, p ⬍   showed a significant difference between the model-implied sim-
                                                                                                                     .05, est. ⫽ .07, p ⬍ .05) showed that students who received a high      ulated networks and the observed network, suggesting that the
                                                                                                                     number of friendship nominations were more likely receive addi-         model is not perfectly reproducing the distribution of outdegree
                                                                                                                     tional friendship ties (i.e., network popularity reinforces itself).    and geodesic distances. To convey why the outdegree distribu-
                                                                                                                     Among eighth-grade students, a significant and negative indegree        tion was just shy of fitting, we present Figure 1 (see the Online
                                                                                                                     activity effect indicated that students who received a high number      Supplemental materials). In these figures, the red dots and
                                                                                                                     of friendship nominations were less likely to send out friendship       values represent the observed network properties, and gray lines
                                                                                                                     ties (est. ⫽ ⫺.30, p ⬍ .001).                                           represent 90% confidence intervals for the model-implied sim-
                                                                                                                        Gender differences in peer influence processes. Our final            ulated networks. The placement of the red line within the 90%
                                                                                                                     goal was to explore whether the strength and magnitude of peer          confidence interval boundaries indicates that our model pro-
                                                                                                                     influence processes were different for boys and girls (GI dynamics,     duced adequate to good goodness-of-fit statistics for the key
                                                                                                                     Model 2, Table 4). Our results revealed no significant gender           auxiliary statistics. The lack of fit for outdegree for the seventh
                                                                                                                     differences in the magnitude of peer influence on any dimensions        and eighth-grade network was because the model was not able
                                                                                                                     of GI. Finally, several gender differences are noteworthy in the        to account for the “jump” in the cumulative outdegree distri-
                                                                                                                     mean levels of GI constructs. Specifically, boys from eighth grade      bution from 9 and 10 suggesting that there is a higher number
                                                                                                                     reported significantly greater levels of gender typicality, content-    of individuals who send out 9 and 10 friendship nominations,
                                                                                                                     edness and felt pressure for gender conformity compared with
                                                                                                                                                                                             compared with what is expected under the model. The lack of fit
                                                                                                                     girls. Boys from seventh grade reported significantly greater levels
                                                                                                                                                                                             for geodesic distance appears to be due to the model producing
                                                                                                                     of gender typicality only.
                                                                                                                                                                                             significantly higher levels of geodesic distance of 4 suggesting
                                                                                                                        Assessing goodness of fit. As the final step, we followed
                                                                                                                                                                                             that model-implied networks are more connected than the ob-
                                                                                                                     established procedures for evaluating goodness of fit for statistical
                                                                                                                                                                                             served network. The lack of fit in triad census statistic in eighth
                                                                                                                     network models (Hunter, Goodreau, & Handcock, 2008; Ripley et
                                                                                                                     al., 2016). Conventional model fit indices (e.g., AIC and BIC) are      grade (p ⫽ .027) appears to be driven by abundance of a
                                                                                                                     not appropriate in network modeling because “observations are not       particular triadic configuration in our data (030T, or A ¡ B ¢
                                                                                                                     independent and identically distributed sample” (Hunter et al.,         C, A ¡ C). Finally, our model shows deviations between
                                                                                                                     2008, p. 257). Alternative methods have been developed to eval-         model-produced distributions of the following three behavioral
                                                                                                                     uate goodness of fit of network models, which involve a compar-         outcomes: GI typicality (p ⫽ .03) and felt pressure for gender
                                                                                                                     ison of model-implied simulated networks to the observed data in        conformity (p ⫽ .02) for seventh graders and GI contentedness
                                                                                                                     regards to various network properties. We assessed fit for the final    (p ⫽ .01) for eighth graders. In summary, although the statis-
                                                                                                                     Model 1 with respect to the following auxiliary statistics: distri-     tical test of GOF for these parameters suggested significant
                                                                                                                     butions of outgoing friendship ties (outdegree), incoming friend-       differences between simulated and observed networks because
                                                                                                                     ship ties (i.e., indegree), geodesic distance distributions, triad      the red line remained within grey bands, representing 90% CI,
                                                                                                                     census as well as behavior distribution for each of the four GI         we concluded that overall the model produced an adequate fit to
                                                                                                                     self-concepts (Lospinoso, Schweinberger, Snijders, & Ripley,            the data.



                                                                                                                           Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 12 of 216
                                                                                                                     1588                                         KORNIENKO, SANTOS, MARTIN, AND GRANGER


                                                                                                                                                 Discussion                                  theories (e.g., Bigler & Liben, 2007), we might expect that the
                                                                                                                                                                                             adolescents who make the other gender salient by making these
                                                                                                                        The main goal of this study was to investigate peer influences in    negative comments will develop even more negative stereotypes
                                                                                                                     between- and within-gender dimensions of GI in young adoles-            over the course of the year as compared with the group who has
                                                                                                                     cents’ peer networks. In doing so, we used a state-of-the-art
                                                                                                                                                                                             not focused such negative attention on the out-group of other-
                                                                                                                     analytical approach that allowed us to examine whether friends
                                                                                                                                                                                             gender peers.
                                                                                                                     become similar to one another on dimensions of GI over time (peer
                                                                                                                                                                                                Our results also document evidence of peer influence for eighth
                                                                                                                     influence), while statistically controlling for similarities in GI
                                                                                                                                                                                             graders on felt pressure from peers for gender conformity, such
                                                                                                                     self-concepts that may stem from peers preferring to befriend
                                                                                                                                                                                             that adolescents changed their levels of peer felt pressure to
                                                                                                                     others with similar levels of GI (peer selection). Consistent with
                                                                                                                                                                                             become similar to the levels of felt pressure experienced by their
                                                                                                                     our expectations, we found significant and positive peer socializa-
                                                                                                                                                                                             friends. Because this particular dimension of gender self-concept
                                                                                                                     tion effects on between-gender dimensions of GI: intergroup bias
                                                                                                                                                                                             focuses on the adolescents’ perceptions of what is accepted and
                                                                                                                     among seventh and eighth graders and felt pressure for gender
                                                                                                                                                                                             enforced by their peer group, it may be less surprising that we
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                                                                                                                     conformity for adolescents in eighth grade. In addition, and as
                                                                                                                                                                                             found peer influence on this aspect of GI among friends. Felt
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                                                                                                                     expected, adolescents in both grade cohorts formed friendships
                                                                                                                                                                                             pressure for gender conformity is a relevant aspect of social
                                                                                                                     with students of the same gender, and among eighth graders,
                                                                                                                                                                                             cognition for this developmental age because adolescents are par-
                                                                                                                     friendship network selection was also based on similarity on
                                                                                                                                                                                             ticularly sensitive to peer evaluations (O’Brien & Bierman, 1988).
                                                                                                                     within-gender dimensions of GI: gender typicality and contented-
                                                                                                                                                                                             This finding takes on added significance, given research showing
                                                                                                                     ness. Additionally, adolescents who were more content with their
                                                                                                                                                                                             that experiencing high levels of pressure for gender conformity has
                                                                                                                     gender sent out a higher number of friendship nominations,
                                                                                                                                                                                             detrimental consequences in terms of psychological well-being
                                                                                                                     whereas those seventh graders holding more negative attitudes
                                                                                                                                                                                             (Egan & Perry, 2001; Yunger et al., 2004).
                                                                                                                     toward other gender were less attractive as a potential friend.
                                                                                                                     Finally, we did not observe gender differences in the magnitude of         The findings concerning intergroup bias and felt pressure for
                                                                                                                     peer network influence on GI self-concepts. Despite decades of          gender conformity were consistent with our expectation that the
                                                                                                                     research highlighting the role of peers in gender socialization, this   between-gender group dimensions of GI might be more suscepti-
                                                                                                                     is the first study, to the best of our knowledge, to document that      ble to peer influence than the within-gender dimensions of GI. It is
                                                                                                                     adolescents become similar to their friends on certain dimensions       interesting to consider how this influence occurs. We hypothesized
                                                                                                                     of GI. These findings make important conceptual contributions to        this pattern because statements about intergroup bias and pressure
                                                                                                                     the body of work concerning the role of peers and social context        to conform to gender norms might be shared among friends or
                                                                                                                     for identity and gender development more broadly (e.g., Egan &          overheard, similar to what has been documented for discussions of
                                                                                                                     Perry, 2001; Yunger et al., 2004). Methodological advances in           different ethnic-racial groups (Kiesner et al., 2003). Due to these
                                                                                                                     longitudinal social network analysis (Snijders et al., 2010) enabled    overt conversations and greater visibility, between-gender dimen-
                                                                                                                     the current investigation to provide a nuanced description of the       sions of GI appear to be easier targets of peer influence than
                                                                                                                     role that the peer context plays in shaping GI.                         within-gender GI self-concepts GI (gender typicality and content-
                                                                                                                        Our findings regarding peer influence on between-gender di-          ment) which are more internal cognitive and affective states. As a
                                                                                                                     mensions of GI are that, over the course of the school year, seventh    result, both felt pressure and intergroup bias are likely to be
                                                                                                                     and eighth graders changed their levels of gender intergroup bias       influenced through direct peer actions of modeling bias, or rein-
                                                                                                                     (i.e., negative feelings toward the other gender) to become similar     forcing, punishing, or ignoring particular statements made in the
                                                                                                                     to the intergroup bias levels of their friends. That is, youth who      peer group. Indirect means are also likely effective in promoting
                                                                                                                     reported being low on gender intergroup bias, who were friends          socialization as adolescents have strong motivation to “fit in” with
                                                                                                                     with adolescents with high gender intergroup bias, moved toward         their peers by showing similar intergroup biases, recognizing
                                                                                                                     their friends’ levels of bias, whereas youth who reported initial       peers’ attitudes about gender nonconformity or conformity, and
                                                                                                                     high levels of gender intergroup bias, whose friends reported low       changing their behavior to better match their friends. Although
                                                                                                                     levels of bias, moved their levels of gender bias to better match       specific mechanisms of peer influence were not explicitly tested,
                                                                                                                     those of their friends. The observed pattern of peer influence on       they likely involve a combination of direct or indirect social
                                                                                                                     gender intergroup bias is in line with theoretical proposals that       transmission of ideas, rewards and punishments, and modeling.
                                                                                                                     social stereotyping and prejudice develop through establishing          Investigation of the specific methods of peer influence and the
                                                                                                                     psychological salience of the other group, explicit discussions of      directionality of these effects are worthy topics for future research.
                                                                                                                     salient group’s attributes, and development of affective compo-            One of the issues in understanding peer influence is that friends
                                                                                                                     nents of intergroup bias (Bigler & Liben, 2007). Because gender         often select others similar to themselves thereby confounding peer
                                                                                                                     intergroup bias stems from magnification of gender differences          influence effects with network selection effects. Our use of longi-
                                                                                                                     and expanded stereotype use (Powlishta, 1995), our findings of          tudinal SNA methods permitted controlling for these confounding
                                                                                                                     significant peer influence effects contribute not only to GI research   network selection processes including the role of gender in net-
                                                                                                                     but also to applications of intergroup theory within the develop-       work selection and the contributions of GI dimensions in network
                                                                                                                     mental literature. Consider, for instance, that for some adolescents,   selection. Our results on network selection by gender demonstrated
                                                                                                                     peers appear to make the other gender group more salient and more       that adolescents across both grades tended to befriend each other if
                                                                                                                     susceptible to negative comments, but for other adolescents, peers      they were of the same gender. This observation is in line with
                                                                                                                     appear to make the other group less salient and less susceptible to     nearly universal patterns observed in childhood and adolescence in
                                                                                                                     negative comments. In keeping with social identity and intergroup       which preferences are shown for same-gender peers (e.g., Mac-



                                                                                                                            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 13 of 216
                                                                                                                                                                      PEER INFLUENCE ON GENDER IDENTITY                                                       1589

                                                                                                                     coby, 1998; Mehta & Strough, 2009) as well as with other social         intergroup bias are less attractive as a friend to their peer group. In
                                                                                                                     network studies of gender development (Martin et al., 2013).            contrast, this pattern indicates that greater openness to the other
                                                                                                                         The present study was also the first to examine whether adoles-     gender may be adaptive in terms of allowing for greater opportu-
                                                                                                                     cents select peers based on the four dimensions of GI. We antic-        nities to form friendships among youth during middle school,
                                                                                                                     ipated that adolescents may prefer to form friendships with others      when adolescents’ social, emotional, cognitive, and physical attri-
                                                                                                                     who have similar levels of GI dimensions, including both between-       butes change and their potential pool of friends increases com-
                                                                                                                     and within-gender self-concepts, because past research has shown        pared with elementary school. It is interesting, however, that this
                                                                                                                     that homophily or similarity on gender-typed behaviors drives peer      feature of network selection did not continue to be of importance
                                                                                                                     affiliation dynamics among young children (Martin et al., 2013).        in older middle schoolers.
                                                                                                                     Consistent with these expectations, we found that eighth graders           Turning to association between within-gender self-concepts and
                                                                                                                     were more likely to select each other if they reported similar levels   friendships network selection, we expected positive associations
                                                                                                                     of gender typicality. This finding is intriguing since it suggests      between gender typicality and contentedness with the number of
                                                                                                                     that, although gender typicality is an internal and global part of      friendship nominations sent and received because these aspects of
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                                                                                                                     personal identity, there may be external manifestations of typical-     GI have been linked to greater peer acceptance and social skills.
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                                                                                                                     ity that are apparent to adolescents at least by eighth grade. Egan     Our results provided partial support and showed that gender con-
                                                                                                                     and Perry (2001) found that gender typicality was positively cor-       tentedness was also positively associated with the number of
                                                                                                                     related with gender-typed activities, so it could be that adolescents   friendship nominations that seventh and eighth-grade students sent
                                                                                                                     use gender typed activity engagement as signals or cues of simi-        out suggesting a better social integration in peer networks. Al-
                                                                                                                     larity in gender typicality. However, if that is the case, it is        though these findings are intriguing, the question of how adoles-
                                                                                                                     surprising that younger adolescents do not also use engagement in       cents evaluate and determine others’ gender contentedness is an
                                                                                                                     gender-typed activities as signals. Further research is needed to       important direction for future research. Contrary to our expecta-
                                                                                                                     explore whether younger adolescents are less motivated to select        tions, we documented that gender typicality was negatively asso-
                                                                                                                     friends based on similar levels of gender typicality or whether they    ciated with the number of friendship ties that eighth graders sent
                                                                                                                     are less susceptible to the cues that suggest gender typicality.        out. It is plausible that having higher levels of perceived proto-
                                                                                                                         As anticipated, we found that homophily on gender contented-        typicality with one’s gender group might operate similar as inter-
                                                                                                                     ness also increased the likelihood of friendship ties among seventh     group bias in that it might also restrict the range of opportunities
                                                                                                                     and eighth graders. Being content with one’s gender appeared to be      afforded to form friendships with peers who possess low forms of
                                                                                                                     a salient cue for friend selection. Contentment may be marked by        typicality (this pattern is supported in our models by a significant
                                                                                                                     acceptance of one’s gender category and may not be visibly              preference to select friends who have similar levels of gender
                                                                                                                     manifested; however, lack of contentment, that is, expressions or       typicality). For example, it could be that adolescents who view
                                                                                                                     actions that signal a lack of happiness with being of one’s gender,     themselves as very typical of their gender group prefer to affiliate
                                                                                                                     may be more salient (Carver et al., 2003; Yunger et al., 2004).         with others who also view themselves that way, thus potentially
                                                                                                                     Because past research has shown that gender contentedness and           restricting the range of friendship formation options.
                                                                                                                     typicality are positively correlated with social skills, self-esteem,      Our final exploratory goal was to examine whether the magni-
                                                                                                                     and greater peer acceptance (Carver et al., 2003; Smith & Leaper,       tude of peer influence differed between boys and girls. Our results
                                                                                                                     2006; Yunger et al., 2004), future research would benefit from          do not reveal any gender differences. This finding is somewhat
                                                                                                                     examining these associations within mediation analytical frame-         surprising given that other studies have suggested boys experience
                                                                                                                     work to elucidate the mechanisms linking within-gender self-            stronger peer pressures to conform to gender norms than do girls
                                                                                                                     concepts, peer relationships, and wellbeing.                            (Bussey & Bandura, 1992) and given that boys report higher levels
                                                                                                                         We expected that between-gender aspects of GI would be del-         of felt pressure from parents, teachers, peers, and self than do girls
                                                                                                                     eterious for friendship selection dynamics and subsequently neg-        (Egan & Perry, 2001; Carver et al., 2003; Yunger et al., 2004).
                                                                                                                     atively associated with the number of friendship nominations sent       What is not clear from earlier studies that ask adolescents and
                                                                                                                     out to and received from the grade-mates because the past research      older children to report on felt pressure is the source of felt
                                                                                                                     has shown that intergroup bias and pressure for gender conformity       pressure. That is, the felt pressure scale combines items about
                                                                                                                     often translate into externalizing problems and difficulties with       pressure from parents, peers, and self; therefore, it is unclear which
                                                                                                                     peers (Carver et al., 2003; Smith & Leaper, 2006; Yunger et al.,        of these sources is stronger for boys than girls. It may be that
                                                                                                                     2004). Our findings provided partial support to these hypotheses        parents hold more strict expectations in terms of gender norm
                                                                                                                     and revealed that in seventh grade, intergroup bias (i.e., holding      conformity for boys than for girls, or that boys hold themselves to
                                                                                                                     negative feelings toward the other gender) was negatively associ-       stricter standards for conformity than do girls. Future research
                                                                                                                     ated with the likelihood of being nominated as a friend by others.      exploring gender differences and similarities in actual versus per-
                                                                                                                     It is plausible that holding more negative attitudes toward the other   ceived peer pressures for conformity, and whether conformity
                                                                                                                     gender constrains friendship formation opportunities (i.e., across      pressures are explicit or implicit may provide additional insight
                                                                                                                     gender lines), which may result in lower attractiveness of an           into this finding.
                                                                                                                     individual with higher levels of intergroup bias as a friend. This         Overall, our study adds to a growing body of research highlight-
                                                                                                                     pattern replicates a previously suggested idea that intergroup bias     ing the impact that peers have on gender development. Previous
                                                                                                                     may be linked to peer relationship difficulties (Powlishta, 1995)       research using the same approach to the study of social network
                                                                                                                     because youth with higher negative attitudes toward the other           influence on gender development illustrated that younger children
                                                                                                                     gender grouping may be perceived as immature and hostile. Our           became more similar to peers in their gender-typed behaviors over
                                                                                                                     finding confirms such a view because youth with higher levels of        a few months time (Martin et al., 2013). The present study was the



                                                                                                                           Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 14 of 216
                                                                                                                     1590                                         KORNIENKO, SANTOS, MARTIN, AND GRANGER


                                                                                                                     first to explore peer effects on GI explicitly, and showed that peers   Brownell, 2003) in identifying the mechanisms through which
                                                                                                                     influence one another on several dimensions of GI. The latter is an     peers influence GI. The present study employed a longitudinal
                                                                                                                     important addition to this body of work as behaviors may be             SNA approach to study peer influence to allow the modeling of
                                                                                                                     relatively easily influenced among peers because they are overt         peer effects of multiple friends of the focal individual while
                                                                                                                     (Martin et al., 2013); however, the present study shows that peers      statistically controlling for how these friendships have been cre-
                                                                                                                     also exert influence even on less visible processes such as the         ated and are being maintained. Assessing the influence of multiple
                                                                                                                     development of one’s representations of gender. Our research            friends has advantages of capturing peer group dynamics, how-
                                                                                                                     further illustrates the dialectic and social nature of how GI devel-    ever, if the close or best friends are the primary source of peer
                                                                                                                     ops within the context of peer networks. Thus, we expand the            influence on GI, then dyadic, or actor-partner interdependence
                                                                                                                     current understanding of multiple socialization contexts of GI          modeling may provide the appropriate analytical framework to
                                                                                                                     development (i.e., family, peers, mass media; Galambos, 2004;           study peer influence on GI (Kenny, Kashy, & Cook, 2006). Close
                                                                                                                     Leaper & Friedman, 2007).                                               friendships, as enduring and high quality reciprocated relationships
                                                                                                                                                                                             (for reviews, see Bagwell & Schmidt, 2011; Berndt, 2002) also
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                                                                                                                                                                                             represent a rich social context in which identity evolves. Finally,
                                                                                                                     Limitations and Future Directions
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                                                                                                                                                                                             using experimental paradigms would be beneficial in establishing
                                                                                                                        Although the present study has numerous strengths including          causal mechanisms of peer influence. For instance, young chil-
                                                                                                                     the use of longitudinal SNA and employing a large sample of             dren’s choices of toys have been influenced by how peers respond
                                                                                                                     ethnically diverse students, it also has limitations. One is that the   to those choices in experimental studies (e.g., Langlois & Downs,
                                                                                                                     data on friendship networks was constrained to each grade rather        1980). Although it might be challenging to design studies that
                                                                                                                     than to the whole school. This choice of network boundary was           manipulate potential peer responses to adolescents’ aspects of GI,
                                                                                                                     informed by prior research demonstrating that grade level is the        it would be possible to develop scenarios in which adolescents
                                                                                                                     relevant sampling frame for middle school students (Cairns, Xie,        indicate how they would respond to unfamiliar peers given differ-
                                                                                                                     & Leung, 1998). Nonetheless, if children have broader networks          ent types of GI, similar to the study conducted by Jewell and
                                                                                                                     spanning beyond the grade level, then we may have missed older          Brown (2014).
                                                                                                                     or younger peers who also could be salient sources of influences
                                                                                                                     on GI. Also, we did not attempt to gather information about
                                                                                                                     adolescents’ out-of-school networks in their neighborhoods, again                                    Conclusion
                                                                                                                     potentially missing some potential sources of peer influence. Sec-         To the best of our knowledge, the present study is the first to
                                                                                                                     ond, some might question our use of self-report measures; how-          assess how peers influenced changes in adolescents’ GI. Using a
                                                                                                                     ever, Egan and Perry (2001) have argued forcefully that GI must         large sample of ethnically diverse seventh and eighth graders, we
                                                                                                                     be self-reported as these are personal, internal summary judgments      found evidence that adolescents use gender typicality, contented-
                                                                                                                     about one’s view of self and others. Third, we modified the Egan        ness, and gender when they select their friends. The evidence
                                                                                                                     and Perry’s (2001) scale and complemented it with Sellers et al.’s      concerning selection based on GI dimensions was relatively lim-
                                                                                                                     (1998) measure of identity, which may have subtly altered how           ited, although gender selection played a large role in structuring
                                                                                                                     participants responded to them. However, we believe that it is          adolescents’ networks. Most interestingly, we provided strong
                                                                                                                     unlikely that these subtle variations influenced how adolescents        evidence that friends’ self-reported levels of felt pressure and their
                                                                                                                     responded to these scales.                                              intergroup attitudes were influential in changing adolescents’ GI,
                                                                                                                        Future directions to pursue include exploring how and through        such that youth became similar to their friends in these beliefs over
                                                                                                                     which mechanisms (i.e., adherence to group norms or reinforce-          time. This research extends prior research on peer influence in
                                                                                                                     ment) GI attitudes and feelings of pressure are transmitted (Brech-     adolescence by illustrating that attitudes about gender and internal
                                                                                                                     wald & Prinstein, 2011). Another line of related research could         pressures to conform to gender norms also have the potential to be
                                                                                                                     focus on identifying the role of individual differences in socio-       transmitted among youth.
                                                                                                                     evaluative concerns and rejection sensitivity (Downey, Lebolt,
                                                                                                                     Rincón, & Freitas, 1998) as contributing factors to make some
                                                                                                                     adolescents more or less susceptible to peer influence. Because                                      References
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                                                                                                                     gender collectives (Pauletti et al., 2014), future work would be          comb, & W. Hartup (Eds.), The company they keep: Friendships in
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                                                                                                                     salience, may provide additional insights into how adolescents            .1111/1467-8721.00157
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                                                                                                                     this developmental transition.                                            explaining and reducing children’s social stereotyping and prejudice.
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                                                                                                                     gies and conceptualizations of peer relationships (Gifford-Smith &        .org/10.1111/j.1467-8721.2007.00496.x




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Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 18 of 216
                  ARTICLE
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                  Elevated rates of autism, other neurodevelopmental
                  and psychiatric diagnoses, and autistic traits in
                  transgender and gender-diverse individuals
                  Varun Warrier 1 ✉, David M. Greenberg1,2, Elizabeth Weir 1, Clara Buckingham1, Paula Smith1,
                  Meng-Chuan Lai 1,3,4, Carrie Allison1 & Simon Baron-Cohen1 ✉
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                  It is unclear whether transgender and gender-diverse individuals have elevated rates of
                  autism diagnosis or traits related to autism compared to cisgender individuals in large non-
                  clinic-based cohorts. To investigate this, we use ﬁve independently recruited cross-sectional
                  datasets consisting of 641,860 individuals who completed information on gender, neurode-
                  velopmental and psychiatric diagnoses including autism, and measures of traits related to
                  autism (self-report measures of autistic traits, empathy, systemizing, and sensory sensitivity).
                  Compared to cisgender individuals, transgender and gender-diverse individuals have, on
                  average, higher rates of autism, other neurodevelopmental and psychiatric diagnoses. For
                  both autistic and non-autistic individuals, transgender and gender-diverse individuals score,
                  on average, higher on self-report measures of autistic traits, systemizing, and sensory sen-
                  sitivity, and, on average, lower on self-report measures of empathy. The results may have
                  clinical implications for improving access to mental health care and tailoring adequate sup-
                  port for transgender and gender-diverse individuals.




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                             Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 19 of 216
                  NATURE COMMUNICATIONS | (2020)11:3959 | https://doi.org/10.1038/s41467-020-17794-1 | www.nature.com/naturecommunications                              1
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A
         utism is a group of neurodevelopmental conditions              deﬁned as a core feature of autism1) is elevated in transgender
         characterized by early-emerging difﬁculties in social-         and gender-diverse individuals.
         communication, unusually repetitive behavior and narrow           The existing literature is heterogeneous, conducted using dif-
interests, and atypical sensory sensitivity1. Approximately 1–2%        ferent methods, across age ranges and nationalities. These studies
of the general population is estimated to be autistic based on          demonstrate an increased occurrence of autism in gender-diverse
large-scale prevalence and surveillance studies, although these         individuals or individuals from GD clinics. However, almost all
numbers vary between countries, age at the time of assessment           studies were conducted using modest sample sizes (a typical
and other criteria2–8. Whilst several studies have investigated         sample size is in a few hundreds). Whilst these have the advan-
rates of autism in individuals who are birth-assigned as males and      tage of carefully characterizing gender identity, they may not
females, there still is limited information on rates of autism in       correctly estimate the effect sizes as the Odds Ratios (ORs) may
transgender and gender-diverse individuals in the general popu-         be biased away from zero35,36. Larger samples would minimize
lation. Gender identity is a different construct from sex assigned      the bias, but a bias will likely exist in most samples. Additionally,
at birth, which is typically classiﬁed as male or female primarily      most studies have focused on individuals from GD clinics.
based on external genitalia. Some individuals are born with             However, not all transgender and gender-diverse individuals have
chromosomal, genital, or hormonal sex-characteristics which vary        GD, and the rates of autism in GD individuals may be different
from the male–female binary (intersex individuals) and who may          from rates of autism in transgender and gender-diverse indivi-
be assigned as or raised as males or females. Gender identity is a      duals. It is also likely that young people attending GD clinics
person’s sense of their own gender, which may or may not                represent young people with the most intense gender dysphoria,
coincide with sex assigned at birth. Following current recom-           such that it warrants a referral for clinical care, and/or those
mended practice, we use the term “cisgender” to refer to indivi-        young people who can access this care (e.g., with parents who are
duals whose gender corresponds to their sex assigned at birth.          more tolerant of difference, or who have greater resources, etc.).
However, there is a diversity of gender identities including            Therefore, it is important to understand what the odds are of
transgender, non-binary, genderﬂuid, agender, genderqueer, two-         being diagnosed as autistic in transgender and gender-diverse
spirit, bigender or others. Again, based on current recommended         individuals at large, not solely in those recruited through GD
practice, we collectively refer to these and other diverse gender       clinics.
identities as “transgender and gender-diverse” (i.e., individuals          In parallel, studies have also investigated the rates of mental
whose gender does not always correspond to the sex they were            health conditions and mental distress in transgender and gender-
assigned at birth). Currently, 0.4–1.3%9–11 of the general popu-        diverse individuals, including individuals with GD (e.g.,
lation is estimated to be transgender and gender-diverse, although      references37–44). The literature is heterogeneous with varying
the numbers vary considerably based on how the terms are                research methodologies and sample sizes45. Two recent reviews
deﬁned11.                                                               identify higher rates of mental health conditions and mental
   A few studies, mostly clinic-based, typically with small sample      distress (notably depression, anxiety, and substance use disorders)
sizes, and in individuals with gender dysphoria (GD, deﬁned as          in transgender and gender-diverse individuals compared to cis-
persistent distress arising from a mismatch between sex assigned        gender individuals40,45. Most of this research has focused on
at birth and gender identity), have investigated the link between       depression, substance misuse, and anxiety, with limited research
autism/traits related to autism and gender diversity12,13. These        on neurodevelopmental and other psychiatric conditions. It is
studies have identiﬁed increased rates of gender diversity in           unclear how the elevated rates of autism diagnosis in transgender
autistic children and adolescents14–18, and adults19,20, compared       and gender-diverse individuals compare to other neurodevelop-
to the general population. Most of these studies in children and        mental and psychiatric conditions. To our knowledge, barring
adolescents have used a single item on the Child Behavior               one study16, none of the existing studies of autism and gender
Checklist (CBCL), a caregiver-report measure for behavioral             identity have compared the rates of other related neurodevelop-
problems, to quantify gender variance, and these have identiﬁed         mental and psychiatric conditions in transgender and gender-
that between 4% and 5.4% of autistic children may potentially be        diverse individuals versus cisgender individuals, making it difﬁ-
transgender or gender-diverse, compared to 0.7% of non-autistic         cult to estimate if the observed effects are speciﬁc to autism.
children14–16. The largest of these, conducted in nearly 300,000           The availability of large datasets to investigate the link between
children, identiﬁed a fourfold likelihood of GD clinical diagnoses      autism and gender identity is currently limited to internet-based
in autistic compared to non-autistic children (i.e., 0.07% of           surveys. As far as we are aware, there is no large-scale national or
autistic children and 0.01% of non-autistic children)17. Despite        regional registry with information available on both gender
the differences in percentages of transgender and gender-diverse        identity40 (not limited to individuals with gender dysphoria) and
identities in the studies using CBCL and clinical GD information,       autism diagnosis. We address these issues using four large-scale
the relative rates are largely similar (between 5.7 and 7.7). A         cross-sectional, internet-based datasets, and one longitudinal
second set of studies has investigated rates of autism in both          dataset, all sampled using a convenience framework. Using these
children and adolescents21–23 and adults24,25 with GD. These            ﬁve datasets, we investigate if transgender and gender-diverse
studies have identiﬁed that between 4.8% and 26% of individuals         individuals, compared to cisgender individuals, have: (1) elevated
who present at GD clinics have an autism diagnosis based on             rates of autism diagnosis; (2) elevated autistic traits, systemizing
several different criteria. The largest of these studies (N = 53224,    traits, sensory hypersensitivity traits, and reduced empathy traits,
and N = 54025) identiﬁed that 6.0% and 4.8% respectively of these       all related to autism; and (3) elevated rates of any of six neuro-
individuals are autistic, based on review of clinical and medical       developmental and psychiatric conditions that commonly co-
records. Although none of these studies have used a matched             occur with autism (attention-deﬁcit/hyperactivity disorder
control sample to investigate the relative rates of autism diag-        (ADHD), major depressive disorder (depression), bipolar dis-
noses, using a baseline population estimate of 1–2%2–8 suggests         order, obsessive-compulsive disorder (OCD), learning disorder
that autism diagnoses are signiﬁcantly elevated in individuals          (also known as speciﬁc learning disorder), and schizophrenia)46,47
presenting at GD clinics. A third group of studies have identiﬁed       (Fig. 1). Finally, whilst the previous literature has provided com-
elevated traits related to autism in individuals with gender            pelling evidence that autism is under-diagnosed (or mis-diagnosed
diversity24,26–34 compared to cisgender individuals. These studies      as other conditions) in cisgender females, it is unclear if this is true
have not investigated whether atypical sensory sensitivity (now         of transgender and gender-diverse individuals48–50. So, as an

2        Case NATURE
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                     COMMUNICATIONS | (2020)11:3959 | https://doi.org/10.1038/s41467-020-17794-1                 Page 20 of 216
                                                                                                 www.nature.com/naturecommunications
NATURE COMMUNICATIONS | https://doi.org/10.1038/s41467-020-17794-1                                                                           ARTICLE

                                 Channel 4          Musical Universe             LifeLines                IMAGE                  APHS
                                N = 514,100           N = 85,670                N = 37,975               N = 1803               N = 2312




                                                                                                 Gender identity and autistic traits
                                      Gender identity and autism diagnosis                   Channel 4: AQ-10, EQ-10, SQ-10, SPQ-10
                                                                                                 IMAGE: AQ-50; LifeLines: AQ-10




                                                                   Gender identity and other neurodevelopmental
                                                                            and psychiatric conditions
                                                                    ADHD, bipolar disorder, depression, OCD,
                                                                      schizophrenia, and learning disorder


Fig. 1 Schematic diagram of the study. This ﬁgure provides a schematic overview of the study. In this study we investigated three questions, presented in
the red boxes. For each question, the primary dataset was the Channel 4 dataset (pink box). We used four validation datasets to validate the results—
Musical Universe (cyan box), LifeLines (orange box), IMAGE (yellow box), and APHS (purple box). Colored arrows from the dataset boxes to the questions
indicate which questions were investigated in which datasets. AQ-10 (Autism Spectrum Quotient-10), SQ-10 (Systemizing Quotient-10), EQ-10 (Empathy
Quotient-10), SPQ-10 (Sensory Perception Quotient-10), AQ-50 (Autism Spectrum Quotient-50), ADHD (Attention-Deﬁcit/Hyperactivity Disorder), OCD
(Obsessive-Compulsive Disorder).



exploratory analysis, we investigate whether transgender and                           signiﬁcant after accounting for age and educational attainment in
gender-diverse individuals are more likely to suspect that they                        three of the four cohorts (transgender and gender-diverse vs.
have undiagnosed autism compared to cisgender individuals.                             cisgender: MU: OR = 6.07, 95%CI = 4.56–8.08, p value < 2 × 10−16;
                                                                                       IMAGE: OR = 6.36, 95% CI = 3.34–12.13, p value = 1.08 × 10−9;
Results                                                                                APHS: OR = 6.28, 95%CI = 4.13–9.53, p value < 2 × 10−16). In
Rates of autism diagnosis. We ﬁrst investigated whether rates of                       addition, we identiﬁed concordant effect direction in the LifeLines
autism diagnosis differed by gender in the C4 dataset. A χ2 test                       cohort (LifeLines: OR = 3.03, 95% CI = 0.72–12.76, p value = 0.13),
identiﬁed a signiﬁcant difference in autism diagnosis based on                         though this was not statistically signiﬁcant due to the low statistical
gender (χ2 (2) = 3316, φ = 0.08, p value < 2 × 10−16). Transgen-                       power (Supplementary Note). Supplementary Table S3 provides the
der and gender-diverse individuals had higher rates of autism                          results for all three genders.
diagnosis compared to cisgender males (OR = 4.21, 95%                                     Additional sensitivity analysis in the MU dataset conducted by
CI = 3.85–4.60, p value < 2 × 10−16), cisgender females                                separating the cisgender group into cisgender males and
(OR = 6.80, 95%CI = 6.22–7.42, p value < 2 × 10−16), and cis-                          cisgender females and the transgender and gender-diverse group
gender individuals altogether (i.e., cisgender males and cisgender                     into “transgender” and “other” indicated that both the non-
females combined) (OR = 5.53, 95%CI = 5.06–6.04, p value < 2 ×                         cisgender groups had higher rates of autism diagnosis compared
10−16) (Fig. 2). After accounting for age and educational attain-                      to both cisgender males and cisgender females (Supplementary
ment, transgender and gender-diverse individuals had higher                            Table S4).
rates of autism diagnosis compared to cisgender males                                     Given that we did not collect information on sex and gender
(OR = 3.88, 95%CI = 3.54–4.25, p value < 2 × 10−16), cisgender                         separately in the MU and the C4 datasets, we further investigated
females (OR = 5.31, 95%CI = 4.85–5.82, p value < 2 × 10−16), and                       if the adjusted ORs (transgender and gender-diverse vs.
cisgender individuals altogether (OR = 4.59, 95%CI = 4.20–5.03,                        cisgender) were signiﬁcantly different for the APHS, IMAGE,
p value < 2 × 10−16) (Fig. 2).                                                         and LifeLines datasets when compared to the MU and the C4
   Given the limitations of the C4 dataset, we investigated this                       datasets. We used a subsampling bootstrap approach (10,000 sub-
hypothesis in four other independently recruited datasets: MU,                         samples) to test this and calculated empirical p-values (“Meth-
IMAGE, APHS, and LifeLines (“Methods”). χ2 tests identiﬁed                             ods”). Empirical p values suggested that the ORs for the APHS
signiﬁcant gender-based differences in autism diagnosis rates                          (p value = 0.078), IMAGE (p value = 0.11), and LifeLines (p value
(p value < 1 × 10−5 in all datasets). Transgender and gender-diverse                   = 0.84) datasets were not statistically different from the ORs
individuals had higher rates of autism diagnosis compared to                           observed in the 10,000 samples generated from the C4 dataset.
cisgender males (MU: OR = 5.5, 95%CI = 4.10–7.28, p value < 2 ×                        Similarly, empirical p values for the APHS (p value = 0.56),
10−16; IMAGE: OR = 6.36, 95%CI = 3.75–10.93, p value = 6.32 ×                          IMAGE (p value = 0.44), and LifeLines (p value = 0.85) datasets
10−14; APHS: OR = 4.46, 95%CI = 2.95–6.96, p value = 3.6 × 10−13;                      suggested that the ORs were not statistically different from that
LifeLines: OR = 3.63, 95%CI = 1.12–11.73, p value = 0.02), cisgender                   observed in the 10,000 permuted samples generated from the MU
females (MU: OR = 9.92, 95%CI = 7.32–13.20, p value < 2 × 10−16;                       dataset.
IMAGE: OR = 5.35, 95%CI = 3.14–9.24, p value = 5.23 × 10−11;                              We also investigated if rates of transgender and gender diversity
APHS: OR = 6.66, 95%CI = 4.45–10.29, p value < 2 × 10−16; Life-                        are higher in individuals diagnosed with autism using a logistic
Lines: OR = 6.88, 95%CI = 2.27–20.85, p value = 1 × 10−4),                             regression framework after accounting for age and educational
and cisgender individuals altogether (MU: OR = 7.08,                                   attainment. We identiﬁed signiﬁcant associations in four of the ﬁve
95%CI = 5.28–9.30, p value < 2 × 10−16; IMAGE: OR = 5.90,                              dataset (C4: OR = 4.66, 95%CI = 4.26–5.10, p value < 2 × 10−16;
95%CI = 3.52–10.02, p value = 1.80 × 10−13; APHS: OR = 5.77,                           MU: OR = 6.05, 95%CI = 4.55–8.05, p value < 2 × 10−16; IMAGE:
95%CI = 3.88–8.86, p value < 2 × 10−16; LifeLines: OR = 5.50, 95%                      OR = 6.35, 95%CI = 3.32–12.11, p value = 2.1 × 10−8; APHS:
CI = 1.60–16.60, p value = 0.002). These results were statistically                    OR = 6.31, 95%CI = 4.14–9.62, p value < 2 × 10−16) and a

          Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 21 of 216
NATURE COMMUNICATIONS | (2020)11:3959 | https://doi.org/10.1038/s41467-020-17794-1 | www.nature.com/naturecommunications                                    3
ARTICLE                                                                                           NATURE COMMUNICATIONS | https://doi.org/10.1038/s41467-020-17794-1


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                       OR




                                                                                                     OR
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                             5                                                                             5



                                                                                                           0
                                  C4



                                           MU



                                                         APHS



                                                                     IMAGE



                                                                                      Lifelines




                                                                                                                C4



                                                                                                                            MU



                                                                                                                                   APHS



                                                                                                                                          IMAGE



                                                                                                                                                  Lifelines
                                                Reference category           Cisgender male         Cisgender   Cisgender female


Fig. 2 ORs and 95% CIs for autism in transgender and gender-diverse individuals compared to cisgender males, cisgender females, and cisgender
individuals altogether. a This ﬁgure provides the unadjusted Odds Ratios (ORs, point) and 95% CIs for autism in transgender and gender-diverse
individuals compared to either cisgender males, cisgender females, or cisgender (cisgender males and cisgender females) individuals in ﬁve datasets (C4:
N = 514,100; MU: N = 85,670; APHS: N = 2312; IMAGE: N = 1803; and LifeLines: N = 37,975). b This ﬁgure provides adjusted ORs (point) and 95% CIs for
autism in transgender and gender-diverse individuals compared to cisgender males, cisgender females, or all cisgender individuals in ﬁve datasets (C4:
N = 514,100; MU: N = 85,670; APHS: N = 2312; IMAGE: N = 1803; and LifeLines: N = 37,975). ORs have been adjusted for age, educational attainment,
and in the case of IMAGE dataset, an additional dummy variable for study (see “Supplementary Methods”). The y-axis is on the same scale for both the
panels. The differences in ORs for the IMAGE dataset between Models 1 and 2 is primarily due to the inclusion of “study” group as a covariate. Speciﬁcally,
the IMAGE dataset consists of individuals recruited into a study of mathematics and autism (“Methods”). Whilst the mathematics group is predominantly
male and have higher educational attainment (all have at least an undergraduate degree), the case–control group had a more balanced ratio and a wider
range of educational attainment. Covarying for the study the participants have been recruited into (mathematics or autism case–control) changes the ORs.


concordant effect direction in the LifeLines dataset (OR = 2.91, 95%                                    We repeated the analyses after accounting for autism diagnosis,
CI = 0.69–12.20, p value = 0.14).                                                                    age, and educational attainment. Transgender and gender-diverse
                                                                                                     individuals scored higher (p value < 2 × 10−16 for all) than both
                                                                                                     cisgender males and cisgender females on the AQ-10 (cisgender
Traits related to autism. As seen in cisgender individuals51,                                        males: Beta = 0.89 ± 0.02, cisgender females: Beta = 1.05 ± 0.02),
autistic transgender and gender-diverse individuals scored higher                                    the SQ-10 (cisgender males: Beta = 0.66 ± 0.02, cisgender females:
on the AQ-10, SQ-10, and SPQ-10, and lower on the EQ-10                                              Beta = 0.99 ± 0.02), and the SPQ-10 (cisgender males: Beta =
compared to non-autistic transgender and gender-diverse indi-                                        0.66 ± 0.02, cisgender females: Beta = 0.55 ± 0.02), and lower on
viduals (Cohen’s D: 0.54−0.72, p-value < 2 × 10−16, Supple-                                          the EQ-10 (cisgender males: Beta = −0.33 ± 0.02, cisgender
mentary Tables S5 and S6).                                                                           females: Beta = −0.70 ± 0.02) (Fig. 3 and Supplementary Fig. S1).
   We next investigated gender differences in scores on the AQ-                                      We replicated this in two datasets: the IMAGE dataset using the
10, SQ-10, EQ-10, and SPQ-10 in autistic and non-autistic                                            AQ-50 and the LifeLines dataset using the AQ-10. In the IMAGE
individuals separately in the C4 dataset. In both autistic and non-                                  dataset, transgender and gender-diverse individuals scored
autistic individuals separately, ANOVA identiﬁed signiﬁcant                                          higher than both cisgender males (Beta = 0.45 ± 0.11, p value =
differences based on gender on all four measures (p value < 2 ×                                      3.09 × 10−5) and cisgender females (0.52 ± 0.11, p value < 1.80 ×
10−16 in all comparisons). Post-hoc t-tests indicated signiﬁcant                                     10−6). In the LifeLines dataset, transgender and gender-diverse
differences between groups across all measures: transgender and                                      individuals scored higher than cisgender females (Beta = 1.23 ±
gender-diverse individuals scored higher on the AQ-10, SQ-10,                                        0.25, p value = 1.4 × 10−6) and nominally higher than cisgender
and SPQ-10, and lower on the EQ-10 compared to both cisgender                                        males (Beta = 0.51 ± 0.25, p value = 0.045).
males and cisgender females. The effect sizes for differences in                                        The previous analyses investigated the association between
scores were larger for the cisgender male vs. transgender and                                        gender identity and traits related to autism individually. We next
gender-diverse as well as cisgender female vs. transgender and                                       investigated if there are differences in the standardized dis-
gender-diverse tests compared to the cisgender male vs. cisgender                                    crepancy between the EQ-10 and the SQ-10 in the three gender
female tests across all four measures in both non-autistic and                                       categories using “Brain Types”. Compared to both non-
autistic individuals (Supplementary Tables S5 and S6).                                               autistic cisgender males and non-autistic cisgender females,
   For both cisgender male vs. transgender and gender-diverse as                                     non-autistic transgender and gender-diverse individuals were
well as cisgender female vs. transgender and gender-diverse                                          signiﬁcantly more likely to be classiﬁed as Type S (cisgender
comparisons, effect sizes were larger in autistic individuals                                        males 40.23%, cisgender females 25.58%, transgender and gender-
(Cohen’s D: 0.55–1.05) compared to the same analyses in non-                                         diverse 53%) or Extreme Type S (cisgender males 4.14%,
autistic individuals (Cohen’s D: 0.32–0.96). This contrasts with                                     cisgender females 1.69%, transgender and gender-diverse
cisgender male vs. cisgender female gender differences for these                                     13.15%) (p value < 2 × 10−16). This was more pronounced in
measures, which are attenuated in autistic individuals compared                                      autistic transgender and gender-diverse individuals compared to
to non-autistic individuals (Supplementary Tables S5 and S6 and                                      autistic cisgender individuals (Extreme Type S: cisgender males
Fig. 3).                                                                                             11.42%, cisgender females 7.55%, and transgender and gender-

4         Case NATURE
               1:22-cv-00078-CJW-MAR                       Document 3-11 Filed |08/05/22
                      COMMUNICATIONS | (2020)11:3959 | https://doi.org/10.1038/s41467-020-17794-1                 Page 22 of 216
                                                                                                  www.nature.com/naturecommunications
NATURE COMMUNICATIONS | https://doi.org/10.1038/s41467-020-17794-1                                                                                                                            ARTICLE

                                    0.5

                                                                                                                             0.15

                                    0.4



                                    0.3                                                                                      0.10



                          Density




                                                                                                                   Density
                                    0.2

                                                                                                                             0.05

                                    0.1



                                    0.0                                                                                      0.00

                                             0          2          4            6             8       10                            0             5            10            15          20
                                                                       AQ-10                                                                                 SQ-10




                                    0.08

                                                                                                                             0.06

                                    0.06
                          Density




                                                                                                                   Density
                                                                                                                             0.04
                                    0.04



                                                                                                                             0.02
                                    0.02



                                    0.00                                                                                     0.00

                                              0             5              10            15           20                            0                 10                20               30
                                                                       EQ-10                                                                                SPQ-10
                                          Non-autistic cisgender females            Non-autistic cisgender males               Non-autistic transgender and gender-diverse individuals


Fig. 3 Kernel density plot of scores on the four self-report measures in the C4 Dataset for non-autistic individuals only. This ﬁgure provides kernel
density plots for scores on the four self-report measures (AQ-10, EQ-10, SQ-10, and SPQ-10) for non-autistic participants from the C4 dataset
(N = 514,100) based on their gender (cisgender males, cisgender females, transgender and gender-diverse individuals). Scales on the axes are different
between the panels. See Supplementary Fig. S1 which provides kernel density plots for all four measures for both autistic and non-autistic individuals. The
non-autistic transgender and gender-diverse kernel density plots appear smoother due to the relatively low number of participants included, hence
providing less resolution in the kernel density estimates when compared to the non-autistic cisgender males and non-autistic kernel density plots.


diverse 34.73%; Type S: cisgender males 50.97%, cisgender                                                          were excluded, i.e., Model 3 (1.92 (learning disorders) to 6.39
females 42.29%, transgender and gender-diverse 51.79%) (p                                                          (schizophrenia)) (Supplementary Table S8). Notably, there was a
value < 2 × 10−16). (Supplementary Table S7 and Supplementary                                                      considerable attenuation in the OR for schizophrenia. The ORs for
Fig. S2). Cumulatively, in autistic individuals, 86.52% of                                                         autism, ADHD, bipolar disorder and depression were similar to
transgender and gender-diverse individuals were classiﬁed as                                                       each other. In comparison, the ORs for OCD and LD were about
Type S or Extreme Types S compared to 62.39% of cisgender                                                          half that for autism. Supplementary Table S9 provides results of the
males. In both autistic and non-autistic transgender and gender-                                                   analyses repeated for the three genders (cisgender male, cisgender
diverse individuals, observed values were signiﬁcantly shifted                                                     female, and transgender and gender-diverse).
towards Type S and Extreme Type S compared to what is                                                                 We repeated the analyses for ﬁve of the six conditions tested
expected (p value < 2 × 10−16).                                                                                    above in the MU dataset. Compared to cisgender individuals,
                                                                                                                   transgender and gender-diverse individuals reported higher rates
                                                                                                                   of all ﬁve conditions (Model 1; OR: 2.15 (schizophrenia) to 3.83
Rates of other neurodevelopmental and psychiatric conditions.                                                      (depression)), with the results for schizophrenia not being
We next investigated if rates of six other neurodevelopmental and                                                  statistically signiﬁcant, possibly due to small sample size (Fig. 4).
psychiatric conditions (ADHD, bipolar disorder, depression,                                                        These results were similar after accounting for educational
learning disorder, OCD, and schizophrenia) differed by gender in                                                   attainment and age (Model 2; OR: 1.81 (schizophrenia) to 3.89
the C4 dataset. Compared to cisgender individuals, transgender and                                                 (depression)), and additionally, after excluding autistic indivi-
gender-diverse individuals had elevated rates of all these conditions,                                             duals (Model 3 OR: 1.11 (schizophrenia) to 3.91 (depression))
with the highest effect size for schizophrenia (OR = 28.52, 95%                                                    (Supplementary Table S8). In contrast to the C4 dataset, in the
CI = 24.17–33.66, p value < 2 × 10−16) and the lowest for learning                                                 MU dataset, the ORs for autism was the largest, followed by the
disorders (OR = 3.48, 95%CI = 3.09–3.91, p value < 2 × 10−16)                                                      two mood disorders (depression and bipolar disorder). Notably,
(Supplementary Table S8). Including age and educational attain-                                                    the OR for depression was similar in both the C4 and the MU
ment as covariates (Model 2) attenuated the ORs only modestly                                                      datasets. Supplementary Table S9 provides results of the analyses
(ORs: 3.08 (learning disorders) to 19.73 (schizophrenia)). However,                                                repeated for three genders (cisgender male, cisgender female, and
the ORs were substantially attenuated when autistic individuals                                                    transgender and gender-diverse).
          Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 23 of 216
NATURE COMMUNICATIONS | (2020)11:3959 | https://doi.org/10.1038/s41467-020-17794-1 | www.nature.com/naturecommunications                                                                            5
ARTICLE                                                                                                                             NATURE COMMUNICATIONS | https://doi.org/10.1038/s41467-020-17794-1



    a                                                                                                                                  p value = 2.51 × 10−4), cisgender females (OR = 7.99, 95%
         30
                                                                                                                                       CI = 3.54–18.92, p value = 3.13 × 10−8), and cisgender male and
                                                                                                                                       female individuals altogether (OR = 5.47, 95%CI = 2.47–12.72,
                                                                                                                                       p value = 9.01 × 10−6).
         20
    OR




                                                                                                                                       Discussion
         10
                                                                                                                                       In this study, we investigated three primary questions, and an
                                                                                                                                       additional exploratory question using ﬁve different, large-scale
          0                                                                                                                            datasets. First, across all ﬁve datasets, transgender and gender-
                                                                                                                                       diverse individuals were 3.03 to 6.36 times as likely to be autistic




                                                                                                                    Schizophrenia
                                                                 Depression
                 Autism




                                             Bipolar
                              ADHD




                                                                                                        OCD
                                                                                           LD
                                                                                                                                       than were cisgender individuals, after controlling for age and
                                                                                                                                       educational attainment. Second, transgender and gender-diverse
                                                                                                                                       individuals scored signiﬁcantly higher on self-report measures of
    b                                                                                                                                  autistic traits, systemizing and sensory sensitivity and scored
                                                                                                                                       signiﬁcantly lower on empathy traits compared to cisgender
         7.5                                                                                                                           individuals. Third, in two datasets with available data, transgen-
                                                                                                                                       der and gender-diverse individuals had elevated rates of multiple
         5.0
                                                                                                                                       other neurodevelopmental and psychiatric conditions. Finally,
    OR




                                                                                                                                       exploratory analysis identiﬁed that transgender and gender-
                                                                                                                                       diverse individuals were more likely to report that they suspected
         2.5                                                                                                                           they had undiagnosed autism.
                                                                                                                                          These associations between gender identity and autism diag-
                                                                                                                                       noses are unlikely to be false positives for multiple reasons. First,
         0.0                                                                                                                           we observe consistent effect directions across multiple datasets
                                                                                                              Schizophrenia
                                                                              Depression
                     Autism




                                                       Bipolar
                                     ADHD




                                                                                                  OCD




                                                                                                                                       with very different recruitment strategies, ascertainment biases,
                                                                                                                                       cultural backgrounds, and age ranges. The effects after accounting
                                                                                                                                       for age and educational attainment were statistically signiﬁcant
                                     Model     Model 1                 Model 2              Model 3                                    for four of the ﬁve datasets, and in the same direction for the ﬁfth
Fig. 4 ORs and 95% CIs for other neurodevelopmental and psychiatric
                                                                                                                                       (i.e., LifeLines cohort). The lack of statistical signiﬁcance is due to
conditions in transgender and gender-diverse individuals compared to
                                                                                                                                       the low statistical power of the LifeLines dataset, because parti-
cisgender individuals. a This ﬁgure provides the Odds Ratios (ORs, point)
                                                                                                                                       cipants were older and healthier as individuals with severe mental
and 95% CIs for diagnosis of autism and six other neurodevelopmental and
                                                                                                                                       health conditions were excluded at the time of recruitment, and
psychiatric conditions in transgender and gender-diverse individuals
                                                                                                                                       individuals with higher genetic likelihood for mental health
compared to cisgender individuals in the C4 dataset (N = 514,100). We did
                                                                                                                                       conditions are likely to drop out from longitudinal studies52,53.
not employ Model 3 for autism as it was conducted after excluding autistic
                                                                                                                                       Second, comparing the ORs of the three smaller samples
individuals in the dataset. ORs have been calculated using three models
                                                                                                                                       (IMAGE, APHS, and LifeLines) to bootstrapped ORs from
(see Methods). ADHD = Attention-Deﬁcit/Hyperactivity Disorder; OCD =
                                                                                                                                       10,000 subsamples in the two largest samples (C4 and MU) did
Obsessive-Compulsive Disorder; LD = Learning Disorder. b This ﬁgure
                                                                                                                                       not identify statistically signiﬁcant differences in ORs. This
provides the same, but for the MU dataset (N = 85,670). Information on
                                                                                                                                       indicates that the ORs are similar regardless of different recruit-
LD was not available in the MU dataset. The y-axis is on a different scale
                                                                                                                                       ment strategies and different methods used to ascertain gender
from the panel above.
                                                                                                                                       and autism. Third, sensitivity analysis in the MU dataset did not
                                                                                                                                       identify differences in the rates of autism diagnosis between
   To further clarify the role of autism compared to other                                                                             participants who indicated “Other” vs. “Transgender”. Fourth, the
neurodevelopmental and psychiatric conditions, we conducted                                                                            ORs observed in this study are similar to those observed in
multiple regressions to investigate the relative effects of associa-                                                                   participants from GD clinics17, suggesting that ORs observed
tion of autism on transgender and gender-diverse identities                                                                            using an internet-based convenience sampling framework is
compared to other neurodevelopmental and psychiatric condi-                                                                            similar to ORs observed in GD clinic-based samples.
tions. In the C4 dataset, depression had the highest OR                                                                                   Supporting the association between gender identity and autism
(OR = 3.55, 95%CI = 3.84–3.29, p value < 2 × 10−16) followed                                                                           diagnoses, transgender and gender-diverse individuals also had
by autism (OR = 3.43, 95%CI = 3.79–3.11, p value < 2 × 10−16).                                                                         higher scores on self-report measures of autistic traits, sensory
In the MU dataset, we obtained very similar ORs. Autism had the                                                                        sensitivity, and systemizing, and lower scores on a self-report
highest OR (OR = 3.94, 95%CI = 5.61–2.77, p value < 2 × 10−16)                                                                         measure of empathy traits, compared to cisgender individuals.
followed by depression (OR = 3.50, 95%CI = 4.25–2.89, p value <                                                                        The transgender and gender-diverse vs. cisgender effect sizes are
2 × 10−16). ORs for other conditions are provided in the                                                                               equivalent to or larger than the autism vs. non-autism effect sizes
Supplementary Table S10.                                                                                                               and the cisgender male vs. cisgender female effect sizes in non-
                                                                                                                                       autistic individuals. Importantly, these effects were also observed
                                                                                                                                       when investigating the discrepancy of scores on the EQ-10 and
Exploratory analysis: rates of suspected autism. In the IMAGE                                                                          SQ-10 using the “Brain Types” analyses. In addition, in a rela-
dataset, we also investigated if transgender and gender-diverse                                                                        tively smaller sample (IMAGE), transgender and gender-diverse
individuals were more likely to suspect they had undiagnosed                                                                           individuals were more likely to suspect they had undiagnosed
autism compared to cisgender individuals. A χ2 test identiﬁed a                                                                        autism. Taken together, our analyses indicate that transgender
signiﬁcant difference between genders (χ2 (2) = 42.087, φ = 0.15,                                                                      and gender-diverse individuals are more likely to be autistic
p value = 7.52 × 10−10). Transgender and gender-diverse indivi-                                                                        compared to cisgender individuals, and further that undiagnosed
duals were more likely to suspect they had undiagnosed autism                                                                          autism may also be higher in transgender and gender-diverse
compared to cisgender males (OR = 4.32, 95%CI = 1.94–10.10,                                                                            individuals.

6              Case NATURE
                    1:22-cv-00078-CJW-MAR                       Document 3-11 Filed |08/05/22
                           COMMUNICATIONS | (2020)11:3959 | https://doi.org/10.1038/s41467-020-17794-1                 Page 24 of 216
                                                                                                       www.nature.com/naturecommunications
NATURE COMMUNICATIONS | https://doi.org/10.1038/s41467-020-17794-1                                                                      ARTICLE

   However, this association with gender identity is not speciﬁc to             attenuate ORs. In other words, a strength of this study is that
autism. In two datasets, transgender and gender-diverse indivi-                 none of the datasets were collected to speciﬁcally test the asso-
duals also had elevated rates of ADHD, bipolar disorder,                        ciation between autism and gender identity. Furthermore, similar
depression, OCD, learning disorders, and schizophrenia com-                     ORs have been observed in a large-scale study of autism in par-
pared to cisgender individuals. In one of the two datasets, we                  ticipants of GD clinics which are unlikely to be affected by this
tested and conﬁrmed that transgender and gender-diverse indi-                   speciﬁc type of selection bias17, providing further corroboration
viduals had higher rates of learning disorders compared to cis-                 to our ﬁndings.
gender individuals. In the C4 dataset, we identiﬁed elevated rates                  Whilst our study does not test causality, a few hypotheses may
of schizophrenia in transgender and gender-diverse individuals                  explain the over-representation of autism and other neurodeve-
compared to cisgender individuals but were unable to replicate                  lopmental and psychiatric conditions in transgender and gender-
this in the MU dataset.                                                         diverse individuals. First, autistic individuals may conform less to
   Our multiple regression analyses helped clarify the relative                 societal norms compared to non-autistic individuals, which may
association strengths of these conditions with transgender and                  partly explain why a greater number of autistic individuals
gender-diverse individuals. In both the MU and the C4 datasets,                 identify outside the stereotypical gender binary. Second, prenatal
autism and depression had the highest effect sizes. Notably, in the             mechanisms (e.g., sex steroid hormones) shaping brain develop-
MU dataset, none of the other conditions were signiﬁcantly ele-                 ment have been shown to contribute to both autism (and asso-
vated in transgender and gender-diverse individuals after con-                  ciated neurodevelopmental conditions) and gender role
trolling for autism and depression, which is discordant with the                behavior56–60. It is unclear if prenatal sex steroid hormones also
results identiﬁed in the C4 datasets. This discrepancy in the                   contribute to gender identity and this should be investigated in
results may be due to differences in sample sizes, ascertainment,               future studies. Neurodevelopmental conditions such as ADHD
or other cohort characteristics. For instance, the C4 study directly            and learning disorders frequently co-occur with autism47, and
recruited participants to an autism study. This may oversample                  genetic evidence suggests a shared underlying liability for many of
individuals with other co-occurring mental health conditions. In                the co-occurring neurodevelopmental and psychiatric condi-
contrast, the MU dataset is a convenience sample collected over                 tions61,62. Finally, an alternative but not mutually exclusive
many months. There is some evidence to suggest that individuals                 explanation is that transgender and gender-diverse individuals
with elevated genetic liability for schizophrenia, ADHD, and                    have elevated vulnerabilities for multiple psychiatric challenges
depression may be less likely to participate in studies52,53, and, as           related to stressful life experiences in the contexts of unfriendly
a result, they may be underrepresented in the MU dataset. In                    environments, discrimination, abuse and victimization, explain-
addition, most of the participants in the C4 are from the UK,                   ing the elevated rates of mental health diagnoses63,64.
whilst most of the MU participants are from the US. Differences                     These ﬁndings must be interpreted in light of the lived
in diagnostic practices may also contribute to sampling differ-                 experiences, rights, and clinical and daily life needs of transgender
ences. A more comprehensive investigation of the relative rates of              and gender-diverse individuals. Both autistic individuals and
neurodevelopmental and psychiatric conditions in transgender                    transgender and gender-diverse individuals are marginalized
and gender-diverse individuals compared to cisgender individuals                groups where the currently available support and understanding
is warranted.                                                                   is inadequate65. Both groups are also more likely than others to
   The elevated rates of autism and other conditions must be                    engage in self-harm, suicidal ideation and suicidal behaviors, and
considered against other hypotheses that may explain the                        to have other vulnerabilities63,66–68. This intersection of autism
observed results due to the non-probabilistic nature of the sam-                and gender diversity can be doubly distressing if adequate safe-
ple. Speciﬁcally, for autism, one alternative hypothesis is that                guarding and support are not provided. A recent study demon-
transgender and gender-diverse individuals may be more likely to                strated that a third of autistic individuals had their gender
report higher rates of autistic traits due to long-standing experi-             identity questioned because they were autistic65. There is a need
ences and feelings of “not ﬁtting in socially”, with true levels of             to ensure that autistic transgender and gender-diverse individuals
autistic traits being comparable between cisgender and trans-                   have the right to express their gender, live with dignity, and
gender and gender-diverse individuals. Although this is possible,               receive social and legal recognition of their gender69 (also see:
other studies have reported elevated autistic traits measured using             https://autisticadvocacy.org/wp-content/uploads/2016/06/joint_
parent- or teacher-report instruments in individuals with                       statement_trans_autistic_GNC_people.pdf). Additionally, recent
GD31,33. Importantly, in our study, we note that the shift in scores            studies demonstrate that autistic characteristics partly differ
in transgender and gender-diverse individuals is observed across                between cisgender males and cisgender females50,70,71. However,
both social (EQ-10) and non-social (SPQ-10 and SQ-10) mea-                      it is still unclear if autistic characteristics differ in transgender and
sures of traits related to autism, which themselves are only partly             gender-diverse individuals compared to cisgender individuals.
correlated51,54,55. Notably, transgender and gender-diverse indi-               This co-occurrence requires gender-informed and neurodiversity-
viduals also score higher on the SPQ-10, a measure of sensory                   informed clinical care for autistic transgender and gender-diverse
sensitivity, and response to items on this measure are unlikely to              individuals.
be inﬂuenced by social gender norms.                                                There are caveats to this study. First, in two of the datasets we
   Another alternative hypothesis is that autistic transgender and              excluded intersex individuals, but this was not an option in other
gender-diverse individuals may be more likely to participate in                 datasets (C4, LifeLines and MU). Second, there is a possibility
these studies compared to autistic cisgender individuals (i.e.,                 that some nonbinary, gender-neutral, or other gender-diverse
selection bias). However, this is unlikely: the datasets were not               individuals may not identify with the “transgender” term in the
collected to speciﬁcally investigate the links between gender and               C4 dataset as we did not concurrently provide the “transgender”
rates of autism diagnosis. Whilst autistic individuals may be more              and “other” options. Third, some gender-aware individuals may
likely to participate in the autism-related studies (C4, APHS, and              respond by providing their sex rather than their gender. It is
IMAGE), it is unlikely that this will be biased towards autistic                difﬁcult to disentangle this. However, the magnitude of the
transgender and gender-diverse compared to autistic cisgender                   sample size suggests that the effects of such misclassiﬁcation will
individuals. In addition, two of the datasets (MU and LifeLines)                have a minimal effect on the analyzes and ﬁndings. Supporting
were not collected speciﬁcally for an autism-based study. Further,              this, subsampling bootstrap analyses indicate that the ORs are
the LifeLines also has a healthy volunteer bias, which is likely to             similar across the different datasets. Additionally, the ORs are
          Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 25 of 216
NATURE COMMUNICATIONS | (2020)11:3959 | https://doi.org/10.1038/s41467-020-17794-1 | www.nature.com/naturecommunications                               7
ARTICLE                                                                              NATURE COMMUNICATIONS | https://doi.org/10.1038/s41467-020-17794-1


similar between the ﬁve internet-based datasets in this study and                         Channel 4: ascertaining gender identity. During data collection, information on
a study based on GD-clinic based samples17. This similarity                               gender was initially collected using four options listed above. However, towards the
                                                                                          end of the data collection phase, the “Transgender” option was modiﬁed to “Other”
suggests that regardless of recruitment (internet-based vs. clinic-                       to make it more inclusive. For this study, we restricted our analysis to only those
based) or ascertainment criteria (self-report gender identity vs.                         participants from the ﬁrst phase of data collection who could choose from “Male”,
clinically ascertained gender dysphoria) or age (adults vs. chil-                         “Female”, “Transgender” and “Prefer not to say”, as this makes it clearer for
dren), the results converge on similar ORs. Fourth, individuals                           interpreting the data. This resulted in 514,100 individuals whose gender was either
with severe mental health conditions and intellectual disability are                      “Male” (N = 193,398), “Female” (N = 317,891), or “Transgender” (N = 2811 or
                                                                                          0.55%).
less likely to participate. Finally, these datasets are not statistically
well-powered to investigate rates of autism diagnosis in trans-
                                                                                          Channel 4: ascertaining diagnosis of autism and other conditions. 27,919
gender and gender-diverse individuals after stratifying by sex                            participants (5.4%) indicated they had an autism diagnosis (cisgender
assigned at birth; thus, we have not investigated this.                                   males = 13,317; cisgender females = 13,934, transgender and gender-diverse =
   In conclusion, our study demonstrates that transgender and                             668). Diagnoses of autism and other psychiatric conditions were asked using the
gender-diverse individuals have elevated rates of autism diag-                            question: “Have you been formally diagnosed with any of the following (please
                                                                                          click all that apply?)”. For other psychiatric conditions, participants could choose
nosis, related neurodevelopmental and psychiatric conditions,                             from ADHD, bipolar disorder, depression, learning disorder, schizophrenia, and
and autistic traits compared to cisgender individuals. This study                         OCD. The wording of the question should typically preclude (though not com-
has clinical implications by highlighting that we need to improve                         pletely eliminate) self-diagnosed individuals. Participants indicated they had the
access to care and tailored support for this under-served                                 following diagnoses: ADHD (N = 19,300), bipolar disorder (N = 9025), depression
                                                                                          (N = 122,829), learning disorder (N = 18,559), OCD (N = 13,115), and schizo-
population.                                                                               phrenia (N = 1321). These were not mutually exclusive, as individuals could
                                                                                          endorse several diagnoses. In addition, participants provided information on their
                                                                                          educational attainment and age (Supplementary Tables S1 and S2).
Methods
Overview of the datasets. We used ﬁve datasets for this study. The largest of             Channel 4: measures of traits related to autism. All participants completed four
these (Channel 4 dataset, C4) consists of N = 514,100 individuals who completed           short, self-report psychological trait measures: the Autism Spectrum Quotient-10
online questionnaires as a part of a UK Channel 4 television program about autism.        (AQ-10)73, a widely-used measure of autistic traits; the Empathy Quotient-10 (EQ-
These participants self-reported their autism diagnosis, and indicated their gender       10)51, a measure of empathy traits; the Systemizing Quotient-10 (SQ-10)51 (10
based on three options “Male”, “Female”, and “Transgender”. To address autism-            items from the Systemizing Quotient–Revised74, but referred to here as System-
related self-selection bias in this dataset, we used a second dataset (Musical Uni-       izing Quotient-10), a measure of systemizing traits (the drive to analyze or build a
verse, MU, N = 85,670) recruited through a website for research about musical             system75); and the Sensory Perception Quotient-10 (SPQ-10)51, a measure of
behavior, personality and cognition. Participants completed information about             sensory sensitivity. Using the SQ-10 and the EQ-10 data, we calculated “Brain
their autism diagnosis and selected their gender from four options: “Male”,               Types”51, which refer to an individual’s cognitive proﬁle based on the discrepancy
“Female”, “Transgender” and “Other”. However, neither of these two datasets have          of their scores on empathy and systemizing traits. Individuals may be classiﬁed into
separately recorded information on sex at birth and gender, and in both datasets,         one of ﬁve different “Brain Types” based on the standardized discrepancy between
participants were asked to choose their “Sex”, although we acknowledge that the           their systemizing and empathy scores51,76.
information collected is primarily of gender. To address this, we used two addi-
tional datasets where information was collected separately for sex at birth and
gender. In the third dataset (APHS, N = 2312), participants were recruited for an         Musical Universe dataset: overview of dataset. The Musical Universe (MU)
internet-based physical health survey. Participants completed information on their        dataset consists of a total of 89,218 individuals who completed measures on
autism diagnosis including when they were diagnosed and who diagnosed them,               musical behavior, personality, and cognition, in exchange for feedback about their
their sex at birth, and their current gender identity. The fourth dataset (IMAGE,         scores at www.musicaluniverse.org. We identiﬁed duplicates ﬁrst using IP
N = 1803) consists of participants who were recruited for a genetic study of autism       addresses, and then, among individuals with identical IP addresses, using demo-
and mathematical ability. Participants completed information on their autism              graphic variables—gender (see below for further information about this), age,
diagnosis, their sex at birth, and their gender. In addition, all autistic participants   educational attainment, occupation, and diagnosis. A total of 85,670 unique
provided a copy of their diagnostic report to verify their diagnosis. The ﬁfth and        records were identiﬁed. Participants ranged in age from 18 to 88 years old (Sup-
ﬁnal dataset consists of a subset of participants from the LifeLines Cohort and           plementary Table S1).
Biobank72 (N = 37,975) who provided information on sex assigned at birth and
gender, autism diagnosis, and completed a measure of autistic traits. This dataset        Musical Universe: ascertaining gender identity. Similar to C4, the MU data
consists of individuals who are considerably older than those in the other four           collection did not make a clear distinction between gender and sex. Participants
datasets, and who were recruited primarily through GP clinics. None of the ﬁve            were asked for their “Sex” where they could choose one of four options: “Male”
datasets were recruited speciﬁcally to investigate the association between gender         (42,291 non-autistic and 666 autistic), “Female” (41,659 non-autistic and 365
diversity and autism, which limits gender-based self-selection bias.                      autistic), “Transgender” (361), and “Other” (328) (Supplementary Table S1).
                                                                                          However, we recognize that participants have actually provided information on
                                                                                          their gender and we refer to this as gender throughout the manuscript. In the
Channel 4 dataset: overview. The Channel 4 dataset (C4 dataset) comprises                 primary analyses, we combined participants who chose the “Transgender” and
participants who completed self-report measures as a part of the Channel 4 doc-           “Other” option into the transgender and gender-diverse group (634 non-autistic
umentary titled “Are you autistic?”, in Spring 201751. A mobile-friendly website          and 55 autistic individuals) and conducted further sensitivity analyses using only
was developed and advertised on the Channel 4 TV website (https://www.channel4.           individuals who chose the “Transgender” option. We decided to combine the two
com/). Participants indicated if their results could be used for research purposes. A     groups as some individuals who are transgender and gender-diverse in the broad
total of 758,916 entries were recorded. Participants provided information on              sense (i.e., their gender is different from their sex assigned at birth) may not
demographics (gender (see below for details), age, educational attainment, geo-           identify as transgender and may interpret the term transgender more narrowly (i.e.,
graphical region, handedness, occupation, autism and other neurodevelopmental             their binary gender identity is opposite to the binary sex assigned at birth).
or psychiatric diagnosis) and completed four self-report measures. Participants
who consented to share their data for research were asked: “Have you taken this
                                                                                          Musical Universe: ascertaining diagnosis of autism and other conditions.
survey before? To make sure our data are as accurate and as useful as possible
                                                                                          Participants were asked if they had a formal diagnosis of autism from a profes-
please tell us if you’ve taken this survey before.” If participants indicated that they
                                                                                          sional. This should typically preclude (though not completely eliminate) self-
had taken the survey before, they were marked as duplicates. After removing
                                                                                          diagnosed autistic individuals from participating. A total of 1,086 participants
duplicates, we were left with a total of 695,166 participants. We were unable to use
                                                                                          indicated that they had an autism diagnosis (Supplementary Table S1). In addition,
IP addresses to identify duplicates due to ethical constraints. We included parti-
                                                                                          they were asked if they had a formal diagnosis of additional mental health con-
cipants aged 15 to 90 years, in line with previous research51. Participants were
                                                                                          ditions. A subset of participants (N = 54,127) indicated if they had a formal
asked to indicate their “Sex” using one of four options: “Male”, “Female”,
                                                                                          diagnosis of: 1. ADHD (N = 3189, 5.89%); 2. Bipolar disorder (N = 1532, 2.83%); 3.
“Transgender” and “Prefer not to say”. Whilst “Sex” was asked in the survey, we
                                                                                          Depression (N = 11,919, 22.02%); 4. OCD (N = 1419, 2.62%); and 5. Schizophrenia
recognize that the information provided here is of sex or gender, or both and we
                                                                                          (N = 202, 0.37%).
refer to this as gender throughout the manuscript. Whilst designing the survey we
did not make a distinction between gender and sex as these terms are often used
interchangeably in the general population. We further removed individuals who             Autism Physical Health Survey: overview of dataset. The Autism Physical
did not provide information on gender (“Prefer not to say”), resulting in                 Health Survey (APHS) dataset consists of 2312 individuals aged 16–90 years who
N = 675,360 individuals.                                                                  were recruited via the Cambridge Autism Research Database (CARD), autism

8           Case NATURE
                 1:22-cv-00078-CJW-MAR                       Document 3-11 Filed |08/05/22
                        COMMUNICATIONS | (2020)11:3959 | https://doi.org/10.1038/s41467-020-17794-1                 Page 26 of 216
                                                                                                    www.nature.com/naturecommunications
NATURE COMMUNICATIONS | https://doi.org/10.1038/s41467-020-17794-1                                                                                           ARTICLE

charities and support groups, and social media as a part of a study investigating the     Netherlands (Freisland, Groningen, and Drenthe). Notably, participants were not
association between autism and physical health conditions. The study employed an          invited if they had a severe mental health condition, which suggests that this
anonymous, online self-report survey via Qualtrics. Participants were asked               dataset will be biased towards healthy participants. A total of 167,729 participants
questions regarding their demographics, lifestyle factors (including diet, exercise,      aged between 6 months and 93 years completed the baseline survey. The LifeLines
sleep, and sexual/social history), personal medical history, and family medical           dataset used in this study consists of 37,975 individuals from the cohort, who
history for all ﬁrst-degree, biological relatives. As the study was anonymous (and        responded to an online questionnaire on autistic traits in summer 2019. All par-
we did not collect IP addresses), we excluded records that we determined were             ticipants were at least 18 years of age. The participants in the LifeLines cohort were,
likely to be duplicates. We excluded all records that matched a previous record           on average, about twice as old as the participants in the C4 and the MU cohorts,
across 11 categories: whether or not they had an autism diagnosis, speciﬁc autism         and this may in part explain the relatively low number of transgender and gender-
diagnosis, type of practitioner who diagnosed them, year of diagnosis, syndromic          diverse individuals in this dataset. In addition, 37,574 participants provided
autism (if applicable), country of residence, sex assigned at birth, current gender       information on their highest level of educational attainment (Supplementary
identity, age, maternal age at birth, paternal age at birth, and educational              Table S2).
attainment.
                                                                                          LifeLines: ascertaining gender identity. Information on gender was collected
Autism Physical Health Survey: ascertaining gender identity. Participants were            using one question: “Please choose which description ﬁts you best”. This was
asked for their sex assigned at birth (“Male”, “Female”, “Other”) and for their           followed by ﬁve options: “At birth I was registered as female and I am female”, “At
current gender identity (“Female” (N = 1383), “Male” (N = 766), “Non-binary”              birth I was registered as male and I am male”, “At birth I was registered as female,
(N = 109), and “Other” (N = 20)). We removed participants who indicated “Other”           but I am male”, “At birth I was registered as male, but I am female”, and “Different
for their sex assigned at birth (N = 1), and who did not complete information on          from the options above, namely…”. Participants who chose the ﬁnal option were
gender identity (N = 3). Additionally, 33 individuals had discordant sex and gender       required to ﬁll in a short box describing their gender identity. In total, there were
information (7 individuals of male sex but female gender, and 26 individuals of           15,527 cisgender males, 22,375 cisgender females, 18 transwomen, 17 transmen and
female sex and male gender). As we did not provide a transgender option in the            18 individuals who chose the other option and identiﬁed with other gender
gender identity column, we classiﬁed these individuals as transgender. Thus, in           identities (e.g., genderﬂuid). Thus, in total, there were 53 transgender and gender-
total there were 162 individuals who were included in the transgender and gender-         diverse individuals (Supplementary Table S1).
diverse group (Supplementary Table S1).
                                                                                          LifeLines: ascertaining autism diagnosis. Autism diagnosis was ascertained using
Autism Physical Health Survey: ascertaining autism diagnosis. Participants                the question: “Do you have an autism diagnosis?” followed by “In what year was
were asked to indicate if they had an autism diagnosis. Whilst we did not require         this diagnosed”. 439 individuals indicated that they had an autism diagnosis (252
participants to upload a copy of their diagnostic report, they had to provide further     cisgender males, 184 cisgender females, and 3 transgender and gender-diverse
information about which type of clinician diagnosed them as autistic (general             individuals) (Supplementary Table S1).
practitioner, neurologist, pediatrician, psychiatrist, psychologist or other (free text
box)), what their speciﬁc diagnosis was, and when they were diagnosed. A total of         LifeLines: measures of traits related to autism. All participants also completed
1082 individuals indicated that they had an autism diagnosis (Supplementary               the AQ-1073, provided the age when they completed the AQ-10.
Table S1).

                                                                                          Ethics. The Human Biology Research Ethics Committee, University of Cambridge,
The IMAGE study: overview of dataset. The Investigating Mathematics and                   provided ethical approval for the collection and use of data for both the APHS and
Autism using Genetics and Epigenetics (IMAGE) dataset consists of individuals             the IMAGE cohorts. They also provided ethical approval to access de-identiﬁed
recruited into a genetic study of autism and mathematical ability. This was done          data from the LifeLines cohort. The Psychology Research Ethics Committee of the
using two different research designs. The ﬁrst targeted autistic and non-autistic         University of Cambridge conﬁrmed that formal ethical review was not needed for
individuals as a part of a case–control design (Nﬁnal = 292) by advertising in            use of the C4 dataset since it was secondary use of deidentiﬁed and anonymized
research databases, autism-related magazines, and on social media. The second             data. The same was conﬁrmed for the MU dataset by the Ethical & Independent
targeted individuals who studied or were studying mathematics or a related degree         Review Services. Informed consent was obtained for all participants included in
(Nﬁnal = 1803) by advertising in universities, mathematics societies, in mathematics      this study.
speciﬁc or alumni magazines, or on social media. Participants registered at a
bespoke website and provided contact details, demographics, and completed var-
ious questionnaires. As participants provided both their names and their contact          Statistical analyses: rates of autism diagnosis. In all ﬁve datasets, we investi-
details, we used this information to remove duplicate records.                            gated if rates of autism diagnosis signiﬁcantly differed by gender by ﬁrst conducting
                                                                                          χ2 tests (Model 1, unadjusted), and then by conducting logistic regressions adjusted
                                                                                          for age and educational attainment as covariates (Model 2, adjusted). Both age and
The IMAGE study: ascertaining gender identity. Participants were asked for                educational attainment were associated with autism diagnosis, with younger
their sex at birth (“Male”, “Female” or “Intersex”) and their gender (“Man”               individuals more likely to receive an autism diagnosis78,79, and educational
(N = 994), “Woman” (N = 747), “Transgender Man” (N = 7), “Transgender                     attainment typically negatively correlated with autism51. Further, these two vari-
Woman” (N = 3), “Nonbinary” (N = 35), “Gender Neutral” (N = 10), “Other”                  ables were measured across all ﬁve datasets. In addition, for the IMAGE dataset, we
(N = 7), and “Prefer not to say” (N = 15)). We excluded individuals who chose             included a dummy variable for the two studies participants were drawn from
“Intersex” (N = 2) for their sex, and “Prefer not to say” (N = 15) for their gender.      (mathematical ability and case–control) to account for potential confounding
Of the remaining, we combined individuals who chose “Man” and “Woman” as the              effects of recruitment.
cisgender group (N = 1741), and the remaining into the transgender and gender-                Each model was conducted ﬁrst by using three gender categories (transgender
diverse group (N = 62). Further details are provided in Supplementary Table S1.           and gender-diverse, male, and female), and then by using two gender categories
                                                                                          (transgender and gender-diverse and cisgender). Regression betas were converted
The IMAGE study: ascertaining autism diagnosis. Participants were asked if                to ORs. As an additional sensitivity analysis, only in the MU dataset, we repeated
they had a diagnosis of autism on the autism spectrum (e.g., autism, Asperger             the analyses after dividing the cohort into four groups (“Male”, “Female”,
Syndrome). As a part of this, we indicated that diagnosis must have been made by a        “Transgender”, and “Other”), to investigate if these results differed by gender
qualiﬁed professional (e.g., clinical psychologist or psychiatrist). Participants were    identity.
also asked when they received an autism diagnosis and who diagnosed them. In                  Additionally, we also investigated if rates of transgender and gender-diverse
addition, autistic individuals in this study were asked to provide a copy of their        individuals vary by autism diagnosis. This was done by using a logistic regression
diagnostic report that we used to conﬁrm their autism diagnosis. A total of 1082          comparing transgender and gender-diverse individuals to cisgender individuals
individuals indicated that they had an autism diagnosis (Supplementary Table S1).         (dependent variable). Autism diagnosis was the independent variable, and
A subset of participants (N = 1787) provided information on educational attain-           educational attainment and age were included as covariates.
ment. 1417 participants indicated if they suspected they had undiagnosed autism               Whilst information for this study from all ﬁve datasets were collected using
(“Yes” or “No”). This was used to investigate if transgender and gender-diverse           internet-based surveys, there are differences between them. Of importance is that
non-autistic individuals were more likely to suspect they had undiagnosed autism          sex, gender, and autism diagnosis information were all collected differently in the
compared to non-autistic cisgender individuals.                                           ﬁve datasets. In the C4 and MU datasets, gender information was collected using a
                                                                                          single question whereas in the IMAGE and APHS datasets, gender information was
                                                                                          collected using two questions—one for sex assigned at birth and another for gender
The IMAGE study: measures of traits related to autism. All participants
                                                                                          identiﬁed with. In the LifeLines dataset, gender information was collected using a
completed the AQ-5077.
                                                                                          single question, but this included options about sex assigned at birth alongside
                                                                                          gender. Further, information on autism diagnosis was also collected differently
LifeLines: overview of dataset. The LifeLines Cohort is a Netherlands-based               with deeper information provided by participants in the IMAGE, LifeLines, and
population cohort study, recruited between 2006 and 201372. Participants were             APHS datasets. There are other cohort-based differences as well. For example, the
invited through their general practitioners in three northern provinces in the            MU dataset was aggregated over a long period of time and primarily collected from

            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 27 of 216
NATURE COMMUNICATIONS | (2020)11:3959 | https://doi.org/10.1038/s41467-020-17794-1 | www.nature.com/naturecommunications                                                       9
ARTICLE                                                                                NATURE COMMUNICATIONS | https://doi.org/10.1038/s41467-020-17794-1


the US, whilst three datasets (C4, APHS, and IMAGE) were collected over a shorter           affected by winner’s curse (“Supplementary Methods”). Power calculations sug-
period of time and primarily from the UK. The LifeLines dataset used here was a             gested that we were underpowered to detect effects at an alpha of 0.05 for calcu-
subset of a cohort study, where participants were invited through general                   lating ORs using logistic regression, with power achieved between 0.62 (reference
practitioner clinics rather than via the internet. This was collected in the                group: cisgender males)—0.69 (reference group: cisgender females). However, we
Netherlands and consists of older participants.                                             proceeded with the analyses to identify if the effects observed were in the same
    Given the heterogeneity in these datasets, we wanted to investigate if the ORs          direction as those observed in other datasets.
obtained across the ﬁve datasets are comparable. Two factors affect ORs: winner’s
curse which inﬂate ORs in smaller cohorts35,36, and lower precision, i.e., higher
                                                                                            Reporting summary. Further information on research design is available in the Nature
standard errors of ORs in smaller cohorts80. Thus, ORs are not directly comparable
                                                                                            Research Reporting Summary linked to this article.
between the datasets. In order to make the ORs comparable, we generated sub-
datasets of equivalent sample sizes to the three smaller datasets (IMAGE, APHS, and
LifeLines) in the two larger datasets (C4 and MU). We used a subsampling bootstrap
approach to compare ORs in the two larger datasets with ORs in the smaller datasets.        Data availability
We generated six sets of 10,000 random subsamples each from the C4 and the MU               As participants did not consent for their data to be publicly shared, even anonymized,
datasets. Each of the 10,000 subsamples was matched to the numbers of cisgender             data will be made available to only potential collaborators with ethical approval after they
males, cisgender females and transgender and gender-diverse individuals in the              submit a research proposal to the Autism Research Centre, University of Cambridge, UK
IMAGE, APHS, and LifeLines datasets. Thus, we sampled 10,000 times from the C4              for four of the datasets (C4, MU, IMAGE, and APHS). Data for LifeLines can be obtained
and MU datasets with each sample consisting of 766 cisgender males, 1383 cisgender          by making an application to the LifeLines Biobank (https://www.lifelines.nl/researcher).
females, and 162 transgender and gender-diverse individuals to match the APHS               A reporting summary for this Article is available as a Supplementary information ﬁle.
dataset. In addition, we also sampled 10,000 times from the C4 and MU datasets with
each sample consisting of 994 cisgender males, 747 cisgender females, and 62
transgender and gender-diverse individuals to match the IMAGE dataset. Finally, we          Code availability
sampled 10,000 times from the C4 and MU datasets with each sample consisting of             Scripts are provided at: https://github.com/autism-research-centre/Atypical-gender-and-
15,527 cisgender males, 22,375 cisgender females, and 52 transgender and gender-            autism. All analyses were conducted using R version 3.4.4 (2018-03-15).
diverse individuals to match the LifeLines dataset. In each sample, we calculated
adjusted ORs using logistic regression. We then calculated the empirical p values for       Received: 27 August 2019; Accepted: 15 July 2020;
the adjusted ORs for the IMAGE, APHS, and LifeLines samples from the distribution
of ORs generated in the 10,000 samples from MU and C4. We corrected for the six
tests using Bonferroni correction (empirical p value alpha = 0.008).

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SQ-10 and the EQ-10. This was done by subtracting the mean of the SQ-10 and the                   transgender depends on the ‘case’ deﬁnition: a systematic review. J. Sex. Med.
EQ-10 (means were calculated using only non-autistic individuals from the C4                      13, 613–626 (2016).
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dataset as this was the largest dataset, and hence, likely to have effects that are least         (2019).

10          Case NATURE
                 1:22-cv-00078-CJW-MAR                       Document 3-11 Filed |08/05/22
                        COMMUNICATIONS | (2020)11:3959 | https://doi.org/10.1038/s41467-020-17794-1                 Page 28 of 216
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12          Case NATURE
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Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 31 of 216
8/4/22, 12:49 PM                                                           When the State Comes for Your Kids | City Journal




  EYE ON THE NEWS


  When the State Comes for Your Kids
  Social workers, youth shelters, and the threat to parents’ rights

  Abigail Shrier
  June 8, 2021




  Ahmed is a Pakistani immigrant, a faithful Muslim, and until recently, a financial
  consultant to Seattle’s high-tech sector. But when he reached me by phone in October
  2020, he was just one more frightened father. Days earlier, he and his wife had checked
  their 16-year-old son into Seattle Children’s Hospital for credible threats of suicide.
  Now, Ahmed was worried that the white coats who had gently admitted his son to their
  care would refuse to return him.


  “They sent an email to us, you know, ‘you should take your ‘daughter’ to the gender
  clinic,’” he told me.


  At first, Ahmed (I have changed names in this essay to protect the identities of minor
  children) assumed there had been a mistake. He had dropped off a son, Syed, to the
  hospital, in a terrible state of distress. Now, the email he received from the mental health
  experts used a new name for that son and claimed he was Ahmed’s daughter. “They
  were trying to create a customer for their gender clinic . . . and they seemed to absolutely
  want to push us in that direction,” he said when I spoke to him again this May, recalling
  the horror of last October. “We had calls with counselors and therapists in the
  establishment, telling us how important it is for him to change his gender, because that’s
  the only way he’s going to be better out of this suicidal depressive state.”


  Syed had been a “straight-A student” and—according to his parents and the family’s
  therapist—quite brilliant. He is also on the autism spectrum, a young man who neglects
  to make eye contact and must be given rules for how long to shake hands, shower, or
  brush his teeth. High school was a slog for him, as it often is for kids on the spectrum
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 32 of 216
https://www.city-journal.org/transgender-identifying-adolescents-threats-to-parental-rights                                    1/11
8/4/22, 12:49 PM                                                           When the State Comes for Your Kids | City Journal

  who find that the social demands of adolescence have risen beyond their capacity to
  meet them. “He tried to ask a few girls out. It didn’t work out and he got frustrated and
  angry, and that kind of thing. And so, those girl-boy things get kind of tough for autistic
  kids, those developmental issues. And that’s where puberty can be very, very hard with
  the hormones rushing and all this stuff.”


  When lockdowns hit, the boy who was already struggling socially and befuddled by
  questions neurotypical teens take for granted (How do I show a girl I like her? How do I
  make the other kids include me?) began to spend all day and night on the Internet. “He’s an
  autistic kid, and so he kind of lost track of time. And he was staying up a lot. So he was
  staying up, just being on the Internet, Twitter, Tumblr, whatever. . . . And he was in his
  room, just, you know, sleeping one or two hours a day. And that can really be
  devastating. He was very confused. He was seeing things, visual hallucinations. And we
  didn’t know why.”


  It is not definitively known why many neurodiverse adolescents identify as transgender,
  but more than one scientist has pointed out the high rates of coincidence. As several
  autism experts have explained to me, those on the spectrum tend to fixate, and when a
  contagious idea is introduced to them—such as the notion that they might be a “girl in a
  boy’s body”—they are particularly susceptible to it.


  As child psychiatrist and expert in gender dysphoria Susan Bradley said to me: “The
  messages these kids pick up [from trans influencers] when they’re online is, ‘We’re the
  only people who understand you. Your people, your parents, don’t really understand
  you.’ And it may be the first time in their lives that anybody has said to them, ‘We
  understand you. We know you. You’re okay. You’re just like us.’ And it’s powerful.”


  I asked Bradley if introducing gender ideology to kids who tend to fixate is like
  introducing cocaine to those susceptible to addiction. She agreed: “It has the same
  power to assuage all the alienation and grief and distress that these kids have been
  struggling with.”


  Because of a Covid-19 policy, Ahmed could not stay at the hospital with his son back in
  October. Syed, in a sleep-deprived and confused state, furious at the parents who had
  admitted him, and in consultation with hospital staff and a social worker, decided that
  his problem was gender.


                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 33 of 216
https://www.city-journal.org/transgender-identifying-adolescents-threats-to-parental-rights                                    2/11
8/4/22, 12:49 PM                                                           When the State Comes for Your Kids | City Journal

  The age at which minors in the State of Washington can receive mental health and
  gender-affirming care without parental permission is 13. In other words, the emails
  Ahmed received from the hospital were effectively a courtesy; the hospital did not
  require Ahmed’s permission to begin his son on a path to medical transition.


  But unlike some other parents I would later speak with, Ahmed’s cool head prevailed.
  Believing he might be walking into a trap, Ahmed reached out to both a lawyer and a
  psychiatrist friend he trusted. The psychiatrist gave him advice that he believes saved
  his son, saying, in Ahmed’s words: “You have to be very, very careful, because if you
  come across as just even a little bit anti-trans or anything, they’re going to call the Child
  Protective Services on you and take custody of your kid.” The lawyer told Ahmed the
  same: “What you want to do is agree with them and take your kid home. When the
  gender counselors advise you to ‘affirm,’ go along with it. Just say ‘Uh-huh, uh-huh,
  okay, let’s take him home, and we’ll go to the gender clinic.’”


  Ahmed assured Seattle Children’s Hospital that he would take his son to a gender clinic
  and commence his son’s transition. Instead, he collected his son, quit his job, and moved
  his family of four out of Washington.


  Was Ahmed’s reaction extreme? When I first heard it, back in October 2020, I wondered
  whether he hadn’t overreacted. But as a growing number of parents began contacting
  me with similar stories, and I delved into the state laws of Washington, Oregon, and
  California, I came to a different conclusion. Taken individually, no single law in any
  state completely strips parents’ rights over the care and mental health treatment of their
  troubled minor teens. But pieced together, laws in California, Oregon, and Washington
  place troubled minor teens as young as 13 in the driver’s seat when it comes to their own
  mental health care—including “gender affirming” care—and renders parents powerless
  to stop them.


  Here, for instance, are the powers granted to a 13-year-old child by the state of
  Washington. Minors age 13 and up are entitled to admit themselves for inpatient and
  outpatient mental health treatment without parental consent. Health insurers are
  forbidden from disclosing to the insured parents’ sensitive medical information of minor
  children—such as that regarding “gender dysphoria [and] gender affirming care.”
  Minors aged 13 to 18 can withhold mental health records from parents for “sensitive”
  conditions, which include both “gender dysphoria” and “gender-affirming care.”
  Insurers in Washington must cover a wide array of “gender-affirming treatments” from
  tracheal shaves to double mastectomies.
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 34 of 216
https://www.city-journal.org/transgender-identifying-adolescents-threats-to-parental-rights                                    3/11
8/4/22, 12:49 PM                                                           When the State Comes for Your Kids | City Journal



  Put these together, and a seventh grader could be entitled to embark on “gender
  affirming care”—which may include anything from a provider using the child’s name
  and pronouns to the kid preparing to receive a course of hormones—without her
  parents’ permission, against her parents’ wishes, covered by her parents’ insurance, and
  with the parents kept in the dark by insurance companies and medical providers.


  Lest you wonder whether there is some madcap elixir polluting the groundwater of
  Washington State alone, in 2015, Oregon passed a law permitting minors 15 and older to
  obtain puberty blockers, cross-sex hormones, and surgeries at taxpayers’ expense—all
  without parental consent. In 2018, California passed a similar bill for all children in
  foster care, age 12 and up. The California state senate is now considering an amendment
  to the Confidentiality of Medical Information Act that would bar health insurers from
  disclosing medical information to parents about their dependents, on pain of criminal
  liability.


  O ne Washington mother I spoke with, Nicole, has a 16-year-old daughter who
  struggled with an eating disorder and other mental health problems after being
  molested by a peer in elementary school. Just before her 13th birthday, the daughter
  decided she was transgender. “She hated her body, that was truly a real thing,” Nicole
  told me. “So we wanted to find her help.” But Nicole wasn’t convinced that her
  daughter had gender dysphoria, since she’d never before shown any signs of discomfort
  with her biological sex. “She had already been through a whole counseling program
  with the eating disorder and none of this came up.”


  Over the next few years, Nicole’s daughter’s mental health worsened, and she began
  self-harming. After her daughter attempted suicide in 2019, Nicole took her to the
  emergency room at Highline Hospital (now St. Anne Hospital) in Burien, Washington.
  Nicole explained to the social worker at the hospital that, though the daughter was
  insisting her problem was gender, she’d been beset by a variety of mental health
  struggles for many years. Nicole said that she and her husband were not convinced by
  the gender dysphoria self-diagnosis and did not “affirm” their daughter’s trans identity.
  “The social worker was very nice to us,” Nicole told me. “She didn’t show any
  indication that she was not believing what we were saying or anything like that.”


  But a nurse attending Nicole’s daughter who had been through the same thing with his
  own daughter took pity on Nicole and her husband. When the social worker left the
  room, Nicole says, he warned them that she was on the way to “emancipate” their child.
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 35 of 216
https://www.city-journal.org/transgender-identifying-adolescents-threats-to-parental-rights                                    4/11
8/4/22, 12:49 PM                                                           When the State Comes for Your Kids | City Journal

  Washington law does not allow a minor to petition for emancipation until age 16. But
  according to several parents I spoke with, under the guise of “advising transgender
  youth of their rights,” social workers will sometimes sprinkle that tidbit onto a 14-year-
  old, so she knows liberation is only two years away.


  Nicole and her husband didn’t wait. They immediately took her home. That was
  probably a good thing. Her daughter had full rights to go to a shelter where, had she
  elected to, she could be “affirmed” and started on a path toward medical transition.
  And, as it turns out, once a troubled teen over the age of 13 elects to stay in a shelter in
  Washington, it can be fiendishly difficult to extract them. Instead, more than a year later,
  Nicole reports that her daughter is much better, as is their relationship. The daughter
  has dropped the idea that she is transgender and is tapering off of anti-depressants.


  J ulie’s troubled 14-year-old daughter never identified as transgender. But Julie’s
  account of her tussle with Washington social workers and youth shelters—the details of
  which are corroborated by two different police reports—sheds critical light on the state’s
  approach to at-risk teens aged 13 and up. Julie specifically asked to go on the record
  about her experience—that’s how angry she is about what happened to her. I’ve masked
  her last name only to protect her minor daughter, Kayla.


  Kayla had long suffered severe mood swings, anxiety, and depression, stemming from
  childhood trauma at the hands of a father who sexually abused her. Though a no-contact
  court order has kept Julie’s ex-husband away from his daughter for several years, the
  girl’s depression began spiking in recent months, and she developed worrying signs of
  mental instability; according to Julie, Kayla’s current therapist has described these
  symptoms as “textbook borderline personality disorder.”


  On March 17, 2021, Julie dropped her daughter off at church youth group. At around 8
  PM , Julie received a call from the pastor that Kayla had threatened to kill herself by
  overdosing on pills. Kayla didn’t actually have any pills on her, according to the police
  report filed that day, but she had announced her intention to procure some. When Julie
  headed to the church, her daughter ran away. The pastor drove Kayla straight to the
  emergency room at Seattle Children’s Hospital, where she was admitted.


  Because of the pandemic, Julie was not allowed into the hospital room with Kayla, but at
  some point during her daughter’s stay, Julie believes a social worker at the hospital
  suggested to Kayla that if she didn’t want to go home, she had the right to stay at a
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 36 of 216
https://www.city-journal.org/transgender-identifying-adolescents-threats-to-parental-rights                                    5/11
8/4/22, 12:49 PM                                                           When the State Comes for Your Kids | City Journal

  youth shelter. After a night in the hospital, Kayla called her pastor and asked to be
  driven to the YouthCare Hope Center, a shelter for the protection of kids, ages 12 to 17,
  experiencing homelessness, abuse, or extreme family conflict.


  When the hospital called Julie to tell her that Kayla was asking to stay at a homeless
  shelter, Julie was horrified. “I said, ‘Well, that’s, that’s absurd. She has a home, she has a
  family who loves her. Clearly, you’re not sending CPS—we’ve done nothing wrong. She
  doesn’t need to go to shelter.’ And the [hospital staff member] said, ‘Well, she’s 14, so
  she gets to make that choice for herself.’”


  The staff member was right that Kayla had a right to check herself in for inpatient
  treatment (though the worker was wrong that this particular YouthCare center
  qualified). Once Kayla got there, extracting her proved a nightmare.


  Unless Kayla voluntarily exited the shelter, Julie could neither see her daughter nor take
  her home. And it is very clear that Julie’s daughter did not want to return home to mom.
  Among their several mother–daughter disagreements, Kayla was furious with her
  mother for the rules Julie had established for Internet use. There were boys with whom
  Kayla conducted online relationships, which Julie worried about; Julie feared that some
  of these friendships were with adult men posing online as teens. She had attempted to
  cut off Kayla’s ability to communicate with them.


  According to Seattle police officer Nathan Bauer’s report, shelter social worker Micaela
  Leavell was aware that Julie did not want her daughter at the facility. But Leavell told
  the officer that she “felt it was better” if the girl remained at the shelter because the
  daughter “feels ‘unsafe’ at her mother’s house.” Officer Bauer noted that Leavell “could
  not elaborate on any specific concerns” that the girl mentioned other than she “stated
  she would harm herself if she were returned.” If Julie’s daughter had concrete reasons
  for “feeling unsafe” in her mother’s home, she seems never to have provided them to
  any of the bevy of mental health care or social workers who attended her.


  Several times a day, for the next few days, Julie called the YouthCare shelter to speak
  with her daughter. Each time, she was told that her daughter did not want to speak with
  her. At this point, Julie operated under a cloud of belief that the social workers at the
  shelter had her daughter’s best interest at heart.



                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 37 of 216
https://www.city-journal.org/transgender-identifying-adolescents-threats-to-parental-rights                                    6/11
8/4/22, 12:49 PM                                                           When the State Comes for Your Kids | City Journal

  But Julie retained her daughter’s cell phone. She saw the messages coming in and out,
  apparently sent by her daughter from a computer at the shelter. And she saw that her
  daughter had sent the following message to a youth pastor: “Hey! I’m pretty sure I
  found a lawyer that will help me to stay in the [shelter] program since my social
  worker/case manager highly suggested that I find one as soon as possible cause he is
  worried that my mom will try to pull me out.”


  Julie realized her daughter seemed to be working toward legal emancipation, with the
  help of a lawyer arranged by the shelter. Julie later learned that the shelter had found
  her daughter an attorney and was working to try and file a Child in Need of Services
  petition. This would have made the shelter Kayla’s legal guardian, for all practical
  purposes.


  Indeed, several parents of trans-identified teens told me that the social workers who had
  attended to their daughters during a mental health crisis or suicide attempt had begun
  coaching their daughters on “emancipation,” under the guise of “advising them of their
  rights.” Many of the social workers encouraged the idea in psychologically vulnerable
  teens—who likely welcomed the suggestion—that their parents’ rules, decisions, and
  objections to the teens’ behavior constituted “abuse,” the parents said.


  Officer Bauer’s report, regarding the case of Julie and her daughter Kayla, tends to
  corroborate this. Kayla’s case manager, Oscar, volunteered to the police that YouthCare
  staff “provides the children with information on resources and courses of action, like
  emancipation, when asked by clients.” (I emailed Oscar to find out how much “asking”
  a teen needs to do before a social worker suggests emancipation, but I never received a
  response.) The published Washington State Department of Children, Youth & Families
  guidance informs children’s administration staff that they are not permitted to disclose a
  child’s LGBTQ+ identities to the parents; instructs them to use forms that “clearly
  distinguish the legal name and gender from chosen name and gender,” presumably to
  prevent accidental slip-ups on the secret understanding they’ve established with a child
  to her parents; and requires them to refer a child or youth who wants to participate to
  “LGBTQ+ related services,” including “behavioral health and medical providers that
  affirm their identity.” Lest you think that “affirming” by a medical provider merely
  entails use of name and pronouns, the guidance defines “Gender Affirming” as “medical
  procedures that changes [sic] a person’s body to conform to their gender identity.”


  In the end, it would take a team of eight officers to remove Julie’s daughter forcibly from
  the shelter. By that time, Julie already had a plan for Kayla’s treatment—in Arizona,
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 38 of 216
https://www.city-journal.org/transgender-identifying-adolescents-threats-to-parental-rights                                    7/11
8/4/22, 12:49 PM                                                           When the State Comes for Your Kids | City Journal

  where Kayla now resides in an inpatient treatment center for suicidality and depression.
  But the first order of business was to extract her daughter from Washington.


  I f you’re familiar with the traditional model of youth shelters, you might assume that
  they are filled with kids whose parents either didn’t want them or subjected them to
  abuse. But as the definition of “abuse” has expanded to mean everything from
  physically harming a child to not “affirming” a child’s newly proclaimed gender
  identity, youth shelters seem to have ballooned to house even children from stable,
  loving families who desperately want their children back.


  In 2012, agencies responding to a Williams Institute at UCLA Law survey reported that
  about 40 percent of the homeless young people they served identified as LGBTQ. From
  this bare statistic, many infer that LGBTQ teens are being frequently kicked out of their
  homes by bigoted parents. Far from it.


  I asked Alexa Goodenow, an outreach worker at the SafePlace for Youth crisis hotline,
  which connects at-risk youth with a network of Seattle shelters, what challenges
  LGBTQ+ youth face that lead them to a shelter. “I would say one of the most common
  things that we see is just that cultural disconnect between them and their support
  system,” she said. “So, hypothetically speaking, maybe a young person who’s now
  identifying as non-binary or coming out as maybe gay or lesbian and bisexual and
  maybe families aren’t supportive of that. So we do see a lot of that because in the Seattle
  area, we get a lot of melting pot of backgrounds. So maybe the young person’s views
  don’t quite align with their at-home support.”


  Being a teenager is no picnic. But removing minor children from their parents’ home
  didn’t used to be a matter of a parent–child “cultural disconnect”—or the young
  person’s views not “quite align[ing] with their at-home support.” The point was to
  provide sanctuary for children who would otherwise suffer physical harm or
  psychological torment.


  Today, a teenager can declare an LGBTQ identity that is unsupported in her home and
  claim that this lack of support puts her mental health at risk. “For our young people
  experiencing homelessness, over 90 percent of them cite family conflict as a cause of
  homelessness,” said Suzanne Sullivan, Chief Advancement Officer at YouthCare, who
  confirmed for me that almost 30 percent of the young people at her shelter identify as
  LGBTQ+. “We see a lot of young people who have different sexual identities or gender
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 39 of 216
https://www.city-journal.org/transgender-identifying-adolescents-threats-to-parental-rights                                    8/11
8/4/22, 12:49 PM                                                           When the State Comes for Your Kids | City Journal

  identities that are not supported at home. At YouthCare, we believe that every young
  person deserves to live their life to the fullest and that includes gender and sexual
  identity. We are affirming at all of our locations and we don’t feel that it’s acceptable not
  to be,” she said. YouthCare houses adolescents and young adults ages 12 to 24.


  For child services in states that regard “gender affirming care” as the only humane way
  to treat a troubled teen who’s suddenly decided she’s transgender, the power the state
  grants them to undermine and even remove parents who object to these treatments is
  alarming. I asked Sullivan if the teens who come to YouthCare are being abused at
  home. “There are a lot of individual young people, so each story is unique and each
  story is different. And there are all different forms of mistreatment and neglect and
  abandonment. In some cases, kids are kicked out. In some cases, they leave.”


  In a state that grants minors aged 13 and up control over their mental health treatment—
  in a society that increasingly defines “abuse” as any of a variety of limits a parent might
  place on the gender or sexual exploration of a minor—it is easy enough for a troubled
  teen to decide that parents are “bad for my mental health.” A credible threat of suicide
  seems sufficient to earn a child an indefinite right to stay in a youth shelter, where she
  can hang out with other teens and free herself from meaningful supervision. (I spoke
  with one parent outside of Washington whose troubled 15-year-old was able to smoke
  marijuana and develop an alcohol problem at a youth shelter, according to a psychiatric
  evaluation I reviewed. In Julie’s case, she told me that, while Kayla was at the
  YouthCare shelter, she was often able to skip Zoom school.)


  After Sullivan refused to answer more questions over the phone, I emailed her for
  comment on the claim by parents that “once their teens choose to stay at one of the
  shelters, if they are over 13, they are hard to extract.” Sullivan—who many times during
  our call invited me to email her with questions—wrote back to say that she had no
  comment.


  It isn’t hard to see why a rebellious teen struggling with mental health problems might
  not want to return home from a youth shelter, even to a loving family. Take Lambert
  House, a “safe place for lesbian, gay, bisexual, transgender, and questioning (LGBTQ)
  youth ages 11-22,” according to its website. Activities include “Minecraft,” “Poetry Slam
  / Art Share,” “Saturday Night Lambert Live!” and “Boys Who Like Boys Group.” That
  might seem like a fun set of social activities for college students. It’s a little more
  troubling to consider that, based on a perusal of the activities calendar, many of the

                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 40 of 216
https://www.city-journal.org/transgender-identifying-adolescents-threats-to-parental-rights                                    9/11
8/4/22, 12:49 PM                                                           When the State Comes for Your Kids | City Journal

  events seem to facilitate socializing between 22-year-olds and adolescents as young as
  11. I called Lambert House several times for clarification, but never received a call back.


  I did, however, speak with Vernadette Broyles, president and founder of Child and
  Parental Rights Campaign. A Harvard-educated lawyer, Broyles represents parents in
  child custody, child protective services, and school cases.


  I asked Broyles point-blank: Was she seeing the same the pattern I had noticed—namely,
  loving parents bringing a suicidal, trans-identified teen to the E.R., which ensnares her
  in a child services network that will not relinquish her? “Yes, that is one of the patterns,”
  she said. “We’re seeing national patterns. . . . One is the very deliberate and systemic
  erosion of parental rights.” Broyles believes that this erosion leaves girls, especially,
  “disproportionately vulnerable.”


  According to the parents I’ve talked with, it’s hard to argue with that. One mother I
  spoke with had had Child Protective Services called on her by her own therapist, after she
  had explained in therapy why she had chosen not to “affirm” her young trans-identified
  teen daughter. In that instance, the mom said, the social worker accepted the mother’s
  explanation that this did not constitute abuse. She counts herself lucky.


  What advice does Broyles give parents if Child Protective Services shows up at their
  door? “Without a warrant or court order, you do not talk to them. You do not let your
  child talk to them. You should absolutely not let them interview your child with or
  without you. You don’t let them into your home, you don’t let them into your car. You
  don’t let them into your hospital room if you’re there in the hospital, you don’t let them
  into the room with you if you’re in a doctor’s office. You don’t let them in without a
  warrant or a court order, regardless of what they say. Because once they’re in they will
  take whatever you say or your child says and potentially use it against you. And then
  the next thing you know, there’s a possibility that they go to a court, to a judge, ex parte,
  and get a court order to remove your child. That’s distinctly possible.”


  F ollowing up on Ahmed’s family, I spoke with Syed’s therapist, an autism expert, to
  find out how he has been doing since moving with his parents and sister out of
  Washington. She confirmed what Syed’s father told me: Syed is no longer suicidal, nor
  does he believe he is transgender. As a 17-year-old autistic boy, he shows startlingly
  advanced intellectual development and in social realms, can seem quite childish: He’s


                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 41 of 216
https://www.city-journal.org/transgender-identifying-adolescents-threats-to-parental-rights                                    10/11
8/4/22, 12:49 PM                                                           When the State Comes for Your Kids | City Journal

  doing advanced work in philosophy, she tells me—and also remains fascinated by his
  sister’s My Little Ponies.


  That’s more than okay with his mom and dad.



  Abigail Shrier is a writer living in Los Angeles and the author of Irreversible Damage:
  The Transgender Craze Seducing Our Daughters.




                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 42 of 216
https://www.city-journal.org/transgender-identifying-adolescents-threats-to-parental-rights                                    11/11
                       EXHIBIT I




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 43 of 216
8/4/22, 11:41 PM          504.13-R Administrative Regulations Regarding Transgender and Students Nonconforming to Gender Role Stereotypes | Linn-Mar Policy Services




  Home » 500 Series: Students » 504 - Student Health & Safety » 504.13 - Transgender and Students
  Nonconforming to Gender Role Stereotypes




   504.13-R Administrative Regulations Regarding
   Transgender and Students Nonconforming to
   Gender Role Stereotypes




   Transgender Procedures and Safeguards
   The Iowa Civil Rights Act (Iowa Code Section 216.9) and Title IX protect transgender
   students from sex and/or gender discrimination and clearly delineate that protection from
   unfair practices and discriminatory acts in education, including gender identity.

   These administrative regulations set forth the district’s protocols that will be utilized to
   expeditiously address the needs of transgender students, gender-expansive students,
   nonbinary, gender nonconforming students, and students questioning their gender to ensure
   a safe, affirming, and healthy school environment where every student can learn effectively.

   These administrative regulations apply to all school activities, school-provided
   transportation, and school-sponsored events regardless of where they occur.

   Establishment of Gender Supports
   Communication with the student and/or parent/guardian is key. Schools should make a
   case-by-case determination about appropriate arrangements for transgender students
   regarding names/pronouns, restroom and locker facilities, overnight accommodations on
   school trips, and participation in activities. These arrangements should be based on the
   student's or family’s wishes, be minimally burdensome, and be appropriate under the
   circumstances.

   Any student in seventh grade or older will have priority of their support plan over their
   parent/guardian. All supports can be documented in a Gender Support Plan.


                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 44 of 216
policy.linnmar.k12.ia.us/policy/50413-r-administrative-regulations-regarding-transgender-and-students-nonconforming-gender                                       1/7
8/4/22, 11:41 PM          504.13-R Administrative Regulations Regarding Transgender and Students Nonconforming to Gender Role Stereotypes | Linn-Mar Policy Services

   Any student, regardless of how they identify, may request to meet with a school
   administrator and/or school counselor to receive support from the school and implement a
   Gender Support Plan. When a student and/or parent/guardian contacts school staff about
   support at school, the school will hold a meeting with the student within 10 school days of
   being notified about the request for support. The student should agree with who is a part of
   the meeting, including whether their parent/guardian will participate.

   The Gender Support Plan will be maintained in the student’s temporary records, not the
   student’s permanent records. The Linn-Mar Community School District is committed to
   supporting all transgender students, gender nonconforming students, and students who are
   questioning their gender. A Gender Support Plan is not required for a student to receive
   supports at school. In instances where there is not a Gender Support Plan, school
   administrators and/or school counselors shall work with the student to identify and
   coordinate support. Support available through a Gender Support Plan, or otherwise, can
   include steps appropriate to also support siblings and family members of transgender
   students, gender nonconforming students, and students who are questioning their gender.
   Supports being provided for transgender, gender nonconforming students, and students
   who are questioning their gender will be reviewed on an annual basis or sooner, as
   necessary.

   Confidentiality
   All persons, including students, have a right to privacy which includes the right to keep
   one's transgender status private at school. Information about a student's transgender
   status, legal name, or gender assigned at birth may also constitute personally identifiable
   information contained in a student’s education records under the Family Educational Rights
   and Privacy Act. Disclosing this information other than as allowed by law is not permitted.
   Conversations between students and school counselors are protected, confidential
   conversations under applicable counselor/student laws. The district shall ensure that all
   information relating to student gender identity contained in student education records will be
   kept confidential in accordance with applicable state, local, and federal privacy laws. The
   district shall not disclose information that may reveal a student's transgender status to
   others including but not limited to other students, parents, and school staff unless legally
   required to do so (such as national standardized testing, drivers permits, transcripts, etc.),
   or unless the student has authorized such disclosure.

   Transgender and gender nonconforming students have the right to discuss and express
   their gender identity and expression openly and to decide when, with whom, and how much
   to share private information. The fact that a student chooses to disclose their transgender
   status to school staff or other students does not authorize them to share other medical
   information about the student. School staff should always check with the student first before
   contacting their parent/guardian. School staff should ask the student what name and
   pronouns they would like school officials to use in communications with their family. All
   students under 18 years of age, or those over 18 years of age who are claimed as

                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 45 of 216
policy.linnmar.k12.ia.us/policy/50413-r-administrative-regulations-regarding-transgender-and-students-nonconforming-gender                                       2/7
8/4/22, 11:41 PM          504.13-R Administrative Regulations Regarding Transgender and Students Nonconforming to Gender Role Stereotypes | Linn-Mar Policy Services

   dependents by their parents/guardians for tax purposes, should be aware that a
   parent/guardian has the right to review their student’s education records under FERPA.

   Names and Pronouns
   Every student has the right to be addressed by a name and pronoun that corresponds to
   their gender identity. A court-ordered name or gender change is not required, and the
   student need not change official school records.

   At the beginning of each semester, teachers may ask all students how they want to be
   addressed in class and in communications with their parent/guardian. Within 10 school days
   of receiving a request from a student, regardless of age, or a parent/guardian (with the
   student’s consent), the district shall change a student’s name and/or gender marker in
   student technology logins, email systems, student identification cards, non-legal documents
   such as diplomas and awards, yearbooks, and at events such as graduation. A student may
   make this request via their Gender Support Plan, if the student has requested one.

   In situations wherein the district is required by law to use or to report a student’s legal name
   and/or gender marker, such as for purposes of standardized testing, the building secretaries
   will keep a record of the student’s legal names and this document will be kept in a locked
   file for their access only. When a student transitions from one school to another, the
   recording form will be shared from building secretary-to-building secretary. A student’s
   Gender Support Plan will be shared either administrator-to-administrator or school
   counselor-to-school counselor; depending on the student’s preference.

   An intentional and/or persistent refusal by staff or students to respect a student’s gender
   identity is a violation of school board policies 103.1 Anti-Bullying and Anti-Harassment,
   104.1 Equal Educational Opportunity, and 104.3 Prohibition of Discrimination and/or
   Harassment based on Sex Per Title IX.

   Restrooms and Locker Rooms
   With respect to restrooms, locker rooms, and/or changing facilities; students shall have
   access to facilities that correspond to their gender identity. Buildings may maintain separate
   restrooms, locker rooms, or changing facilities for male and female students provided they
   allow students to access them based on their gender identity. No student shall be required
   to use an all-gender or secure-access restroom, a nurse’s restroom, a privacy
   partition/curtain, and/or an all-gender locker room because they are transgender, gender
   nonconforming, or questioning their gender. Access to restrooms and locker rooms for
   nonbinary students and students questioning their gender will be determined on a case-by-
   case basis while providing students with options that allow for them to feel safest and most
   included.

   Regardless of gender identity, any student who is uncomfortable using a shared facility
   regardless of the reason shall, upon the student's and/or a parent/guardian request, be
   provided with a safe and non-stigmatizing alternative. This may include, for example,
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 46 of 216
policy.linnmar.k12.ia.us/policy/50413-r-administrative-regulations-regarding-transgender-and-students-nonconforming-gender                                       3/7
8/4/22, 11:41 PM          504.13-R Administrative Regulations Regarding Transgender and Students Nonconforming to Gender Role Stereotypes | Linn-Mar Policy Services

   addition of a privacy partition/curtain, provision to use a nearby private restroom/office, or a
   separate changing schedule.

   Dress Code
   Within the constraints of the district’s student dress code policy (502.9 Student
   Appearance), students may dress in accordance with their gender identity. School staff shall
   not enforce a dress code more strictly against transgender and gender nonconforming
   students than they do with other students.

   Physical Education and Athletics
   All students shall be permitted to participate in physical education classes, intramural
   sports, clubs, and school events in a manner consistent with their gender identity. Students
   may enroll in physical education classes that correspond with their gender identity,
   correspond with their sex assigned at birth, or that are not gender-specific. As a member of
   the Iowa High School Athletic Association (IHSAA) and the Iowa Girls High School Athletic
   Union (IGHSAU), the district follows their policies and recommendations for transgender
   athletic participation.

   Overnight Trips
   No student shall be denied the right to participate in an overnight fieldtrip because the
   student is transgender, gender nonconforming, or questioning their gender. Students shall
   be allowed to room with other students who share their gender identity or where they feel
   safest and most included. Accommodations on overnight trips for nonbinary students and
   students questioning their gender will be determined on a case-by-case basis with an
   emphasis on providing students with options that allow for them to feel safest and most
   included. No student should be forced to room by themselves because they are
   transgender, gender nonconforming, or questioning their gender.

   Building administration shall work with the student to determine the accommodations that
   will be provided based on the particular circumstances of the trip and shall notify the student
   of such accommodations in advance. With the student’s agreement, building administration
   may engage the staff member supervising the trip. Overnight accommodations shall be
   arranged and provided in a manner that respects the student’s desired level of
   confidentiality. Building administration and/or staff shall not notify parents of other students
   regarding a trans or gender nonconforming student’s housing accommodations.

   Staff members should always work with a student, regardless of gender identity, to address
   concerns regarding inclusion or safety and develop a plan for participation that addresses
   the student’s concerns.

   Records
   The district and/or building shall maintain a mandatory, permanent student record that
   includes a student's legal name and legal gender. However, to the extent that the district
   and/or building is not legally required to use a student's legal name and gender on other
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 47 of 216
policy.linnmar.k12.ia.us/policy/50413-r-administrative-regulations-regarding-transgender-and-students-nonconforming-gender                                       4/7
8/4/22, 11:41 PM          504.13-R Administrative Regulations Regarding Transgender and Students Nonconforming to Gender Role Stereotypes | Linn-Mar Policy Services

   school records or documents, the district and/or building shall use the name and gender
   preferred by the student. The district and/or building will change a student's official record to
   reflect a change in legal name or gender upon receipt of documentation that such change
   has been made pursuant to a court order or through amendment of state or federally-issued
   identification (School IDs, for example, are not legal documents and should use the
   student's preferred name). In situations where school staff or administration are required by
   law to use or report a transgender student's legal name or gender, such as for purposes of
   standardized testing, building secretaries will keep a record of the student’s legal names
   and this document will be kept in a locked file for their access only. When a student
   transitions from one school to another, the recording form will be shared from building
   secretary-to-building secretary. A student’s Gender Support Plan will be shared either
   administrator-to-administrator or school counselor-to-school counselor; depending on the
   student’s preference.

   All written records related to student meetings concerning their gender identity and/or
   gender transition with any staff member will be kept in a temporary file that shall be
   maintained by the school counselor. The file will only be accessible to staff members that
   the student has authorized in advance to do so.

   Discrimination and Harassment
   No student shall be denied equal access to education on the basis of their gender identity or
   gender expression. Allegations involving violations of these administrative regulations shall
   be reported in a manner consistent with all applicable board policies. Policies prohibiting
   harassment and discrimination on the basis of sex also include harassment based on
   gender identity and expression.

   Media and Community Communications
   When communicating to the media or community about issues related to gender identity,
   the district and/or building shall have a single spokesperson to address the issue. Rather
   than directly commenting on the issue, all other school staff shall direct parents and/or the
   media to the designated spokesperson. Protecting the privacy of transgender and gender
   nonconforming students must be a top priority for the spokesperson, as well as for all staff,
   and all medical information shall be kept strictly confidential. Violating confidentiality of this
   information is a violation of district procedures and may be a violation of local, state, or
   federal privacy laws.

   Definitions
   The following definitions are provided not for the purpose of labeling students, but rather to
   assist in understanding this policy and the legal obligations of school staff. Students may or
   may not use these terms to describe themselves.

   Affirming: Acknowledging and supporting the identity of an individual.



                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 48 of 216
policy.linnmar.k12.ia.us/policy/50413-r-administrative-regulations-regarding-transgender-and-students-nonconforming-gender                                       5/7
8/4/22, 11:41 PM          504.13-R Administrative Regulations Regarding Transgender and Students Nonconforming to Gender Role Stereotypes | Linn-Mar Policy Services

   Ally: A person who is not LGBTQ+ but shows support for LGBTQ+ people and promotes
   equality.

   Cisgender/Cis: Used to describe one whose gender identity corresponds solely with their
   sex assigned at birth.

   Gender Diversity: Refers to the wide range of gender identities, gender roles, and/or gender
   expressions that exist.

   Gender Expression: The manner in which a person represents or expresses gender to
   others; often through behavior, clothing, hairstyles, activities, voice, or mannerisms.

   Gender Identity: A person's deeply-held sense or psychological knowledge of their own
   gender. One's gender identity can be the same or different than the gender assigned at
   birth. Most people have a gender identity that matches their assigned gender at birth. For
   some, however, their gender identity is different from their assigned gender. All people have
   a gender identity, not just transgender people. Gender identity is an innate, largely inflexible
   characteristic of each individual's personality that is generally established by age four,
   although the age at which individuals come to understand and express their gender identity
   may vary based on each person's social and familial social development.

   Gender Nonconforming: A term for people whose gender expression differs from
   stereotypical expectations, such as feminine boys, masculine girls, and those who are
   perceived as androgynous. This includes people who identify outside traditional gender
   categories or identify as both genders. Other terms that can have similar meanings include
   gender diverse or gender expansive.

   Gender Support Plan: A document that may be used to create a shared understanding
   about the ways in which a student’s gender identity will be accounted for and supported at
   school.

   Intersex: A general term used for the many ways in which a person can be born with
   chromosomes, reproductive anatomy, and/or genitalia that do not fit the typical binary
   expectations of female or male.

   LGBTQ+: A commonly used acronym referring to the lesbian, gay, bisexual, transgender,
   and queer community. The plus sign acknowledges that there are additional identities within
   the community. Other iterations include LGBTQQIA (Includes questioning, intersex, and
   asexual/aromantic).

   Misgendering: When a person intentionally or accidentally uses the incorrect name or
   pronouns to refer to a person. Repeated or intentional misgendering is a form of bullying
   and harassment.



                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 49 of 216
policy.linnmar.k12.ia.us/policy/50413-r-administrative-regulations-regarding-transgender-and-students-nonconforming-gender                                       6/7
8/4/22, 11:41 PM          504.13-R Administrative Regulations Regarding Transgender and Students Nonconforming to Gender Role Stereotypes | Linn-Mar Policy Services

   Non-Binary Gender: Reflects gender identities that do not fit within the binary of male and
   female. Individuals may identify as both genders, neither, and/or some mixture thereof.
   Some terms under this umbrella include, but are not limited to, genderqueer, gender fluid,
   agender, bigender, etc. Some non-binary people may use they/them/theirs or other neutral
   pronouns

   Outing: When someone discloses information about another person’s sexual orientation or
   gender identity without that person’s knowledge and/or consent. Outing by school staff
   without the student’s consent can violate the student’s privacy rights.

   Pronouns: Words used to refer to someone without using their name. Common pronouns
   include, but are not limited to, they/them, she/her, and he/him.

   Sex Assigned at Birth: Typically, the assignment of male or female at birth by a medical
   professional based on visible body parts. This binary assignment does not reflect the
   natural diversity of bodies or experiences.

   Sexual Orientation: The term for someone’s romantic, emotional, physical, and/or sexual
   attraction to the same or different gender. Sexual orientation is distinct from gender identity.

   Transgender/Trans: Individuals with a gender identity different than the sex they are
   assigned at birth. Transgender can be used as an umbrella term that encompasses
   diversity of gender identities and expressions. Being transgender is not dependent on
   appearance, body parts, or medical procedures.

   Transition: The process whereby people may change their gender expression, bodies,
   and/or identity documents to match their gender identity. Transition can be social, medical,
   and/or legal and is different for every individual. In children, adolescents, and adults it is
   increasingly common for gender transition to be an ongoing process.


                                                                                                                        Adopted: 4/22
     Related Policy (Code#): 103.1; 103.1-R; 103.1-E1-E3; 104.1; 104.1-R; 104.1-E1-E5; 104.3;
                                                                                      504.13
                                                                 Legal Reference (Code of Iowa): 216.9 and Title IX




     ‹ 504.13 - Transgender and Students                             up                        505 - Miscellaneous Matters ›
     Nonconforming to Gender Role
     Stereotypes

                                                                                                                  Printer-friendly version




                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 50 of 216
policy.linnmar.k12.ia.us/policy/50413-r-administrative-regulations-regarding-transgender-and-students-nonconforming-gender                                       7/7
                       EXHIBIT J




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 51 of 216
8/4/22, 12:19 PM                                         504.3 - Student Injury or Illness at School




    504.3 - Student Injury or Illness at School



    When a student becomes ill or is injured at school or a school-sponsored activity, the school district will
    attempt to notify the student's parent/legal guardian as soon as possible.

    The district, while not responsible for medical treatment of an ill or injured student, will have employees
    administer emergency or minor first aid if possible. An ill or injured student will be released to the care of the
    parent/legal guardian or qualified medical personnel as quickly as possible.

    It is the responsibility of the principal [or designee] to file an accident report for any incident with the
    superintendent [or designee] within 24 hours after the student is injured.

    Annually, parents/legal guardians will be required to complete a medical emergency authorization form
    indicating the procedures to be followed, if possible, in an emergency involving their child. The authorization
    form will also include the phone numbers of the parent/legal guardian and alternative numbers to call in case
    of an injury or illness.

    The superintendent [or designee] will be responsible, in conjunction with the district health services staff, to
    develop rules and regulations governing the procedures in the event a student should become ill or be injured
    at school or a school-sponsored activity. The district reserves the right to take necessary actions to respond to
    a health or safety emergency.

    Refer to Policy 504.3-R for regulations to follow regarding management of medical emergencies.


    Adopted: 6/70
    Reviewed: 4/11; 4/12; 7/13; 11/17; 12/20
    Revised: 12/13; 10/14
    Related Policy (Code #): 504.3-R
    Legal Reference (Code of Iowa): § 613.17
    IASB Reference: 507.4


    504.3-R - Management of a Medical Emergency



    The following information provides a basis for the management of a medical emergency. All schools
    throughout the Linn-Mar Community School District have emergency response teams that will respond to an
    emergency and follow guidelines per American Red Cross training.

    Assess the Situation:
             Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 52 of 216
policy.linnmar.k12.ia.us/book/export/html/524                                                                            1/2
8/4/22, 12:19 PM                                             504.3 - Student Injury or Illness at School

             For safety of the individual (protect from further injury)
             For safety of the responder (personal protective equipment, universal

       precautions as applicable to situation)

    Assess Severity of Injury/Illness of Individual:

             Airway
             Breathing
             Circulation
             Obtain history of incident from individual witness if possible

    Activate Building Emergency Response Team:

             Call 911 for emergency medical assistance
             Provide appropriate life support or first aid

    Notify:

             Family/emergency contact
             School nurse
             Building administration

    No injured or ill student should be sent home or to a medical facility without the knowledge and permission of
    the parent/guardian or other responsible person. If emergency situation is life-threatening, call 911, even if
    parent/guardian cannot be reached.

    Document incident using Complete Variance Report.


    Adopted: 10/14
    Reviewed: 11/17; 12/20
    Related Policy (Code#): 504.3




                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 53 of 216
policy.linnmar.k12.ia.us/book/export/html/524                                                                        2/2
                      EXHIBIT K




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 54 of 216
8/4/22, 12:20 PM                                             504.31 - Administration of Medication to Students



   504.31 - Administration of Medication to Students



   The board is committed to the inclusion of all students in the education program and recognizes that some students may be required to
   take medications during the school day.

   Medications will not be administered without signed and dated authorization from the parent/legal guardian requesting medication
   administration. Medication must be contained in the original pharmacy or manufacturer bottle. The pharmacy bottle must be labeled
   with the student’s name, name of medication, dosage, time of day, and duration it should be given. Manufacturer bottles must include
   dosage instructions. A record of medication administration must be kept for each student receiving medication including the date;
   student’s name; prescriber or person authorizing administration; medication and its dosage; name, signature, and title of the person
   administering the medication; time and method of administration; and any unusual circumstances or omissions. Natural remedies and
   supplements not approved by the Federal Drug Administration (FDA), including essential oils and CBD, will not be administered at
   school. Administration of medication records will be kept confidential. Protocols for administration of emergency medication will be
   posted.

   When administration of medication requires ongoing professional health judgement, an Individual Health Plan (IHP) will be
   developed by an authorized practitioner with the student and the student’s parent/legal guardian.

   A physician’s/dentist’s signature is required for preschool through 4th grade students before any non-prescription medication will be
   given. Students in grades 5-12 with signed and dated authorization from the parent/legal guardian will be allowed a limited number of
   standard dose acetaminophen or ibuprofen each school year. The standard dose of these two medications will be provided by Linn-
   Mar Health Services. Acetaminophen and ibuprofen will be given per board policy at the nurse’s discretion. Frequent dosing may
   require a physician’s order and the parent/legal guardian to supply the medication. All other over-the-counter medications for grades
   5-12 must be supplied by a parent/legal guardian. The parent/legal guardian must supply any medications in liquid or chewable form
   or that differ from the standard dose the district supplies.

   Persons administering medication will include authorized practitioners such as licensed registered nurses and physicians and persons
   to whom authorized practitioners have delegated the administration of medication, such as the school nurse or in the nurse’s absence a
   person who has successfully completed an administration of medication course reviewed by State Department of Health. Medications
   will be stored in a secured area unless an alternate provision is documented.

   In accordance with Iowa law Code 280.16 and amended by Senate File 462 (SF 462), a student with asthma or other airway-
   constricting diseases, or students with a risk of anaphylaxis who use epinephrine auto-injectors, may possess and self-administer their
   medication with the signed and dated approval of their parent/legal guardian and prescribing, licensed health care professional while
   at school or at school-sponsored activities. If the student abuses the self-administration policy, the permission to self-administer may
   be withdrawn. The school district and its employees acting reasonably and in good faith will incur no liability of any injury arising
   from self-administration of medication by the student. The student is responsible for maintaining self-administration records.

   The superintendent [or designee] will be responsible in conjunction with the school nurses to develop rules and regulations governing
   the administration of medications, prescription and non-prescription, to students. Each student will be provided with the requirements
   for administration of medication at school.

   Disposal of unused, discontinued/recalled, or expired medication will be in compliance with federal and state laws. Prior to disposal,
   school personnel will make a reasonable attempt to return medications. Medications that have expired, been discontinued, or remain
   unused will need to be picked up. If medications are not picked up by the date specified, disposal will be in accordance with the
   disposal procedures for the specific category of medication.


   Adopted: 5/91
   Reviewed: 4/11; 7/13; 10/14; 12/20
   Revised: 4/12; 4/16; 10/17; 4/18; 6/20; 8/21
   Related Policy (Code#): 504.31-E1-E2; 504.32
   Legal Reference (Code of Iowa): §§ 124.101(1); 147.107; 152.1; 155A.4; 280.16; 280.23; 281 IAC 14.1; 655 IAC §6.2(152)
   Mandatory Policy


   504.31-E1 - Medication Permission Form
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 55 of 216
policy.linnmar.k12.ia.us/book/export/html/535                                                                                                 1/5
8/4/22, 12:20 PM                                               504.31 - Administration of Medication to Students




   Click here to download a copy of the Medication Permission Form

   To ensure compliance with Linn-Mar policy for administering medication at school, the following procedures must be followed:

           ALL MEDICATIONS MUST BE DELIVERED TO AND FROM SCHOOL BY THE PARENT/LEGAL GUARDIAN
           IN THE ORIGINAL AND PROPERLY LABELED CONTAINER. The container must include the following information:
           student name, medication, dosage, time, route, and physician. Written authorization and instructions must be provided by the
           parent/legal guardian for all medications. The school nurse will have the right to contact the prescribing physician to confirm or
           clarify medication instructions. The time of medication administration may need to be altered slightly to fit the student’s
           schedule.
           For preschool through 4th grade students, a physician’s/dentist’s signature is required before any non-prescription, over-the-
           counter medications will be given. This includes acetaminophen, ibuprofen, cough medicines, etc. All medications
           administered for preschool through 4th grade students must be provided by the parent/legal guardian in their original and
           properly labeled containers.
           High school and middle school students (Grades 5-12), in accordance with Health Services protocols for common complaints
           of pain or illness, may have limited over-the-counter medications with written or PowerSchool eRegistration parental consent.
           Students in grades 5-12 will be allowed a limited number of standard dose acetaminophen or ibuprofen each school year. The
           standard dose of these two medications will be provided by Linn-Mar Health Services. Acetaminophen and ibuprofen will be
           given per board policy at the nurse’s discretion. Frequent dosing may require a physician’s order and the parent/legal guardian
           to supply the medication. All other over-the-counter medications for grades 5-12 must be supplied by the parent/legal guardian.
           The parent/legal guardian must supply any medications in liquid/chewable form or that are different than the standard dose the
           district supplies.
           If any medications remain after the last day of school, they will be discarded within 24 hours per federal and state laws.


   Student Name: ___________________________________ Grade: ____________________

   Medication: __________________________ Dosage: _____________ Time: ____________

   Start Date: ________________ End Date: _______________ For: ____________ (Health Condition)

   Parent/Guardian Signature: _________________________ Date: ______________________


   Physician's/Dentist's signature required for non-prescription medications for students in preschool-4th grades.

   Physician/Dentist Signature: ______________________________ Date: _______________________


   Consent for Release of Information: I give permission for the parties named below to exchange written and verbal information with
   personnel at LMCSD regarding the above-named student. If this medication is for attention or behavior concerns, LMCSD may send
   behavior checklists to the physician named below. This permission is for one school year.

   Specific authorization for release of information protected by state or federal law:
   My signature releases all information related to (check appropriate items below):

   _____ Mental health/psychological _____ Substance Abuse _____Allergies _____Asthma

   Other (specify): ________________________________________________________________

   Physician/Facility: __________________________________ Phone: ____________________

   Parent/Guardian Signature: ___________________________ Date: _____________________


   Reviewed: 7/13; 12/20
   Revised: 10/14; 4/16; 10/17; 6/20; 8/21
   Related Policy (Code#) 504.31; 504.31-E2; 504.32
   IASB Reference:
               Case 507.2; 507.2E1-E2
                      1:22-cv-00078-CJW-MAR                   Document 3-11 Filed 08/05/22 Page 56 of 216
policy.linnmar.k12.ia.us/book/export/html/535                                                                                                   2/5
8/4/22, 12:20 PM                                               504.31 - Administration of Medication to Students


   504.31-E2 - Authorization - Asthma or Other Airway
   Constricting Disease Medication or Epinephrine Auto-
   Injection Self-Administration Consent Form




   Click here to download a copy of the Asthmas/Airway
   Constricting Disease Medication Self-Administration
   Authorization Form
   Student Name:
   Grade:
   Medication:
   Dosage:
   Purpose for Medication:


   The following must occur for a student to self-administer asthma or other airway constricting disease medications or for a student
   with a risk of anaphylaxis to self-administer an epinephrine auto-injector:

           Parent/legal guardian provides signed, dated authorization for student medication self-administration;
           Parent/legal guardian provides a written statement from the student’s licensed health care professional (A person licensed under
           Chapter 148 to practice medicine and surgery or osteopathic medicine and surgery, an advanced registered nurse practitioner
           licensed under Chapter 152 or 152E and registered with the Board of Nursing, or a physician assistant licensed to practice
           under the supervision of a physician as authorized in Chapters 147 and 148C) containing the following:
                 Name and purpose of the medication or epinephrine auto-injector
                 Prescribed dosage
                 Times or special circumstances under which the medication or epinephrine auto-injector is to be administered;
           The medication is in the original, labeled container as dispensed or the manufacturer’s labeled container containing the student
           name, name of the medication, directions for use, and date; and
           Authorization will be renewed annually. In addition, if any changes occur in the medication, dosage, or time of administration
           the parent/legal guardian is to notify school officials immediately. The authorization will be reviewed as soon as practical.

   Provided the above requirements are fulfilled, the school will permit the self-administration of medications by a student with asthma
   of other airway constricting disease or the use of an epinephrine auto-injector by a student with a risk of anaphylaxis while in school,
   at school-sponsored activities, under the supervision of school personnel, and before or after normal school activities, such as while in
   before-school or after-school care on school-operated property. If the student abuses the self-administration policy, the ability to self-
   administer may be withdrawn by the school or discipline may be imposed after notification is provided to the student’s parent/legal
   guardian.

   Pursuant to state law, the district and its employees are to incur no liability except for gross negligence as a result of an injury arising
   from self-administration of medication or use of an epinephrine auto-injector by the student. The parent/legal guardian of the student
   will sign a statement acknowledging that the district is to incur no liability except for gross negligence as a result of self-
   administration of medication or an epinephrine auto-injector by the student as provided by law.


    Medication:
    Dosage:
    Purpose for Medication:
    Administration/Instructions:
    Special Circumstances:
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 57 of 216
policy.linnmar.k12.ia.us/book/export/html/535                                                                                                     3/5
8/4/22, 12:20 PM                                               504.31 - Administration of Medication to Students

    Discontinue/Re-Evaluate/Follow-Up Date:
    Prescriber's Signature:
    Date Signed:
    Prescriber's Address:
    Emergency Phone:

           I request the above-named student possess and self-administer asthma or other airway constricting disease medications and/or
           an epinephrine auto-injector at school and in school activities according to the authorization and instructions;
           I understand the district and its employees acting reasonably and in good faith will incur no liability for any improper use of
           medication or an epinephrine auto-injector or for supervising, monitoring, or interfering with a student’s self-administration of
           medication or use of an epinephrine auto-injector;
           I acknowledge that the district will incur no liability except for gross negligence as a result of self-administration of
           medications or use of an epinephrine auto-injector by the student;
           I agree to coordinate and work with school personnel and notify them when questions arise, or relevant conditions change;
           I agree to provide safe delivery of medications and equipment to/from school and to pick up remaining medications and
           equipment;
           I agree the information is shared with school personnel in accordance with the Family Educational Rights and Privacy Act
           (FERPA) and any other applicable laws;
           I agree to provide the school with back-up medications approved on this form; and
           I agree that the student will maintain self-administration records.

    Parent/Legal Guardian Signature:
    Date Signed:
    Parent/Legal Guardian Address:
    Home Phone:
    Cell Phone:
    Work Phone:
    Additional Self-Administration Authorization Information:


   Adopted: 4/16
   Reviewed: 11/17; 12/20
   Related Policy (Code#): 504.31; 504.31-E1; 504.32
   IASB Reference: 507.2; 507.2E1-E2


   504.32 - Stock Epinephrine Auto-Injector Supply



   The Linn-Mar Community School District seeks to provide a safe environment for students, staff, and visitors who are at risk of
   severe allergic reactions. Therefore, it is the policy of the district to annually obtain a prescription for epinephrine auto-injectors from
   a licensed health care professional, in the name of the school district, for administration by a school nurse or trained and authorized
   personnel to a student or individual who may be experiencing an anaphylactic reaction.

   Procurement and Maintenance of Supply: The district will stock a minimum of one pediatric dose and one adult dose epinephrine
   auto-injector in each school building. The supply of such auto-injectors will be maintained in a secure, dark, temperature-controlled
   location in each school building.

   The school nurse or trained and authorized personnel will routinely check the stocked epinephrine auto-injectors and document in a
   log on a monthly basis: 1) The expiration date, 2) Any visualized particles, or 3) Any color change.


                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 58 of 216
policy.linnmar.k12.ia.us/book/export/html/535                                                                                                     4/5
8/4/22, 12:20 PM                                              504.31 - Administration of Medication to Students
   The school nurse or trained and authorized personnel will be responsible for ensuring the district replaces, as soon as reasonably
   possible, any logged epinephrine auto-injector that is used, close to expiration, discolored, or has particles visible in the liquid.

   Training: A school nurse or trained and authorized personnel may provide or administer an epinephrine auto-injector from a school
   supply to a student or individual if they, reasonably and in good faith, believe the student or individual is having an anaphylactic
   reaction. Training to obtain a signed certificate to become personnel authorized to administer an epinephrine auto-injector will consist
   of the requirements established by law.

   Authorized personnel will be required to provide a procedural skills demonstration to the school nurse demonstrating competency in
   the administration of stock epinephrine auto-injectors to retain authorization to administer stock epinephrine auto-injectors if the
   following occur:

           Failure to administer an epinephrine auto-injector to a student or individual by proper route, failure to administer the correct
           dosage, or failure to administer an epinephrine auto-injector according to generally accepted standards of practice (“medication
           error”); or
           Accidental injection of an epinephrine auto-injector into a digit of the authorized personnel administering the medication
           (“medication incident”).

   Reporting: The district will contact emergency medical services (911) immediately after a stock epinephrine auto-injector is
   administered to a student or individual. The school nurse or authorized personnel will remain with the student or individual until
   emergency medical services arrive.

   Within 48 hours, the district will report the following to the Iowa Department of Education:

           Each medication incident with the administration of stock epinephrine;
           Each medication error with the administration of stock epinephrine; or
           Administration of a stock epinephrine auto-injector.

   As provided by law, the district, board, authorized personnel or school nurse, and the prescriber shall not be liable for any injury
   arising from the provision, administration, failure to administer, or assistance in the administration of an epinephrine auto-injector
   provided they acted reasonably and in good faith.

   The superintendent [or designee] may develop an administrative process to implement this policy.


   Adopted: 4/16
   Reviewed: 11/17; 12/20
   Related Policy (Code#): 504.31; 504.31-E1-E2
   Legal Reference (Code of Iowa): §§ 135.185; 279.8; 281 IAC 14.3
   IASB Reference: 804.5




                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 59 of 216
policy.linnmar.k12.ia.us/book/export/html/535                                                                                                 5/5
                      EXHIBIT L




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 60 of 216
8/4/22, 12:21 PM                                                503.4 - Student Activity Program | Linn-Mar Policy Services




  Home » 500 Series: Students » 503 - Student Activities




   503.4 - Student Activity Program




   Participation in school activities is a privilege. Students may participate in interscholastic
   athletic activities, music, speech, and other contests or events approved by the
   administration. Any such event must be directed or guided by licensed school personnel.

   Students will have an opportunity to participate in a school activity unless the activity is not
   offered, or the student cannot participate for disciplinary reasons. If the activity is an
   intramural or interscholastic athletic activity, students of the opposite sex will have a
   comparable opportunity for participation. Comparable opportunity does not guarantee boys
   and girls will be allowed to play on each other's teams when there are athletic activities
   available that will allow both boys and girls to reap the benefits of school activities.

   Student activity events must be approved by the superintendent unless they involve unusual
   travel and expense, in which case the board will take action. A high school student who
   participates in school-sponsored activities may participate in a non-school sponsored
   activity during the same season. Such outside participation will not conflict with the school-
   sponsored activity.

   It is the responsibility of the superintendent in conjunction with building principals to develop
   administrative regulations for each school activity. These regulations will include but not be
   limited to when physical examinations will be required, how and when parents will be
   informed about the risk of the activity, forms and procedures for a waiver of liability from the
   parent and student in certain activities, and proof of insurance for the student participating in
   certain activities. Students wanting to participate in school activities must meet the
   requirements set out by the district for participation in the activity.

   Hours, behavior, and activities will be reasonable and proper as determined by the
   administration. Anyone who does not recognize the authority and responsibility of the

                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 61 of 216
policy.linnmar.k12.ia.us/policy/5034-student-activity-program                                                                 1/2
8/4/22, 12:21 PM                                                 503.4 - Student Activity Program | Linn-Mar Policy Services

   school personnel will not be permitted to remain in attendance at school-sponsored
   activities.


                                                                                                                      Adopted: 6/70
                                                                     Reviewed: 5/11; 4/12; 10/14; 1/15; 10/17; 9/20
                                                                                                     Revised: 7/13
                                        Related Policy (Code #): 502.5-R3; 502.6; 503.5; 503.6
           Legal Reference (Code of Iowa): 216.9; 280.13-14; 281 IAC 12.3(6), 12.6, 36.15(7); 20
                                                                USC §§ 1681-1683, 1685-1686; 34 CFT Pt 106.41
                                                                                        IASB Reference: 504.6
                                                                                                                 Mandatory Policy


     ‹ 503.2 - Student Organizations                              up                  503.5 - Reserved Time for Non-
                                                                                  School-Sponsored Student Activities
                                                                                                                                     ›

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                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 62 of 216
policy.linnmar.k12.ia.us/policy/5034-student-activity-program                                                                             2/2
                     EXHIBIT M




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 63 of 216
8/4/22, 12:24 PM                                                                      Linn-Mar school board members debate policies to protect transgender students | The Gazette



                       Linn-Mar school board members debate policies to protect transgender students
                       Superintendent says proposal already laid out in law

                                 Grace King
                       Apr. 18, 2022 6:00 am




                       A gay pride flag sits on the floor April 1 next to a Linn-Mar student during a transgender athlete support rally at Linn-Mar Community Scho
                       Linn-Mar High School in Marion. (Savannah Blake/The Gazette)



                       MARION — Policies to protect transgender students from discrimination were hotly debated last week by Linn-
                       Mar school board members, passing a proposal 5-2 in the first consideration.

                       School board members president Brittania Morey, vice president Clark Weaver, Sondra Nelson, Melissa Walker
                       and Rachel Wall approved the policy. Members Matt Rollinger — who is new to the board this year — and Barry
                       Buchholz opposed it.

                       Policy recommendations require two votes of approval by the school board before being adopted. The board will
                       take a second vote at its meeting at 5 p.m. April 25 in the boardroom of the Learning Resource Center, 2999 N
                       10th St., Marion.

                       The proposed policies make official practices already established in the Linn-Mar Community School District to
                       follow federal and state law. The policies were intended to allow all students to advocate for themselves, feel
                       comfortable at school, receive support from staff and work with staff and families to create a plan to help
                       students’ succeed.

                       The policies spell out inclusive practices for transgender students, including giving students access to restrooms,
                       locker rooms or changing areas that corresponds with their gender identity.

                       It protects a student’s privacy by keeping their transgender status private at school — if they wish to.

                       Any student in seventh grade or older will have priority of a gender support plan over their parent or guardian,
                       according to the proposed policies.

                       Superintendent Shannon Bisgard said adopting the policies will not change any practice the district has been
                       following for more than five years.

                       “There is federal and state law in this area that already essentially says exactly what the proposed policy is
                       saying,” Bisgard said. “This is something all schools are following whether they have a policy or not.”

                       During school board public comment last week, Gretchen Lawyer, a member of the Marion Alliance for Racial
                       Equity, spoke in favor of the policies.

                       “This policy helps ensure the safety of (transgender) students and students who do not conform to stereotypical
                       gender roles,” Lawyer said. “It will enforce the district’s commitment to diversity, equity and inclusion and is
                       another step toward fostering a greater sense of belonging for all students.”


                                                    Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 64 of 216
https://www.thegazette.com/k/linn-mar-school-board-members-debate-policies-to-protect-transgender-students/                                                                         1/2
8/4/22, 12:24 PM                                                                      Linn-Mar school board members debate policies to protect transgender students | The Gazette

                       A petition on change.org to show support for the proposed policies has received 221 signatures with the goal of
                       500 signatures as of last Thursday morning.

                       Five parents and community members spoke in opposition to the proposed policies during public comment last
                       week.

                       School board member Rollinger asked to see “where all of this specifically is laid out in federal or state law.”

                       “If the policy committee is saying that’s what it is, I’m assuming it was reviewed and verified. It should be easy to
                       provide that information. I don’t think that’s asking too much,” Rollinger said. “Let’s go line by line with some of
                       this stuff that’s obviously controversial with the community.”

                       “Do we think the verbiage of this policy really takes in to account all students?” Rollinger asked. “We’re only
                       focusing on a small section of the student body when our job is to make sure we’re thinking of the entire student
                       body.”

                       School board member Walker said adopting the policies provides transparency to the community about what the
                       district is doing.

                       "What we’ve heard from the community is that we have not been a transparent board, we have not been a
                       transparent district,“ Walker said. ”This is providing transparency district is asking from us. … It is making
                       everyone aware of what’s happening.“

                       Comments: (319) 398-8411; grace.king@thegazette.com




                                                    Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 65 of 216
https://www.thegazette.com/k/linn-mar-school-board-members-debate-policies-to-protect-transgender-students/                                                                         2/2
                      EXHIBIT N




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 66 of 216
8/4/22, 12:25 PM                                                                         Linn-Mar transgender policies called ‘safest’ for students | The Gazette



                        Linn-Mar transgender policies called ‘safest’ for students
                        They align with the state’s guidance on transgender policies

                                  Grace King
                        May. 6, 2022 2:13 pm




                        Protester stand Friday at the intersection of 10th Street and 29th Avenue in Marion during a rally against the                              A passenger waves a trans
                        Linn-Mar school board’s passage of policies to protect transgender students from discrimination. (Nick                                      School in Marion against th
                        Rohlman/The Gazette)                                                                                                                        discrimination. (Nick Rohlm



                        MARION — New policies adopted by the Linn-Mar Community School District to protect transgender students
                        from discrimination are the "safest“ policies for students and could possibly protect the district from future
                        litigation, said Keenan Crow, director of policy and advocacy at One Iowa, a statewide LGBTQ group.

                        Parents upset over the policies earlier this week met in Marion with Gov. Kim Reynolds and U.S. Rep. Ashley
                        Hinson, both Republicans seeking re-election this year. The event was not open to the media, and the governor's
                        spokesman said the meeting was private.

                        “As a parent, they were really concerned that the school district was eliminating them in the process,” Reynolds
                        told reporters afterward. “You know, a parent has to sign off on a kid, a child, taking an aspirin or to go on a field
                        trip. But yet they’re implementing policy that the student — a seventh-grader — will decide if a parent knows
                        about that (gender identify) or not. They felt very strongly that these are their children, not the school district’s.”

                        The policies were hotly debated last month by Linn-Mar school board members, passing by 5-2 vote in the first
                        and second considerations. School board members President Brittania Morey, vice president Clark Weaver,
                        Sondra Nelson, Melissa Walker and Rachel Wall approved the policy. Members Matt Rollinger — who is new to
                        the board this year — and Barry Buchholz opposed it.

                        The school board vote makes official practices that were already established at Linn-Mar schools to follow federal
                        and state law — as they also have with other districts. Superintendent Shannon Bisgard said the policies will not
                        change any practice the district has been following for more than five years.

                        The policies were intended to allow students to advocate for themselves, feel comfortable at school, receive
                        support from staff and work with staff and families to create a plan to help students’ succeed.

                        “It creates a culture of treating students equally and with dignity and respect,” One Iowa’s Crow said. “It’s letting
                        the student come out at their own time and pace in a way that feels safest for them, so they’re not put in a
                        dangerous situation at school or at home. All these policies are what the law requires, so it’s not changing what
                        schools are practicing.”

                        An April 25 school board meeting elicited four hours of public comment, with the majority of the 76 speakers
                        opposing the policies. Some speakers who oppose the policies called them “woke,” cited the exclusion of parents
                        or guardians and said they were un-Christian.

                        “Folks need to try to put themselves in the shoes of these queer kids and realize why these policies are important
                        rather than envisioning disaster scenarios,” Crow said. “It seems like a serious overreaction to something that
                        should be relatively acceptable to everyone.”
                                                      Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 67 of 216
https://www.thegazette.com/k/linn-mar-transgender-policies-called-safest-for-students/                                                                                                            1/2
8/4/22, 12:25 PM                                                                         Linn-Mar transgender policies called ‘safest’ for students | The Gazette

                        The policies spell out inclusive practices for transgender students, including giving students access to restrooms,
                        locker rooms or changing areas that correspond with their gender identity. It protects a student’s privacy by
                        keeping their transgender status private at school — if they wish to.

                        Any student in seventh grade or older will have priority over their parent or guardian of a gender support plan,
                        according to the policies.

                        “The transition process is very anxiety-ridden,” Crow said. “There are a lot of unknowns, and one of the things the
                        school district can take out of the unknown column is what is going to happen at school when they transition.”

                        There is not an increase in public safety incidents in restrooms, locker rooms or changing areas when those
                        spaces are made available to people whose gender conforms, Crow said.

                        There is, however, a significant risk to a transgender person being assaulted if they are forced to use a space that
                        doesn’t conform with their gender identity, Crow said.

                        “The statistically safest policy is the one Linn-Mar just adopted,” Crow said. “It minimizes the risk of transgender
                        students being assaulted and there is no increased risk to cisgender students.”

                        Cisgender refers to a person whose gender identity conforms with the one given to them at birth.

                        At the April 25 school board meeting, the district’s legal counsel, Ahlers & Cooney, outlined anti-discrimination
                        laws, which include gender identity at federal and state level and guidance from the Iowa and federal Office of
                        Civil Rights on how to comply with the laws in regards to gender identities.

                        Gender identity was added to the Iowa Civil Rights Code in 2007, and Title IX guidance at the federal level was
                        first release in 2016. Iowa released similar guidance in 2017, and those procedures have been followed in public
                        schools since.

                        Title IX is a federal civil rights law that was passed as part of the Education Amendments of 1972. It prohibits sex-
                        based discrimination in any school or any other education program that receives funding from the federal
                        government.

                        “These policies do not change procedure, they simply put in to policy for easy reference how these laws are
                        followed within our district,“ school board President Morey said in a Facebook post.

                        The Iowa City Community School District adopted a similar policy in April 2018, district spokeswoman Kristin
                        Pedersen said.

                        The Cedar Rapids Community School District does not have a board policy related to transgender youth, but it
                        does have a non-discrimination policy and Title IX expectations, Superintendent Noreen Bush said in an email.

                        Since 2015, the Cedar Rapids district has aligned with the Iowa Department of Education guidance for equality for
                        transgender students, Bush said.

                        According to the state Department of Education’s policy and guidance on equality for transgender students:

                                 Students have a right to keep their transgender status private at school, and the district should keep this
                                 information confidential. It is not the school’s information to share, even if the student has disclosed it to
                                 other staff or students.

                                 The preference for the use of pronouns is the choice of the student, and a legal name change is not
                                 required for a student to use a new name for class lists, student activities or yearbook publications.

                                 All students have access to locker rooms, bathrooms and shower facilities they identify with, and students
                                 cannot be forced to use a restroom for which they do not identify.

                                 School district’s anti-discrimination policies must include gender identity discrimination, and staff is trained
                                 about gender identity issues in anti-discrimination, bullying and harassment training.

                        Comments: (319) 398-8411; grace.king@thegazette.com




                                                      Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 68 of 216
https://www.thegazette.com/k/linn-mar-transgender-policies-called-safest-for-students/                                                                              2/2
                      EXHIBIT O




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 69 of 216
                                                                        Spotlight on
                                        SPEECH CODES
 FIG. 1
                                                 2021
                                                           The State of Free Speech
                                                          on Our Nation’s Campuses




                    56                              312                            102




FIG. 2                        FIG. 3                           FIG. 4

          Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 70 of 216
Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 71 of 216
                                      TABLE OF CONTENTS



      1   Executive Summary

      3   Methodology

      5   Findings

      9   Discussion

     23   What Can Be Done

     25   Spotlight On: New Title IX Regulations

     27   Appendices




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 72 of 216
EXECUTIVE SUMMARY



                                       For the thirteenth
                                       year in a row, the
                                       percentage of red
                                       light schools has
                                       declined.




                                                                                     24.2%

                                                                                             21.3%




        2009   2010   2011   2012   2013   2014   2015   2016   2017   2018   2019   2020    2021




  Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 73 of 216
                            Most college students in the United States should         Though these improvements in policy are heartening,
                            be able to expect that freedom of expression will be      free speech on campus remains under threat. Demands
                            upheld on their campuses. After all, public institutions  for censorship of student and faculty speech—
                            are legally bound by the First Amendment, and the vast    whether originating on or off campus—are common,
                            majority of private colleges and universities promise     and universities continue to investigate and punish
                            their students commensurate free speech rights.           students and faculty over protected expression. FIRE
                                                                                      surveyed 478 schools and found 21.3% maintain red
                            In spite of this legal landscape, far too many colleges light policies.
                            across the country fail to live up to their free speech
                            obligations in policy and in practice. Often, this This year, schools across the country moved classes
                            occurs through the implementation of speech codes: online and set forth new regulations in response to
                            university policies that restrict expression protected the COVID-19 pandemic, presenting a new set of
                            by the First Amendment.                                   challenges for campus free speech advocates.1 These
                                                                                      new challenges, combined with an increase in social
                            For our 2021 report, FIRE surveyed the written policies justice protests and anti-racism activism on campuses,
                            of 478 colleges and universities, evaluating their resulted in FIRE’s busiest summer ever. Indeed, in
                            compliance with First Amendment standards. Overall, the month of June, FIRE’s Individual Rights Defense
                            21.3% of surveyed colleges maintained at least one Program reviewed 287 cases of alleged violations of
                            severely restrictive policy that earned FIRE’s worst, student and faculty rights, while the previous two years
                            “red light” rating, meaning that the policy both clearly saw an average of just 49 cases each June.2
                            and substantially restricts protected speech. This is the




                                                                                                                                                                                                                                         The State of Free Speech on Our Nation’s Campuses
                            thirteenth year in a row that the percentage of schools It is imperative that those who care about free speech
                            earning a red light rating has gone down; last year, on campus stay vigilant. The decrease in restrictive
                            24.2% of schools earned a red light rating.               speech codes and the proliferation of free speech
                                                                                      policy statements are the result of the tireless work
                            The majority of institutions surveyed (65.3%) earned an of free speech advocates at FIRE and elsewhere. But we
                            overall “yellow light” rating, meaning they maintained must ensure that new national and global challenges
                            at least one yellow light policy. Yellow light policies do not result in such progress being lost. We must
                            are either clear restrictions on a narrower range of continue to work to ensure that students have the
                            expression or policies that, by virtue of vague wording, opportunity to pursue their education, and that faculty
                            could too easily be applied to restrict protected are able to teach with the greatest possible foundation
                            expression. While the steady decline in red light for free expression in place.
                            institutions is cause for optimism, FIRE will continue
                            to work with colleges and universities to ensure that        FIRE surveyed 478 schools and found 21.3%
                            yellow light institutions improve to earn our highest,                 maintain red light policies
                            “green light” rating.

                            A green light rating indicates that none of a university’s
                            written policies seriously imperil protected expression.
                            A total of 56 colleges and universities (11.7% of those
                            surveyed) earned an overall green light rating, up from
                            50 schools as of last year’s report.

                            In further good news, more and more colleges
                            and universities are adopting policy statements in
                            support of free speech modeled after the “Report
                            of the Committee on Freedom of Expression” at the
                            University of Chicago (the “Chicago Statement”). As
                            of this writing, 76 universities, university systems, or
                            faculty bodies have endorsed a version of the “Chicago
                            Statement,” with six adoptions since last year’s report.

1
    See FIRE statement on COVID-19 restrictions on expressive and associational rights, Found. for Individual Rights in Educ. (Sept. 8, 2020), thefire.org/fire-statement-on-covid-19-restrictions-on-expressive-and-associational-rights.
2
    Adam Steinbaugh, This has been FIRE’s busiest summer ever. What happened?, Found. for Individual Rights in Educ. (Sept. 14, 2020), thefire.org/this-has-been-fires-busiest-summer-ever-what-happened.




                         Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 74 of 216
                                                                                                                                                                                                                                            2
      METHODOLOGY




  FIRE believes that free speech is not only a
  moral imperative, but an essential element
  of a college education.




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 75 of 216
                         For this report, FIRE surveyed publicly available                    Yellow Light: A yellow light institution
                         policies at 372 four-year public institutions and 106                maintains policies that could be interpreted
                         of the nation’s most prestigious private institutions.               to suppress protected speech or policies
                         Our research focuses in particular on public universities            that, while clearly restricting freedom
                         because, as explained in detail below, public                        of speech, restrict relatively narrow
                         universities are legally bound to protect students’                  categories of speech.
                         right to free speech and can be successfully sued in
                         court when they do not.                                   For example, a policy banning “verbal abuse” has broad
                                                                                   applicability and poses a substantial threat to free
                         FIRE rates colleges and universities as “red light,” speech, but it is not a clear violation because “abuse”
                         “yellow light,” or “green light” institutions based on might refer to unprotected speech and conduct,
                         how much, if any, protected expression their written such as threats of violence or unlawful harassment.
                         policies governing student conduct restrict. The speech Similarly, while a policy banning “profanity on residence
                         code ratings do not take into account a university’s “as- hall door whiteboards” clearly restricts speech, it is
                         applied” violations of student speech rights or other relatively limited in scope. Yellow light policies are
                         cases of censorship, student- or faculty-led calls for typically unconstitutional when maintained by public
                         punishment of protected speech, and related incidents universities,3 and a rating of yellow light rather than red
                         and controversies. Monitoring and rating such incidents light in no way means that FIRE condones a university’s
                         consistently across 478 institutions with accuracy is restrictions on speech. Rather, it means that in FIRE’s
                         not feasible and is beyond the scope of this report. judgment, those restrictions do not clearly and
                                                                                   substantially restrict speech in the manner necessary




                                                                                                                                                                                                                                        The State of Free Speech on Our Nation’s Campuses
                         The speech code ratings are defined as follows:           to warrant a red light rating.

                                            Red Light: A red light institution maintains
                                            at least one policy both clearly and                Green Light: If FIRE finds that a university’s
                                            substantially restricting freedom of speech,        policies do not seriously threaten campus
                                            or bars public access to its speech-related         expression, that college or university
                                            policies by requiring a university login and        receives a green light rating. A green light
                                            password for access.                                rating does not necessarily indicate that a
                                                                                     school actively supports free expression in practice;
                         A “clear” restriction unambiguously infringes on it simply means that the school’s written policies do
                         protected expression. In other words, the threat to free not pose a serious threat to free speech.
                         speech at a red light institution is obvious on the face
                         of the policy and does not depend on how the policy
                         is applied. A “substantial” restriction on free speech is               Warning: FIRE believes that free speech is
                         one that is broadly applicable to campus expression.                    not only a moral imperative, but an essential
                         For example, a ban on “offensive speech” would be a                     element of a college education. However,
                         clear violation (in that it is unambiguous) as well as a                private universities, as private associations,
                         substantial violation (in that it covers a great deal of possess their own right to free association, which
                         what is protected under First Amendment standards). allows them to prioritize other values above the right
                         Such a policy would earn a university a red light.          to free speech if they wish to do so. Therefore, when a
                                                                                     private university clearly and consistently states that
                         When a university restricts access to its speech-related it holds a certain set of values above a commitment
                         policies by requiring a login and password, it denies to freedom of speech, FIRE gives it a Warning rating
                         prospective students and their parents the ability to in order to warn prospective students and faculty
                         weigh this crucial information prior to matriculation. members of this fact.4 Eight schools surveyed for this
                         At FIRE, we consider this denial to be so deceptive and report meet these criteria.5
                         serious that it alone warrants an overall red light rating.




3
  See, e.g., Gooding v. Wilson, 405 U.S. 518, 519, 528 (1972) (holding that a Georgia statute prohibiting “opprobrious words or abusive language” was unconstitutional because those terms, as commonly understood, encompass
speech protected by the First Amendment). Under this and related precedents, a public university maintaining a ban on “verbal abuse” and similar expression would be constitutionally deficient.
4
  For example, Brigham Young University’s “Church Educational System Honor Code” provides: “Brigham Young University and other Church Educational System institutions exist to provide an education in an atmosphere consistent
with the ideals and principles of The Church of Jesus Christ of Latter-day Saints. . . . By accepting appointment, continuing in employment, being admitted, or continuing class enrollment, each member of the BYU community
personally commits to observe these Honor Code standards approved by the Board of Trustees . . . including the avoidance of profane and vulgar language.” Church Educational System Honor Code, Brigham Young Univ.,
policy.byu.edu/view/index.php?p=26 (last visited Oct. 7, 2020). It would be clear to any reasonable person reading this policy that students are not entitled to unfettered free speech at BYU.
5
  FIRE has designated the following colleges and universities as “Warning” schools: Baylor University, Brigham Young University, Pepperdine University, Saint Louis University, the United States Military Academy, the United States
Naval Academy, Vassar College, and Yeshiva University.

                      Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 76 of 216
                                                                                                                                                                                                                                           4
                  FINDINGS



  The number of green light institutions has
continued to increase this year, from 50 to 56.




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 77 of 216
                                                                                                                                  FIRE reviewed policies at 478
                                                                                                                                    colleges and universities.


                           Of the 478 schools reviewed by FIRE, 102, or 21.3%,                                                                             RED LIGHT
                           received a red light rating. 312 schools received a yellow
                           light rating (65.3%), and 56 received a green light rating
                           (11.7%). Eight schools earned a Warning rating (1.7%).6

                           This marks the thirteenth year in a row that the
                                                                                                                                                               21.3%
                           percentage of universities with an overall red light
                           rating has fallen, this year from 24.2% to 21.3%.
                           The continued reduction in red light institutions is
                           encouraging: Just over a decade ago, red light schools
                           encompassed about 75% of the report’s findings.7

                           However, this year’s numbers also reveal an increase
                                                                                                                                                       YELLOW LIGHT
                           in yellow light institutions, as 63.9% of schools earned
                           an overall yellow light last year, compared to 65.3%
                           this year. While yellow light policies are not as clearly
                           and substantially restrictive as red light policies on
                           their face, they nevertheless impose impermissible
                           restrictions on expression.                                                                                                        65.3%

                           The number of green light institutions has continued to




                                                                                                                                                                                                                                                 The State of Free Speech on Our Nation’s Campuses
                           rise this year, from 50 institutions last year to 56 now.8
                           At 11.7%, the percentage of green light schools is at
                           an all-time high, with more than one million students
                           across the country enrolled at green light colleges
                           and universities.9                                                                                                           GREEN LIGHT

                           In total, 27 schools improved their overall ratings this
                           year.10


                                                                                                                                                                11.7%



                                                  FIRE reviewed
                                                  policies at 478
                                                  colleges and                                                                                             WARNING
                                                  universities.



                                                                                                                                                                1.7%




6
   See Appendix A for a full list of schools by rating.
7
  The 2009 report and all other past Spotlight on Speech Codes reports are available at thefire.org/spotlight/reports.
8
   Colorado Mesa University, Fayetteville State University, Florida State University, Jackson State University, and the University of Colorado Boulder all joined the ranks of green light schools since last year’s report. Emory University,
which went from an overall green light rating to an overall red light rating last year by password-protecting certain policies, resolved this issue over the past year, restoring its green light status.
9
   Press Release, Found. for Individual Rights in Educ., One million students now attend colleges with FIRE’s highest free speech rating (Feb. 26, 2019),
thefire.org/one-million-students-now-attend-colleges-with-fires-highest-free-speech-rating.
10
   See Appendix B for a full list of rating changes over the 2019–20 academic year.
11
   The remaining 0.5% of public institutions in the database earn FIRE’s Warning rating. The Warning rating is typically reserved for private universities that clearly prioritize other values above students’ free speech, such that
students do not have a reasonable expectation of free speech rights. However, despite their public status as federal service academies, the United States Military Academy and the United States Naval Academy earn the Warning
                        Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 78 of 216
rating because they place other institutional priorities above free speech.
                                                                                                                                                                                                                                                    6
                                                 PUBLIC COLLEGES AND
                                                 UNIVERSITIES

                                                 The percentage of public schools with a red light rating
                                                 dropped again, from 18.3% last year to 14.5% this year.
                                                 Overall, of the 372 public universities reviewed for           All of the four-year public universities
                                                 this report, 54 received a red light rating (14.5%), 264       in Arizona now earn FIRE’s highest
                                                 received a yellow light rating (71%), and 52 received a
                                                 green light rating (14%). As a result, public colleges and     rating, making Arizona the only state
                                                 universities will soon reach a significant turning point:      able to claim this distinction.
                                                 There are nearly the same number of public green light
                                                 schools as public red light schools. As just nine public
                                                 schools earned the green light rating a decade ago,
                                                 this milestone reveals significant progress.

                                                 This year, FIRE was pleased to welcome Colorado
                                                 Mesa University, Fayetteville State University, Florida
                                                 State University, Jackson State University, and the
                                                 University of Colorado Boulder to the list of green
                                                 light institutions.
Foundation for Individual Rights in Education




                                                 Notably, Florida State University and the University of
                                                 Colorado Boulder bring more than 30,000 students
                                                 each to the green light list. Both are flagship institutions
                                                 in their state, a status we hope to leverage into further
                                                 policy reform with other schools in their respective                  LAST YEAR                   THIS YEAR
                                                 university systems.

                                                 In the coming year, FIRE will continue to work
                                                 strategically to reform policies at public university
                                                 systems across the country.




                                                                   Red light ratings of public schools
                                                                   dropped from 18.3% to 14.5% this year.




                                                Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 79 of 216
                   7
 Private Colleges and Universities

 Of the 106 private colleges and universities reviewed,
 47 received a red light rating (44.3%). 49 received a
 yellow light rating (46.2%), four received a green light
 rating (3.8%), and six earned a Warning rating (5.7%).

 The percentage of private universities earning a
 red light rating, which stood at 44.8% last year,
 continued to decrease, coming in at 44.3% this year.
 This progress, albeit slight, is hard-earned given that
 private universities are not legally bound by the First
 Amendment, which regulates only government actors.
 For this reason, it is gratifying that these colleges are
 closer to fulfilling their institutional commitments to
 free expression.

 FIRE will continue to work with private colleges and
 universities to improve policies so that they better meet
 institutional commitments to protecting students’ free




                                                                                                  The State of Free Speech on Our Nation’s Campuses
 speech rights.


                                                  Of the 106 private schools reviewed by FIRE,
                                                  47 received a red light rating, 49 received a
                                                  yellow light rating, 4 received a green light
                                                  rating, and 6 earned a Warning rating.




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 80 of 216
                                                                                                     8
            DISCUSSION




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 81 of 216
                           Speech Codes on Campus: Background and Legal Challenges

                           Speech codes—university regulations prohibiting
                           expression that would be constitutionally protected
                           in society at large—gained popularity with
                           college administrators in the 1980s and 1990s. As
                           discriminatory barriers to education declined, female
                           and minority enrollment increased. Concerned that
                           these changes would cause tension and that students
                           who finally had full educational access would arrive
                           at institutions only to be offended by other students,
                           college administrators enacted speech codes.

                           In the mid-1990s, the phenomenon of campus
                           speech codes converged with the expansion of Title
                           IX, the federal law prohibiting sex discrimination in
                           educational institutions receiving federal funds.12 Under
                           the rationale of the obligation to prohibit discriminatory
                           harassment, unconstitutionally overbroad harassment




                                                                                                                                                                                                                                                    The State of Free Speech on Our Nation’s Campuses
                           policies banning subjectively offensive conduct
                           proliferated. (This Title IX enforcement history is
                           covered in further detail in this report’s “Spotlight on:
                           New Title IX Regulations” feature.)

                           In enacting speech codes, administrators ignored or
                           did not fully consider the philosophical, social, and
                           legal ramifications of placing restrictions on speech,
                           particularly at public universities. As a result, federal
                           courts have overturned speech codes at numerous
                           colleges and universities over the past several
                           decades.13

                           Despite the overwhelming weight of legal authority
                           against speech codes, a large number of institutions—
                           including some of those that have been successfully
                           sued on First Amendment grounds—still maintain
                           unconstitutional and illiberal speech codes. It is with
                           this unfortunate fact in mind that we turn to a more
                           detailed discussion of the ways in which campus
                           speech codes violate individual rights and what can
                           be done to challenge them.




12
   Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, provides that: “No person in the United States shall, on the basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to
discrimination under any education program or activity receiving Federal financial assistance.” See generally Jacob E. Gersen & Jeannie Suk, The Sex Bureaucracy, 104 Cal. L. Rev (2016) (discussing evolution of Title IX
requirements).
13
   McCauley v. Univ. of the V.I., 618 F.3d 232 (3d Cir. 2010); DeJohn v. Temple Univ., 537 F.3d 301 (3d Cir. 2008); Dambrot v. Cent. Mich. Univ., 55 F.3d 1177 (6th Cir. 1995); Univ. of Cincinnati Chapter of Young Am. for Liberty v. Williams,
2012 U.S. Dist. LEXIS 80967 (S.D. Ohio Jun. 12, 2012); Smith v. Tarrant Cty. Coll. Dist., 694 F. Supp. 2d 610 (N.D. Tex. 2010); Coll. Republicans at S.F. St. Univ. v. Reed, 523 F. Supp. 2d 1005 (N.D. Cal. 2007); Roberts v. Haragan, 346
F. Supp. 2d 853 (N.D. Tex. 2004); Bair v. Shippensburg Univ., 280 F. Supp. 2d 357 (M.D. Pa. 2003); Booher v. N. Ky. Univ. Bd. of Regents, No. 2:96-CV-135, 1998 U.S. Dist. LEXIS 11404 (E.D. Ky. July 21, 1998); Corry v. Leland Stanford
Junior Univ., No. 740309 (Cal. Super. Ct. Feb. 27, 1995) (slip op.); UWM Post, Inc. v. Bd. of Regents of the Univ. of Wis., 774 F. Supp. 1163 (E.D. Wisc. 1991); Doe v. Univ. of Mich., 721 F. Supp. 852 (E.D. Mich. 1989). In addition,
numerous institutions have voluntarily modified their speech codes as part of settlement agreements. See, e.g., Press Release, Found. for Individual Rights in Educ., VICTORY: Speech rights of 150,000 students to be restored as
Los Angeles Community College District settles lawsuit, will abandon Pierce College’s tiny free speech zone (Dec. 13, 2018), thefire.org/victory-speech-rights-of-150000-students-to-be-restored-as-los-angeles-community-college-
district-settles-lawsuit-will-abandon-pierce-colleges-tiny-free-speech-zone [hereinafter Pierce College Press Release]; Press Release, Found. for Individual Rights in Educ., VICTORY: Student detained for passing out political flyers
settles lawsuit with Illinois College (Apr. 18, 2018), thefire.org/victory-student-detained-for-passing-out-political-flyers-settles-lawsuit-with-illinois-college; Press Release, Found. for Individual Rights in Educ., Victory: Texas College
                        Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 82 of 216
Settles Free Speech Lawsuit After Telling Student that Gun Rights Sign Needs ‘Special Permission’ (May 4, 2016), thefire.org/victory-texas-college-settles-free-speech-lawsuit-after-telling-student-that-gun-rights-sign-needs-special-
                                                                                                                                                                                                                                                       10
                                                                  Public Universities vs. Private Universities

                                                                  With limited, narrowly defined exceptions, the First                                        Freedom of Expression at the University of Chicago.18
                                                                  Amendment prohibits the government—including                                                Since our last report, six more institutions have adopted
                                                                  governmental entities such as state universities—                                           policy statements in support of free speech modeled
                                                                  from restricting freedom of speech. A good rule                                             after the “Chicago Statement.” Notably, Colorado
                                                                  of thumb is that if a state law would be declared                                           Mesa University adopted the Chicago Statement in
                                                                  unconstitutional for violating the First Amendment,                                         conjunction with revising all of its speech codes to
                                                                  a similar regulation at a state college or university is                                    earn an overall green light rating, further underscoring
                                                                  likewise unconstitutional.                                                                  its commitment to free speech.19

                                                                  The guarantees of the First Amendment generally do
                                                                  not apply to students at private colleges because the                                          The First Amendment prohibits the
                                                                  First Amendment regulates only government conduct.14
                                                                  Moreover, although acceptance of federal funding does                                          government—including governmental
                                                                  confer some obligations upon private colleges (such                                            entities such as state universities—
                                                                  as compliance with federal anti-discrimination laws),                                          from restricting freedom of speech.
                                                                  compliance with the First Amendment is not one of
                                                                  them.

                                                                  This does not mean, however, that students and faculty FIRE will continue to encourage institutions, private
Foundation for Individual Rights in Education




                                                                  at all private schools are not entitled to free expression. and public alike, to adopt a similar policy statement
                                                                  In fact, most private universities explicitly promise over the course of the next year.
                                                                  freedom of speech and academic freedom in their
                                                                  official policy materials.

                                                                  Middlebury College, for example, states in its student
                                                                  handbook that it “recognizes and affirms that free
                                                                  intellectual inquiry, debate, and constructive dialogue
                                                                  are vital to Middlebury’s academic mission and must
                                                                  be protected even when the views expressed are
                                                                  unpopular or controversial.”15 Likewise, Princeton
                                                                  University, echoing the Chicago Statement, “guarantees
                                                                  all members of the University community the broadest
                                                                  possible latitude to speak, write, listen, challenge, and
                                                                  learn” and explains that “it is not the proper role of the
                                                                  University to attempt to shield individuals from ideas
                                                                  and opinions they find unwelcome, disagreeable, or
                                                                  even deeply offensive.”16 Yet both of these institutions,
                                                                  along with most other private colleges and universities,
                                                                  maintain policies that prohibit the very speech they
                                                                  promise to protect.17

                                                                  This year, both private and public institutions, including
                                                                  statewide systems, have continued to adopt policy
                                                                  statements in support of free speech modeled after
                                                                  the one produced in January 2015 by the Committee on




                                                permission; Press Release, Found. for Individual Rights in Educ., Victory: Lawsuit Settlement Restores Free Speech Rights at Dixie State U. After Censorship of Bush, Obama, Che Flyers (Sept. 17, 2015), thefire.org/victory-lawsuit-
                                                settlement-restores-free-speech-rights-at-dixie-state-u-after-censorship-of-bush-obama-che-flyers.
                                                14
                                                   California maintains a law that applies the protections of the First Amendment to private, nonsectarian institutions of higher education in the state. Section 94367 of the California Education Code—the so-called “Leonard Law”—
                                                provides: “No private postsecondary educational institution shall make or enforce a rule subjecting a student to disciplinary sanctions solely on the basis of conduct that is speech or other communication that, when engaged in
                                                outside the campus or facility of a private postsecondary institution, is protected from governmental restriction by the First Amendment to the United States Constitution or Section 2 of Article I of the California Constitution.” The
                                                code further provides that the law “does not apply to a private postsecondary educational institution that is controlled by a religious organization, to the extent that the application of this section would not be consistent with the
                                                religious tenets of the organization.” Cal. Educ. Code § 94367(a).
                                                15
                                                   B.1.b. Non-Discrimination Investigations & Resolutions Procedure, Middlebury Handbook, http://www.middlebury.edu/about/handbook/policies-for-all/non-discrim-policies/anti-harassment-discrimin (last visited Oct. 23,
                                                2020).
                                                16             Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 83 of 216
                                                   Statement on Freedom of Expression, Princeton Univ. Rights, Rules, Responsibilities 2020, rrr.princeton.edu/university#comp113 (last visited Oct. 15, 2020).
           11
                          What Exactly Is “Free Speech,” and How Do Universities Curtail It?

                          What does FIRE mean when we say that a university
                          restricts “free speech”? Do people have the right to say
                          absolutely anything, or are certain types of expression
                          unprotected?

                          Simply put, the overwhelming majority of speech is
                          protected by the First Amendment. Over the years,
                          the Supreme Court has carved out a limited number of
                          narrow exceptions to the First Amendment, including
                          speech that incites reasonable people to immediate                                               The exceptions are often misapplied
                          violence; so-called “fighting words” (face-to-face
                          confrontations that lead to physical altercations);                                              and abused by universities to punish
                          harassment; true threats and intimidation; obscenity;                                            constitutionally protected speech.
                          and defamation. If the speech in question does not
                          fall within one of these exceptions, it most likely is
                          protected.

                          The exceptions are often misapplied and abused




                                                                                                                                                                                                                                        The State of Free Speech on Our Nation’s Campuses
                          by universities to punish constitutionally protected
                          speech. There are instances where the written policy
                          at issue may be constitutional—for example, a
                          prohibition on “incitement”—but its application may
                          not be. In other instances, a written policy will purport
                          to be a legitimate ban on a category of unprotected
                          speech like harassment or true threats, but (either
                          deliberately or through poor drafting) will encompass
                          protected speech as well. Therefore, it is important
                          to understand what these narrow exceptions to free
                          speech actually mean in order to recognize when they
                          are being misapplied.




                                                                PROTECTED                                                          NOT
                                                                                                                                PROTECTED




17
   Middlebury College and Princeton University both earn overall red light ratings. See School Spotlight: Middlebury College, Found. for Individual Rights in Educ., thefire.org/schools/middlebury-college (last visited Oct. 16,
2020); School Spotlight: Princeton University, Found. for Individual Rights in Educ., thefire.org/schools/princeton-university (last visited Oct. 16, 2020).
18
   Committee on Freedom of Expression at the University of Chicago, Report of the Committee on Freedom of Expression, available at provost.uchicago.edu/FOECommitteeReport.pdf. For a complete list of institutions that have
adopted a version of the Chicago Statement, see thefire.org/chicago-statement-university-and-faculty-body-support.
19
   Press Release, Found. for Individual Rights in Educ., Colorado Mesa University earns nation’s top free speech rating for colleges (Sept. 30, 2020), thefire.org/colorado-mesa-university-earns-nations-top-free-speech-rating-for-
colleges.



                       Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 84 of 216
                                                                                                                                                                                                                                           12
                                                                          Threats and Intimidation

                                                                          The Supreme Court has defined “true threats” as                                            anniversary of the massacre at Tiananmen Square, he
                                                                          “statements where the speaker means to communicate                                         posted a photo of himself holding a gun in his backyard
                                                                          a serious expression of an intent to commit an act                                         with the caption, “Don’t tread on me.”
                                                                          of unlawful violence to a particular individual or
                                                                          group of individuals.”20 The Court also has defined                                        In a letter to Fordham, FIRE explained that his conduct
                                                                          “intimidation,” of the type not protected by the First                                     did not approach the actual legal standards for a true
                                                                          Amendment, as a “type of true threat, where a speaker                                      threat or intimidation:
                                                                          directs a threat to a person or group of persons with
                                                                          the intent of placing the victim in fear of bodily harm                                           It appears that Tong’s discipline is based on his
                                                                          or death.” 21                                                                                     benign photo of himself holding of a firearm
                                                                                                                                                                            and his apparent criticism of protests for racial
                                                                          Neither term would encompass, for example, a vaguely                                              justice in his post about David Dorn. However,
                                                                          worded statement that is not directed at anyone in                                                neither of his Instagram posts approximate a
                                                                          particular. Nevertheless, far too many institutions                                               threat of any sort. Neither post was directed at
                                                                          fail to properly define these legal standards in their                                            a specific individual or group of individuals, and
                                                                          written policies.                                                                                 neither post on its face or in context indicates
                                                                                                                                                                            Tong intended to engage in any form of violence.
                                                                          For example:                                                                                      Fordham’s consideration of Tong’s social media
                                                                                                                                                                            post of him holding a gun and his comment
                                                                            •
Foundation for Individual Rights in Education




                                                                                 California State University – Monterey Bay defines                                         on David Dorn to be a “threat” demonstrates
                                                                                 threats as “[a]ny threat or action of physical,                                            an abandonment of any reasonable or fair
                                                                                 emotional, or verbal harm in any form.”22                                                  understanding of the term.26
                                                                            •    Southern Illinois University at Carbondale’s                                        Tong sued Fordham, and the university argued in
                                                                                 student conduct code defines intimidation as                                        response that it has the “prerogative to limit a student’s
                                                                                 “[i]mplied threats or acts that cause a reasonable                                  free expression rights,”27 despite repeatedly promising
                                                                                 fear of harm in another.”23                                                         to protect students’ free speech in its policies.28 As
                                                                            •    Southern Oregon University bans “[t]hreatening                                      a result, the Department of Education sent a letter
                                                                                 communication,” defined as “[t]hreats made                                          notifying Fordham that it is investigating whether the
                                                                                 online or through electronic communication with                                     university has misrepresented its commitment to the
                                                                                 sufficient content such that it causes fear of injury                               protection of students’ expression.29
                                                                                 or other harm.”24

                                                                          Further, universities frequently misapply policies
                                                                          prohibiting threats and intimidation so as to infringe
                                                                          on protected speech, citing generalized concerns about
                                                                          safety with no regard to the boundaries of protected
                                                                          speech.

                                                                          This year, Fordham University placed a student
                                                                          on probation over two social media posts, finding
                                                                          his actions constituted a violation of its “Threats /                                      As Fordham’s treatment of Tong demonstrates,
                                                                          Intimidation” policy.25 The student’s first post was a                                     universities that are bound by the First Amendment
                                                                          photo of retired St. Louis Police captain David Dorn, a                                    or that promise their students free speech must revise
                                                                          police officer killed by looters during unrest following                                   their policies so that they track the applicable First
                                                                          the killing of George Floyd, with the caption “Y’all                                       Amendment legal standards, and must enforce the
                                                                          a bunch of hypocrites.” In the second post, on the                                         policies accordingly.


                                                20
                                                    Virginia v. Black, 538 U.S. 343, 359 (2003).
                                                21
                                                   Id. at 360.
                                                22
                                                   Behavioral Health, and/or Safety of Self/Others, Student Housing & Residential Life Community Standards and Conduct Process Overview, d2jtc9c99zuy7w.cloudfront.net/TJ9un1suS72Vzs2Ws5uw_SHRL%20
                                                Community%20Standards%204.12.19.pdf (last visited Oct. 17, 2020).
                                                23
                                                    Threatening Behaviors, Southern Illinois Univ. Carbondale Student Conduct Code at 66 (updated Aug. 14, 2020), srr.siu.edu/_common/Student_Conduct_Code.pdf.
                                                24
                                                   Threatening Conduct, Code of Student Conduct at 21 (updated Sept. 18, 2020), inside.sou.edu/assets/policies/Code_of_Student_Conduct_091820.pdf.
                                                25
                                                   Austin Tong Sanction Letter, Found. for Individual Rights in Educ. (July 17, 2020), thefire.org/austin-tong-sanction-letter-july-14-2020.
                                                26
                                                   See Letter from Lindsie Rank, Program Officer, Individual Rights Defense Program, Found. for Individual Rights in Educ., to Father Joseph M. McShane, S.J., President, Fordham Univ. (July 17, 2020), d28htnjz2elwuj.cloudfront.net/
                                                wp-content/uploads/2020/07/17105352/FIRE-letter-to-Fordham-University-July-17-2020.pdf.
                                                27                     Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 85 of 216
                                                  Adam Goldstein, Analysis: Department of Education investigates Fordham over broken speech promises in Austin Tong case, Found. for Individual Rights in Educ. (Aug. 25, 2020), thefire.org/analysis-department-of-education-
       13
                          Incitement

                          There is also a propensity among universities to                                            For instance, in Hess v. Indiana, the Supreme Court held
                          restrict speech that offends other students on the                                          that a man who had loudly stated “We’ll take the fucking
                          basis that it constitutes “incitement.” The basic                                           street later” during an anti-war demonstration did not
                          concept, as administrators too often see it, is that                                        intend to incite or produce immediate lawless action.33
                          offensive or provocative speech will anger those                                            The Court found that “at worst, it amounted to nothing
                          who disagree with it, perhaps                                                                                   more than advocacy of illegal action
                          so much so that it moves them                                                                                   at some indefinite future time,” and
                          to violence. While preventing                                                                                   that the man could therefore not be
                          violence is necessary, this is an                                                                               convicted under a state disorderly
                          impermissible misapplication of                                                                                 conduct statute.34 The fact that the
                          the incitement doctrine.                                                                                        Court ruled in favor of the speaker
                                                                                                                                          despite the use of such strong and
                          Incitement, in the legal sense,                                                                                 unequivocal language underscores
                          does not refer to speech that                                                                                   the narrow construction that has
                          may lead to violence on the part                                                                                traditionally been given to the
                          of those opposed to or angered                                                                                  incitement doctrine, and its dual
                          by it, but rather to speech that                                                                                requirements of likelihood and
                          will lead those who agree with it                                                                               immediacy. Nonetheless, college




                                                                                                                                                                                                                                           The State of Free Speech on Our Nation’s Campuses
                          to commit immediate violence.                                                                                   administrations have been all too
                          In other words, the danger is                                                                                   willing to abuse or ignore this
                          that certain speech will convince                                                                               jurisprudence, often using the term
                          sympathetic, willing listeners to                                                                               in policies in a colloquial manner.
                          take immediate unlawful action.
                                                                                                                      For example:
                          The paradigmatic example of incitement is a person
                          standing on the steps of a courthouse in front of a                                           •    The University of California system’s “intolerance
                          torch-wielding mob and urging that mob to burn down                                                report form” encourages students to report
                          the courthouse immediately. Misapplying the doctrine                                               instances of “hate speech,” defined as “any
                          to encompass an opposing party’s reaction to speech                                                speech, gesture or conduct, writing, or display
                          they dislike converts the doctrine into an impermissible                                           that may incite violence or prejudicial action
                          “heckler’s veto,” where violence threatened by those                                               against someone” based on their actual or
                          angry about particular speech is used as a reason                                                  perceived personal characteristic.35
                          to censor that speech. As the Supreme Court has
                          observed, speech cannot be prohibited because it                                              •    Western Illinois University bans public decorations
                          “might offend a hostile mob” or because it may prove                                               in the residence halls that “are deemed to be
                          “unpopular with bottle throwers.”30                                                                racist, sexist, indecent, scandalous, illegal,
                                                                                                                             inciting, or in any way oppressive in nature.”36
                          The legal standard for incitement was announced in • Indiana State University explains that prohibited
                          the Supreme Court’s decision in Brandenburg v. Ohio.31    harassment can be expressed or implied,
                          There, the Court held that the state may not “forbid      “creating and/or inciting a foreseeable hostile
                          or proscribe advocacy of the use of force or of law       environment.”37
                          violation except where such advocacy is directed to
                          inciting or producing imminent lawless action and is
                          likely to incite or produce such action.”32 This is an Nonetheless, college administrations
                          exacting standard, as evidenced by its application in
                                                                                 have been all too willing to abuse or
                          subsequent cases.
                                                                                                                      ignore this jurisprudence.


investigates-fordham-over-broken-speech-promises-in-austin-tong-case.
28
   See, e.g., Mission Statement, Fordham Univ. (Apr. 28, 2005), fordham.edu/info/20057/about/2997/mission_statement (“Fordham strives for excellence in research and teaching, and guarantees the freedom of inquiry required by
rigorous thinking and the quest for truth.”); Demonstration Policy, Fordham Univ. Student Handbook, fordham.edu/info/21684/university_regulations/3709/demonstration_policy (last visited Oct. 29, 2020) (“Each member of the
University has a right to freely express their positions and to work for their acceptance whether they assent to or dissent from existing situations in the University or society.”); Bias-Related Incidents and/or Hate Crimes, Fordham
Univ. Student Handbook, fordham.edu/ info/21684/university_regulations/6566/bias-related_incidents_andor_hate_crimes (last visited Oct. 29, 2020) (“[T]he University values freedom of expression and the open exchange of
ideas. The expression of controversial ideas and differing views is a vital part of University discourse.”).
29
   Goldstein, supra note 27.
30
   Forsyth Cty. v. Nationalist Movement, 505 U.S. 123, 134–35 (1992).
31
   395 U.S. 444 (1969).
32                     Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 86 of 216
   Id. at 447 (emphasis in original).
                                                                                                                                                                                                                                              14
                                                                       Obscenity

                                                                       The Supreme Court has held that obscene expression,                                  “the mere dissemination of ideas—no matter how
                                                                       to fall outside of the protection of the First Amendment,                            offensive to good taste—on a state university campus
                                                                       must “depict or describe sexual conduct” and must                                    may not be shut off in the name alone of ‘conventions
                                                                       be “limited to works which, taken as a whole, appeal                                 of decency.’”41
                                                                       to the prurient interest in sex, which portray sexual
                                                                       conduct in a patently offensive way, and which, taken as                             Nonetheless, many colleges erroneously believe
                                                                       a whole, do not have serious literary, artistic, political,                          that they may lawfully prohibit profanity and vulgar
                                                                       or scientific value.”38                                                              expression. For example:

                                                                       This is a narrow standard applicable only to certain                                   •    Alabama A&M University bans “[i]ndecent,
                                                                       highly graphic sexual material. It does not encompass                                       obscene, immoral behavior and/or profanity,”
                                                                       profanity, even though profane words are often                                              including “the use of obscene gestures” and
                                                                       colloquially referred to as “obscenities.” In fact, the                                     “vulgar language.”42
                                                                       Supreme Court has explicitly held that profanity is
                                                                       constitutionally protected. In Cohen v. California,                                    •    The University of Louisiana at Lafayette’s conduct
                                                                       the defendant, Paul Robert Cohen, was convicted                                             code prohibits “[p]ublic [p]rofanity,” defined as
                                                                       in California for wearing a jacket bearing the words                                        “[p]rofanity or abusive or foul language directed
                                                                       “Fuck the Draft” in a courthouse.39 The Supreme                                             toward a person or persons.”43
                                                                       Court overturned Cohen’s conviction, holding that the                                  •    Frostburg State University prohibits the
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                                                                       message on his jacket, however vulgar, was protected                                        placement of flyers in the residence halls
                                                                       speech.                                                                                     “containing content that would be considered
                                                                                                                                                                   offensive to a reasonable person (e.g. nudity,
                                                                                                                                                                   obscenities, etc.).”44




                                                                       Similarly, in Papish v. Board of Curators of the University
                                                                       of Missouri, the Court determined that a student’s
                                                                       expulsion for distributing a student newspaper
                                                                       containing an article titled “Motherfucker Acquitted”
                                                                       violated the First Amendment.40 The Court wrote that

                                                33
                                                   414 U.S. 105 (1973).
                                                34
                                                   Id. at 108–09.
                                                35
                                                   Campus Climate, Univ. of California, ucsystems.ethicspointvp.com/custom/ucs_ccc/default.asp (last visited Oct. 17, 2020).
                                                36
                                                   Decorating Your Room, Residence Hall Student Handbook at 18, wiu.edu/student_services/housing/living_on_campus/pdf/ResidenceHallHandbook2020.pdf (last visited Oct. 17, 2020).
                                                37
                                                   Misconduct against Persons, Code Of Student Conduct, indstate.edu/code-of-student-conduct/prohibited-conduct/against-persons (last visited Oct. 17, 2020).
                                                38
                                                   Miller v. California, 413 U.S. 15, 24 (1973).
                                                39
                                                   403 U.S. 15 (1971).
                                                40
                                                    410 U.S. 667 (1973).
                                                41
                                                   Id. at 670.
                                                42                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 87 of 216
                                                   Code of Conduct Offenses and Sanctions, Ala. A&M Univ. Student Handbook (revised 2019), aamu.edu/about/administrative-offices/student-affairs/student-handbook/_documents/aamu-student-handbook.pdf.
       15
                          Harassment

                          Hostile environment harassment, properly defined,                                             standing alone. Others provide multiple definitions
                          is not protected by the First Amendment. In the                                               of harassment, resulting in a policy scheme that is
                          educational context, the Supreme Court has                                                    confusing for students and likely to have a chilling
                          defined student-on-student (or peer) harassment as                                            effect on expression.
                          discriminatory, unwelcome, and targeted conduct that
                          is “so severe, pervasive, and objectively offensive that                                      Here are just a few examples of overly broad harassment
                          it effectively bars the victim’s access to an educational                                     policies:
                          opportunity or benefit.”45
                                                                                                                          •     Northwestern University’s harassment policy
                          This is not simply expression; it is conduct far beyond                                               states: “Examples of harassment include
                          the protected speech that is too often deemed                                                         offensive jokes related to a protected class; . . .
                          “harassment” on today’s college campus. For example,                                                  name calling related to a protected class,” and
                          in Davis, the conduct found by the Court to constitute                                                “mockery connected to a protected class.”47
                          harassment was a months-long pattern of conduct
                          including repeated attempts to touch the victim’s                                               •     Portland State University’s policy defines sexual
                          breasts and genitals, together with repeated sexually                                                 harassment as “unwelcome conduct of a sexual
                          explicit comments directed at and about the victim.                                                   nature,” before labeling “sexual or derogatory
                                                                                                                                comments” and “sending letters, notes, cartoons,
                                                                                                                                emails, text or audio messages of a sexually




                                                                                                                                                                                                                                                   The State of Free Speech on Our Nation’s Campuses
                          For decades now, however, many colleges and
                          universities have maintained policies defining                                                        suggestive nature” as examples of “inappropriate
                          harassment too broadly and prohibiting constitutionally                                               behavior.”48
                          protected speech. Years of Title IX enforcement by • Furman University goes so far as to warn students
                          the Department of Education’s Office for Civil Rights        that the university “may address conduct
                          (OCR) that neglected to fully protect First Amendment        that, although it does not rise to the level of
                          rights, including an unconstitutionally broad definition     constituting Sexual Misconduct as defined by this
                          of sexual harassment promulgated by OCR itself,46 led        Policy, is nevertheless offensive and/or unwanted
                          numerous colleges and universities to enact overly           conduct of a sexual nature.”49
                          restrictive harassment policies in an effort to avoid
                          an OCR investigation.                                    These examples, along with many others, demonstrate
                                                                                   that colleges and universities often fail to limit
                          On May 6, 2020, the Department of Education published themselves to the narrow definition of harassment
                          new Title IX regulations that adopted the Supreme that is outside the realm of constitutional protection.
                          Court’s peer harassment standard from Davis, taking Instead, they expand the term to prohibit broad
                          effect August 14, 2020. The regulations and emerging categories of speech that do not even approach
                          trends in universities’ compliance are discussed in actionable harassment, despite similar policies having
                          further detail in this report’s “Spotlight on: New Title been struck down by federal courts years earlier.50
                          IX Regulations” feature.
                                                                                   Having discussed the most common ways in which
                          Although the full impact of the regulations remains universities misuse the narrow exceptions to the First
                          to be seen as of this writing, we expect university Amendment to prohibit protected expression, we now
                          policies on harassment to generally improve. However, turn to the innumerable other types of university
                          even where policies reasonably track the Supreme regulations that restrict free speech on their face.
                          Court’s standard from Davis, problems remain. Many Such restrictions are generally found in several distinct
                          policies define harassment narrowly, then proceed types of policies.
                          to provide a list of examples of prohibited conduct
                          that do not necessarily meet that standard when




43
   Code of Student Conduct, Univ. of Louisiana at Lafayette at 16 (last updated August 18, 2020), studentrights.louisiana.edu/sites/studentrights/files/Code%20of%20Student%20Conduct%20Sept.20.pdf.
44
   Residence Life Office Residence Hall Posting Guidelines, Frostburg St. Univ. frostburg.edu/student-life/residence-life/residence-life-office/rlo-posting-policy.pdf (last visited Oct. 13, 2020).
45
   Davis v. Monroe County Board of Education, 526 U.S. 629, 633 (1999).
46
   See Letter from Shaheena Simons and Damon Martinez, U.S. Dep’t of Justice to Robert G. Frank, President, Univ. of N.M. (Apr. 22, 2016), available at justice.gov/opa/file/843901/download; Letter from Anurima Bhargava, Chief, Civil
Rights Div., U.S. Dep’t of Justice, and Gary Jackson, Reg’l Dir., Office for Civil Rights, U.S. Dep’t of Educ., to Royce Engstrom, President, Univ. of Mont. and Lucy France, Univ. Counsel, Univ. of Mont. (May 9, 2013), available at justice.
gov/opa/documents/um-ltr-findings.pdf.
47
   Policy on Discrimination & Harassment, Northwestern Univ. (Sept. 1, 2019), northwestern.edu/equity/documents/discrimination-harassment-policy-resources-procedures-final.pdf.
48
   Prohibited Discrimination & Harassment Policy, Portland St. Univ. (Sept. 28, 2017), docs.google.com/document/d/e/2PACX-1vRBvO64ghsJ4GeuDWaEvzmv9r95jMzJDuIEP9Jqx3LwdRjcb9DVWRVYtC3QA6W8Jenhp-txbfpxCRWg/pub.
49
   Sexual Misconduct Policy, Furman Univ. at 4 (Aug. 14, 2020), furman.edu/title-ix/wp-content/uploads/sites/128/2020/08/Furman-2020-21-Sexual-Misconduct-Policy-8.14.20.pdf.
50                     Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 88 of 216
   See, e.g., DeJohn v. Temple Univ., 537 F.3d 301 (3d Cir. 2008) (holding that Temple University’s sexual harassment policy was unconstitutionally overbroad); Doe v. Univ. of Mich., 721 F. Supp. 852 (E.D. Mich. 1989) (holding that
                                                                                                                                                                                                                                                      16
                                                                         Anti-Bullying Policies

                                                                         Over the past decade, FIRE has found that numerous                                          But as courts have held in rulings spanning decades,
                                                                         colleges and universities have adopted policies on                                          speech cannot be prohibited simply because someone
                                                                         “bullying” and “cyberbullying.” On October 26, 2010,                                        else finds it offensive, even deeply so.59 Offensive
                                                                         OCR issued a letter on the topic of bullying, reminding                                     speech, if it does not rise to the level of harassment
                                                                         educational institutions that they must address                                             or one of the other narrow categories of unprotected
                                                                         actionable harassment, but also acknowledging                                               speech and conduct, is entitled to constitutional
                                                                         that “[s]ome conduct alleged to be harassment may                                           protection (and, accordingly, to protection at private
                                                                         implicate the First Amendment rights to free speech                                         institutions that claim to uphold the right to free
                                                                         or expression.” For such situations, OCR’s letter refers                                    speech).
                                                                         readers back to the 2003 “Dear Colleague” letter
                                                                         stating that harassment is conduct that goes far beyond
                                                                         merely offensive speech and expression. However,                                              FIRE has come across numerous
                                                                         because it is primarily focused on bullying in the K–12                                       university policies prohibiting bullying
                                                                         setting, the 2010 letter also urges an in loco parentis
                                                                         approach that is inappropriate in the college setting,
                                                                                                                                                                       in a problematic manner.
                                                                         where students are overwhelmingly adults.53

                                                                         Court decisions and other guidance regarding student
                                                                         speech in the K–12 setting often “trickle up” to the
Foundation for Individual Rights in Education




                                                                         collegiate setting, and indeed, FIRE has come across
                                                                         numerous university policies prohibiting bullying in a
                                                                         problematic manner. For example:

                                                                            •    Western Michigan University defines bullying as
                                                                                                                                                                                                              no one likes you.
                                                                                 “[r]epeated and/or severe aggressive behavior
                                                                                 likely to intimidate or intentionally hurt, control
                                                                                 or diminish another person, physically or
                                                                                 mentally.”54 The policy goes on to list as examples
                                                                                 of bullying “creating web pages with a negative
                                                                                 focus; posting insults on social networking sites;
                                                                                 and/or spreading rumors with malicious intent.”55                                                  *Reported for bullying

                                                                            •    Howard University’s student handbook defines
                                                                                 bullying as “[u]nwanted, aggressive and/or
                                                                                 hostile behavior” that involves a power imbalance
                                                                                 and is “intended to humiliate” another individual
                                                                                 or group. The policy makes clear that bullying
                                                                                 “can be one single act” and states that examples
                                                                                 include “spreading rumors” and “marginalizing
                                                                                 and/or excluding someone from a group, event
                                                                                 or activity.”57
                                                                            •    At Towson University, “[c]yberbullying” is defined
                                                                                 as conduct that has the effect of “intimidating;
                                                                                 humiliating; harassing; harming; embarrassing;
                                                                                 or damaging person(s) or organization(s).”58




                                                University of Michigan’s discriminatory harassment policy was unconstitutionally broad); Booher v. N. Ky. Univ. Bd. of Regents, No. 2:96-CV-135, 1998 U.S. Dist. LEXIS 11404 (E.D. Ky. July 21, 1998) (holding that Northern Kentucky
                                                University’s sexual harassment policy was unconstitutionally broad). The United States Court of Appeals for the Fifth Circuit recently questioned whether purely speech harassment claims could ever meet the Davis standard, stating:
                                                “Whether Davis may constitutionally support purely verbal harassment claims, much less speech-related proscriptions outside Title IX protected categories has not been decided by the Supreme Court or this court and seems self-
                                                evidently dubious.” Speech First, Inc. v. Fenves, No. 19-50529, n. 16 at 29* (5th Cir. 2020).
                                                51
                                                   “Dear Colleague” Letter from Russlynn Ali, Assistant Sec’y for Civil Rights, U.S. Dep’t of Educ. (Oct. 26, 2010), available at ed.gov/about/offices/list/ocr/letters/colleague-201010.html.
                                                52
                                                   “In the place of parents.”
                                                53
                                                   See generally McCauley v. Univ. of the V.I., 618 F.3d 243–44 (3d Cir. 2010) (“[T]he pedagogical missions of public universities and public elementary and high schools are undeniably different. While both seek to impart knowledge,
                                                the former encourages inquiry and challenging priori assumptions whereas the latter prioritizes the inculcation of societal values. . . . The idea that public universities exercise strict control over students via an in loco parentis
                                                relationship has decayed to the point of irrelevance.”).
                                                54                     Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 89 of 216
                                                   Student Code, Western Michigan Univ. at 15 (last updated Sept. 2020), wmich.edu/sites/default/files/attachments/u492/2020/Student%20Code%20October%202020.pdf.
       17
                          Policies on Tolerance, Respect, and Civility

                          Many schools invoke laudable goals like respect and
                          civility to justify policies that violate students’ free
                          speech rights. While a university has every right to
                          promote a tolerant and respectful atmosphere on
                          campus, a university that claims to respect free speech
                          must not limit discourse to only the inoffensive and
                          respectful. And although pleas for civility and respect
                          are often initially framed as requests, many schools
                          have speech codes that effectively turn those requests
                          into requirements.

                          For example:

                            •    Boston College’s information technology use
                                 policy states: “Communications from members
                                 of the University community are to reflect mutual
                                 respect, civility, and other moral standards.” The                                     Internet Usage Policies
                                 policy specifically bans “[t]he use of obscene




                                                                                                                                                                                                                                            The State of Free Speech on Our Nation’s Campuses
                                 or intolerant language, and the use of similarly
                                 offensive graphic or video images,” and notes                                          University policies regulating online expression, while
                                 that “[t]he determination of what is obscene,                                          perhaps appearing to be narrow, can have a significant
                                 offensive, or intolerant is within the sole                                            impact on students’ and faculty members’ free speech
                                 discretion of the University.”60                                                       rights, given the prevalence of online communication
                                                                                                                        on today’s college campuses.
                            •    At Boise State University, students are informed
                                 that “[m]embership in the campus community is Examples of impermissibly restrictive Internet usage
                                 a privilege and requires its members to conduct policies include the following:
                                 themselves ethically with integrity and civility,”
                                 which includes “adhere[nce] to the principles of • Drexel University calls the use of “offensive
                                 civil discourse.”61                                  language” an abuse of email privileges that could
                            •    Georgetown University bans “[i]ncivility,” broadly   result in “de-activation of the account (for minor
                                 defined as “[e]ngaging in behavior, either through   first offenses) through university judicial action or
                                 language or actions, which disrespects another       referral to law enforcement authorities.”64
                                 individual.” 62
                                                                                    • At Carleton College, students are prohibited from
                          While respect and civility may seem uncontroversial,                                                 “distributing material which is demeaning.”65
                          most uncivil or disrespectful speech is protected by the                                             Carleton’s policy also bans using information
                          First Amendment,63 and is indeed sometimes of great                                                  technology resources for “political purposes.”
                          political and social significance. Some of the expression                                       •    The College of the Holy Cross informs students
                          employed in the civil rights movement of the 1950s and                                               that “[o]bscene or intolerant language, as well as
                          ’60s, for example, would violate campus civility codes                                               offensive images” are prohibited, and makes clear
                          today. Colleges and universities may encourage civility,                                             “[t]he determination of what is obscene, offensive
                          but public universities—and those private universities                                               or intolerant is within the sole discretion of the
                          that purport to respect students’ fundamental free                                                   College.” 67
                          speech rights—may not require it or threaten mere
                          incivility with disciplinary action.




55
   Id.
56
   Howard University Student Handbook, Howard Univ., studentaffairs.howard.edu/sites/studentaffairs.howard.edu/files/2020-07/howard-university-student-handbook-2019-2020-REM.pdf (last visited Oct. 13, 2020).
57
   Id.
58
   Code of Student Conduct, Towson Univ. at 4 (Aug. 12, 2020), towson.edu/studentaffairs/policies/documents/code_of_student_conduct.pdf.
59
   See Texas v. Johnson, 491 U.S. 397, 414 (1989) (“If there is a bedrock principle underlying the First Amendment, it is that the government may not prohibit the expression of an idea simply because society finds the idea itself
offensive or disagreeable”); see also Saxe v. State Coll. Area Sch. Dist., 240 F.3d 200, 206 (3d Cir. 2001) (holding that there is “no question that the free speech clause protects a wide variety of speech that listeners may consider
deeply offensive. . . . ”); Bair v. Shippensburg Univ., 280 F. Supp. 2d 357, 369 (M.D. Pa. 2003) (“[R]egulations that prohibit speech on the basis of listener reaction alone are unconstitutional both in the public high school and
university settings”); Doe v. Univ. of Mich., 721 F. Supp. 852, 863 (E.D. Mich. 1989) (“Nor could the University proscribe speech simply because it was found to be offensive, even gravely so, by large numbers of people”).
60
   Use of University Technological and Information Resources, Boston College Policies and Procedures at 4 (last updated Mar. 30, 2004), bc.edu/content/dam/files/offices/policies/pdf/policies/I/1-100-025.pdf.
61                     Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 90 of 216
   Statement of Shared Values, Boise St. Univ. Office of the President, boisestate.edu/president/values/statement-of-shared-values (last visited Oct. 16, 2020).
                                                                                                                                                                                                                                               18
                                                                          As campuses shifted to online learning during the                                                      such incidents in order to assist the college in
                                                                          COVID-19 pandemic this year, the concerns presented                                                    “addressing behaviors that are antithetical to our
                                                                          by problematic speech codes governing online                                                           community values.”73
                                                                          expression were amplified. Indeed, FIRE recently
                                                                          released a report focusing on the recent surge in online                                          •    DePauw University states: “Not all bias incidents
                                                                          censorship.68                                                                                          constitute harassment under these policies.
                                                                                                                                                                                 However, even if a bias incident does not
                                                                          To take one recent example, at Stockton University, a                                                  constitute harassment, we can and will respond
                                                                          student faced a litany of charges, including “Disruptive                                               to address hurtful behavior and to support the
                                                                          Behavior,” “Discrimination,” and “Harassment,” over                                                    targeted individual or group.”74
                                                                          using a photograph of President Donald Trump as his
                                                                          Zoom background and posting a political message         While speech or expression that is based on a speaker’s
                                                                          on Facebook.69 Stockton’s incident report explained     bias may be subjectively offensive, it is protected under
                                                                          that the background made members of his class feel      First Amendment standards unless it rises to the level of
                                                                          “offended, disrespected, and taunted.”70                unlawful conduct like harassment. Some bias reporting
                                                                                                                                  policies acknowledge the distinction between unlawful
                                                                          Just as speech that occurs in the public square may not conduct, like hate crimes or harassment, and bias-
                                                                          be sanctioned merely because it has made others feel related incidents. However, many of these policies
                                                                          “offended, disrespected, and taunted,” online speech nonetheless encourage students to report such broadly
                                                                          may not be restricted on those bases alone.             defined bias incidents, and reserve the right to take
                                                                                                                                  action against incidents that do not constitute unlawful
                                                                                                                                  behavior or unprotected speech.
                                                                          Policies on Bias and Hate Speech
Foundation for Individual Rights in Education




                                                                          In recent years, colleges and universities around
                                                                          the country have instituted policies and procedures
                                                                          specifically aimed at eliminating “bias” and “hate
                                                                          speech” on campus.71 These sets of policies and
                                                                          procedures, frequently termed “Bias Reporting
                                                                          Protocols” or “Bias Incident Protocols,” often include
                                                                          bans on protected expression. For example:

                                                                             •    Grinnell College defines a “bias-motivated
                                                                                  incident” as “an expression of hostility toward,
                                                                                  a person, group, or property thereof” because of
                                                                                  an individual or group’s identifying or perceived
                                                                                  characteristic. The College warns: “Since these
                                                                                  behaviors are not reflective of our Community    Bias incident protocols also often infringe on students’
                                                                                  Standards, student(s) found responsible for      right to due process by allowing for anonymous
                                                                                  bias-related charges may face outcomes up to     reporting that denies students the right to confront
                                                                                  and including suspension, dismissal or degree    their accusers. Moreover, universities are often heavily
                                                                                  withdrawal.”72                                   invested in these bias incident policies, having set
                                                                                                                                   up extensive regulatory frameworks and response
                                                                             •    Bates College lists the following as examples protocols devoted solely to addressing them.
                                                                                  of bias incidents: “hate speech,” “sexist jokes
                                                                                  or cartoons,” and “disparaging remarks on Although some bias incident protocols do not include
                                                                                  social media sites.” Students are told to report a separate enforcement mechanism, the mere threat




                                                62
                                                   Code of Student Conduct, Georgetown Univ. Division of Student Affairs at 13 (last updated fall 2018), studentconduct.georgetown.edu/code-of-student-conduct.
                                                63
                                                   See, e.g., Coll. Republicans at S.F. St. Univ. v. Reed, 523 F. Supp. 2d 1005, at 23* (N.D. Cal. 2007) (enjoining enforcement of university civility policy because “there is a substantial risk that the civility requirement will inhibit or
                                                deter use of the forms and means of communication that, to many speakers in circumstances of the greatest First Amendment sensitivity, will be the most valued and the most effective.”).
                                                64
                                                   Email Policy, Drexel Univ. Information Technology (last revised July 1, 2014), drexel.edu/it/about/policies/policies/07-Email.
                                                65
                                                   Academic User Agreement, Information Technology Services (last updated Apr. 13, 2020), apps.carleton.edu/campus/its/policies/agreement.
                                                66
                                                   Id.
                                                67
                                                   Use of Information Technology Services, College of the Holy Cross Policies and Procedures Manual (Dec. 16, 2015), holycross.edu/sites/default/files/files/policyprocedure/its/350000-002_use_of_information_technology_
                                                services_2015_accepted.pdf.
                                                68
                                                   Memory-holed: Universities and Internet Speech, Found. for Individual Rights in Educ., thefire.org/ research/publications/miscellaneous-publications/memory-holed-universities-and-internet-speech.
                                                69                      Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 91 of 216
                                                   See Letter from Zachary Greenberg, Program Officer, Individual Rights Defense Program, Found. for Individual Rights in Educ., to Harvey Kesselman, President, Stockton Univ. (Aug. 7, 2020), thefire.org/fire-letter-to-stockton-
    19
                          of a bias investigation will likely be sufficient to chill                                       of controversial campus speakers by levying additional
                          speech on controversial issues. Indeed, the United                                               security costs on the sponsoring student organizations.
                          States Court of Appeals for the Sixth Circuit recently
                          held that, even though it lacked the power to punish   The Supreme Court addressed a very similar issue
                          students independently, the University of Michigan’s   in Forsyth County v. Nationalist Movement, where it
                          former “Bias Response Team” policy was likely to chill struck down an ordinance in Georgia that permitted the
                          the speech of students because “the invitation from    local government to set varying fees for events based
                          the Response Team to meet could carry an implicit      upon how much police protection the event would
                          threat of consequence should a student decline the     need.79 Invalidating the ordinance, the Court wrote that
                          invitation.”75 As a part of a settlement agreement,76  “[t]he fee assessed will depend on the administrator’s
                          the university replaced its Bias Response Team with a  measure of the amount of hostility likely to be created
                          “Campus Climate Support” program. The new policy       by the speech based on its content. Those wishing
                          makes its purpose—to provide support, rather than to   to express views unpopular with bottle throwers, for
                          investigate or punish protected speech—clear: “CCS     example, may have to pay more for their permit.”80
                          is not a disciplinary body, cannot impose discipline,  Deciding that such a determination required county
                          and does not require participation in any aspect of    administrators to “examine the content of the message
                          CCS’s work.”77                                         that is conveyed,” the Court wrote that “[l]isteners’
                                                                                 reaction to speech is not a content-neutral basis for
                          Overbroad bias reporting policies must be revised so regulation. . . . Speech cannot be financially burdened,
                          that they narrowly target unlawful conduct, or to make any more than it can be punished or banned, simply
                          clear they exist for purposes of providing support for because it might offend a hostile mob.”81




                                                                                                                                                                                                                                             The State of Free Speech on Our Nation’s Campuses
                          affected individuals.
                                                                                 Despite this precedent, the impermissible use of
                                                                                 security fees to burden controversial speech is all too
                          Policies Governing Speakers,                           common on university campuses:
                          Demonstrations, and Rallies
                                                                                                                             •    At Evergreen State College, factors that are
                                                                                                                                  considered in evaluating risk and determining
                          Universities may enact reasonable, narrowly tailored                                                    security needs include the “topic” of the event
                          “time, place, and manner” restrictions that prevent                                                     and the “history of the performer.”82 If extra
                          demonstrations and other expressive activities from                                                     security is deemed necessary by the university,
                          unduly interfering with the educational process.78                                                      “this additional cost will be the responsibility of
                          They may not, however, regulate speakers and                                                            the event sponsor.”83
                          demonstrations on the basis of content or viewpoint,
                          nor may they maintain regulations that burden                                                      •    Bridgewater State University informs students
                          substantially more speech than is necessary to                                                          that users of facilities will be billed for
                          maintain an environment conducive to education. Such                                                    “extraordinary staff support needs arising from
                          regulations can take several forms, as discussed in the                                                 the particular nature of the event.”84
                          sections below.                                                                                    •    The State University of New York – New Paltz
                                                                                                                                  chillingly states: “Where a controversial speaker
                                                                                                                                  is likely to engender demonstrations from other
                          Security Fee Policies                                                                                   student groups, the sponsoring organization must
                                                                                                                                  recognize the rights of other groups and consider
                                                                                                                                  the impact of inviting each speaker on the orderly
                          In recent years, FIRE has seen a number of colleges                                                     and lawful functioning of the College.”
                          and universities hamper—whether intentionally or just
                          through a misunderstanding of the law—the invitation




university-august-7-2020.
70
   Id.
71
   See generally Bias Response Team Report 2017, Found. for Individual Rights in Educ., thefire.org/research/publications/bias-response-team-report-2017.
72
   Campus Life Policies, Grinnell College 2019-2020 Student Handbook, catalog.grinnell.edu/content.php?catoid=12&navoid=2536#Hate_Crimes_and_Bias-Motivated_Incidents_Policy (last visited Oct. 16, 2020).
73
   Bias Incidents & Hate Crimes, Bates Office of Equity and Inclusion, bates.edu/equity-inclusion/bias-incidents-hate-crimes (last visited Oct. 16, 2020).
74
   What is a Bias Incident?, DePauw Univ. Bias Incident Resources, depauw.edu/studentacademiclife/campus-safety/bias-incident-resources/investigation-follow-up (last visited Oct. 16, 2020).
75
   Speech First, Inc. v. Schlissel, 939 F.3d 756 (6th Cir. 2019). Quoting Schlissel, the United States Court of Appeals for the Fifth Circuit recently found a university bias reporting team’s practice of making referrals to university
disciplinary bodies “sufficiently proscriptive to objectively chill student speech.” Speech First, Inc. v. Fenves, No. 19-50529, at 22* (5th Cir. 2020).
76
   Speech First v. U of M; Settlement Agreement, Speech First – Univ. of Michigan Case (Oct. 28, 2019), speechfirst.org/court-battles/speech-first-v-u-of-m-settlement-agreement.
77                      Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 92 of 216
   Campus Climate Support, Univ. of Michigan Dean of Students, deanofstudents.umich.edu/campus-climate-support (last visited Oct. 29, 2020).
                                                                                                                                                                                                                                                20
                                                                        Prior Restraints

                                                                        The Supreme Court has held that “[i]t is offensive—not   repeatedly been struck down by courts or voluntarily
                                                                        only to the values protected by the First Amendment,     revised by colleges as part of settlements to lawsuits
                                                                        but to the very notion of a free society—that in the     brought by students. FIRE’s Stand Up For Speech
                                                                        context of everyday public discourse a citizen must      Litigation Project has mounted successful challenges
                                                                        first inform the government of her desire to speak to    to free speech zone policies at eight colleges.91
                                                                        her neighbors and then obtain a permit to do so.” Yet    Most recently, the Los Angeles Community College
                                                                        many colleges and universities enforce prior restraints, District agreed to settle a lawsuit brought after an
                                                                        requiring students and student organizations to register administrator told a student his rights were restricted
                                                                        their expressive activities well in advance and, often,  to a tiny free speech zone on the Los Angeles Pierce
                                                                        to obtain administrative approval for those activities.  College campus. As the largest community college
                                                                        For example:                                             district in the country, this victory for the Stand Up For
                                                                                                                                 Speech Litigation Project restored free speech rights
                                                                          •    Virginia State University’s student handbook to roughly 150,000 students.92
                                                                               prohibits “[u]nauthorized assembly,
                                                                               demonstrations, or acts of picketing of any kind” Additionally, state legislatures have continued to take
                                                                               as “Disorderly Conduct,” explaining that all action to prohibit public colleges and universities from
                                                                               “assemblies, demonstrations, and similar acts maintaining free speech zones. Currently, seventeen
                                                                               must have prior approval and be registered.”86    states have enacted laws prohibiting these restrictive
                                                                                                                                 policies: Virginia, Missouri, Arizona, Kentucky,
                                                                          •    Students wishing to conduct a demonstration Colorado, Utah, North Carolina, Tennessee, Florida,
Foundation for Individual Rights in Education




                                                                               at Rensselaer Polytechnic Institute must submit Georgia, Louisiana, Arkansas, South Dakota, Iowa,
                                                                               an application to the dean of students’ office Alabama, Oklahoma, and Texas. In doing so, several
                                                                               “at least seven (7) days prior to the proposed states utilized FIRE’s model legislation.
                                                                               demonstration date” for approval.87
                                                                          •    Students on Kean University’s campus can’t even   Due to FIRE’s efforts in litigation and legislation, as
                                                                               hand out flyers without “submitting a formal      well as our continued policy reform work, free speech
                                                                                                                                 zones have declined dramatically over the past decade.
                                                                               request online . . . at least five (5) business days
                                                                               prior to the requested use.”88                    In spite of this progress, too many universities still
                                                                                                                                 maintain free speech zones. Despite being inconsistent
                                                                                                                                 with the First Amendment, free speech zones are
                                                                        Free Speech Zone Policies                                more common at public universities than at private
                                                                                                                                 universities: 8.1% of public universities surveyed
                                                                        Of the 478 schools surveyed for this report, 34 maintain free speech zones, while just 3.8% of private
                                                                        institutions (7.1%) enforce “free speech zone” policies— universities that promise their students free speech
                                                                        policies limiting student demonstrations and other rights do.
                                                                        expressive activities to small and often out-of-the-way
                                                                        areas on campus.89 This number represents a significant Examples of current free speech zone policies include
                                                                        improvement over the course of the past decade: a the following:
                                                                        2013 FIRE survey of the institutions covered in this
                                                                        report found that 16.4%—over double the percentage • Eastern Illinois University restricts the distribution
                                                                        today—maintained such policies.90 This positive shift        of written materials to a single area on campus,
                                                                        can be traced in large part to FIRE’s litigation and         which it accurately and candidly calls the “Free
                                                                        legislative efforts.                                         Speech Zone.”93 The policy also provides that the
                                                                                                                                     university and registered student organizations
                                                                        Over the past several years, free speech zones have          may reserve this area for events, presenting the




                                                78
                                                   See Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989).
                                                79
                                                   Forsyth, 505 U.S. 123.
                                                80
                                                    Id. at 134.
                                                81
                                                   Id. at 134–35 (emphasis added).
                                                82
                                                   Event Security and Safety, Evergreen St. College Policies and Procedures, evergreen.edu/policy/eventsecurityandsafety (last visited Oct. 13, 2020).
                                                83
                                                    Id.
                                                84
                                                   Free Speech and Demonstration Policy, Bridgewater St. Univ. (reviewed Sept. 2017), handbook.bridgew.edu/sites/handbook/files/2019-08/BSU_Free_Speech_and_Demonstration_Policy_Revised_2017.pdf.
                                                85
                                                   Watchtower Bible and Tract Society of NY, Inc. v. Village of Stratton, 536 U.S. 150, 165–66 (2002).
                                                86
                                                   Disorderly Conduct, Virginia St. Univ. Student Handbook at 88, vsu.edu/files/docs/student-activities/student-handbook.pdf (last visited Oct. 16, 2020).
                                                87
                                                   Rules for Maintenance of Public Order, Rensselaer Handbook of Student Rights and Responsibilities at 88 (last rev. Aug. 21, 2020), rpi.app.box.com/s/3f1cl3w1lt1mq8gqla68v6uk3vh1c19f.
                                                88                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 93 of 216
                                                   Distribution of Literature Policy, Kean Univ. Policies, kean.edu/offices/policies/distribution-literature-policy (last visited Oct. 16, 2020).
       21
                              concern that other students wishing to hand out
                              flyers may not be able to do so if this area has
                              been previously reserved.94
                          •   The University of California – Riverside provides
                              that all persons may use “[a]reas open to the
                              public generally” for expressive activity, but those
                              areas are defined exceedingly narrowly as “the
                              outdoor paved walkways on the campus.”95 If an
                              activity is “pre-advertised” or can be expected
                              to attract a crowd of over 25 people, it is limited
                              to either “the Tower Mall or Speaker’s Mound
                              area.”96
                          •   At Vanderbilt University, students may only
                              hand out written materials “on Rand Terrace
                              or outside the building in which a meeting has
                              been scheduled by another organization, if the
                              distributors position themselves twenty feet
                              from the entrance and so as to avoid restricting
                              access.”97




                                                                                                                                                                       THE STATE OF FREE SPEECH ON OUR NATION’S CAMPUSES
                        Although free speech zone policies are indeed being
                        steadily revised across the country, they continue to
                        pose problems for students’ expressive activities.
                        country, they continue to pose problems for students’
                        expressive activities.




89
   See Appendix D for a full list of schools with free speech zone policies.
90
   Infographic: Free Speech Zones on America’s Campuses (2013), thefire.org/infographic-free-speech-zones-on-americas-campuses-2.
91
   For more information about FIRE’s Stand Up for Speech Litigation Project and Million Voices campaign, see standupforspeech.com.
92
   Pierce College Press Release, supra note 13.
93
   #138.1 - Posting and Distribution of Materials, Eastern Illinois Univ. Internal Governing Policies (July 27, 2020), castle.eiu.edu/~auditing/138_1.php.
94
   Id.
95
   Speech and Advocacy, Univ. of California Riverside (Sept. 15, 1992), fboapps.ucr.edu/policies/index.php?path=printPolicies.php&policy=700-70.
96
   Id.
97
   Freedom of Expression, Vanderbilt Univ. Student Handbook, vanderbilt.edu/student_handbook/student-engagement/#freedom-of-expression (last visited Oct. 13, 2020).

                     Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 94 of 216
                                                                                                                                                                          22
WHAT CAN BE DONE?




 Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 95 of 216
                         The good news is that the types of restrictions
                         discussed in this report can be reformed. Students
                         and faculty members can be tremendously effective
                         advocates for change when they are aware of their
                         expressive rights and willing to engage administrators
                         in their defense. FIRE provides a number of resources
                         to assist advocates and administrators in revising
                         speech codes, including our Model Code of Student
                                                                                                                   Public exposure is also critical to defeating
                         Conduct.98 The Model Code includes provisions
                         regarding prohibited conduct that would all earn                                          speech codes, since universities are often
                         green light ratings, as well as student conduct                                           unwilling to defend their speech codes in
                         procedures and procedural safeguards that comply
                                                                                                                   the face of public criticism.
                         with the Department of Education’s recent Title IX
                         regulations.

                         Unconstitutional policies also can be defeated in
                         court, especially at public universities, where speech
                         codes have been struck down in federal courts
                         across the country. Many more such policies have
                         been revised in favor of free speech as the result of
                         legal settlements.




                                                                                                                                                                                                                              The State of Free Speech on Our Nation’s Campuses
                         Any speech code in force at a public university is
                         vulnerable to a constitutional challenge. Moreover,
                         as speech codes are consistently defeated in court,
                         administrators cannot credibly argue that they are
                         unaware of the law, which means that
                         they may be held personally liable when
                         they are responsible for their schools’
                         violations of constitutional rights.99

                         The suppression of free speech at
                         institutions of higher education is a matter
                         of national concern. But, by working
                         together with universities to revise
                         restrictive speech codes and to reaffirm
                         commitments to free expression, we can
                         continue to make strides toward campuses
                         that truly embody the “marketplace of
                         ideas” that such institutions are meant
                         to be in our society.




98
   Model Code, Found. for Individual Rights in Educ. (May 28, 2020), thefire.org/legal/procedural-advocacy/model-code. For other resources regarding policy reform, see thefire.org/resources/fires-speech-code-resources.
99
   See, e.g., Marieke Tuthill Beck-Coon, FIRE lawsuit against Iowa State University administrators ends with nearly $1 million in damages and fees, Found. for Individual Rights in Educ. (Mar. 23, 2018) thefire.org/fire-
lawsuit-against-iowa-state-university-administrators-ends-with-nearly-1-million-in-damages-and-fees. See also Azhar Majeed, Putting Their Money Where Their Mouth Is: The Case for Denying Qualified Immunity to University
Administrators for Violating Students’ Speech Rights, 8 Cardozo Pub. L., Pol’y & Ethics J. 3, 515 (2010).




                      Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 96 of 216
                                                                                                                                                                                                                                 24
                                                      Spotlight On:
                                                      New Title IX Regulations
                                                                          Conduct that constitutes hostile environment                                                  “severe, pervasive, and objectively offensive”
                                                                          harassment, as legally defined, isn’t protected by                                            components from the Davis standard, a single
                                                                          the First Amendment, but colleges all too often                                               instance of subjectively offensive verbal conduct (i.e.,
                                                                          miss the mark when drafting harassment policies. In                                           speech, such as an off-color joke) could be considered
                                                                          fact, harassment policies earn FIRE’s worst, red light                                        punishable harassment.
                                                                          rating more frequently than any other type of policy
                                                                          in the Spotlight database, with 68 schools currently                                          OCR later backed away from the term “blueprint” in a
                                                                          maintaining a policy that earns the rating.100                                                letter to FIRE, in which it explained that “the agreement
                                                                                                                                                                        in the Montana case represents the resolution of that
                                                                          In Davis v. Monroe County Board of Education, the                                             particular case and not OCR or DOJ policy,”104 but the
                                                                          Supreme Court defined student-on-student (or peer)                                            damage caused by the promotion of this definition
                                                                          harassment in the educational setting as discriminatory,                                      had already been done. Many universities across the
                                                                          unwelcome conduct that is “so severe, pervasive, and                                          country had adopted it as their controlling standard
                                                                          objectively offensive that it effectively bars the victim’s                                   for peer harassment, or had added it to existing
Foundation for Individual Rights in Education




                                                                          access to an educational opportunity or benefit.”101                                          policies, presenting students with a confusing array
                                                                          In other words, harassment is extreme and repetitive                                          of definitions at a single school.
                                                                          behavior—behavior so serious that it would interfere
                                                                          with a reasonable person’s ability to receive their       After years of pushback from FIRE and other civil
                                                                          education. However, most colleges have adopted a          liberties groups, OCR finally reversed course. On May
                                                                          broader standard, putting protected speech at risk        6, 2020, the agency announced new regulations that,
                                                                          of punishment.                                            among other important reforms regarding procedural
                                                                                                                                    safeguards, adopt the standard from Davis for Title
                                                                          To understand why universities so commonly fail to IX sexual harassment. Those regulations took effect
                                                                          define harassment properly, it helps to take a look August 14, 2020.105
                                                                          back through the past decade of Title IX enforcement.
                                                                                                                                    The colleges and universities analyzed in this report
                                                                          In 2013, the U.S. Department of Education’s Office were reviewed incrementally over the course of the past
                                                                          for Civil Rights (OCR) and the Department of Justice year, from October 2019 to September 2020. Thus, we
                                                                          issued a joint findings letter announcing a resolution have only seen the impact of the regulations on schools
                                                                          agreement with the University of Montana, following an that were updated since they went into effect. However,
                                                                          investigation into the university’s Title IX policies and we have already identified a few trends in how schools
                                                                          practices.102 The letter described this agreement as “a have responded to the regulations.
                                                                          blueprint for colleges and universities throughout the
                                                                          country to protect students from sexual harassment First, some schools have missed the effective date
                                                                          and assault,” and defined sexual harassment as “any of the regulations entirely. For example, Murray
                                                                          unwelcome conduct of a sexual nature,” including State University notes that the revision of its “Sexual
                                                                          “verbal conduct.”103                                      Harassment Policy” is pending final approval in
                                                                                                                                    December 2020 by its board of regents.106 Most
                                                                          Under this broad, “blueprint” definition of sexual universities have a process for expediting the adoption
                                                                          harassment, which fails to incorporate the critical of a policy on an interim basis, but evidently 100 days


                                                100
                                                    FIRE’s Spotlight Database Search Results, Found. for Individual Rights in Educ.,
                                                thefire.org/resources/spotlight/?x=&speech_code=Red&y=&institution_type=&speech_code_advanced=Red&y_advanced=&statement%5B%5D=804#search-results (last visited Oct. 29, 2020).
                                                101
                                                    526 U.S. 629, 633 (1999).
                                                102
                                                    U.S. Dep’t of Educ., Dear Colleague Letter from Gerald A. Reynolds, Assistant Sec’y for Civil Rights (July 28, 2003), https://www2.ed.gov/about/offices/list/ocr/firstamend.html.
                                                103
                                                    Id.
                                                104
                                                    Letter from Catherine E. Lhamon, Assistant Secretary for Civil Rights, U.S. Department of Education, to Greg Lukianoff, President, Foundation for Individual Rights in Education (Nov. 14, 2013), available at thefire.org/letter-from-
                                                department-of-education-office-for-civil-rights-assistant-secretary-catherine-e-lhamon-to-fire.
                                                105
                                                    Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal Financial Assistance, 85 Fed. Reg. 30,026 (May 19, 2020) (to be codified at 34 C.F.R. pt. 106).
                                                106
                                                    Sexual Harassment Policy, Murray St. Univ. (last updated May 1, 2017), murraystate.edu/headermenu/administration/OfficeOfInstitutionalDiversityEquityandAccess/pdf/sexualharassmentpolicy.pdf.
                                                107
                                                    See Title IX, Office of Institutional Diversity, Equity and Access, murraystate.edu/headermenu/administration/titleix/index.aspx (last visited Oct. 20, 2020).
                                                108
                                                    The regulations note that “inappropriate or illegal behavior may be addressed by a recipient even if the conduct clearly does not meet the Davis standard or otherwise constitute sexual harassment under § 106.30, either under a
                                                recipient’s own code of conduct or under criminal laws in a recipient’s jurisdiction (e.g., with respect to a commenter’s example of drugging at a dorm party).” Nondiscrimination, supra note 105. However, developing two entirely
                                                                       Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 97 of 216
                                                separate definitions of sexual harassment with correspondingly distinct procedural protections gives administrators the power to decide which definition and procedures to apply to each case (and even to conduct concurrent
  25
                          (from May 6, when the regulations were released, to                                          Title IX cases, but also cases of hostile environment
                          the effective date on August 14) was not sufficient                                          harassment based on other protected characteristics.112
                          for Murray State. Instead, the university will wait
                          a total of 209 days before revising its policy. In the                                       And even where schools haven’t adopted the
                          interim, Murray State has not added the definition of                                        Davis standard across all policies, revising policies
                          harassment from the regulations to its Title IX webpage                                      pursuant to the regulations has resulted in significant
                          or any other location on its website.107                                                     improvements. Wichita State University, for one,
                                                                                                                       improved from an overall red light rating to an overall
                          The majority of schools, however, have unfortunately                                         yellow light rating by removing its blueprint sexual
                          adopted what FIRE is calling a “dual-track approach”                                         harassment policy and replacing it with one that adopts
                          to reaching policy compliance. While these schools                                           the definition from the regulations.113 The university still
                          adopted the regulations’ definition of sexual harassment                                     maintains a harassment provision in its student code of
                          for Title IX cases, they also maintain a broader sexual                                      conduct that defines harassment more broadly than the
                          harassment definition for other types of cases.108                                           regulations, but the removal of the blueprint definition
                                                                                                                       is an important victory for free speech rights.114
                          For example, the State University of New York at
                          Fredonia adopted a “Title IX Grievance Policy” that                                          At the time of this writing, it is difficult to be sure of the
                          incorporates the definition from the regulations.                                            future of the Department of Education’s regulations.
                          However, the policy also provides that “SUNY Fredonia                                        Thus, civil liberties advocates must continue to be




                                                                                                                                                                                                                                          The State of Free Speech on Our Nation’s Campuses
                          remains committed to addressing any violations of                                            diligent in identifying threats to free expression
                          its policies, even those not meeting the narrow                                              presented by overbroad harassment policies.
                          standards defined under the Title IX Final Rule,” and
                          that “the institution retains authority to investigate  Whether or not the Title IX regulations remain in place,
                          and adjudicate the allegations under the policies and   schools will need to be urged into compliance, watched
                          procedures defined within the Code of Conduct through   to make sure they don’t adopt additional, conflicting
                          a separate grievance proceeding.”109                    policies, and monitored to ensure that the application
                                                                                  of such policies does not infringe on student rights.
                          This “Code of Conduct” policy in turn references the FIRE will continue to do so, regardless of what the
                          university’s “Sexual Harassment Policy,” which provides future holds for these regulations.
                          the “blueprint” definition of sexual harassment
                          discussed earlier.110 Thus, with both the speech-
                          protective definition from the regulations and this
                          broader definition in place, students at SUNY Fredonia
                          are still at risk of being punished for engaging in
                          protected speech.

                          The results thus far are not all negative. Some schools
                          have adopted the definition of sexual harassment from
                          the regulations in their policies across the board. For
                          example, West Virginia University previously banned
                          “severe or pervasive” conduct in defining hostile
                          environment harassment, rather than requiring that
                          conduct be both “severe” and “pervasive,” as per the
                          standard from Davis.111 Now, that hostile environment
                          definition has been revised to fully track the regulations,
                          requiring both severity and pervasiveness in not only



proceedings), a scenario that invites administrative abuse and puts free speech and due process rights at risk. As a federal district court recently explained: “Such disregard for the inevitable administrative headaches of a multi-
procedure approach certainly qualifies as evidence of an irregular adjudicative process.” Doe v. Rensselaer Polytechnic Institute, No. 1:20-cv-1185, at 13* (N.D.N.Y. Oct. 16, 2020). The court found that a school’s “conscious and
voluntary choice to afford a plaintiff, over his objection, a lesser standard of due process protections when that school has in place a process which affords greater protections, qualifies as an adverse action.” Id.
109
    Title IX Grievance Policy, SUNY Fredonia at 5, fredonia.edu/sites/default/files/section/about/diversity-inclusion/SUNY%20Fredonia%20Title%20IX%20Policy.pdf (last visited Oct. 20, 2020).
110
    Sexual Harassment Policy, Univ. Policies for Students, fredonia.edu/student-life/student-conduct/policies#SexualDiscrimination (last visited Oct. 20, 2020).
111
    Archive: BOG Policy 44 - Policy Regarding Discrimination, Harassment, Sexual Harassment, Sexual & Domestic Misconduct, Stalking, and Retaliation, West Virginia Univ. Rules, Policies, and Procedures (repealed Aug. 14,
2020), policies.wvu.edu/archives/bog-policy-44-policy-regarding-discrimination-harassment-sexual-harassment-sexual-domestic-misconduct-stalking-and-retaliation.
112
    BOG Governance Rule 1.6 - Rule Regarding Discrimination, Harassment, Sexual Harassment, Sexual Misconduct, Domestic Misconduct, Stalking, Retaliation, and Relationships, West Virginia Univ. Rules, Policies, and
Procedures (Aug. 14, 2020), policies.wvu.edu/finalized-bog-rules/bog-governance-rule-1-6-rule.
113
    Sexual Harassment, Discrimination and Retaliation for Employees, Students and Visitors, WSU Policies and Procedures (last revised Aug. 13, 2020), wichita.edu/about/policy/ch_03/ch3_06.php.
114
    Student Code of Conduct Handbook, WSU Policies and Procedures (last revised June 24, 2020), wichita.edu/about/student_conduct/student-code-of-conduct-handbook.php.

                       Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 98 of 216
                                                                                                                                                                                                                                             26
           APPENDICES




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 99 of 216
Appendix A: Schools by Rating
                                                                        Macalester College
                                                                        Marquette University
                                                                        Middlebury College
                                                                        Mount Holyoke College
                                                                        Murray State University
                                                            RED LIGHT
                                                                        Northeastern University
            Adams State University                                      Northern Vermont University
            Alabama A&M University                                      Northwestern University
            Barnard College                                             Portland State University
            Bates College                                               Princeton University
            Boston College                                              Reed College
RED LIGHT
            Boston University                                           Rensselaer Polytechnic Institute
            California State University - Dominguez Hills               Rice University
            California State University – Fresno                        Santa Clara University
            California State University - Monterey Bay                  Shawnee State University
            Carleton College                                            Southern Illinois University at Carbondale
            Case Western Reserve University                             Southern Illinois University Edwardsville
            Cheyney University of Pennsylvania                          Southern Oregon University
            Chicago State University                                    St. Olaf College
            Clark University                                            State University of New York - Fredonia
            Clemson University                                          State University of New York - New Paltz




                                                                                                                     The State of Free Speech on Our Nation’s Campuses
            Coastal Carolina University                                 Stevens Institute of Technology
            Colby College                                               Tennessee State University
            Colgate University                                          The College of New Jersey
            College of the Holy Cross                                   Troy University
            Connecticut College                                         Tufts University
            Dakota State University                                     Tulane University
            Davidson College                                            Union College
            Delaware State University                                   University of Alaska Anchorage
            DePauw University                                           University of Alaska Fairbanks
            Dickinson College                                           University of Central Missouri
            Drexel University                                           University of Central Oklahoma
            Eastern Illinois University                                 University of Colorado Denver
            Evergreen State College                                     University of Houston
            Fordham University                                          University of Houston-Downtown
            Fort Lewis College                                          University of Illinois at Chicago
            Framingham State University                                 University of Louisiana Lafayette
            Furman University                                           University of Massachusetts at Dartmouth
            Georgetown University                                       University of Massachusetts at Lowell
            Grinnell College                                            University of Miami
            Harvard University                                          University of Notre Dame
            Harvey Mudd College                                         University of Southern California
            Howard University                                           University of Texas at Arlington
            Johns Hopkins University                                    University of Texas at Austin
            Kean University                                             University of Texas at Dallas
            Lafayette College                                           University of Tulsa
            Lake Superior State University                              University of Wisconsin - Oshkosh
            Lehigh University                                           University of Wyoming
            Lewis-Clark State College                                   Utah State University
            Lincoln University                                          Valdosta State University
            Louisiana State University - Baton Rouge                    Villanova University




        Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 100 of 216
                                                                                                                        28
                                                              Virginia State University                                  Central Michigan University
                                                              Western Illinois University                                Central Washington University
                                                              Western Michigan University                                Centre College
                                                              William Paterson University                                Christopher Newport University
                                                              Winston-Salem State University                             Clarion University of Pennsylvania
                                                  RED LIGHT   Worcester Polytechnic Institute
                                                                                                                YELLOW   College of Charleston
                                                                                                                 LIGHT
                                                                                                                         Colorado College
                                                                                                                         Colorado School of Mines
                                                                                                                         Colorado State University
                                                                                                                         Colorado State University Pueblo
                                                              Alabama State University                                   Columbia University
                                                              American University                                        Cornell University
                                                              Angelo State University                                    Dartmouth College
                                                              Arkansas State University                                  East Stroudsburg University of Pennsylvania
                                                              Athens State University                                    East Tennessee State University
                                                   YELLOW     Auburn University Montgomery                               Eastern Michigan University
                                                    LIGHT     Ball State University                                      Eastern New Mexico University
                                                              Bard College                                               Eastern Washington University
                                                              Baruch College                                             Elizabeth City State University
                                                              Bemidji State University                                   Ferris State University
                                                              Black Hills State University                               Fitchburg State University
                                                              Bloomsburg University of Pennsylvania                      Florida A&M University
Foundation for Individual Rights in Education




                                                              Boise State University                                     Florida Atlantic University
                                                              Bowdoin College                                            Florida Gulf Coast University
                                                              Bowling Green State University                             Florida International University
                                                              Brandeis University                                        Fort Hays State University
                                                              Bridgewater State University                               Franklin & Marshall College
                                                              Brooklyn College, City University of New York              Frostburg State University
                                                              Brown University                                           George Washington University
                                                              Bryn Mawr College                                          Georgia Gwinnett College
                                                              Bucknell University                                        Georgia Institute of Technology
                                                              California Institute of Technology                         Georgia Southern University
                                                              California Maritime Academy                                Georgia State University
                                                              California Polytechnic State University                    Gettysburg College
                                                              California State Polytechnic University, Pomona            Governors State University
                                                              California State University - Bakersfield                  Grambling State University
                                                              California State University - Channel Islands              Grand Valley State University
                                                              California State University - Chico                        Hamilton College
                                                              California State University - East Bay                     Haverford College
                                                              California State University - Fullerton                    Henderson State University
                                                              California State University - Long Beach                   Humboldt State University
                                                              California State University - Los Angeles                  Hunter College, City University of New York
                                                              California State University - Northridge                   Idaho State University
                                                              California State University - Sacramento                   Illinois State University
                                                              California State University - San Bernardino               Indiana State University
                                                              California State University - San Marcos                   Indiana University - Bloomington
                                                              California State University - Stanislaus                   Indiana University - Kokomo
                                                              California University of Pennsylvania                      Indiana University - Purdue University Columbus
                                                              Cameron University                                         Indiana University - Purdue University Indianapolis
                                                              Carnegie Mellon University                                 Indiana University of Pennsylvania
                                                              Central Connecticut State University                       Indiana University South Bend




                                                Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 101 of 216
29
            Indiana University, East                               Pennsylvania State University - University Park
            Indiana University, Northwest                          Pittsburg State University
            Indiana University, Southeast                          Pitzer College
            Iowa State University                                  Pomona College
            Jacksonville State University                          Radford University
YELLOW      James Madison University                      YELLOW   Rhode Island College
 LIGHT                                                     LIGHT
            Kennesaw State University                              Rogers State University
            Kent State University                                  Rowan University
            Kentucky State University                              Rutgers University - New Brunswick
            Kenyon College                                         Saginaw Valley State University
            Kutztown University of Pennsylvania                    Saint Cloud State University
            Lock Haven University of Pennsylvania                  Salem State University
            Longwood University                                    Sam Houston State University
            Louisiana Tech University                              San Diego State University
            Mansfield University of Pennsylvania                   San Francisco State University
            Marshall University                                    San Jose State University
            Massachusetts College of Liberal Arts                  Scripps College
            Massachusetts Institute of Technology                  Sewanee, The University of the South
            Metropolitan State University                          Skidmore College
            Metropolitan State University of Denver                Slippery Rock University of Pennsylvania
            Miami University of Ohio                               Smith College




                                                                                                                           The State of Free Speech on Our Nation’s Campuses
            Michigan State University                              Sonoma State University
            Middle Georgia State University                        South Dakota State University
            Middle Tennessee State University                      Southeast Missouri State University
            Millersville University of Pennsylvania                Southeastern Louisiana University
            Missouri State University                              Southern Connecticut State University
            Missouri University of Science & Technology            Southern Methodist University
            Montana State University                               Southern Utah University
            Montana Tech of the University of Montana              Southwest Minnesota State University
            Montclair State University                             Stanford University
            Morehead State University                              State University of New York - Binghamton
            New College of Florida                                 State University of New York - Oswego
            New Jersey Institute of Technology                     State University of New York - Albany
            New Mexico State University                            State University of New York - University at Buffalo
            New York University                                    State University of New York College of Environmental
            Nicholls State University                              Science and Forestry
            Norfolk State University                               Stockton University
            North Carolina A&T State University                    Stony Brook University
            North Dakota State University                          Swarthmore College
            Northeastern Illinois University                       Syracuse University
            Northern Illinois University                           Tarleton State University
            Northern Kentucky University                           Temple University
            Northern Michigan University                           Tennessee Technological University
            Northwestern Oklahoma State University                 Texas Southern University
            Northwestern State University                          Texas State University - San Marcos
            Oakland University                                     Texas Tech University
            Oberlin College                                        Texas Woman's University
            Occidental College                                     The City College of New York
            Ohio University                                        The Ohio State University
            Oklahoma State University - Stillwater                 The University of Virginia’s College at Wise
            Old Dominion University                                Towson University




         Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 102 of 216
                                                                                                                              30
                                                            Trinity College                                       University of Nevada, Reno
                                                            University of Akron                                   University of New Mexico
                                                            University of Alabama                                 University of New Orleans
                                                            University of Alabama at Birmingham                   University of North Alabama
                                                            University of Alabama in Huntsville                   University of North Carolina at Asheville
                                                   YELLOW   University of Alaska Southeast               YELLOW   University of North Carolina School of the Arts
                                                    LIGHT   University of Arkansas - Fayetteville         LIGHT   University of North Georgia
                                                            University of California Berkeley                     University of North Texas
                                                            University of California Davis                        University of Northern Colorado
                                                            University of California Irvine                       University of Northern Iowa
                                                            University of California Merced                       University of Oklahoma
                                                            University of California Riverside                    University of Oregon
                                                            University of California San Diego                    University of Pennsylvania
                                                            University of California Santa Barbara                University of Pittsburgh
                                                            University of California Santa Cruz                   University of Rhode Island
                                                            University of Central Arkansas                        University of Richmond
                                                            University of Central Florida                         University of Rochester
                                                            University of Cincinnati                              University of South Alabama
                                                            University of Connecticut                             University of South Carolina Columbia
                                                            University of Delaware                                University of South Dakota
                                                            University of Denver                                  University of South Florida
                                                            University of Georgia                                 University of South Florida at Saint Petersburg
Foundation for Individual Rights in Education




                                                            University of Hawaii at Manoa                         University of Southern Indiana
                                                            University of Hawaii Hilo                             University of Southern Maine
                                                            University of Idaho                                   University of Texas at El Paso
                                                            University of Illinois at Springfield                 University of Texas at San Antonio
                                                            University of Illinois at Urbana-Champaign            University of Texas at Tyler
                                                            University of Iowa                                    University of Texas Rio Grande Valley
                                                            University of Kansas                                  University of Toledo
                                                            University of Kentucky                                University of Utah
                                                            University of Maine                                   University of Vermont
                                                            University of Maine at Fort Kent                      University of Washington
                                                            University of Maine Presque Isle                      University of West Alabama
                                                            University of Mary Washington                         University of West Florida
                                                            University of Massachusetts - Amherst                 University of West Georgia
                                                            University of Massachusetts - Boston                  University of Wisconsin - Eau Claire
                                                            University of Memphis                                 University of Wisconsin - Green Bay
                                                            University of Michigan - Ann Arbor                    University of Wisconsin - La Crosse
                                                            University of Michigan - Dearborn                     University of Wisconsin - Madison
                                                            University of Michigan - Flint                        University of Wisconsin - Stout
                                                            University of Minnesota - Morris                      University of Wisconsin Milwaukee
                                                            University of Minnesota - Twin Cities                 Utah Valley University
                                                            University of Missouri - Columbia                     Vanderbilt University
                                                            University of Missouri-Kansas City                    Virginia Commonwealth University
                                                            University of Missouri-St. Louis                      Virginia Polytechnic Institute and State University
                                                            University of Montana                                 Wake Forest University
                                                            University of Montana Western                         Washington & Lee University
                                                            University of Montevallo                              Washington State University
                                                            University of Nebraska - Lincoln                      Washington University in St. Louis
                                                            University of Nebraska Omaha                          Wayne State University
                                                            University of Nevada, Las Vegas                       Weber State University




                                                Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 103 of 216
       31
            Wellesley College                                   State University of New York - Brockport
            Wesleyan University                                 State University of New York - Plattsburgh
            West Chester University of Pennsylvania             Texas A&M University
            West Virginia University                            The College of William & Mary
            Western Kentucky University                         University of Arizona
YELLOW      Western Oregon University                           University of California Los Angeles
 LIGHT      Western Washington University                       University of Chicago
            Westfield State University                          University of Colorado at Boulder
            Whitman College                                     University of Florida
            Wichita State University                            University of Louisville
            Williams College                                    University of Maryland - College Park
            Winona State University                             University of Mississippi
            Worcester State University                          University of New Hampshire
            Wright State University                             University of North Carolina - Pembroke
            Yale University                                     University of North Carolina Chapel Hill
            Youngstown State University                         University of North Carolina Charlotte
                                                                University of North Carolina Greensboro
                                                                University of North Carolina Wilmington
                                                                University of North Dakota
                                                                University of North Florida
            Alcorn State University                             University of Southern Mississippi




                                                                                                             The State of Free Speech on Our Nation’s Campuses
            Appalachian State University                        University of Tennessee Knoxville
            Arizona State University                            University of Virginia
            Auburn University                                   Western Carolina University
            Claremont McKenna College                           Western Colorado University
GREEN       Cleveland State University
LIGHT       Colorado Mesa University
            Delta State University
            Duke University
            East Carolina University                            Baylor University
            Eastern Kentucky University                         Brigham Young University
            Edinboro University of Pennsylvania                 Pepperdine University
            Emory University                                    Saint Louis University
            Fayetteville State University                       United States Military Academy
            Florida State University                  WARNING   United States Naval Academy
            George Mason University                   SCHOOLS   Vassar College
            Jackson State University                            Yeshiva University
            Kansas State University
            Keene State College
            McNeese State University
            Michigan Technological University
            Mississippi State University
            North Carolina Central University
            North Carolina State University
            Northern Arizona University
            Oregon State University
            Plymouth State University
            Purdue University
            Purdue University Fort Wayne
            Purdue University Northwest
            Shippensburg University




         Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 104 of 216
                                                                                                                32
                                                APPENDIX B: Rating Changes, 2019–2020 Academic Year



                                                SCHOOL NAME                                       2018–2019 RATING      2019–2020 RATING

                                                Boise State University                                     Red                   Yellow

                                                College of Charleston                                      Red                   Yellow

                                                Colorado Mesa University                                  Yellow                 Green

                                                Dartmouth College                                          Red                   Yellow

                                                Emory University                                           Red                   Green

                                                Fayetteville State University                             Yellow                 Green

                                                Florida State University                                   Red                   Green

                                                Georgia Southern University                                Red                   Yellow

                                                Governors State University                                 Red                   Yellow
Foundation for Individual Rights in Education




                                                Harvey Mudd College                                       Yellow                  Red

                                                Idaho State University                                     Red                   Yellow

                                                Jackson State University                                  Yellow                 Green

                                                Morehead State University                                  Red                   Yellow

                                                New Jersey Institute of Technology                         Red                   Yellow

                                                Northern Illinois University                               Red                   Yellow

                                                Northwestern University                                   Yellow                  Red

                                                Oklahoma State University - Stillwater                     Red                   Yellow

                                                Rice University                                           Yellow                  Red

                                                Shawnee State University                                  Yellow                  Red

                                                Southeastern Louisiana University                          Red                   Yellow

                                                Southern Utah University                                   Red                   Yellow

                                                State University of New York - Albany                      Red                   Yellow

                                                Syracuse University                                        Red                   Yellow

                                                University of Alabama at Birmingham                        Red                   Yellow

                                                University of Colorado at Boulder                         Yellow                 Green




                                                            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 105 of 216
   33
SCHOOL NAME                                        2018-2019 RATING      2019-2020 RATING

University of Montana                                      Red                   Yellow

University of New Orleans                                  Red                   Yellow

University of North Texas                                  Red                   Yellow

University of South Carolina Columbia                      Red                   Yellow

University of Texas at Arlington                          Yellow                  Red

Valdosta State University                                 Yellow                  Red

Western Michigan University                               Yellow                  Red

Whitman College                                            Red                   Yellow

Wichita State University                                   Red                   Yellow




                                                                                            The State of Free Speech on Our Nation’s Campuses
Winston-Salem State University                            Yellow                  Red




             Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 106 of 216
                                                                                               34
                                                APPENDIX C: Schools at Which a Faculty or Administrative Body Has Adopted a Version
                                                of the ‘Chicago Statement’




                                                     Adrian College*                                 State University of New York – University at Buffalo
                                                     American University                             State University System of Florida
                                                     Amherst College                                 Stetson University*
                                                     Appalachian State University                    Suffolk University*
                                                     Arizona State University                        Tennessee Technological University
                                                     Ashland University*                             The Citadel*
                                                     Ball State University                           The City University of New York
                                                     Board of Regents, State of Iowa                 University of Alabama System
                                                     Brandeis University                             University of Arizona
                                                     California State University – Channel Islands   University of Arkansas at Little Rock*
                                                     Case Western Reserve University                 University of Colorado System
                                                     Chapman University*                             University of Denver
                                                     Christopher Newport University                  University of Louisiana System
                                                     Claremont McKenna College                       University of Maine System
                                                     Clark University                                University of Maryland
                                                     Cleveland State University                      University of Minnesota
Foundation for Individual Rights in Education




                                                     Colgate University                              University of Missouri System
                                                     Colorado Mesa University                        University of Montana
                                                     Columbia University                             University of Nebraska
                                                     Denison University*                             University of North Carolina – Chapel Hill
                                                     Eckerd College*                                 University of Southern Indiana
                                                     Franklin & Marshall College                     University of Texas at San Antonio
                                                     George Mason University                         University of Toledo
                                                     Georgetown University                           University of Virginia College at Wise
                                                     Gettysburg College                              University of Wisconsin System
                                                     Jacksonville State University                   Utica College*
                                                     Johns Hopkins University                        Vanderbilt University
                                                     Joliet Junior College*                          Washington and Lee University
                                                     Kansas State University                         Washington University in St. Louis
                                                     Kenyon College                                  Winston-Salem State University
                                                     Kettering University*                           Winthrop University*
                                                     Louisiana State University System
                                                     Miami University of Ohio
                                                     Michigan State University
                                                     Middle Tennessee State University               NOTE: Some of the institutions on this list are
                                                     Nevada System of Higher Education               not rated as a part of the Spotlight database at
                                                     Northern Illinois University                    this time and thus do not fall within this report’s
                                                     Ohio University                                 speech code analysis. However, they have been
                                                     Ohio Wesleyan University*
                                                     Princeton University                            included here in order to provide a full list of the
                                                     Purdue University                               institutions at which either the administration
                                                     Ranger College*                                 or a faculty body has adopted a version of
                                                     Smith College                                   the Chicago Statement. Such institutions are
                                                     Snow College*
                                                     South Dakota University System                  denoted with an asterisk.




                                                         Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 107 of 216
  35
APPENDIX D: Schools with “Free Speech Zones”




     Auburn University Montgomery
     Ball State University
     Bemidji State University
     Bridgewater State University
     California State University - Dominguez Hills
     California State University - Los Angeles
     California State University – Sacramento
     East Tennessee State University
     Eastern Illinois University
     Elizabeth City State University
     Grambling State University
     Kentucky State University
     Montclair State University
     Morehead State University
     Northwestern State University




                                                                                   The State of Free Speech on Our Nation’s Campuses
     Occidental College
     Rutgers University - New Brunswick
     Saint Cloud State University
     Southern Illinois University at Carbondale
     Stanford University
     Texas Southern University
     The College of New Jersey
     Tulane University
     University of Alabama in Huntsville
     University of California Riverside
     University of Illinois at Urbana-Champaign
     University of Iowa
     University of Massachusetts at Dartmouth
     University of Nebraska - Lincoln
     University of North Carolina School of the Arts
     University of South Carolina Columbia
     University of Southern Indiana
     University of West Alabama
     Vanderbilt University




         Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 108 of 216
                                                                                      36
510 Walnut Street, Suite 1250
Philadelphia, PA 19106
T: 215.717.3473 F: 215.717.3440
E: speechcodes@thefire.org
www.thefire.org
               @thefireorg




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 109 of 216
                       EXHIBIT P




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 110 of 216
8/4/22, 12:29 PM                                                The Progressive Pronoun Police Come for Middle Schoolers - WSJ

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  https://www.wsj.com/articles/the-pronoun-police-middle-schoolers-sexual-harassment-title-ix-nine-mispronouning-transgender-lgbtqia-free-speech-pronoun-
  11653337766


  OPINIONCOMMENTARY


  The Progressive Pronoun Police Come for Middle
  Schoolers
  A Wisconsin school district opened a Title IX sexual-harassment investigation
  against 8th graders for calling a student ‘her’ instead of ‘them.’


  By Rick Esenberg and Luke Berg
  May 23, 2022 6:11 pm ET
  Kiel, Wis.

  For most people, the term “Title IX investigation” calls to mind allegations of rape, groping,
  unwanted sexual advances or a pervasive pattern of verbal abuse. Think again. Wisconsin’s
  Kiel Area School District, in deep red Manitowoc and Calumet counties along the western
  shore of Lake Michigan, has uncovered a new form of harassment. On April 25 they accused
  three eighth-grade boys of sexual harassment—and launched a Title IX investigation—for
  something called “mispronouning.” These children used “her” to refer to a classmate who
  wants to be called “them.”

  It’s easy to dismiss this as bizarre. You won’t find mispronouning in the Wisconsin statutes or
  U.S. code. It hardly resembles the egregious aggression that we associate with harassment. It
  doesn’t, in and of itself, constitute conduct “so severe, pervasive, and objectively offensive
  that it effectively denies a person equal access to education” as Title IX law on harassment
  requires. But the stain that such a charge could leave on these boys’ reputations and the harm
  inflicted upon their futures is real.

  The boys’ parents first heard about the charges when they received a call from the district
  that their sons were about to be charged with sexual harassment under Title IX. There had
  been no prior warning or discussions with the families about pronoun use at school, nor did
  the district initially explain what the boys had done to warrant being investigated for a
  violation of federal law. When the families were finally informed that the alleged sexual
  harassment—the boys’ potential federal offense—was “using incorrect pronouns,” terror


                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 111 of 216
https://www.wsj.com/articles/the-pronoun-police-middle-schoolers-sexual-harassment-title-ix-nine-mispronouning-transgender-lgbtqia-free-speech-pronoun-1165333…       1/8
8/4/22, 12:29 PM                                               The Progressive Pronoun Police Come for Middle Schoolers - WSJ

  quickly turned to bewilderment. “Is this real? This has to be a joke,” thought Rose Rabidoux,
  one of the parents.

  When the parents reached out to us at the Wisconsin Institute for Law & Liberty, we had the
  same reaction: This can’t be real. Alas, it is. The district appears to believe that once a student
  announces different pronouns to others, any subsequent use of the biologically and
  grammatically correct pronouns—even when not directed to the student—may be punishable
  as sexual harassment under Title IX.

  We hope Kiel is an outlier, but it may not be. A school board in Virginia is reportedly
  considering adding a policy to prohibit “malicious misgendering.” The Biden administration
  is about to unveil its long-awaited update to Title IX regulations and, given the president’s
  pronouncement that transgender discrimination is the civil-rights issue of our time, it
  wouldn’t be surprising if the new rules call for the policing of pronouns. All of this may soon
  be coming to a school near you.

  Apparently, any failure to comply will subject an adolescent to a frightening inquisition.
  Parents need to stand up against this wherever it rears its ugly head. Middle school is hard
  enough as it is. Young students shouldn’t live in fear of punishment if they don’t follow the
  left’s ever-changing fads about speech. And they should know that they have a right to
  disagree respectfully with the idea that gender is self-declared. Of course, teasing or
  aggravating other students—including through the use of names or pronouns—is wrong. But
  generations have been raised into courteous adults without formal investigations and
  allegations of federal offense. When common sense goes missing in places like Kiel, something
  has gone wrong.

  Title IX regulations require a district to dismiss a complaint immediately if the allegations,
  even if proven, wouldn’t amount to sexual harassment. That’s what should have happened
  here, so that’s what our letter to the district urges it to do: Dismiss the charges, clear these
  kids’ records, and make changes so this doesn’t happen again. It isn’t too late for the district
  to do the right thing. It blew the matter out of proportion and has harmed the children who
  were charged to its care.

  This episode doesn’t have to become a federal lawsuit, but if the district follows through and
  punishes these boys solely for “mispronouning,” it will.

  Mr. Esenberg is president and general counsel of the Wisconsin Institute for Law & Liberty,
  where Mr. Berg is deputy counsel.
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 112 of 216
https://www.wsj.com/articles/the-pronoun-police-middle-schoolers-sexual-harassment-title-ix-nine-mispronouning-transgender-lgbtqia-free-speech-pronoun-1165333…   2/8
                      EXHIBIT Q




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 113 of 216
8/4/22, 12:31 PM                                103.1-R - Administrative Regulations Regarding Anti-Bullying/Harassment | Linn-Mar Policy Services




  Home » 100 Series: School District » 103.1 - Anti-Bullying and Anti-Harassment




   103.1-R - Administrative Regulations Regarding
   Anti-Bullying/Harassment




   Individuals who feel that they have been bullied or harassed should:

   1. If the individual is comfortable doing so, communicate to the bully/harasser that the
   individual expects the behavior to stop. If the individual wants assistance communicating
   with the bully/harasser, the individual should ask a teacher, counselor, or principal for help.

   2. If the harassment does not stop or the individual does not feel comfortable confronting
   the bully/harasser, the individual should:

         a. Tell a teacher, counselor, or principal;
         b. Write down exactly what happened, keep a copy, and give another copy to the
             teacher, counselor, or principal including the following information:
                  What, when, and where the incident occurred;
                  Who was involved in the incident;
                      Exactly what was said or what the bully/harasser did;
                      Names of witnesses to the harassment;
                      What the victim said or did either at the time or later;
                      How the victim felt;
                      How the bully/harasser responded; and
                      Any additional information deemed pertinent.

   Filing a Complaint

   An individual who believes they have been bullied or harassed may file a complaint with the
   district’s Equity Coordinators (hereinafter “Investigators”) who will investigate the complaint.



                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 114 of 216
policy.linnmar.k12.ia.us/policy/104-r-administrative-regulations-regarding-anti-bullyingharassment-investigation-procedures                          1/4
8/4/22, 12:31 PM                                103.1-R - Administrative Regulations Regarding Anti-Bullying/Harassment | Linn-Mar Policy Services

   Equity Coordinator/Title IX Coordinator/Affirmative Action Coordinator:
   Mrs. Karla Christian, Chief Officer of Human Resources
   Phone: 319-447-3036 / kchristian@Linnmar.k12.ia.us

   Equity Coordinator:
   Mr. Nathan Wear, Associate Superintendent
   Phone: 319-447-3028 / Nathan.wear@Linnmar.k12.ia.us

   Address: 2999 N 10th Street, Marion, IA 52302
   Fax: 319-377-9252

   An alternate investigator will be designated in the event it is claimed that the district’s Equity
   Coordinator(s) committed the alleged bullying or harassment, or some other conflict of
   interest exists.

   Complaints shall be filed within 180 days of the event giving rise to the complaint or from
   the date the Complainant could reasonably become aware of such occurrence. The
   Complainant will state the nature of the complaint and the remedy requested. The
   Complainant shall receive assistance as needed.

   Investigation

   The school district will promptly and reasonably investigate allegations of bullying or
   harassment upon receipt of a written complaint. The Equity Coordinators (hereinafter
   “Investigators”) will be responsible for handling all complaints alleging bullying or
   harassment or appoint a qualified person to undertake the investigation. The Investigators,
   along with the building principal, have the authority to initiate an investigation in the absence
   of a written complaint.

   The investigation may include, but is not limited to the following:

         1. Interviews with the Complainant and the individual named in the complaint
            (“Respondent”);
         2. A request for the Complainant to provide a written statement regarding the nature of
            the complaint;
         3. A request for the Respondent to provide a written statement;
         4. Interviews with witnesses identified during the course of the investigation;
         5. A request for witnesses identified during the course of the investigation to provide a
            written statement; and
         6. Review and collection of documentation or information deemed relevant to the
             investigation.

   The Investigator shall consider the totality of circumstances presented in determining
   whether conduct objectively constitutes bullying or harassment as defined in board policy.
   Upon completion of the investigation, the Investigator shall issue a report with respect to the
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 115 of 216
policy.linnmar.k12.ia.us/policy/104-r-administrative-regulations-regarding-anti-bullyingharassment-investigation-procedures                          2/4
8/4/22, 12:31 PM                                103.1-R - Administrative Regulations Regarding Anti-Bullying/Harassment | Linn-Mar Policy Services

   findings and provide a copy of the report to the appropriate building principal, or to the
   superintendent if the investigation involved the building principal.

   Following receipt of the Investigator’s report the building principal may investigate further, if
   deemed necessary, and make a determination of any appropriate additional steps, which
   may include discipline. Prior to the determination of the appropriate remedial action the
   building principal may, at their discretion, interview the Complainant and the Respondent. At
   the conclusion of the additional investigation, the building principal will file a written report
   closing the case and documenting any disciplinary action taken or any other action taken in
   response to the complaint. The Complainant, the Respondent, and the Investigator shall
   receive notice as to the conclusion of the building principal’s additional investigation. The
   building principal will maintain a log of information necessary to comply with Iowa
   Department of Education reporting procedures.

   The complaint and identity of the Complainant, the Respondent, or witnesses shall only be
   disclosed as reasonably necessary in connection with the investigation or as required by
   law or policy. Similarly, evidence uncovered in the investigation shall be kept confidential to
   the extent reasonably possible.

   Decision:

   The Investigators, building principal, or superintendent, depending on the individuals
   involved, shall inform the Complainant and the Accused about the outcome of the
   investigation.

   If, after an investigation, a student is found to be in violation of policy, the student shall be
   disciplined by appropriate measures, which may include suspension and expulsion. If after
   an investigation a school employee is found to be in violation of policy, the employee shall
   be disciplined by appropriate measures, which may include termination. If after an
   investigation a school volunteer is found to be in violation of this policy, the volunteer shall
   be subject to appropriate measures, which may include removal from service and exclusion
   from school grounds.

   Individuals who knowingly file false bullying and/or harassment complaints and any person
   who gives false statements in an investigation may be subject to discipline by appropriate
   measures, as shall any person who is found to have retaliated against another in violation of
   this policy. Any student found to have retaliated in violation of this policy shall be subject to
   measures up to, and including, suspension and expulsion. Any school employee found to
   have retaliated in violation of this policy shall be subject to measures up to, and including,
   termination of employment. Any school volunteer found to have retaliated in violation of this
   policy shall be subject to measures up to, and including removal of service and exclusion
   from school grounds.

   Reports of false complaints, false statements, or retaliation should be submitted to the
   district’s Equity Coordinators.
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 116 of 216
policy.linnmar.k12.ia.us/policy/104-r-administrative-regulations-regarding-anti-bullyingharassment-investigation-procedures                          3/4
8/4/22, 12:31 PM                                103.1-R - Administrative Regulations Regarding Anti-Bullying/Harassment | Linn-Mar Policy Services

   It is the responsibility of the superintendent, in conjunction with the Equity Coordinators and
   building principals, to develop district procedures regarding anti-bullying/harassment. The
   superintendent [or designee] will also be responsible for organizing training programs for
   students, school employees, and volunteers regarding how to recognize bullying and
   harassing behavior and what do to if this behavior is witnessed.

   The superintendent [or designee] is responsible for developing a process for evaluating the
   effectiveness of policy in reducing bullying and harassment and will report on the progress
   of reducing bullying and harassment to the school board.


                                                                                                                              Adopted: 6/00
                                                                                    Reviewed: 9/10; 10/11; 4/13; 5/14; 9/16
                                                                                                       Revised: 7/13; 6/20
                                          Related Policy (Code #): 103.1; 103.1.E1-E3; 401.1; 403.13; 500.1
                                                                                   IASB Reference: 104.R1


     ‹ 103.1 - Anti-Bullying and Anti-                                 up              103.1-E1 - Anti-Bullying/Harassment
     Harassment                                                                                           Complaint Form ›

                                                                                                                    Printer-friendly version




                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 117 of 216
policy.linnmar.k12.ia.us/policy/104-r-administrative-regulations-regarding-anti-bullyingharassment-investigation-procedures                          4/4
                      EXHIBIT R




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 118 of 216
8/4/22, 12:34 PM                           Linn-Mar school board approves policy affirming rights for transgender students | Cedar Rapids | kwwl.com




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   https://www.kwwl.com/news/cedar-rapids/linn-mar-school-board-approves-policy-affirming-rights-for-transgender-
   students/article_a43b10cc-c517-11ec-874a-bb52145ed7f6.html



            Linn-Mar school board approves policy affirming rights for
                             transgender students
                                                                        Travis Breese
                                                                        Apr 25, 2022




   LGBTQ+ students hold flags while listening to Monday's meeting.




                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 119 of 216
https://www.kwwl.com/news/cedar-rapids/linn-mar-school-board-approves-policy-affirming-rights-for-transgender-students/article_a43b10cc-c517-11ec-874a-bb521…   1/6
8/4/22, 12:34 PM                           Linn-Mar school board approves policy affirming rights for transgender students | Cedar Rapids | kwwl.com




         MARION, Iowa (KWWL) - After more than three hours of public comment Monday,
         the Linn-Mar Board of Education approved an updated policy regarding transgender
         student's rights.

         The policy says any student is able to decide what bathroom they wish to use, what
         locker room they wish to use, and what gender they choose to room with on overnight
         trips, regardless of the gender they were assigned at birth.

         The district says it has been following this policy for several years, because it is
         required under state and federal law, but it has never been formally codified into the
         school bylaws.

         Many parents said they didn't know these policies were being followed, and argued
         they put their cisgender kids at risk.

         "How can you possibly support that? Letting boy --a young male-- go into a shower
         with girls...Young girls need to feel safe in this school, and if you pass this, they will
         not," Steve Smith said, a parent speaking against the policy.

         Others said policies like this will reduce rates of suicide in LGBTQ+ kids and promote
         an inclusive culture.



                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 120 of 216
https://www.kwwl.com/news/cedar-rapids/linn-mar-school-board-approves-policy-affirming-rights-for-transgender-students/article_a43b10cc-c517-11ec-874a-bb521…   2/6
8/4/22, 12:34 PM                           Linn-Mar school board approves policy affirming rights for transgender students | Cedar Rapids | kwwl.com

         "What it comes down to is making our trans and non-binary students understand the
         school is a safe place for them, as it has been for cis kids," Kara Larson said, a parent
         speaking in support of the policy. "These students want nothing more than to be
         themselves and be comfortable in their own skin."

         Lawyers for the district pointed out that the Iowa Civil Rights Act and the U.S.
         Department of Education have language outlawing discrimination against transgender
         students:

         Iowa Civil Rights Act:

         "10. 'Gender identity' means a gender-related identity of a
         person, regardless of the person’s assigned sex at birth.

         ...

         216.9 Unfair or discriminatory practices - education.

         1. It is an unfair or discriminatory practice for any educational
         institution to discriminate on the basis of race, creed, color, sex,
         sexual orientation, gender identity, national origin, religion, or
         disability in any program or activity. Such discriminatory
         practices shall include but not be limited to the following
         practices:

         A. Exclusion of a person or persons from participation in, denial
         of the benefits of, or subjection to discrimination in any
         academic, extracurricular, research, occupational training, or
         other program or activity except athletic programs..."

         - Iowa Civil Rights Act

                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 121 of 216
https://www.kwwl.com/news/cedar-rapids/linn-mar-school-board-approves-policy-affirming-rights-for-transgender-students/article_a43b10cc-c517-11ec-874a-bb521…   3/6
8/4/22, 12:34 PM                           Linn-Mar school board approves policy affirming rights for transgender students | Cedar Rapids | kwwl.com

         The U.S. Department of Education's language regarding Title IX protections for
         transgender students is not as clearly defined. However, the USDE did release an
         interpretation of the recent Supreme Court case Bostock v. Clayton County, in which it
         says Title IX applies to gender identity.

         "Title IX Prohibits Discrimination Based on Sexual Orientation
         and Gender Identity. Consistent with the Supreme Court’s ruling
         and analysis in Bostock, the Department interprets Title IX’s
         prohibition on discrimination ‘‘on the basis of sex’’ to encompass
         discrimination on the basis of sexual orientation and gender
         identity."

         - USDE Guidance 6/22/21
         "Whether you form it into a formal policy and notify parents would not change your
         obligations under Title IX and the Iowa Civil Rights Act," Mariam Van Heukelem said
         with Ahlers & Cooney Attorneys, who represents Linn-Mar.

         Van Heukelem would not comment on how this interacts with the recent law
         Governor Reynolds signed banning trans athletes from competing alongside their
         preferred gender, but the school board president said the two can coexist.

         "We've had an increase in questions around transgender and the athletic bill and
         things like that --which this policy does not go against that bill. This is a clarification.
         You can refer to the policy that adheres to Title IX...Even if we all voted "NO" tonight,
         these are still the policies we'd have to follow," Board of Education President Brittania
         Morey said.

         This legal explanation came after 76 people addressed the school board for over three
         hours about their concerns or support.

         Aside from the use of bathrooms or locker rooms, another complaint from opponents
         was parent transparency.

                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 122 of 216
https://www.kwwl.com/news/cedar-rapids/linn-mar-school-board-approves-policy-affirming-rights-for-transgender-students/article_a43b10cc-c517-11ec-874a-bb521…   4/6
8/4/22, 12:34 PM                           Linn-Mar school board approves policy affirming rights for transgender students | Cedar Rapids | kwwl.com

         The policy says any student in seventh grade or older can set a "Gender Support Plan"
         about what facilities they use without their parent's permission.

         “It is horrible and terrible when you read that the school is going to make plans with
         your student and not inform the parents —for whatever reason— I think that’s a bad
         idea," Cindy Kettelkamp said.

         Members of the Linn-Mar Gay-Straight Alliance, called Spectrum, said some autonomy
         from parents is necessary, as some students may face backlash within their homes for
         their gender-identity.

         "By not informing parents, you are allowing students to be in a comfortable
         environment at school, without being kicked out, punished or even harmed by their
         own parents," Dani Kallas said, president of Spectrum.

         Van Heukelem recommended a wording change to the board that recognizes the
         Family Education Rights and Privacy Act, or FERPA, gives parents a legal right to see
         any "educational plans" for their students.

         She said conversations with a counselor, doctor or nurse would remain private, but
         once it is made into a procedure passed between school administrators, then parents
         have an unquestionable right to see it.

         The board included this wording change and passed the policy 5-2. According to
         Superintendent Shannon Bisgard, this creates an environment where a student (7th
         grade or older) could make a Gender Support Plan without parental permission, but if
         the parent asked to see the plan, the district would have to provide it.

         After the meeting, Kat Power, the faculty advisor for Spectrum, said she was proud of
         LGBTQ+ students for speaking at the meeting, and happy with the school board's vote.

         "I was very proud of them but I also felt very sad for them to have to listen to all of that
         hate speech. It's not easy at any age," Power said. "I feel proud that the rights they (the
         students) already had are being recognized."

                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 123 of 216
https://www.kwwl.com/news/cedar-rapids/linn-mar-school-board-approves-policy-affirming-rights-for-transgender-students/article_a43b10cc-c517-11ec-874a-bb521…   5/6
8/4/22, 12:34 PM                             Linn-Mar school board approves policy affirming rights for transgender students | Cedar Rapids | kwwl.com

         (NOTE: The video attached to this story incorrectly states the board needed three votes
         to pass the policy; it only needed two.)

         Tags           Policy     Student     Law     Education      Politics        Legislation     Linn-mar Board Of Education    Gender Identity

                        Title Ix   Transgender       Lawsuit     Kim Reynolds          Sports       Iowa   Bathroom     Locker Room      School Board

                        Legal Right    Mariam Van Heukelem          School       Ix      Brittania Morey




         Travis Breese
         Iowa City Reporter




                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 124 of 216
https://www.kwwl.com/news/cedar-rapids/linn-mar-school-board-approves-policy-affirming-rights-for-transgender-students/article_a43b10cc-c517-11ec-874a-bb521…   6/6
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Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 125 of 216
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                social sciences
Article
Characterizing Parent–Child Interactions in Families of Autistic
Children in Late Childhood
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                                          Abstract: Parent–child interactions are influential to a wide range of positive developmental pro-
                                          cesses in neurotypical children, yet contributions to our understanding of these interactions using
                                          observational methods in families of children on the autism spectrum are lacking. The aim of the
                                          current study is to investigate how autism symptoms might impact these interactions. We use a
                                          family discussion task to: (1) compare families of autistic children aged 8–12 years (n = 21) to families
                                          of typically developing children (n = 21, matched on age and cognitive abilities) on the observed
                                          levels of supportive and directive behaviors in the parent–child relationship, and (2) examine the
                                          associations between parent–child interaction characteristics and child functioning. Results showed
                                          no differences in the observed levels of supportive behavior exhibited by parents, but significantly less
                                          supportive behavior in autistic children compared to neurotypical children. In addition, parents of
                                          autistic children had higher levels of observed directive behavior compared to parents of neurotypical
                                          children. Levels of supportive behavior in parents and autistic children were negatively associated
                                          with child ADHD symptoms. Findings reinforce literature on younger children describing positive
         
                                   parenting characteristics and further rebuke historical accounts of negative parenting qualities of
Citation: McCauley, James B., and         parents of autistic children.
Marjorie Solomon. 2022.
Characterizing Parent–Child               Keywords: parent–child interactions; autism spectrum disorder; late childhood; mental health
Interactions in Families of Autistic
Children in Late Childhood. Social
Sciences 11: 100. https://doi.org/
10.3390/socsci11030100                    1. Introduction
Academic Editors: Christy Buchanan             The 21st century has seen significant advancements in understanding how to best
and Terese Glatz                          support autistic individuals (a preferred term by autistic adults and parents, see Kenny
Received: 30 October 2021
                                          et al. (2015)), yet, apart from intervention research, there has been surprisingly little
Accepted: 21 February 2022
                                          research devoted to understanding the characteristics of social support that parents provide.
Published: 28 February 2022
                                          Autistic individuals experience social communication difficulties that are evident across
                                          development (American Psychiatric Association 2013), and starting in the late 20th century,
Publisher’s Note: MDPI stays neutral
                                          we developed evidence-based interventions that help improve social, communication,
with regard to jurisdictional claims in
                                          and adaptive skills. By the 21st century, many behavioral interventions occurred in the
published maps and institutional affil-
                                          family home, and some began shifting their focus to training parents as mediators of
iations.
                                          these interventions (e.g., Nevill et al. 2018; Pickles et al. 2016). Many parents of autistic
                                          children have become experts on their children’s developmental strengths and challenges,
                                          how to manage difficult behaviors, and how to advocate for their children to receive
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                                          appropriate services. Parents have gained new tools and a better understanding of autism,
Licensee MDPI, Basel, Switzerland.        but how these multiple parenting roles might affect parent–child interactions is unclear.
This article is an open access article    Parents may have gained better insight into the needs of their children, perhaps increasing
distributed under the terms and           opportunities and exhibitions of supportive behavior, or perhaps their increased managerial
conditions of the Creative Commons        parenting roles might challenge or change the types of support they display. In the current
Attribution (CC BY) license (https://     study, we investigate whether families of autistic children can be characterized similarly to
creativecommons.org/licenses/by/          families of neurotypical youth in late childhood (ages 8 to 12). This will help us advance
4.0/).                                    our fundamental knowledge of parent-child interactions just prior to adolescence. In



                Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 126 of 216
Soc. Sci. 2022, 11, 100. https://doi.org/10.3390/socsci11030100                                              https://www.mdpi.com/journal/socsci
Soc. Sci. 2022, 11, 100                                                                                             2 of 16




                          addition, our study is unique in using observation methods to study interactions during
                          late childhood; observational methods have previously been using only in families with
                          autistic children under age 5 (e.g., Blacher et al. 2013). We also investigate how these
                          patterns are related to child characteristics and functioning. This study has the potential
                          to help parents gain insights on how they provide support to their autistic children and
                          may help service providers gain insights on how to better scaffold parent behaviors in
                          consideration of the impact on parent–child relationships.

                          1.1. Theoretical Considerations in the Study of Families of Children on the Autism Spectrum
                                 In the 21st century, research has extensively documented several impacts that autism
                          has on family functioning, much of which concludes with urgent considerations for parents’
                          mental health. Particularly, parents of autistic children are more likely to report feeling
                          more parenting stress than parents of neurotypical youth and parents of children with
                          other developmental delays, such as Down syndrome (e.g., Abbeduto et al. 2004; Estes
                          et al. 2009; Bristol and Schopler 1983). The reasons for increased stress compared to other
                          families of children with developmental disabilities is unclear, but guilt in the context
                          of the historical precedent of blame on parents for causing autism (Kuhn and Carter
                          2006), a lower frequency of rewarding behaviors exhibited by autistic children, such as
                          smiling and laughing with parents (Kasari et al. 1990), and the presence of challenging
                          behaviors associated with autism (Lecavalier et al. 2006), have all been proposed as potential
                          mechanisms for increased stress.
                                 Much of the contemporary literature on families of autistic children describes how
                          autism influences parent mental health and family routines. However, we need more data
                          on how autism symptoms or the symptoms of associated conditions, such as anxiety or
                          ADHD symptoms, might influence family processes, such as the quality of parent–child
                          relationships or parent–child interactions. The social communication symptoms central to
                          autism are manifested as limited joint engagement, eye contact, imitation, and/or interest
                          in social play routines in children under 5. In later childhood, adolescence, and adulthood,
                          these symptoms can also include difficulties understanding and relating to emotions,
                          engaging in reciprocal interactions, and/or relating to the points of view of others. Some of
                          these symptoms are related to challenges parents experience when interacting with their
                          children. For example, autistic children display less effective communication and fewer
                          expressions of enjoyment with their parents (Beurkens et al. 2013) and have fewer positive
                          emotions and more negative emotions as reported by parents (Capps et al. 1993; De Pauw
                          et al. 2011). Some of these difficulties may influence the development of less positive parent–
                          child interaction characteristics and relationships. Parents might feel discouraged after their
                          repeated attempts to foster engagement during interactions which do not lead to displays
                          of positive affect in their children, which may result in increased displays of negativity
                          from a parent. In turn, their children may respond to these changes in parent behavior by
                          displaying more challenging behaviors, creating a negative recursive pattern within the
                          relationship. Yet, research on attachment demonstrated that the attachment relationship
                          between parents and younger children is not affected much by autism symptoms. Young
                          autistic children displayed more comfort-seeking behaviors and physical contact with their
                          parents after separations than with strangers, and most autistic children did not differ from
                          children with other developmental disorders in terms of behavioral evidence of secure or
                          insecure attachment classifications (Capps et al. 1994; Sigman and Ungerer 1984; Rogers
                          et al. 1991), although a minority do not react to separation from or reunion with caregivers
                          (Grzadzinski et al. 2014).
                                 While autism symptoms do not appear to impact attachment for most children, there
                          remains a concern that increased parenting stress itself can lead to negative interaction
                          patterns later in development. Similar to the mechanism by which economic stress un-
                          dermines a parent’s ability to maintain positive interactions with neurotypical children
                          (see Masarik and Conger 2017), some of the behavioral challenges exhibited by autistic
                          children may undermine parent coping skills and supportive behavior across time (Schiltz



            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 127 of 216
Soc. Sci. 2022, 11, 100                                                                                           3 of 16




                          et al. 2018). Over time, the behavioral challenges have the potential to develop coercive
                          cycles of parent–child interactions, in which parent and child behaviors have been shaped
                          into stable patterns of negativity, see Patterson (1982). As an example, longitudinal studies
                          have demonstrated that parents of autistic children report increases in negative controlling
                          behavior on days when they feel more parenting stress or after their children display
                          high levels of externalizing behaviors, but this increased negative control is also related to
                          more negative child adjustment and parent functioning (De Clercq et al. 2021; Dieleman
                          et al. 2017, 2019). These findings highlight critical challenges for parents, but we need to
                          understand the parent–child interaction beyond parent reports of relationship quality and
                          parenting behaviors via questionnaires.

                          1.2. The Function of Parent–Child Interactions in Late Childhood
                                In late childhood, neurotypical children are increasingly able to get support from
                          caregivers who are emotionally, but not always physically, present (Bosmans and Kerns
                          2015). Warmth and support in the parent–child relationship has been associated with fewer
                          externalizing behaviors (Goldstein et al. 2005; Rothenberg et al. 2020), attenuated relations
                          between peer stressors and depressive symptoms (Healy and Sanders 2018; Stice et al.
                          2004), and improved peer relationships (Flynn et al. 2018). In families characterized by low
                          levels of warmth or high degrees of hostility, neurotypical adolescents engage with more
                          deviant peers (Benson and Buehler 2012) and are at risk of the development of anxiety and
                          depression (Lippold et al. 2021; Sturge-Apple et al. 2006). Neurotypical children benefit
                          from having supportive parents with whom they can freely discuss problems, but who
                          also help them make and enact their own decisions, which is known as “psychological
                          autonomy-granting” (Benito-Gomez et al. 2020; Steinberg 2001).
                                Can we describe a sensitive and supportive parent of an autistic child similarly to
                          sensitive parents of neurotypical youth in late childhood? Supportive behavior, evidenced
                          by warmth and responsiveness, is universally beneficial for children’s development. In
                          research on autism, studies have demonstrated robust longitudinal associations between
                          supportive parenting and positive adjustment for autistic children (De Clercq et al. 2019).
                          However, how much should parents of autistic children emphasize psychological autonomy
                          in the context of the parent–child relationship? Parental directive behaviors are attempts
                          to shape children’s behaviors or to increase compliance (Ispa et al. 2013). These behaviors
                          might seem intrusive to neurotypical children’s autonomy, but may be appropriate for
                          autistic children. Autistic children may need more direct instruction from parents on
                          skills necessary for autonomy in late childhood, such as social and self-regulatory skills,
                          compared to neurotypical children. Freeman and Kasari (2013) found that increased
                          directive behaviors from parents, taught in the context of early intervention, resulted in
                          increased joint engagement in younger autistic children during play. However, very little is
                          known about the appropriateness or characteristics of directive behaviors for older autistic
                          children, and it may be the case that high levels of parent directive behavior could limit
                          opportunities for learning independence. Likely, there are variations from family to family
                          that could be influenced by the severity of autism symptoms or symptoms of co-occurring
                          conditions, such as ADHD, and we might expect higher levels of these symptoms to elicit
                          increased directive behaviors in parents as they try to maintain a social interaction.

                          1.3. Current Study
                                There have been limited attempts to assess the parent–child interactions or relation-
                          ships in families of autistic children outside of early childhood. Some studies have em-
                          ployed questionnaires, (e.g., Chandler and Dissanayake 2014; Maljaars et al. 2014; De Clercq
                          et al. 2019), and several other studies have used the Five Minute Speech Sample (FMSS; e.g.,
                          Smith et al. (2008)), in which a parent describes their child uninterrupted for five minutes
                          (Magaña et al. 1986). The FMSS is typically used to measure parent levels of expressed
                          emotion, which consists of critical, hostile, or emotionally over-involved attitudes, and is a
                          metric of an adverse family environment. The FMSS can also be coded for parental warmth,



            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 128 of 216
Soc. Sci. 2022, 11, 100                                                                                           4 of 16




                          consisting of positive and supportive statements about their children. While questionnaires
                          can help to establish how both parents and children perceive their relationship, they can
                          be biased and are limited portrayals of relationships. In addition, the FMSS, with a long
                          history of use in psychiatric populations, offers a rich description of parent emotions in the
                          context of the parent–child relationship, but does not allow for conclusions to be drawn
                          about how parents and children interact. Using the FMSS (Magaña et al. 1986), studies have
                          consistently found that mothers of autistic adolescents have high levels of warmth and
                          praise and low levels of criticism when discussing their children, and that warmth is related
                          to reductions in co-occurring externalizing and internalizing symptoms (Greenberg et al.
                          2006; Smith et al. 2008). However, as the FMSS is coded from parent interviews, there are
                          concerns that these interviews can be biased in studies of autism or other developmental
                          disabilities (Benson et al. 2011).
                                Observations of parent–child interactions are ideal for capturing both child and parent
                          behavior in the context of the relationship (Acock et al. 2005). One observational mea-
                          sure used in neurotypical populations and in populations at risk for depression is the
                          Iowa Family Rating Scales (IFIRS) (Melby et al. 1998). This rating scale, which is used to
                          code a structured parent–child discussion task, can provide measures of parent and child
                          interactive behaviors, including supportive behavior and directive behavior.
                                This study uses the IFIRS to examine interaction patterns across parents of neurotyp-
                          ical and autistic children. We posed three main research questions: (1) Do parent–child
                          interaction characteristics differ between families of neurotypical and autistic children
                          in late childhood when measured using the observer-based IFIRS coding? (2) Is there
                          concordance between child and parent interaction characteristics during the discussions?
                          (3) How do interaction characteristics relate to child autism symptoms and symptoms of
                          co-occurring conditions within families who have autistic children?
                                For our first research question, we hypothesize there will be minimal differences in
                          levels of support and warmth between parents of neurotypical youth and parents of autistic
                          youth based on previous research showing minimal to no differences on parent behavior
                          using observational methods in children under 5 (Blacher et al. 2013). We hypothesize that
                          autistic children would display less overall supportive behavior compared to neurotypical
                          children (e.g., Beurkens et al. 2013). We also hypothesize that parents of autistic children
                          would display more directive behaviors compared to parents of neurotypical children due
                          to increased need for scaffolding during a structured activity. Together, these data would
                          provide rich contemporary data on the interaction characteristics of families of autistic
                          children in late childhood.
                                For our second research question, we hypothesize that parent and child characteristics
                          within families would be positively correlated, based on past evidence in intervention
                          studies (Solomon et al. 2008). These associations represent a potential opportunity to
                          promote social skill development—if parent and child values are associated, promotions of
                          parent levels of supportive behavior can hopefully lead to increased displays of child levels
                          of supportive behavior.
                                For our third research question, we hypothesize there to be negative associations
                          between elements of supportive behavior in parent–child interactions and symptoms of
                          autism, anxiety, depression, and ADHD, based on research on adolescents (Greenberg et al.
                          2006; Smith et al. 2008). Finally, we hypothesize that parent directive behavior will be posi-
                          tively associated with elevated symptoms of autism and co-occurring conditions, including
                          depression, anxiety, and ADHD in children. Although cross-sectional, these associations
                          may suggest either a need for increased scaffolding, or alternatively suggest there may be
                          consequences to high degrees of parental directive behavior in autistic childhood at this
                          point in development.




            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 129 of 216
Soc. Sci. 2022, 11, 100                                                                                               5 of 16




                          2. Method
                          2.1. Participants
                               Participants for this study were recruited as part of an ongoing study examining
                          language, social, and cognitive functioning in autistic children and neurotypical children.
                          Children aged 8 to 12 were recruited into the study if their parents reported either a
                          previous diagnosis of autism or no known psychiatric disorder, and if their parents reported
                          adequate verbal abilities for the assessment battery (e.g., can have a conversation with
                          peers). Participants were recruited from the research clinic at the UC Davis MIND Institute,
                          community education events, and local schools.
                               After enrollment into the study, the diagnosis of autism was confirmed by clinicians
                          using the Autism Diagnostic Observation Schedule, 2nd edition (ADOS-2) (Lord et al.
                          2012), and further supported by parent ratings on the Social Communication Questionnaire
                          (Rutter et al. 2003). In addition, children were included in the study if their standard score
                          on the General Conceptual Ability was above 70, measured by the Differential Ability
                          Scales, Second Edition (DAS-II) (Elliott 2007).
                               The current study consists of 42 subjects (21 with confirmed diagnosis of autism, 21
                          with neurotypical development) matched on age and general intellectual abilities measured
                          by the DAS-II (See Table 1 for a summary of subject and family demographic information).
                          Participants were mostly boys at a 1:4–1:5 ratio, reflective of the proportions of boys to girls
                          diagnosed with autism in the US (Baio et al. 2018). In addition, there were no significant
                          differences between groups on family living situation, family marital status, or annual
                          family income. This research was conducted in compliance with the Institutional Review
                          Board and written consent and assent were obtained from parents and participants at
                          each visit.

                          Table 1. Child and Family Demographics.

                                                             Autism (n = 21)      Neurotypical (n = 21)      p-Value
                                    Males (%)                    18 (86%)               20 (95%)               0.37
                              Chronological Age (SD)           10.10 (1.40)            10.42 (1.37)            0.46
                                DAS-II Verbal (SD)            102.57 (22.73)          108.67 (11.27)           0.28
                              DAS-II Nonverbal (SD)            98.71 (18.90)          101.00 (10.41)           0.63
                                DAS-II GCA (SD)               102.24 (18.78)          107.86 (11.60)           0.25
                                  ADOS-2 CSS                    6.52 (1.60)                NA
                                Race/Ethnicity (%)
                                 Hispanic/Latino                2 (9.5%)                2 (9.5%)
                                      Asian                      0 (0%)                 2 (9.5%)
                             Black/African American             3 (14.3%)               3 (14.3%)
                             Native Hawaiian/Pacific
                                                                 1 (4.8%)               1 (4.8%)
                                     Islander
                                    Caucasian                   19 (90%)                17 (81%)
                                      Other                     3 (14.3%)               2 (9.5%)
                                     Missing                     1 (4.8%)               2 (9.5%)
                               Mothers in Task (%)             20 (95.2%)              20 (95.2%)
                             Child Living with Both
                                                               15 (71.4%)              15 (71.4%)
                              Biological Parents (%)
                               Parents Married (%)             16 (76.2%)              15 (71.4%)
                            Annual Family Income (%)




            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 130 of 216
Soc. Sci. 2022, 11, 100                                                                                                              6 of 16




                          Table 1. Cont.

                                                                   Autism (n = 21)          Neurotypical (n = 21)            p-Value
                                    Under $30 K                         1 (4.8%)
                                     $30–$49 K                         3 (14.3%)
                                     $50–$74 K                         3 (14.3%)
                                     $75–$99 K                          2 (9.5%)
                                    $100–$ 149 K                       6 (28.6%)
                                    Over $150 K                        5 (23.8%)
                                      Missing                           1 (4.8%)
                          Note: DAS-II = Differential Ability Scales, Second Edition, ADOS = Autism Diagnostic Observation Schedule,
                          CSS = Calibrated Severity Score. Participants were allowed to select multiple race and ethnicity choices. p-values
                          represent significance from independent samples t-tests for continuous variables. Mothers in Task describes
                          the percentage of parents observed interacting with their children who were mothers of the participants (the
                          remaining parents who were observed were biological fathers).


                          2.2. Procedure
                               Children and one of their parents (over 95% were mothers) came to the laboratory to
                          complete a battery of cognitive, language, diagnostic measures, and questionnaires. Parents
                          completed questionnaires while standardized assessments were administered to children.
                          In addition, the parent and child were brought to a comfortable room with couches and a
                          table where they were videotaped engaging in a structured discussion. Parents and children
                          sat at a table near each other and were given a set of 28 cards to read and were asked to
                          discuss the questions on the cards and continue talking until the examiner returned in 25
                          min. The cards contained topics such as chores, discipline, friends, and emotional events
                          within the past year.

                          2.3. Measures
                                Each of the structured discussions was videotaped and coded using the Iowa Family
                          Interaction Rating Scales (IFIRS) (Melby et al. 1998), which focus on the frequency and
                          intensity of observable behaviors from each member of the dyad towards the other. Both
                          verbal and nonverbal behaviors were considered for each code. Three coders received 20 h
                          of training and needed to achieve 90% absolute agreement on five training videos before
                          coding the current data set. To assess inter-rater reliability, 25% of the discussions were
                          randomly selected to be coded by a second rater. In addition, reliability was assessed on
                          videos when the main coder had questions or concerns about the determination of the
                          behavior. In the current study, observed inter-rater reliability was adequate (mean ICC
                          value = 0.86).
                                IFIRS: Supportive Behavior. Supportive behavior is a composite variable of seven
                          scales from the IFIRS which were previously used in longitudinal examinations on family
                          processes (Ackerman et al. 2011; Kim et al. 2001; Dinero et al. 2008). The scales used were
                          warmth/support, communication, listener responsiveness, and prosocial, hostility (reverse
                          coded), angry coercion (reverse coded), and antisocial (reverse coded). Warmth/support
                          describes expressions of concern, empathy, or appreciation between family members. Com-
                          munication describes how effectively partners convey ideas. Listener Responsiveness
                          describes partner attentiveness and the ability to express interest. Prosocial describes
                          cooperative and helpful behaviors. Hostility was coded as hostile, disapproving, reject-
                          ing, and critical behavior expressed towards the other family member. Angry coercion
                          was indicated by behaviors that attempt to control or change the other family member’s
                          behavior with threats, blame, or hostile behaviors. Antisocial was indicated by behaviors
                          that were self-centered, defiant, insensitive, or resistant. These scales are rated on a 9-point
                          scale ranging from 1 (not at all characteristic) to 9 (mainly characteristic) separately for both
                          family members by accounting for the frequency and intensity of the behaviors observed.
                          They were averaged to compute the composite variable. Although the scales used can be
                          separated into positive and negative interaction characteristics, we elected to combine these
                          aspects of the interactions to produce a positive-oriented scale following the procedures



            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 131 of 216
Soc. Sci. 2022, 11, 100                                                                                            7 of 16




                          of past literature (e.g., Dinero et al. 2008), and due to the results of the exploratory factor
                          analyses. The composite scale of supportive behavior had adequate internal consistency
                          (parent α = 0.80; child α = 0.87).
                                IFIRS: Directive Behavior. Directive behavior is a composite variable of two scales
                          from the IFIRS: dominance and lecture/moralize. Past research has defined a parent
                          ‘control’ variable generated from the IFIRS dominance scale (e.g., Anderson et al. 2015),
                          but we included the lecture/moralize scale in our directive behavior composite due to the
                          conceptual similarities between the two scales. Dominance was coded as behaviors that
                          served to control, influence, or dominate the opinions, actions, or points of view of others
                          during the interactions. Lecture/Moralize was coded as the degree to which individuals
                          presented information to partners in an intrusive, didactic, or overly pushy manner that
                          did not allow for constructive conversation. The composite variable of directive behavior
                          had adequate internal consistency (α = 0.69) but was just under the commonly used value
                          for desirable reliability of 0.70.
                                Child Functioning. To assess child maladaptive behaviors and social problems, parents
                          completed the Child Behavior Checklist (CBCL) for school-aged children (Achenbach and
                          Rescorla 2001). The CBCL is a measure of child behavioral problems and functioning.
                          This study uses three of the available scales from the CBCL designed for children aged
                          6 to 18: Anxiety Problems, Depression Problems, and Attention Deficit Hyperactivity
                          Disorder (ADHD) Problems. These scales were developed according to the Diagnostic and
                          Statistical Manual of Mental Disorders (DSM) diagnostic criteria for anxiety, depression,
                          and ADHD. These scales are scored via a computer scoring program to produce standard
                          scores and have adequate internal consistency (Anxiety: α = 0.79, Depression: α = 0.81,
                          ADHD: α = 0.85). The CBCL has been frequently used and validated in samples of autistic
                          children (e.g., Havdahl et al. 2016).
                                Autism symptoms were assessed by a licensed clinical psychologist using the ADOS-2
                          (Lord et al. 2012). The clinical psychologist was certified as research reliable on the admin-
                          istration and scoring of the ADOS-2. The ADOS-2 is a semi-structured assessment between
                          a clinician and a child consisting of a variety of different observational tasks the child is
                          asked to participate in. It is widely considered the most valid and objective assessment
                          of the autism diagnosis and it produces two domain scores, Social Affect and Restrictive
                          and Repetitive Behavior, and a Calibrated Severity Score. Social Affect describes the extent
                          to which a child has social-communication difficulties, such as the lack of appropriate
                          social responses. Restrictive and Repetitive Behavior is characterized by the presence of
                          abnormal sensory or motor behavior (e.g., hand flapping), or a child’s discussion of a
                          circumscribed interest at length. The Calibrated Severity Score yields a measure of autism
                          spectrum-related symptoms that can be used to compare children with similar language
                          skills and age. Within the current study, all children in the ASD group received the ADOS-2,
                          Module 3. All children who were recruited as part of the autism group met the criteria for
                          ASD on the ADOS-2. Children recruited into the neurotypical group were not administered
                          the ADOS-2.

                          2.4. Data Analysis
                               Exploratory Factor Analysis on IFIRS Codes. Previous research has used composite
                          scores and single-scale scores from the IFIRS (e.g., Anderson et al. 2015; Dinero et al. 2008)
                          that were identified using factor analysis in samples consisting of families that did not have
                          children on the spectrum. Due to slight changes in our scale composites and a different
                          population, exploratory factor analyses were conducted on the IFIRS codes for parents
                          and children separately to validate our selection of composite scores. The Kaiser–Meyer–
                          Olkin (KMO) test of sampling adequacy (parents, KMO = 0.81; children, KMO = 0.79) and
                          Bartlett’s test of sphericity (parents, χ2 (36) = 305.31, p < 0.001; children χ2 (36) = 243.78,
                          p < 0.001) both indicated the adequacy of the factor model for the samples (Gorsuch 1990).
                          Principal axis factoring was applied to 8 scales for each parent and each child. Examination
                          of the scree plot led us to retain 2 factors for parents (explaining 77% of the total variance)



            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 132 of 216
Soc. Sci. 2022, 11, 100                                                                                                 8 of 16




                               and 2 factors for children (explaining 71% of the total variance). Oblimin rotation was used
                               as there was reason to expect that the factors could be correlated. Due to the small sample,
                               factor loadings above 0.5 were used in the interpretation of the factor output (Stevens
                               1992). The results for both parent and child data revealed similar factor structures (see
                               Supplementary Table S1). For both parent and child data, the supportive behavior factor
                               consisted of high positive loadings for warmth, communication, listener responsiveness,
                               and prosocial scales and high negative loadings for hostility, angry coercion, and antisocial
                               scales. The directive behavior factor consisted of high positive loadings for the dominance
                               and lecture/moralize scales.
                                    Supportive Behavior Comparisons. Multilevel modeling was used to examine the
                               comparisons between patterns of supportive behavior between parents or children by
                               diagnostic group. The data were coded to identify family members within dyads (parent or
                               child) for estimation as a fixed effect, and each dyad was given a unique numerical identifier
                               that was applied to both individuals to be estimated as a random effect. Diagnostic group
                               (autism or neurotypical) was also estimated as a fixed effect. The interaction between
                               the fixed effect of family member and diagnostic group was then examined to explain
                               the variance of supportive behavior coded from the IFIRS. To be conservative with the
                               small sample size, the degrees of freedom were approximated using the Kenward–Roger
                               adjustment. Due to the high levels of observed right skewness in the supportive behavior
                               composite, the model was fitted to a gamma distribution, using the following equation
                               using PROC GLIMMIX in SAS 9.4:

          SuppBehij = b0i + b1i × Diagnostic Groupij + b2ij × Personij + b3i × Diagnostic Groupi × Personij + εij
                               where Diagnostic Group = 0 for neurotypical, 1 for autism for individual i in dyad j,
                               Person = 0 for Parent, 1 for Child.
                                    Directive Behavior Comparisons. We used an ANOVA to examine diagnostic group
                               differences on directive behavior exhibited by parents. To consider the likelihood of
                               child interaction characteristics accounting for this group difference, we ran an ANCOVA
                               including child supportive behavior as a covariate.
                                    Associations with Child Functioning. We first compared the mean levels of anxiety,
                               depressive, and ADHD problems between autistic and neurotypical children using t-tests.
                               Pearson correlations were used to test the associations between the family interaction
                               characteristics and child functioning variables. One participant did not fully complete
                               the questionnaires and was excluded from the correlation analyses examining the associa-
                               tions between interaction characteristics and child characteristics. All data analyses were
                               conducted using SAS, Version 9.4 (SAS 9.3) and SPSS, Version 25.

                               3. Results
                               3.1. Do Parent–Child Interaction Characteristics Differ by Diagnostic Group?
                                     Supportive Behavior. Table 2 contains the means on the two IFIRS composite variables
                               by family member and diagnostic group. There was a significant interaction between the
                               fixed effect of family member and diagnostic group (F(1,40) = 11.69, MSE = 0.05, p = 0.001).
                               The mean level of observed supportive behavior was significantly lower in autistic children
                               as compared to parents of autistic children (t(40) = −5.12, p < 0.001, d = −2.19), neurotypi-
                               cal children (t(69.01) = −2.76, p = 0.007, d = −1.44), and parents of neurotypical children
                               (t(69.01) = −2.98, p = 0.004, d = −1.67). There was no significant difference between parents
                               of autistic children and parents of neurotypical children (p = 0.30), and there was no signifi-
                               cant difference between the means of parents of neurotypical children and neurotypical
                               children on the levels of supportive behavior (p = 0.59).




            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 133 of 216
Soc. Sci. 2022, 11, 100                                                                                                               9 of 16




                          Table 2. Child and Parent IFIRS Composite Means by Diagnostic Group.

                               IFIRS                                    Parents of               Neurotypical         Parents of
                                                Autistic Youth
                             Composite                                 Autistic Youth              Youth          Neurotypical Youth
                             Supportive
                                                6.48 (1.42) a,b,c           7.99 (0.78) a         7.48 (0.87) b       7.63 (1.40) c
                              Behavior
                              Directive
                                                        -                   4.60 (1.82) g               -             3.48 (1.61) g
                              Behavior
                          Note: Matched letters denote significant pairwise differences from univariate multilevel models (p < 0.05).

                               Directive Behavior. Parents of autistic children had higher observed levels of directive
                          behavior than parents of neurotypical children (F(1,40) = 4.45, MSE = 2.95, p = 0.04, d = 0.65).
                          The diagnostic group difference was significant after including child supportive behavior
                          as a covariate: F(1,39) = 4.69, MSE = 2.80, p = 0.04, d = 0.62.
                               Associations between Parent and Child Interaction Characteristics. Within both diag-
                          nostic groups, there was a strong positive correlation between child and parent supportive
                          behavior (Autism: r(19) = 0.54, p = 0.01; Neurotypical: r(19) = 0.49, p = 0.02). There was
                          no significant relation between child supportive behavior and parent directive behavior in
                          either group (Autism: r(19) = −0.29, p = 0.21; Neurotypical: r(19) = −0.26, p = 0.25).

                          3.2. Are Interaction Characteristics Related to the Characteristics of Children with ASD?
                               Table 3 contains the means and standard deviations of the child functioning variables
                          for children on the autism spectrum and neurotypical children. Autistic children had higher
                          levels of anxiety problems, depression problems, and ADHD problems, as measured by
                          the CBCL.

                          Table 3. Means of Child Functioning Variables by Diagnostic Group.

                                                                        Autism                    Neurotypical            p-Value
                            CBCL—Anxiety Problems                      60.15 (9.18)                52.11 (3.29)            0.001
                           CBCL—Depression Problems                    58.50 (8.59)                51.33 (1.94)             0.001
                            CBCL—ADHD Problems                         65.50 (9.50)                53.11 (5.47)            <0.001
                          Note: CBCL = Child Behavior Checklist. All measures are parent-reported.

                               Child Characteristics and Parent Interaction Characteristics. Table 4 contains the cor-
                          relation values between interaction variables and child functioning variables by family
                          member. There were negative associations at a medium effect size between parent support-
                          ive behavior and ADHD problems (r(18) = −0.37, p = 0.11) and between parent supportive
                          behavior and anxiety problems from the CBCL (r(18) = −0.31, p = 0.18), although neither
                          was statistically significant. There was a significant relation between parent directive
                          behavior and anxiety symptoms (r(18) = 0.48, p = 0.03).

                          Table 4. Pearson Correlations Between IFIRS and Characteristics of Children on the Autism Spectrum.

                                                            Parent Supportive               Child Supportive       Parent Directive
                                                                Behavior                        Behavior              Behavior
                            ADOS-2 Total Score                      0.07                        −0.35                    −0.19
                              CBCL Anxiety                          −0.31                        0.09                    0.48 *
                             CBCL Depression                        0.11                         0.15                     0.01
                              CBCL ADHD                             −0.37                       −0.49 *                  −0.01
                          Note: ADOS-2 = Autism Diagnostic Observation Schedule; RRB = Repetitive and Restrictive Behaviors;
                          CSS = Calibrated Severity Score;CBCL= Child Behavior Checklist. All measures parent-reported. * p < 0.05;
                          n = 20.

                               Child Characteristics and Child Interaction Characteristics. There was a non-significant
                          association with a medium effect size between the ADOS−2 total score and child support-
                          ive behavior (r(18) = −0.35, p = 0.12), indicating higher observed child supportive behavior
                          was related to fewer autism symptoms, as rated by a clinician. In addition, there was a neg-


            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 134 of 216
Soc. Sci. 2022, 11, 100                                                                                           10 of 16




                          ative association between ADHD problems and child supportive behavior (r(18) = −0.49,
                          p = 0.02).

                          4. Discussion
                                The 21st century has brought increased understanding of autism and evidenced-based
                          treatments, but descriptive data on how autism might affect parent–child relationships in
                          late childhood have been missing. While some of the challenges that parents of autistic
                          children experience in their mental health have been explored, the current study expands
                          upon our awareness of the support that parents provide their autistic children, and potential
                          challenges they may face. Our aims were to (1) test whether parent–child interaction
                          characteristics differ between families of neurotypical and autistic children in late childhood
                          when coded from observations, (2) to investigate the concordance between child and parent
                          characteristics, and (3) to examine how interaction characteristics relate to child autism
                          symptoms and symptoms of co-occurring conditions.
                                There were no discernable differences between parents of autistic children and par-
                          ents of neurotypical children in the levels of supportive behavior, a composite of positive
                          oriented scales, such as warmth/support and listener responsiveness, and reverse coded
                          negative oriented scales, such as hostility and angry coercion. These results resemble evi-
                          dence from other studies finding no differences in the security of attachment, perceptions of
                          parental availability, and positive parenting in families of autistic children compared to fam-
                          ilies of neurotypical children in middle to late childhood (e.g., Chandler and Dissanayake
                          2014). This pattern of results also echoes the historical and contemporary literature on
                          parents of younger autistic children which has demonstrated only minor differences in
                          the percentages of parent–child dyads with secure attachments as compared to families
                          of neurotypical children (e.g., Rogers et al. 1991; Rutgers et al. 2007; Teague et al. 2017).
                          The continuation of these findings into late childhood is a testament to the resiliency of
                          parents of autistic children and their ability to foster positive developmental environments,
                          often in the context of high levels of stress. Although empirical studies in the 20th century
                          debunked the historical misconceptions that low levels of parental warmth might cause
                          autism, colloquially known as the ‘refrigerator mother theory’, parents continue to feel
                          stigmatized for their parenting behavior from community members and extended family
                          members in terms of their parenting, especially when high amounts of externalizing symp-
                          toms are exhibited by their children (Dale et al. 2006; Gray 2002; Neely-Barnes et al. 2011).
                          The current data offer a compelling portrayal of warmth, support, and responsiveness in
                          parents of autistic children, and further rebuke historical misconceptions of low parenting
                          quality in this population.
                                The symptoms of autism were not associated with parent supportive behavior. The-
                          oretically, the symptoms of autism might complicate positive interaction patterns if they
                          interfere with displays of engagement, reciprocity, and positive affect. In addition, many
                          studies have documented high amounts of parenting stress in families of children on the
                          autism spectrum, which could undermine a parent’s ability to positively engage over time.
                          However, our data show that parents of autistic children had similar levels of support-
                          ive behavior to parents of neurotypical children, often in the presence of lower levels of
                          supportive behavior exhibited by their children (although autistic children may display
                          supportive behavior differently to their neurotypical peers). Supportive behavior was
                          also strongly correlated between parents and children. This finding is consistent with
                          studies that have employed observations of the parent–child dyad in families of autistic
                          children. Increased parental positive affect through intervention has been associated with
                          subsequent increases in children’s positive affect (Solomon et al. 2008; Siller and Sigman
                          2008; Freeman and Kasari 2013). If longitudinal evidence corroborates the reciprocating
                          effects of supportive parent–child interaction characteristics, this evidence will further
                          suggest that similar to interventions for younger autistic children (e.g., Goods et al. 2013),
                          coaching supportive behaviors in parents may also be effective in augmenting children’s
                          social behavior during late childhood.



            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 135 of 216
Soc. Sci. 2022, 11, 100                                                                                               11 of 16




                                Previous longitudinal studies on autistic adolescents have found bidirectional asso-
                          ciations between indices of the parent–child relationship, as measured from the FMSS
                          and mental health concerns, including internalizing symptoms, externalizing symptoms,
                          and autism symptoms, (e.g., Orsmond et al. 2006; Smith et al. 2008; Woodman et al. 2015).
                          Although limited due to our small sample size and the cross-sectional design, our correla-
                          tion results support this past literature. We found that both parent and child supportive
                          behavior was significantly associated with fewer ADHD symptoms rated by parents. This
                          finding suggests that a child’s ability to regulate their attention may be associated with sup-
                          portive characteristics of parent–child relationships. Perhaps, lower levels of warmth are
                          exhibited by parents who are trying to get their child to focus on the structured discussion
                          task. Alternatively, children with higher levels of ADHD symptoms may have difficulties
                          attending to and communicating with their parent in a structured discussion, which would
                          negatively impact the frequency of supportive behaviors children exhibit. In addition, our
                          results resemble past research that has found that ADHD symptoms can increase negativity
                          in the parent–child relationship in children without autism (e.g., Lifford et al. 2008) and,
                          therefore, suggest similar mechanisms are plausible in families of autistic children. Future
                          studies should examine parent–child interactions across structured and unstructured tasks
                          to obtain a more holistic picture of these characteristics in late childhood.
                                Within our sample, there were significantly higher levels of directive behavior in
                          parents of autistic children compared to parents of neurotypical children. Higher levels of
                          parent directive behavior were associated with higher levels of child anxiety problems, but
                          not depression, for children on the autism spectrum. This finding is preliminary and future
                          studies are needed to understand the temporal relationship between anxiety symptoms
                          and parent directive behavior. Past literature on neurotypical youth demonstrated that
                          high levels of psychological control exhibited by parents during preadolescence were
                          associated with higher levels of depression and anxiety in adolescence (Pettit et al. 2001).
                          The reasoning used in these findings is that a child’s budding autonomy may be thwarted
                          by an intrusive parent, thus shaping their insecurities and anxiety. However, our definition
                          of directive behavior is different to the concept of “psychological control”, which contains
                          characteristics of hostility (see Barber and Harmon (2002)). Our construct of directive
                          behavior, which was a composite of the dominance and lecture/moralizing codes from the
                          IFIRS, may not be associated with as many negative outcomes as a conceptual definition
                          that includes hostility. Alternatively, parents may be providing more guidance when
                          their children are anxious, in an effort to help alleviate these symptoms, which may be
                          an effective approach. Many early interventions and parent-mediated therapy programs
                          employ guided support and scaffolding to teach social, communication, and adaptive skills
                          (e.g., Pickles et al. 2016), so autistic children appear to benefit from more directive parenting
                          than neurotypical children. Given that anxiety is a concern for an estimated 42% of autistic
                          adolescents with ASD (Simonoff et al. 2008), it will be important to continue to investigate
                          the relation between parent directive behavior and anxiety to better understand how these
                          characteristics are related over time.

                          Strengths and Limitations
                                Several limitations must be considered in the current results. First, the small sample
                          size limit the generalizability of this study and our ability to make conclusions about results
                          involving correlations. The participants had average levels of intellectual functioning and
                          the majority were boys, so the current pattern of findings may not apply to families of
                          autistic children with intellectual disability or to families of autistic girls. The cross-sectional
                          design of the current study also limits our ability to draw conclusions about directionality.
                          In addition, although we were able to gather rich family demographic information, we
                          were unable to examine commonly known moderators of family processes in neurotypical
                          development, including family income, race and ethnicity, and the gender of parents and
                          children. Parenting and parent–child interactions likely have influence on the trajectory of
                          autism symptoms and conditions that co-occur with autism. Researchers have called for



            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 136 of 216
Soc. Sci. 2022, 11, 100                                                                                           12 of 16




                          the examination of processes that moderate the relations between etiological risk factors
                          and the severity of autism symptoms (Mundy et al. 2007), and parent–child interactions
                          have been identified as a promising influence on the development of variability observed
                          within the population (see McCauley et al. (2019)). Future research should investigate how
                          varying family contexts moderate interaction characteristics and autism symptoms across
                          time in families of autistic children.
                               In addition, the study does not address the possibility of genetic influences between
                          children and parents, as we had no measure or genetic makeup or any measures of relevant
                          symptoms in parents. For example, as autism and anxiety both have genetic etiological
                          contributions, how parent levels of anxiety or phenotypical autism symptoms relate to the
                          quality of parent–child interactions with their children is unknown. Levels of phenotypic
                          autism symptoms in parents are related to their experience of parenting stress (Ingersoll
                          and Hambrick 2011), but it is possible that these symptoms may create differences on
                          observable interaction characteristics. Additionally, our study was limited by reliance on
                          questionnaire data to examine the associations between child functioning and features of
                          the parent–child interaction.
                               Our study has several strengths. First, we had a well-characterized sample of autistic
                          children and used robust measures to verify diagnosis. Second, the sample was also
                          matched on age, gender composition, and assessments of cognitive ability to a sample
                          of neurotypical children, allowing us to better specify differences in family interaction
                          characteristics. Third, we used an observational coding scheme that helped discover
                          unique features of interactions that may not be adequately captured on parent-reported
                          questionnaires. We have demonstrated that observational coding methodology is feasible
                          and informative to the study of parent–child relationships in families of autistic children, so
                          future research should strive to incorporate larger samples and more diverse measurements
                          of child characteristics.

                          5. Conclusions
                          5.1. Implications for Parenting in the 21st Century
                                 In the 21st century, parenting autistic children requires a balance between providing
                          optimal support and direction. While neurotypical children tend to benefit from support
                          and additional autonomy as they mature, autistic children may benefit from more directive
                          parenting, as compared to neurotypical children, in addition to their parent’s support
                          at least into late childhood. This is an important nuance, considering that parents are
                          commonly employed to modify and scaffold their autistic children’s behavior through
                          parent intervention programs. Critically, parents in the current study displayed high levels
                          of warmth, engagement, and enjoyment during interactions with their children and these
                          parent interaction characteristics were not associated with autism symptoms. While reports
                          have documented high levels of parenting stress associated with autism, there remains
                          little concern that autism itself instills negative patterns of parent–child interactions.

                          5.2. Implications for Future Research and Practice
                               The results of this study have implications for future research and practice. First, we
                          need to better understand how the parent–child relationship in families of autistic children
                          develops, and how families navigate interactions in the presence of social and communi-
                          cation challenges. Second, providers for families of autistic children should understand
                          and emphasize that the developmental needs of autistic children are likely different than
                          the needs of neurotypical youth in terms of parent support and autonomy-granting, and
                          should converse with families about their child’s individual needs accordingly.

                          Supplementary Materials: The following supporting information can be downloaded at: https:
                          //www.mdpi.com/article/10.3390/socsci11030100/s1, Table S1: Parent Demographic Information,
                          Table S2: Factor Loadings on Iowa Family Interaction Scales.




            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 137 of 216
Soc. Sci. 2022, 11, 100                                                                                                         13 of 16




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            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 138 of 216
Soc. Sci. 2022, 11, 100                                                                                                           14 of 16




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            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 139 of 216
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            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 140 of 216
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            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 141 of 216
                       EXHIBIT T




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 142 of 216
Clinical Science Insights




The Importance of Incorporating Siblings in
the Treatment of Autism Spectrum Disorder

By Julie A. Saflarski, PsyD                                                                       Because of the neurodevelopmental nature of ASD,
Clinical Postdoctoral Fellow                                                                    current treatment modalities such as pharmacological
                                                                                                or psychological interventions do not completely relieve
Introduction                                                                                    the social and behavioral challenges seen in children with
                                                                                                ASD. While current interventions for ASD emphasize
   According to the Centers for Disease Control and
                                                                                                the involvement of parents and their relationship with
Prevention (CDC, 2009), an average of 1 in 110 children in
                                                                                                their child, current theory and research has only begun
the United States has an autism spectrum disorder (ASD).
                                                                                                to examine the value of including siblings in the ASD
ASD is commonly characterized by severe deficits in social
                                                                                                treatment. The goal of this paper is to examine the benefits
communication and interaction that can be seen in various
                                                                                                of incorporating non-ASD siblings in the treatment of
ways such as poor nonverbal communication, inappropriate
                                                                                                children with ASD.
social exchanges, or lack of skills in developing,
maintaining, and understanding relationships (APA, 2013).
Along with better awareness and diagnosis of this illness                                       Educating the Non-ASD Sibling(s)
over the last few decades, a multitude of intervention
                                                                                                  Psychoeducation is a key first step in the process of
programs have been developed to treat ASD.
                                                                                                developing a treatment plan for ASD. Providing families
   The most popular and commonly known treatment                                                with information about the symptoms and challenges
method for ASD is Lovaas’ Applied Behavioral Analysis                                           caused by ASD gives them a deeper understanding of the
(ABA) treatment (Smith & Eikeseth, 2011). This modality of                                      struggles they may face. Although clinicians often focus
treatment involves a structured intervention style consisting                                   their efforts on educating parents of children with ASD to
of three main components: pharmacological care/medication                                       prepare them for difficulties throughout the child’s lifespan,
management, parent education and training, and behavioral                                       siblings can also benefit from age-appropriate information
interventions (Smith & Eikeseth, 2011; Tsao, Davenport, and                                     about the illness.
Schmiege, 2012). Research has examined these three domains
                                                                                                  Most children and adolescents do not understand the
of treatment, along with various forms of parenting training,
                                                                                                complexity of ASD. Some parents will attempt to educate
to determine how best to incorporate these in the treatment
                                                                                                their children or mistakenly “excuse” misbehaviors of the
of ASD. For instance, Aldred, Green, and Adams (2004)
                                                                                                child with ASD under the pretense of symptoms (Chan
found that involvement of parents promoted the child’s
                                                                                                & Goh, 2014). In response, siblings may grow resentful
knowledge of effective communication skills, decreased
                                                                                                towards the child with ASD for receiving more attention
parenting stress, and improved the parent-child relationship.
                                                                                                from parents or “getting away” with things (Chan & Goh,


                                                                                          Our mission is to strengthen and heal families and individuals from
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and may not be reproduced or copied without prior consent.                                  all walksFiled
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Clinical Science Insights: Knowledge Families Count On                                  Siblings and Treatment of Autism Spectrum Disorder        2



2014). They may even begin to develop negative feelings                            of internalizing behaviors such as loneliness, feelings of
towards their sibling or withdraw from him or her.                                 embarrassment, depression, attentional issues, poor peer

   McHale and Gamble (1989) suggest that educating                                 interactions, and anxiety (Dyson, 1999; Griffith, Hastings,

siblings about ASD can help them better understand their                           Petalas, & Lloyd, 2015; Pilowsky, Yirmiya, Doppelt, Gross-

parents’ interventions at home. It can also help them learn                        Tsur, & Shalev, 2004; Platt, Roper, Mandelco, & Freeborn,

to model their parents’ healthy interpersonal strategies —                         2014). In addition, certain behavioral problems that are

both directly in their relationship with their sibling with                        associated with ASD (e.g., aggression or temper outbursts)

ASD, as well as in social situations in which other children                       can cause negative emotions and damage the relationship

are interacting with their sibling. Helping children to better                     (Pollard, Barry, Freedman, & Kotchick, 2013; Tsao et

understand ASD can also further their acceptance of the                            al., 2012).As part of the treatment planning process for

differences of others (McHale & Gamble, 1989).                                     children with ASD, Rao and Beidel (2009) emphasized
                                                                                   the importance of assessing the family for additional
   McHale and Gamble (1989) found that when siblings
                                                                                   stressors. Symptoms of ASD can be exacerbated when
have a good understanding of their brother or sister’s
                                                                                   additional sources of stress affect the family as a whole,
disability, they were more likely to have a positive sibling
                                                                                   or its individual members. Family stress can significantly
relationship. Other studies demonstrate that siblings with
                                                                                   limit treatment compliance (Rao & Beidel, 2009). For
a better understanding of ASD are more likely to have
                                                                                   example, if parents view between-session work (i.e.
higher self-acceptance, increased social competence, greater
                                                                                   homework assignments, self-monitoring) as an unnecessary
admiration for their siblings, and less sibling competition
                                                                                   component of treatment — or as added stress — they are
and quarrels (Kaminsky & Dewey, 2001; Knott, Lewis, &
                                                                                   not likely to follow through on interventions. Identifying
Williams, 1995; Tsao et al., 2012).
                                                                                   and reducing the stress experienced by all family members
                                                                                   can significantly improve the success rate of treatments for
Identifying Siblings at Risk for Emotional                                         children with ASD. For this reason, addressing parent and/
Distress                                                                           or sibling stress should be a necessary component of the
                                                                                   overall treatment plan to improve family functioning.
   Compared with families without ASD, families
containing a child diagnosed with ASD often experience                               When clinicians include siblings in the treatment for
additional stressors such as coping with the child’s                               ASD, they have an opportunity to monitor the emotional
behavioral difficulties, challenges in the parent-child                            well-being of all the children in the family. Another
relationship, financial stress, lack of co-parenting support,                      advantage of involving siblings in the treatment of children
stigmatization of the child’s disorder, and the time required                      with ASD is that these interventions can serve to reduce
for interventions (Lavelle et al., 2014; Kogan et al., 2008).                      siblings’ risk of developing mental and physical health
                                                                                   problems.
   One additional potential difficulty involves emotional
distress experienced by the other children in the home.
Studies of non-ASD siblings’ levels of emotional distress                          Improving Sibling Relationships
have shown mixed results. While some studies have found
                                                                                     Siblings are often considered a primary source of
positive impacts on non-ASD siblings such as increasing
                                                                                   companionship, help, and emotional support (Tsao et al.,
self-understanding or developing prosocial behaviors (Tsao
                                                                                   2012). According to Kaminsky and Dewey (2001), children
et al., 2012), other studies have found increased levels
                                                                                   with ASD and their siblings have relationships that tend



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            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 144 of 216
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Clinical Science Insights: Knowledge Families Count On                                  Siblings and Treatment of Autism Spectrum Disorder        3



to have “less intimacy, less prosocial behavior and less                           decreasing social anxiety, and improving perceptions of the
nurturance” (Kaminsky & Dewey, 2001, pp. 399). Other                               sibling relationship (White et al., 2010).
research suggests that children with ASD spend less time                             One of the challenges of ASD is identifying appropriate
with their siblings compared with typically developing                             strategies for addressing each level of symptoms. Experts
sibling dyads (Dyson, 1999; Hastings, 2007; Kaminsky &                             suggest carefully evaluating the ways in which siblings can
Dewey, 2001; Tsao et al., 2012).                                                   be involved in tailoring the treatment to the differing needs
   Involving siblings in the treatment of children diagnosed                       of high-functioning versus low-functioning children with
with ASD can be beneficial in increasing social support                            ASD (White et al., 2010). Siblings help shape experiences
within the relationship. It can also serve to increase positive                    and learning opportunities in the family, which can
interaction among the siblings, while also decreasing the                          encourage children with ASD to develop prosocial skills
frequency of negative interactions (Pollard et al., 2013).                         and experiences. Because social skills deficits are symptoms
Strengthening sibling relationships can also be a key                              seen across the spectrum, many children with varying levels
component in the effort to improve family health. For                              of severity of ASD can benefit from having their siblings
example, positive relationships have been found to be a                            involved in social skills training (Tsao et al., 2012).
buffer against anxiety and stress for siblings of children with
ASD (Pollard et al., 2013).
                                                                                   Conclusion
                                                                                     Sibling relationships are lifelong, and often constitute one
Supporting the Social Skill Development of                                         of the most important relationships in an individual’s life.
Children with ASD                                                                  Involving siblings in the treatment of children with ASD
   Because one of the primary symptoms of ASD is deficits                          has many advantages. Siblings can also directly benefit in a
in social interaction, research supports the use of targeted                       variety of ways, including increasing their understanding
treatment components such as social skills groups or social                        of ASD, providing them unique learning opportunities,
skills training (Huber & Zivalich, 2004; Smith & Eikeseth,                         and promoting the development of their skills related to
2011). Interactions between siblings can increase many                             confidence, leadership, modeling, and teaching (Gamble
social and cognitive skills that are essential to healthy                          & McHale, 1989; Griffith et al., 2015; Platt et al., 2014;
social development (Tsao et al., 2012). However, using                             Rao & Beidel, 2009; Tsao et al., 2012). Due to the lack of
sibling relationships to help promote healthy social skills                        research investigating the impact of involving siblings in
development in children with ASD is often overlooked.                              the treatment of ASD, future autism research would benefit

   Siblings provide children with ASD a unique opportunity                         by increasing its focus on the benefits and methodology of

to practice appropriate peer social skills under optimized                         including siblings in treatment.

supportive conditions (Rivers & Stoneman, 2003; Rivers
& Stoneman, 2008). In a recent study, White et al. (2010)
investigated behavioral interventions for adolescents with
ASD, including inviting non-ASD siblings to assist the child
with ASD in practicing behavioral techniques that promote
positive social interaction and reduce social anxiety. The
interventions were effective in promoting social skills,




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                                                                                    Author Biography
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                                                                                                           received her Bachelor of Arts degree in
Kogan, M. D., Strickland, B. B., Blumberg, S. J., Singh, G. K., Perrin, J. M.,
& van Dyck, P. C. (2008). A national profile of the health care experiences                                psychology with a double minor in English
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                                                                                                           North Central College and completed her
Lavelle, T. A., Weinstein, M. C., Newhouse, J. P., Munir, K., Kuhlthau, K. A.,
                                                                                                           Master of Arts in Counseling Psychology
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disorders. Pediatrics, 133(3), e520-e590.                                           and Doctorate in Clinical Psychology at Adler University. Her
McHale, S. M., & Gamble, W. C. (1989). Sibling relationships of children            clinical interests focus on treating children, adolescents, and
with disabled and nondisabled brothers and sisters. Developmental                   families who struggle with symptoms of anxiety, depression,
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Orsmond, G. I., & Seltzer, M. M. (2007). Siblings of individuals with
                                                                                    to help support parents and families to best promote healthy
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Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 147 of 216
                                                                                          LGBT Health                                                                                        ORIGINAL ARTICLES
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                                                                                          ª Mary Ann Liebert, Inc.
                                                                                          DOI: 10.1089/lgbt.2018.0252




                                                                                           Gender Dysphoria in Children with Autism Spectrum Disorder

                                                                                                Elizabeth Hisle-Gorman, MSW, PhD,1 Corinne A. Landis, MD,2 Apryl Susi, MS,1 Natasha A. Schvey, PhD,3
                                                                                                      Gregory H. Gorman, MD, MHS,1,4 Cade M. Nylund, MD,1,4 and David A. Klein, MD, MPH1,2,5




                                                                                          Abstract

                                                                                          Purpose: While gender dysphoria (GD) and autism spectrum disorder (ASD) are generally identified in isolation,
                                                                                          research on individuals who are gender-referred or have autism suggests a possible overrepresentation of ASD in
                                                                                          persons with GD and GD in persons with ASD. We investigated diagnosed GD in patients formally diagnosed
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                                                                                          with ASD and matched controls in the Military Health System.
                                                                                          Methods: We performed a retrospective case-cohort study of GD diagnoses in children aged 2–18 years with
                                                                                          and without ASD utilizing health care records from 2000 to 2013. Cases were formally diagnosed with ASD
                                                                                          and matched to five controls by date of birth, gender marker, and enrollment time. Outpatient visits for
                                                                                          GD were identified by relevant International Classification of Diseases, Ninth Revision codes. Logistic re-
                                                                                          gression analysis determined odds ratios (ORs) and 95% confidence intervals (95% CIs) of GD diagnoses
                                                                                          by ASD.
                                                                                          Results: A total of 48,762 children with diagnosed ASD were identified, and each matched to five controls, for a
                                                                                          total of 292,572 children. Cases and controls were each 80% assigned male at birth. The median end age of
                                                                                          included children was 11.6 years. Of included children, 66 (0.02%) had diagnosed GD. Children with ASD
                                                                                          were over four times as likely to be diagnosed with a condition indicating GD (OR 4.38 [95% CI 2.64–7.27],
                                                                                          p < 0.001) compared with matched controls.
                                                                                          Conclusion: This study corroborates previous research indicating an overrepresentation of GD in children with
                                                                                          ASD. Further research is needed to understand the association and to demonstrate approaches to providing op-
                                                                                          timal care to these children.

                                                                                          Keywords:    association, autism, gender dysphoria, LGBT, transgender



                                                                                          Introduction                                                           tify as transgender.5 TGD youth may be at risk for psychiatric
                                                                                                                                                                 conditions, including depression, anxiety, and suicidality.3,6,7

                                                                                          A     utism spectrum disorder (ASD) is an impairment in
                                                                                                social communication and interaction, which may in-
                                                                                          clude restricted and/or repetitive patterns of behavior, per-
                                                                                                                                                                    ASD and GD are generally identified in isolation; how-
                                                                                                                                                                 ever, a growing body of literature suggests an overrepresen-
                                                                                                                                                                 tation of ASD in persons with GD and GD in persons with
                                                                                          sisting from early childhood.1 ASD ranges in severity and              ASD.8–15 Studies of children, youth, and adults with GD
                                                                                          overall impairment from individual to individual,1 and it is           have identified symptoms suggestive of ASD or Asperger’s
                                                                                          estimated to affect 1 in 59 children aged 8 years.2                    syndrome at higher than anticipated rates.9–12,14,16–18 Sim-
                                                                                             Gender dysphoria (GD) is the persistent distress experi-            ilarly, studies with samples ranging from 39 to 490 children
                                                                                          enced when there is a difference between an individual’s               and adolescents referred to TGD specialty clinics have found
                                                                                          gender identity and that individual’s assigned sex at                  increased symptoms of ASD based on parental report or
                                                                                          birth1,3 and is experienced by a subset of the larger transgen-        chart review.9–11,13,16,19 One study identified adolescents re-
                                                                                          der and gender-diverse (TGD) population.4 A 2017 survey                ferred for TGD-related services, who had been previously
                                                                                          estimates that 0.7% of individuals aged 13–17 years, or                treated for psychiatric conditions, and found that 12 (26%)
                                                                                          approximately 150,000 adolescents in the United States, iden-          of 47 included children had received referrals or care for
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                                                                                                                                                            95
                                                                                                  Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 148 of 216
                                                                                          96                                                                                                      HISLE-GORMAN ET AL.

                                                                                          ASD.14 Another study used a diagnostic instrument known to          care.30 The database includes all inpatient and outpatient
                                                                                          successfully identify disorders within the broader autism           health care records for all United States uniformed services
                                                                                          spectrum to ascertain ASD classification and found that al-         members and eligible dependents cared for in military and ci-
                                                                                          most 8% of children with GD met criteria for ASD.11                 vilian facilities domestically and abroad. Cases include chil-
                                                                                             A smaller set of studies has included samples of children        dren aged 2–18 years with an International Classification of
                                                                                          with known ASD and used parent response questionnaires              Diseases, Ninth Revision, Clinical Modification (ICD-9-CM)
                                                                                          to explore constructs related to gender identity. These studies     code for ASD (299.90, 299.91, 299.80, 299.81, 299.00, and
                                                                                          with populations of 147–176 children with ASD or Asperg-            299.01) at two separate clinical encounters, a previously val-
                                                                                          er’s syndrome found a higher than expected likelihood of            idated method for identifying children with ASD.31,32
                                                                                          parents indicating that their children would sometimes or of-       Records of children aged 2–18 years were queried to identify
                                                                                          ten ‘‘wish to be the other gender.’’20,21 A larger study of 675     the earliest ASD diagnosis. Exclusion criteria included ICD-
                                                                                          adolescents and adults with ASD or Asperger’s syndrome              9-CM diagnostic codes 330.8, 299.10, and 299.11, which
                                                                                          also found self-reported feelings of gender nonconformity           include Alpers syndrome, Rett syndrome, and childhood dis-
                                                                                          at higher than expected rates, consistent with previous re-         integrative disorder.
                                                                                          search. Females in this study reported TGD identity at a               All cases were enrolled in the MHS in 2000–2013 for at
                                                                                          higher rate than males.15                                           least 6 months before, and 6 months after, their ASD diagno-
                                                                                             While the existing literature suggests an overrepresenta-        sis. Cases were matched without replacement to five controls
                                                                                          tion of the co-occurrence of GD and ASD, most studies in-           among the general population by date of birth, gender-
                                                                                          clude a population of children who have been referred for           marker assigned at birth, and MHS enrollment time. Enroll-
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                                                                                          TGD-related issues or have been diagnosed with ASD and              ment time for the controls was equal to or longer than that of
                                                                                          use surveys to identify traits of the other condition. Because      the case. After matching was completed, all enrollment times
                                                                                          the survey results can be based on single responses and are         for controls were cropped to match the case. This resulted in
                                                                                          often completed by parents, they may not be accurate assess-        all cases matched to five controls with the same date of birth,
                                                                                          ment tools for children with ASD.22,23 As noted in a re-            sex assigned at birth, and length of care.
                                                                                          cent literature review of research associating ASD and                 Outpatient visits for GD were identified by ICD-9-CM
                                                                                          GD,24 there are no studies examining the co-occurrence of           codes for gender identity disorder or transsexualism (302.6
                                                                                          diagnoses of both experiences that compare rates with a con-        or 302.85—gender identity disorder; 302.50, 302.51, 302.52,
                                                                                          trol group in children.9–13,15,16,20,21,24 One study examining      and 302.53—transsexualism), an established method of iden-
                                                                                          adult Medicare beneficiaries demonstrated a higher percent-         tifying individuals with GD.25,33 Notably, the terms sugges-
                                                                                          age of diagnosed ASD in those diagnosed with GD (3.0%)              tive of GD have been updated in more recent versions of the
                                                                                          compared with those without diagnosed GD (0.3%); how-               ICD, and the use of these codes to identify GD in this study
                                                                                          ever, the extent to which this generalizes to pediatric popula-     may not represent a diagnosis appropriate for all TGD per-
                                                                                          tions is unknown.25                                                 sons. Children with a visit with one or more of these ICD-9
                                                                                             Both ASD and GD may be difficult to diagnose, allowing           codes at some point in their health care record met study cri-
                                                                                          for some false positives in study designs of previous re-           teria for GD.
                                                                                          search. Questions pertaining to social discomfort, awkward-
                                                                                          ness, and specific sociocultural constructs could represent         Statistical analyses
                                                                                          either experience and possibly conflate these constructs.14,26,27
                                                                                                                                                                Conditional logistic regression analysis was used to deter-
                                                                                          In addition, children with ASD have increased rates of men-
                                                                                                                                                              mine odds ratios (ORs) and 95% confidence intervals (95%
                                                                                          tal health conditions, which may obscure the diagnosis of
                                                                                                                                                              CIs) of GD diagnosis by ASD status. Chi-squared analysis
                                                                                          either GD or ASD.28,29
                                                                                                                                                              was used to compare children with and without ASD. Anal-
                                                                                             This study aims to explore the occurrence of diagnosed
                                                                                                                                                              yses were conducted using SAS 9.4 (SAS Institute Inc.,
                                                                                          GD in a population of patients who have been formally diag-
                                                                                                                                                              Cary, NC), and p-values of <0.05 were considered statisti-
                                                                                          nosed with ASD versus matched controls of all youth who do
                                                                                                                                                              cally significant.
                                                                                          not have an ASD diagnosis, in a large universal health care
                                                                                          system. We hypothesize that the rate of patients with GD
                                                                                                                                                              Results
                                                                                          in a population of patients with ASD will be elevated com-
                                                                                          pared with a matched control population of patients without            There was a total of 48,762 children with diagnosed ASD
                                                                                          ASD. The finding of an overrepresentation of GD in persons          identified in the MHS and included in the study. Each child
                                                                                          with ASD has potential to impact research on, policy related        was matched to five controls without ASD, for a total of
                                                                                          to, and treatment of both conditions.                               292,572 included children. MHS care of included individuals
                                                                                                                                                              was tracked for a mean (standard deviation) of 8.83 (3.44)
                                                                                                                                                              years, with a median start age of 1.3 years (interquartile
                                                                                          Methods
                                                                                                                                                              range [IQR] 0.1–5.2) and a median end age of 11.6 years
                                                                                             We performed a retrospective case-cohort study of GD di-         (IQR 7.8–16.0). Cases and matched controls were each
                                                                                          agnoses in children with and without ASD utilizing health           80% male-assigned at birth, which mirrors the male predom-
                                                                                          care records for the Military Health System (MHS) database.         inance of ASD. Most individuals (99.8%) were matched on
                                                                                          The study was reviewed and approved by the Uniformed                the exact date of birth; when not matched on birth date, the
                                                                                          Services University Institutional Review Board. The MHS             mean difference in date of birth was 2.1 days with a maxi-
                                                                                          provides comprehensive care to over 500,000 dependent               mum difference of 35 days.
                                                                                          children of active duty and retired military members who               A total of 292,572 children were included, and 66 (0.02%)
                                                                                          are diverse and generally receive long-term comprehensive           had diagnosed GD. Of the 48,762 children with ASD, there

                                                                                               Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 149 of 216
                                                                                          GENDER DYSPHORIA IN CHILDREN WITH ASD                                                                                         97




                                                                                                                                                                                     FIG. 1. Odds ratio of gender
                                                                                                                                                                                     dysphoria diagnosis by autism
                                                                                                                                                                                     spectrum disorder diagnosis.




                                                                                          were 32 (0.07%) children with a coexisting GD diagnosis. Of       nosis was 6.5 (4.2 [3.8–10.4]) years, and for children with
                                                                                          243,810 matched controls without ASD, 34 (0.01%) children         ASD and GD, the median age of ASD diagnosis was 11.3
                                                                                          had a GD diagnosis. One child with ASD carried a diagnosis        (3.7 [9.9–13.7]) years. The median age of GD diagnosis in
                                                                                          of indeterminate sex and pseudohermaphroditism (752.7)            those with ASD was 13.4 (6.9 [4.6–17.7]) years, and the me-
                                                                                          and was not diagnosed with GD. Most children were diag-           dian age of GD diagnosis in those without ASD was 11.0 (8.5
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                                                                                          nosed with gender identity disorders (ICD-9 302.6 or              [3.6–17.9]) years, a difference that was not statistically sig-
                                                                                          302.85), including 28 children with coexisting ASD and 32         nificant ( p = 0.100).
                                                                                          children without ASD. Six children with ASD and six chil-            In the total sample, 20% of included children were
                                                                                          dren without ASD were diagnosed with transsexualism. In           assigned at birth as female, which is consistent with rates
                                                                                          unadjusted conditional logistic regression analysis, children     seen in ASD. Of children with diagnosed GD without ASD,
                                                                                          with ASD were over four times more likely to be diagnosed         eight (23.5%) children were assigned at birth as female.
                                                                                          with GD compared with matched controls (OR 4.38 [95% CI           For children with ASD, six (18.8%) children with GD were
                                                                                          2.64–7.27], p < 0.001). In unadjusted conditional logistic re-    assigned at birth as female. For children without ASD, female
                                                                                          gression restricted to those with a male gender marker at         sex assignment at birth was not significantly associated with
                                                                                          birth, those with ASD were five times as likely to be diag-       the likelihood of having a GD diagnosis ( p = 0.26). For chil-
                                                                                          nosed with GD as those without ASD (OR 5.00 [95% CI               dren with ASD, those assigned at birth as female were less
                                                                                          2.90–8.61], p < 0.001). In analysis restricted to those with a    likely to have diagnosed GD compared with those assigned
                                                                                          female gender marker, those with ASD were over three              male at birth ( p = 0.03, Fig. 3).
                                                                                          times as likely to be diagnosed with GD (OR 3.75 [95% CI
                                                                                          1.30–10.81], p = 0.014; Fig. 1).
                                                                                             Of all children without ASD, 455 (0.19%) had diagnosed         Discussion
                                                                                          intellectual disability; none of these children had a diagnosis      In a large population of continuously insured children, we
                                                                                          of GD. Furthermore, of the 48,730 children with ASD and no        found that children with diagnosed ASD were over four
                                                                                          GD, 2751 (5.7%) also had a diagnosed intellectual disability.     times more likely to have diagnosed GD compared with
                                                                                          Of the 32 children with ASD and GD, 3 (9.4%) also had a           those without ASD. We also found that in children with
                                                                                          diagnosed intellectual disability.                                ASD and GD, autism was diagnosed at a significantly older
                                                                                             For children with ASD, the median age of ASD diagnosis         age than in children without GD. Using a robust measure
                                                                                          differed by GD diagnosis. Children with GD were diagnosed
                                                                                          with ASD at a significantly older age than children with ASD
                                                                                          and no GD diagnosis ( p < 0.001, Fig. 2). For children with
                                                                                          ASD but no GD, the median (IQR [range]) age of ASD diag-




                                                                                          FIG. 2. Autism spectrum disorder diagnosis age by gender          FIG. 3. Sex assigned at birth of children with diagnosed
                                                                                          dysphoria diagnosis.                                              gender dysphoria.

                                                                                                Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 150 of 216
                                                                                          98                                                                                                     HISLE-GORMAN ET AL.

                                                                                          of both ASD and GD,25,31–33 and using cases with ASD and              The ability to think and communicate about gender may
                                                                                          matched controls, our finding is consistent with previous re-      be delayed in those with ASD,44 and individuals with ASD
                                                                                          search suggesting an overrepresentation of diagnosed GD in         may have nuanced gender identity formation.45 Much of
                                                                                          children diagnosed with ASD.8–11,21                                the previous research linking ASD and GD has been based
                                                                                             Estimates indicate that between 0.16% and 0.58% of U.S.         on child and parent report of symptoms consistent with GD
                                                                                          adults identify as transgender, gender-diverse, or gender non-     or ASD and may be biased by differences in the process of
                                                                                          conforming34,35 and 0.7% of those aged 13–17 years identify        gender identity formation.9,10,14,16 The use of claims diag-
                                                                                          as transgender.5 Our rate of 0.02% of all included children        noses of ASD and GD may be more robust than previous
                                                                                          having GD was considerably lower than these estimates as           methods, thus strengthening the association between GD
                                                                                          we were not examining the broader TGD population. This             and ASD. Findings of delayed development of gender iden-
                                                                                          study also examined younger children, whose median age             tity in children with ASD, the complexity of having autism
                                                                                          at the time of the study’s completion was 11.6 years.              and a gender-diverse identity, and ASD-related challenges
                                                                                          While research suggests that children generally first under-       in future thinking and planning suggest that it may be appro-
                                                                                          stand themselves to be transgender at age 8,6,36,37 children       priate to be particularly thoughtful about medical treatments
                                                                                          may not yet have addressed their TGD identity with parents         for GD in this population, especially as it relates to treat-
                                                                                          or may have not reached the point where they required TGD-         ments that are not reversible.38,44 Care approaches must be
                                                                                          related medical care.38 Prior research suggests ages 10–14 as      highly individualized, however, depending on a multitude
                                                                                          the mean age of GD diagnosis.7,36 In a recent qualitative          of child, family, and ASD-related factors.
                                                                                          study, some children with ASD reported that their gender              We found that 9.4% of children with ASD and GD had a
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                                                                                          identity has been questioned due to their ASD diagnosis,           coexisting intellectual disability. Previous reports of ASD
                                                                                          suggesting difficulties or delay in GD diagnosis in those          and GD have not included indicators of intellectual dis-
                                                                                          with ASD.38                                                        ability, making any comparison impossible. In children
                                                                                             In addition, our study looked at health care records ending     with intellectual disability, findings of GD may be associated
                                                                                          in 2013; however, there was no stated policy of caring for         with nuances in forming gender identity. In children with
                                                                                          military-dependent children with GD until 2016.39 While            ASD and intellectual disability, it may be advisable to
                                                                                          services certainly were provided to some children before           have longer assessment periods for exploration (while pro-
                                                                                          this date, there is likely an underreporting of GD services        viding affirming care) before considering nonreversible in-
                                                                                          in this population. Even with the implementation of the            terventions.46
                                                                                          2016 policy in the MHS allowing provision of care for                 Underestimation of the number of military-dependent
                                                                                          military-dependent children and spouses who are transgen-          children with GD in this study is likely due to (1) previous
                                                                                          der, many military providers are unwilling or unprepared           limits to provision of services to TGD children in the
                                                                                          to care for TGD children,40 which likely skews results to un-      MHS; (2) the relatively young median age of included chil-
                                                                                          derestimate numbers of military children who are TGD.41            dren; and (3) ascertainment bias related to likely use of alter-
                                                                                          Furthermore, military parents may be more traditional,42           native ICD-9 codes to indicate some care for GD. Despite
                                                                                          and as a result, may be less likely to openly seek medical         these obstacles, however, we identified 0.02% of children
                                                                                          care for their child’s TGD-related needs, regardless of offi-      with a diagnosis suggestive of a TGD identity.
                                                                                          cial policy. While these factors likely contribute significantly
                                                                                          to an underestimation of true GD numbers, it suggests that         Limitations
                                                                                          existing GD diagnoses are valid.
                                                                                                                                                                 This study is limited by the use of ICD-9 codes for iden-
                                                                                             In a population that was 20% female-assigned at birth, we
                                                                                                                                                             tification of ASD and GD in children. While the identifica-
                                                                                          found that 18.8% of children with ASD and GD were female-
                                                                                                                                                             tion of ASD used a previously validated method, the use of
                                                                                          assigned at birth, as opposed to 23% of children without ASD
                                                                                                                                                             ICD-9 codes does not provide a complete understanding of
                                                                                          who had diagnosed GD. While birth-assigned sex was not as-
                                                                                                                                                             ASD severity and the full complement of symptoms. The cri-
                                                                                          sociated with GD in children without ASD, in this study,
                                                                                                                                                             teria of an ICD-9 diagnostic code for GD in the MHS in the
                                                                                          children with ASD and GD were statistically less likely to
                                                                                                                                                             period before care was provided officially are not as stringent
                                                                                          be assigned at birth as female compared with children with
                                                                                                                                                             as the use of an ICD-diagnostic code together with a chart re-
                                                                                          GD but without ASD. Results for those without ASD are
                                                                                                                                                             view, which was unfortunately not possible. This methodol-
                                                                                          consistent with research indicating that TGD identity is
                                                                                                                                                             ogy likely resulted in an undercounting of GD in this
                                                                                          more common in birth-assigned girls, but not for those
                                                                                                                                                             pediatric population, especially as ICD-9 does not include
                                                                                          with ASD and GD.36 When odds of GD by ASD were strat-
                                                                                                                                                             a code for nonbinary and diverse identification. It is possible
                                                                                          ified by birth-assigned sex, odds of GD in those assigned as
                                                                                                                                                             that individuals have changed their gender marker through a
                                                                                          male at birth were higher than those assigned as female at
                                                                                                                                                             formal process, although recent research on TGD military
                                                                                          birth; however, CIs of the two analyses overlapped. This
                                                                                                                                                             populations indicates that such occurrences are exceedingly
                                                                                          finding also is inconsistent with previous research that indi-
                                                                                                                                                             rare.47,48
                                                                                          cates that GD in children and adults with ASD is more com-
                                                                                          mon in birth-assigned females.15
                                                                                                                                                             Strengths
                                                                                             Our findings are consistent with research indicating that
                                                                                          those assigned female at birth are more likely to have GD,            The strengths of this study also are related to the use of
                                                                                          although in our study, this finding was only true in children      ICD-9 codes. The many hurdles and issues surrounding the
                                                                                          without ASD.14 This may suggest a genetic or biological link       diagnosis of GD in military-dependent children during the
                                                                                          between ASD and GD but is more likely related to difficul-         study period indicate that the cases identified by this study
                                                                                          ties in diagnosing ASD in females.43                               are indeed true cases of GD and that the increased rate in

                                                                                               Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 151 of 216
                                                                                          GENDER DYSPHORIA IN CHILDREN WITH ASD                                                                                           99

                                                                                          children with ASD is an indicator of an association between       References
                                                                                          GD and ASD. Previous studies of ASD and GD have used               1. American Psychiatric Association: Diagnostic and Statisti-
                                                                                          self- or parent-report questionnaires to identify symptoms            cal Manual of Mental Disorders, 5th ed. Arlington, VA:
                                                                                          suggestive of ASD and included small samples of chil-                 American Psychiatric Association, 2013.
                                                                                          dren.9,10,14,16 The identification of known GD in a matched        2. Baio J, Wiggins L, Christensen DL, et al.: Prevalence of au-
                                                                                          cohort of children with known ASD strengthens the link.               tism spectrum disorder among children aged 8 years—
                                                                                                                                                                Autism and Developmental Disabilities Monitoring Net-
                                                                                          Clinical approaches                                                   work, 11 Sites, United States, 2014. MMWR Surveill
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                                                                                                                                                                and Family Health; Committee on Adolescence; Section
                                                                                          executive, and socioemotional functioning and communica-              on Lesbian, Gay, Bisexual, and Transgender Health and
                                                                                          tion skills, which in some situations may be best accom-              Wellness: Ensuring comprehensive care and support for
                                                                                          plished over an extended period of time and informed by               transgender and gender-diverse children and adolescents.
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                                                                                          parent or guardian report, and teacher observations).44 The        5. Herman JL, Flores AR, Brown TNT, et al.: Age of Individ-
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                                                                                          nary spectrum identities and establish treatment plans that        6. Cartaya J, Lopez X: Gender dysphoria in youth: A review of
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                                                                                          the concept of a possible genetic or biologic component to            gender dysphoria clinic. LGBT Health 2016;3:387–390.
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                                                                                          U.S. Department of Defense. Title 17 U.S.C. 105 provides          16. VanderLaan DP, Leef JH, Wood H, et al.: Autism spectrum
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                                                                                                Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 153 of 216
                      EXHIBIT V




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 154 of 216
                                                       RESEARCH ARTICLE

                                                       Rapid-onset gender dysphoria in adolescents
                                                       and young adults: A study of parental reports
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a1111111111
a1111111111                                            Abstract
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a1111111111                                            Purpose
                                                       In on-line forums, parents have been reporting that their children are experiencing what is
                                                       described here as “rapid-onset gender dysphoria,” appearing for the first time during puberty
                                                       or even after its completion. The onset of gender dysphoria seemed to occur in the context
   OPEN ACCESS
                                                       of belonging to a peer group where one, multiple, or even all of the friends have become
Citation: Littman L (2018) Rapid-onset gender          gender dysphoric and transgender-identified during the same timeframe. Parents also re-
dysphoria in adolescents and young adults: A
                                                       port that their children exhibited an increase in social media/internet use prior to disclosure
study of parental reports. PLoS ONE 13(8):
e0202330. https://doi.org/10.1371/journal.             of a transgender identity. The purpose of this study was to document and explore these
pone.0202330                                           observations and describe the resulting presentation of gender dysphoria, which is inconsis-
Editor: Daniel Romer, University of Pennsylvania,      tent with existing research literature.
UNITED STATES

Received: October 7, 2017                              Methods
Accepted: August 1, 2018                               Recruitment information with a link to a 90-question survey, consisting of multiple-choice,
                                                       Likert-type and open-ended questions, was placed on three websites where parents had
Published: August 16, 2018
                                                       reported rapid onsets of gender dysphoria. Website moderators and potential participants
Copyright: © 2018 Lisa Littman. This is an open
                                                       were encouraged to share the recruitment information and link to the survey with any individ-
access article distributed under the terms of the
Creative Commons Attribution License, which            uals or communities that they thought might include eligible participants to expand the reach
permits unrestricted use, distribution, and            of the project through snowball sampling techniques. Data were collected anonymously via
reproduction in any medium, provided the original      SurveyMonkey. Quantitative findings are presented as frequencies, percentages, ranges,
author and source are credited.
                                                       means and/or medians. Open-ended responses from two questions were targeted for quali-
Data Availability Statement: The data cannot be        tative analysis of themes.
made publicly available due to ethical restrictions.
The study participants did not provide consent to
have their responses shared publicly, shared in        Results
public databases, or shared with outside               There were 256 parent-completed surveys that met study criteria. The adolescent and young
researchers. Furthermore, due to the sensitive
information contained in the data and the
                                                       adult (AYA) children described were predominantly female sex at birth (82.8%) with a mean
politicized and contentious discourse around the       age of 16.4 years. Forty-one percent of the AYAs had expressed a non-heterosexual sexual
study of gender dysphoria, protection of the           orientation before identifying as transgender. Many (62.5%) of the AYAs had been diagnosed
privacy of the participants responding to the survey
                                                       with at least one mental health disorder or neurodevelopmental disability prior to the onset of
is of utmost importance. For any questions about
restriction on data sharing, please contact the        their gender dysphoria (range of the number of pre-existing diagnoses 0–7). In 36.8% of the
Program for the Protection of Human Subjects           friendship groups described, the majority of the members became transgender-identified.



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                    1 / 41
                Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 155 of 216
                                                                                             Rapid-onset gender dysphoria in adolescents and young adults



(PPHS) at the Icahn School of Medicine at Mount     The most likely outcomes were that AYA mental well-being and parent-child relationships
Sinai (IRB@mssm.edu).                               became worse since AYAs “came out”. AYAs expressed a range of behaviors that included:
Funding: The author received no specific funding    expressing distrust of non-transgender people (22.7%); stopping spending time with non-
for this work.                                      transgender friends (25.0%); trying to isolate themselves from their families (49.4%), and
Competing interests: The author has declared that   only trusting information about gender dysphoria from transgender sources (46.6%).
no competing interests exist.

                                                    Conclusion
                                                    Rapid-onset gender dysphoria (ROGD) describes a phenomenon where the development
                                                    of gender dysphoria is observed to begin suddenly during or after puberty in an adolescent
                                                    or young adult who would not have met criteria for gender dysphoria in childhood. ROGD
                                                    appears to represent an entity that is distinct from the gender dysphoria observed in individ-
                                                    uals who have previously been described as transgender. The worsening of mental well-
                                                    being and parent-child relationships and behaviors that isolate AYAs from their parents,
                                                    families, non-transgender friends and mainstream sources of information are particularly
                                                    concerning. More research is needed to better understand this phenomenon, its implications
                                                    and scope.




                                                    Introduction
                                                    In recent years, a number of parents have been reporting in online discussion groups such as
                                                    4thwavenow in the US (https://4thwavenow.com) and Transgender Trend in the UK (https://
                                                    www.transgendertrend.com) that their adolescent and young adult (AYA) children, who have
                                                    had no histories of childhood gender identity issues, experienced a rapid onset of gender dyspho-
                                                    ria. Parents have described clusters of gender dysphoria outbreaks occurring in pre-existing
                                                    friend groups with multiple or even all members of a friend group becoming gender dysphoric
                                                    and transgender-identified in a pattern that seems statistically unlikely based on previous
                                                    research [1–5]. Parents describe a process of immersion in social media, such as “binge-watch-
                                                    ing” Youtube transition videos and excessive use of Tumblr, immediately preceding their child
                                                    becoming gender dysphoric. These descriptions are atypical for the presentation of gender dys-
                                                    phoria described in the research literature [1–5] and raise the question of whether social influ-
                                                    ences may be contributing to or even driving these occurrences of gender dysphoria in some
                                                    populations of adolescents and young adults. For the purpose of this study, rapid-onset gender
                                                    dysphoria (ROGD) is defined as a type of adolescent-onset or late-onset gender dysphoria where
                                                    the development of gender dysphoria is observed to begin suddenly during or after puberty in an
                                                    adolescent or young adult who would not have met criteria for gender dysphoria in childhood.
                                                    This study was designed to describe rapid-onset gender dysphoria (ROGD) and to generate
                                                    hypotheses, including the role of social and peer contagion in the development of this condition.

                                                    Background
                                                       Gender dysphoria in adolescents. Gender dysphoria (GD) is defined as an individual’s
                                                    persistent discomfort with their biological sex or assigned gender [6]. Two types of gender dys-
                                                    phoria studied include early-onset GD, where the symptoms of gender dysphoria begin in
                                                    early childhood, and late-onset GD where the symptoms begin after puberty [6]. Late-onset
                                                    GD that occurs during adolescence is now called adolescent-onset GD. The majority of adoles-
                                                    cents who present for care for gender dysphoria are individuals who experienced early-onset



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                            2 / 41
               Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 156 of 216
                                                                                    Rapid-onset gender dysphoria in adolescents and young adults



                                           gender dysphoria that persisted or worsened with puberty although an atypical presentation
                                           has been described where adolescents who did not experience childhood symptoms present
                                           with new symptoms in adolescence [2, 7]. Adolescent-onset of gender dysphoria is a relatively
                                           new phenomenon for natal females. In fact, prior to 2012, there were no little to no research
                                           studies about adolescent females with gender dysphoria first beginning in adolescence [5].
                                           Thus, far more is known about adolescents with early-onset gender dysphoria than adolescents
                                           with adolescent-onset gender dysphoria [1, 8]. Although not all research studies on gender
                                           dysphoric adolescents exclude those with adolescent-onset gender dysphoria [5], it is impor-
                                           tant to note that most of the studies on adolescents, particularly those about gender dysphoria
                                           persistence and desistance rates and outcomes for the use of puberty suppression, cross-sex
                                           hormones, and surgery only included subjects whose gender dysphoria began in childhood
                                           and subjects with adolescent-onset gender dysphoria would not have met inclusion criteria for
                                           these studies [9–17]. Therefore, most of the research on adolescents with gender dysphoria to
                                           date is not generalizable to adolescents experiencing adolescent-onset gender dysphoria [9–
                                           17] and the outcomes for individuals with adolescent-onset gender dysphoria, including per-
                                           sistence and desistence rates and outcomes for treatments, are currently unknown.
                                               As recently as 2012, there were only two clinics (one in Canada and one in the Netherlands)
                                           that had gathered enough data to provide empirical information about the main issues for gen-
                                           der dysphoric adolescents [18]. Both institutions concluded that the management of adoles-
                                           cent-onset gender dysphoria is more complicated than the management of early-onset gender
                                           dysphoria and that individuals with adolescent-onset are more likely to have significant psy-
                                           chopathology [18]. The presentation of gender dysphoria can occur in the context of severe
                                           psychiatric disorders, developmental difficulties, or as part of large-scale identity issues and,
                                           for these patients, medical transition might not be advisable [19]. The APA Task Force on the
                                           Treatment of Gender Identity Disorder notes that adolescents with gender dysphoria “should
                                           be screened carefully to detect the emergence of the desire for sex reassignment in the context
                                           of trauma as well as for any disorder (such as schizophrenia, mania, psychotic depression) that
                                           may produce gender confusion. When present, such psychopathology must be addressed and
                                           taken into account prior to assisting the adolescent’s decision as to whether or not to pursue
                                           sex reassignment or actually assisting the adolescent with the gender transition.” [18].
                                               Social and peer contagion. The description of cluster outbreaks of gender dysphoria
                                           occurring in pre-existing groups of friends and increased exposure to social media/internet
                                           preceding a child’s announcement of a transgender identity raises the possibility of social and
                                           peer contagion. Social contagion [20] is the spread of affect or behaviors through a population.
                                           Peer contagion, in particular, is the process where an individual and peer mutually influence
                                           each other in a way that promotes emotions and behaviors that can potentially undermine
                                           their own development or harm others [21]. Peer contagion has been associated with depres-
                                           sive symptoms, disordered eating, aggression, bullying, and drug use [21, 22]. Internalizing
                                           symptoms such as depression can be spread via the mechanisms of co-rumination, which
                                           entails the repetitive discussion of problems, excessive reassurance seeking (ERS), and negative
                                           feedback [21, 23–25]. Deviancy training, which was first described for rule breaking, delin-
                                           quency, and aggression, is the process whereby attitudes and behaviors associated with prob-
                                           lem behaviors are promoted with positive reinforcement by peers [26, 27].
                                               Peer contagion has been shown to be a factor in several aspects of eating disorders. There are
                                           examples in the eating disorder and anorexia nervosa literature of how both internalizing symp-
                                           toms and behaviors have been shared and spread via peer influences [28–32] which may have rel-
                                           evance to considerations of rapid-onset gender dysphoria. Friendship cliques can set the norms
                                           for preoccupation with one’s body, one’s body image, and techniques for weight loss, and can
                                           predict an individual’s body image concerns and eating behaviors [28–30]. Peer influence is



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                   3 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 157 of 216
                                                                                    Rapid-onset gender dysphoria in adolescents and young adults



                                           intensified in inpatient and outpatient treatment settings for patients with anorexia and counter-
                                           therapeutic subcultures that actively promote the beliefs and behaviors of anorexia nervosa have
                                           been observed [30–32]. In these settings, there is a group dynamic where the “best” anorexics
                                           (those who are thinnest, most resistant to gaining weight, and who have experienced the most
                                           medical complications from their disease) are admired, validated, and seen as authentic while the
                                           patients who want to recover from anorexia and cooperate with medical treatment are maligned,
                                           ridiculed, and marginalized [30–32]. Additionally, behaviors associated with deceiving parents
                                           and doctors about eating and weight loss, referred to as the “anorexic tricks,” are shared by pati-
                                           ents in a manner akin to deviancy training [30–32]. Online environments provide ample oppor-
                                           tunity for excessive reassurance seeking, co-rumination, positive and negative feedback, and
                                           deviancy training from peers who subscribe to unhealthy, self-harming behaviors. The pro-eat-
                                           ing disorder sites provide motivation for extreme weight loss (sometimes calling the motivational
                                           content “thinspiration”). Such sites promote validation of eating disorder as an identity, and
                                           offer “tips and tricks” for weight loss and for deceiving parents and doctors so that individuals
                                           may continue their weight-loss activities [33–35]. If similar mechanisms are at work in the con-
                                           text of gender dysphoria, this greatly complicates the evaluation and treatment of impacted
                                           AYAs.
                                               In the past decade, there has been an increase in visibility, social media, and user-generated
                                           online content about transgender issues and transition [36], which may act as a double-edged
                                           sword. On the one hand, an increase in visibility has given a voice to individuals who would
                                           have been under-diagnosed and undertreated in the past [36]. On the other hand, it is plausible
                                           that online content may encourage vulnerable individuals to believe that nonspecific symp-
                                           toms and vague feelings should be interpreted as gender dysphoria stemming from a transgen-
                                           der condition. Recently, leading international academic and clinical commentators have raised
                                           the question about the role of social media and online content in the development of gender
                                           dysphoria [37]. Concern has been raised that adolescents may come to believe that transition
                                           is the only solution to their individual situations, that exposure to internet content that is un-
                                           critically positive about transition may intensify these beliefs, and that those teens may pres-
                                           sure doctors for immediate medical treatment [18]. There are many examples on popular sites
                                           such as Reddit (www.reddit.com with subreddit ask/r/transgender) and Tumblr (www.tumblr.
                                           com) where online advice promotes the idea that nonspecific symptoms should be considered
                                           to be gender dysphoria, conveys an urgency to transition, and instructs individuals how to
                                           deceive parents, doctors, and therapists to obtain hormones quickly [38]. Fig 1 includes exam-
                                           ples of online advice from reddit and tumblr.
                                               Purpose. Rapid presentation of adolescent-onset gender dysphoria and gender dysphoria
                                           cases occurring in clusters of pre-existing friend groups is not consistent with current knowl-
                                           edge about gender dysphoria and has not been described in the scientific literature to date. The
                                           purpose of this research is (1) to describe an atypical presentation of gender dysphoria occur-
                                           ring with sudden and rapid onset in adolescents and young adults; and (2) to generate hypothe-
                                           ses about the condition, including the role of social and peer contagion in its development.

                                           Materials and methods
                                           The Icahn School of Medicine at Mount Sinai, Program for the Protection of Human Subjects
                                           provided approval of research for this project (HS#: 16–00744).

                                           Participants
                                           During the recruitment period, 256 parents completed online surveys that met the study crite-
                                           ria. The sample of parents included more women (91.7%) than men (8.3%) and participants



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                   4 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 158 of 216
                                                                                               Rapid-onset gender dysphoria in adolescents and young adults




                                           Fig 1. Example quotes of online advice from reddit and tumblr.
                                           https://doi.org/10.1371/journal.pone.0202330.g001

                                           were predominantly between the ages of 45 and 60 (66.1%) (Table 1). Most respondents were
                                           White (91.4%), non-Hispanic (99.2%), and lived in the United States (71.7%). Most respon-
                                           dents had a Bachelor’s degree (37.8%) or graduate degree (33.1%). The adolescents and young
                                           adults (AYAs) described by their parents were predominantly female sex at birth (82.8%) with
                                           an average current age of 16.4 years (range, 11–27 years). See Table 2.


                                           Procedure
                                           A 90-question survey instrument with multiple choice, Likert-type, and open-ended questions
                                           was created by the researcher. The survey was designed for parents (respondents) to complete
                                           about their adolescent and young adult children. The survey was uploaded onto Survey Monkey
                                           (SurveyMonkey, Palo Alto, CA, USA) via an account that was HIPPA-enabled. IRB approval
                                           for the study from the Icahn School of Medicine at Mount Sinai in New York, NY was received.
                                           Recruitment information with a link to the survey was placed on three websites where parents
                                           and professionals had been observed to describe rapid onset of gender dysphoria (4thwavenow,
                                           transgender trend, and youthtranscriticalprofessionals). Website moderators and potential par-
                                           ticipants were encouraged to share the recruitment information and link to the survey with any
                                           individuals or communities that they thought might include eligible participants to expand the
                                           reach of the project through snowball sampling techniques. The survey was active from June 29,
                                           2016 to October 12, 2016 (3.5 months) and took 30–60 minutes to complete. Participants com-
                                           pleted the survey at a time and place of their own choosing. Data were collected anonymously
                                           and stored securely with Survey Monkey.
                                               Participation in this study was voluntary and its purpose was clearly described in the recruit-
                                           ment information. Electronic consent was obtained. Participants had the option to withdraw
                                           consent at any time prior to submitting responses. Inclusion criteria were (1) completion of a
                                           survey with parental response that the child had a sudden or rapid onset of gender dysphoria;
                                           and (2) parental indication that the child’s gender dysphoria began during or after puberty.
                                           There was logic embedded in the survey that disqualified surveys that answered “no” (or skipped



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                              5 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 159 of 216
                                                                                               Rapid-onset gender dysphoria in adolescents and young adults



                                           Table 1. Demographic and other baseline characteristics of parent respondents.
                                           Characteristics of Parent-respondents                                                                    n      %
                                           Sex                                                                                                    254
                                                                                                                     Female                       233 91.7
                                                                                                                     Male                         21      8.3
                                           Age (y)                                                                                                254
                                                                                                                     18–29                         3      1.2
                                                                                                                     30–44                        74 29.1
                                                                                                                     45–60                        168 66.1
                                                                                                                     >60                           9      3.5
                                           Race/Ethnicity                                                                                        255
                                                                                                                     White                        233 91.4
                                                                                                                             
                                                                                                                     Other                        22      8.6
                                           Country of Residence                                                                                   254
                                                                                                                     US                           182 71.7
                                                                                                                     UK                           39 15.4
                                                                                                                     Canada                       17      6.7
                                                                                                                     Other                        16      6.3
                                           Education                                                                                              254
                                                                                                                     Bachelor’s degree            96 37.8
                                                                                                                     Graduate degree              84 33.1
                                                                                                                     Some college or Associates   63 24.8
                                                                                                                     degree
                                                                                                                     HS grad or GED               10      3.9
                                                                                                                     <High School                  1      0.4
                                           Parent attitude on allowing gay and lesbian couples to marry legally                                   256
                                                                                                                     Favor                        220 85.9
                                                                                                                     Oppose                       19      7.4
                                                                                                                     Don’t know                   17      6.6
                                           Parent belief that transgender people deserve the same rights and                                      255
                                           protections as others
                                                                                                                     Yes                          225 88.2
                                                                                                                     No                            8      3.1
                                                                                                                     Don’t know                   20      7.8
                                                                                                                     Other                         2      0.8
                                           
                                               may select more than one answer.
                                           
                                                declining order includes: Other, Multiracial, Asian, Hispanic.

                                           https://doi.org/10.1371/journal.pone.0202330.t001


                                           the question) about whether the child had a sudden or rapid onset of gender dysphoria and 23
                                           surveys were disqualified prior to completion (20 “no” answers and 3 skipped answers). After
                                           cleaning the data for the 274 completed surveys, 8 surveys were excluded for not having a sudden
                                           or rapid onset of gender dysphoria and 10 surveys were excluded for not having gender dyspho-
                                           ria that began during or after puberty, which left 256 completed surveys for inclusion. As the sur-
                                           vey was voluntary there was no refusal or dropout rate.


                                           Measures
                                              Basic demographic and baseline characteristics. Basic demographic and baseline char-
                                           acteristic questions, including parental attitudes about LGBT rights, were included. Parents



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                 6 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 160 of 216
                                                                                                Rapid-onset gender dysphoria in adolescents and young adults



                                           Table 2. Demographic and other baseline characteristics of AYAs.
                                           Characteristics of AYAs                                                                                  n      %
                                           AYA sex at birth (natal sex)                                                                           256
                                                                                      Female                                                      212 82.8
                                                                                      Male                                                         44 17.2
                                           AYA average current age (range of          16.4 (11–27)                                                256
                                           ages)
                                           Academic diagnoses                                                                                     253
                                                                                      Gifted                                                      120 47.4
                                                                                      Learning Disability                                          11     4.3
                                                                                      Both                                                         27 10.7
                                                                                      Neither                                                      95 37.5
                                           Natal female expressed sexual                                                                          212
                                           orientation before announcement
                                                                                      Asexual                                                      18     8.5
                                                                                      Bisexual or Pansexual                                        78 36.8
                                                                                      Gay or Lesbian                                               58 27.4
                                                                                      Straight (Heterosexual)                                      75 35.4
                                                                                      Did not express                                              57 26.9
                                           Natal male expressed sexual                                                                             44
                                           orientation before announcement
                                                                                      Asexual                                                       4     9.1
                                                                                      Bisexual or Pansexual                                         5 11.4
                                                                                      Gay                                                           5 11.4
                                                                                      Straight (Heterosexual)                                      25 56.8
                                                                                      Did not express                                              11 25.0
                                           Gender dysphoria began                                                                                 256
                                                                                      During puberty                                              125 48.8
                                                                                      After puberty                                               131 51.2
                                           Along with a rapid onset of GD, the                                                                    256
                                           AYA also:
                                                                                      Belonged to a friend group where one or multiple friends     55 21.5
                                                                                      became transgender-identified during a similar timeframe
                                                                                      Had an increase in social media/internet use                 51 19.9
                                                                                      Both of the above                                           116 45.3
                                                                                      Neither                                                      13     5.1
                                                                                      Don’t know                                                   21     8.2
                                           
                                               may select more than one answer.

                                           https://doi.org/10.1371/journal.pone.0202330.t002


                                           were asked about their children’s mental health disorders and neurodevelopmental disabilities
                                           that were diagnosed before their child’s onset of gender dysphoria as well as during and after.
                                           The question, “Has your child been formally identified as academically gifted, learning dis-
                                           abled, both, neither?” was used as a proxy to estimate rates of academic giftedness and learning
                                           disabilities. Questions about trauma and non-suicidal self-injury were also included as were
                                           questions about social difficulties described in a previous research study about gender dys-
                                           phoric adolescents [19].
                                              DSM-5 diagnostic criteria for gender dysphoria in children. The DSM 5 criteria for
                                           gender dysphoria in children (Fig 2) consist of eight indicators of gender dysphoria [39]. To
                                           meet criteria for diagnosis, a child must manifest at least six out of eight indicators including




PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                 7 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 161 of 216
                                                                                               Rapid-onset gender dysphoria in adolescents and young adults




                                                                  Figure removed due to copyright restrictions.




                                           Fig 2. Diagnostic and statistical manual of mental disorders (fifth ed). Gender dysphoria in children.
                                           https://doi.org/10.1371/journal.pone.0202330.g002

                                           the one designated A1, “A strong desire to be the other gender or an insistence that one is the
                                           other gender (or some alternative gender different from one’s assigned gender).” Three of the
                                           indicators (A1, A7, and A8) refer to desires or dislikes of the child and five of the indicators
                                           (A2-A6) are readily observable behaviors and preferences. The eight indicators were simplified
                                           for language and parents were asked to note which, if any, their child had exhibited prior to
                                           puberty. The requirement of six-month duration of symptoms was not included.
                                              DSM-5 diagnostic criteria for gender dysphoria in adolescents and adults. The DSM-5
                                           criteria for gender dysphoria in adolescents and adults (Fig 3) consist of six indicators of gen-
                                           der dysphoria [39]. To meet criteria for diagnosis, an adolescent or adult must manifest at least
                                           two of the six indicators. The six indicators were simplified for language, the first indicator
                                           was adjusted for a parent to answer about their child, and parents were asked to note which, if




                                                                  Figure removed due to copyright restrictions.




                                           Fig 3. Diagnostic and statistical manual of mental disorders (fifth ed). Gender dysphoria in adolescents and adults.
                                           https://doi.org/10.1371/journal.pone.0202330.g003




PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                   8 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 162 of 216
                                                                                    Rapid-onset gender dysphoria in adolescents and young adults



                                           any, their child was expressing currently. The requirement of six-month duration of symptoms
                                           was not included.
                                               Exposure to friend groups and social media/internet content. Survey questions were
                                           developed to describe AYA friend groups, including number of friends that became transgen-
                                           der-identified in a similar time period as the AYA, peer group dynamics and behaviors, and
                                           exposure to specific types of social media/internet content and messages that have been
                                           observed on sites popular with teens, such as Reddit and Tumblr.
                                               Behaviors, outcomes, clinical interactions. Survey questions were developed to specifi-
                                           cally quantify adolescent behaviors that had been described by parents in online discussions
                                           and observed elsewhere. Participants were asked to describe outcomes such as their child’s men-
                                           tal well-being and parent-child relationship since becoming transgender-identified. Parents
                                           were also asked about experiences with clinicians and their children’s disposition regarding
                                           steps taken for transition and duration of transgender-identification both for children who
                                           were still transgender-identified and for children who were no longer transgender-identified.
                                               Coping with strong or negative emotions. Two questions about the AYAs’ ability to
                                           cope with negative and strong emotions were included. One question was “How does your
                                           child handle strong emotions? (please select the best answer).” Offered answers were “My
                                           child is overwhelmed by strong emotions and goes to great lengths to avoid feeling them,” “My
                                           child is overwhelmed by strong emotions and tries to avoid feeling them,” “My child neither
                                           avoids not seeks out strong emotions,” “My child tries to seek out situations in order to feel
                                           strong emotions,” “My child goes to great lengths to seek out situations in order to feel strong
                                           emotions,” “None of the above,” “I don’t know.” The other question was “How would you rate
                                           your child’s ability to deal with their negative emotions and channel them into something pro-
                                           ductive?” An example was given regarding dealing with a low test grade by studying harder for
                                           the next test (excellent) or by ignoring it, throwing a tantrum, blaming the teacher or distract-
                                           ing themselves with computer games, alcohol, drugs, etc. (extremely poor). Offered answers
                                           were: excellent, good, fair, poor, extremely poor, and I don’t know.


                                           Data analysis
                                           Statistical analyses of quantitative data were performed using Excel and custom shell scripts
                                           (Unix). Quantitative findings are presented as frequencies, percentages, ranges, means and/or
                                           medians. ANOVAs, chi-squared, and t-tests comparisons were used where appropriate using
                                           publicly available calculators and p<0.05 was considered significant. Qualitative data were
                                           obtained from open text answers to questions that allowed participants to provide additional
                                           information or comments. The types of comments and descriptions were categorized, tallied,
                                           and reported numerically. A grounded theory approach was selected as the analytic strategy of
                                           choice for handling the qualitative responses because it allowed the researcher to assemble the
                                           data in accordance with the salient points the respondents were making without forcing the
                                           data into a preconceived theoretical framework of the researcher’s own choosing [40]. Illustra-
                                           tive respondent quotes and summaries from the qualitative data are used to illustrate the quan-
                                           titative results and to provide relevant examples. Two questions were targeted for full
                                           qualitative analysis of themes (one question on friend group behaviors and one on clinician
                                           interactions). For these questions, a second reviewer with expertise in qualitative methods was
                                           engaged (MM). Both the author (LL) and reviewer (MM) independently analyzed the content
                                           of the open text answers and identified major themes. Discrepancies were resolved with collab-
                                           orative discussion and themes were explored and refined until agreement was reached for the
                                           final lists of themes. Representative quotes for each theme were selected by LL, reviewed by
                                           MM, and agreement was reached.



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                   9 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 163 of 216
                                                                                    Rapid-onset gender dysphoria in adolescents and young adults



                                           Results
                                           Baseline characteristics
                                           Baseline characteristics (Table 1) included that the vast majority of parents favored gay and les-
                                           bian couples’ right to legally marry (85.9%) and believed that transgender individuals deserve
                                           the same rights and protections as other individuals in their country (88.2%). Along with the
                                           sudden or rapid onset of gender dysphoria, the AYAs belonged to a friend group where one or
                                           multiple friends became gender dysphoric and came out as transgender during a similar time
                                           as they did (21.5%), exhibited an increase in their social media/internet use (19.9%), both
                                           (45.3%), neither (5.1%), and don’t know (8.2%). For comparisons, the first three categories
                                           will be combined and called “social influence” (86.7%) and the last two combined as “no social
                                           influence” (13.3%). Nearly half (47.4%) of the AYAs had been formally diagnosed as academi-
                                           cally gifted, 4.3% had a learning disability, 10.7% were both gifted and learning disabled, and
                                           37.5% were neither. Sexual orientation as expressed by the AYA prior to transgender-identifi-
                                           cation is listed separately for natal females and for natal males (Table 2). Overall, 41% of the
                                           AYAs expressed a non-heterosexual sexual orientation prior to disclosing a transgender-
                                           identification.
                                               It is important to note that none of the AYAs described in this study would have met diag-
                                           nostic criteria for gender dysphoria in childhood (Table 3). In fact, the vast majority (80.4%)
                                           had zero indicators from the DSM-5 diagnostic criteria for childhood gender dysphoria with
                                           12.2% possessing one indicator, 3.5% with two indicators, and 2.4% with three indicators.
                                           Breaking down these results, for readily observable indicators (A2-6), 83.5% of AYAs had zero
                                           indicators, 10.2% had one indicator, 3.9% had two indicators, and 1.2% had three indicators.
                                           For the desire/dislike indicators (A1, A7, A8), which a parent would have knowledge of if the
                                           child expressed them verbally, but might be unaware if a child did not, 95.7% had zero indica-
                                           tors and 3.5% had one indicator. Parents responded to the question about which, if any, of the
                                           indicators of the DSM criteria for adolescent and adult gender dysphoria their child was
                                           experiencing currently. The average number of positive current indicators was 3.5 (range 0–6)
                                           and 83.2% of the AYA sample was currently experiencing two or more indicators. Thus, while
                                           the focal AYAs did not experience childhood gender dysphoria, the majority of those who
                                           were the focus of this study were indeed gender dysphoric at the time of the survey
                                           completion.
                                               The AYAs who were the focus of this study had many comorbidities and vulnerabilities pre-
                                           dating the onset of their gender dysphoria, including psychiatric disorders, neurodevelopmen-
                                           tal disabilites, trauma, non-suicidal self-injury (NSSI), and difficulties coping with strong or
                                           negative emotions (Table 4). The majority (62.5%) of AYAs had one or more diagnoses of a
                                           psychiatric disorder or neurodevelopmental disability preceding the onset of gender dysphoria
                                           (range of the number of pre-existing diagnoses 0–7). Many (48.4%) had experienced a trau-
                                           matic or stressful event prior to the onset of their gender dysphoria. Open text descriptions of
                                           trauma were categorized as “family” (including parental divorce, death of a parent, mental dis-
                                           order in a sibling or parent), “sex or gender related” (such as rape, attempted rape, sexual
                                           harassment, abusive dating relationship, break-up), “social” (such as bullying, social isolation),
                                           “moving” (family relocation or change of schools); “psychiatric” (such as psychiatric hospitali-
                                           zation), and medical (such as serious illness or medical hospitalization). Almost half (45.0%) of
                                           AYAs were engaging in non-suicidal self-injury (NSSI) behavior before the onset of GD. Cop-
                                           ing styles for these AYAs included having a poor or extremely poor ability to handle negative
                                           emotions productively (58.0%) and being overwhelmed by strong emotions and trying to
                                           avoid (or go to great lengths to avoid) experiencing them (61.4%) (Table 4). The majority of
                                           respondents (69.4%) answered that their child had social anxiety during adolescence; 44.3%




PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                  10 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 164 of 216
                                                                                               Rapid-onset gender dysphoria in adolescents and young adults



                                           Table 3. DSM 5 Indicators for gender dysphoria.
                                           Characteristics                                                                                           n    %
                                           AYAs who would have met diagnostic criteria for gender dysphoria in childhood                            0     0
                                           Number of DSM 5 indicators for gender dysphoria in children exhibited prior to                          255
                                           puberty
                                                                                                                                  Zero             205 80.4
                                                                                                                                  indicators
                                                                                                                                  One indicator    31 12.2
                                                                                                                                  Two               9    3.5
                                                                                                                                  indicators
                                                                                                                                  Three             6    2.4
                                                                                                                                  indicators
                                                                                                                                  Four              3    1.2
                                                                                                                                  indicators
                                           Desire/Dislike Indicators (A1, A7, or A8)                                                               255
                                                                                                                                  Zero             244 95.7
                                                                                                                                  indicators
                                                                                                                                  One indicators    9    3.5
                                                                                                                                  Two               0     0
                                                                                                                                  indicators
                                                                                                                                  Three             1    0.4
                                                                                                                                  indicators
                                           Readily observable indicators (A2-A6)                                                                   254
                                                                                                                                  Zero             212 83.5
                                                                                                                                  indicators
                                                                                                                                  One indicator    26 10.2
                                                                                                                                  Two              10    3.9
                                                                                                                                  indicators
                                                                                                                                  Three             3    1.2
                                                                                                                                  indicators
                                                                                                                                  Four              3    1.2
                                                                                                                                  indicators
                                           Average number of DSM 5 indicators for adolescent and adult gender dysphoria that
                                           the AYA is experiencing currently (range)
                                                                                                                                  3.5 (range       247
                                                                                                                                  0–6)
                                           AYAs currently experiencing two or more indicators of gender dysphoria for                              250
                                           adolescents and adults
                                                                                                                                  Yes              208 83.2
                                                                                                                                  No               40 16.0
                                                                                                                                  Don’t know        2    0.8
                                           https://doi.org/10.1371/journal.pone.0202330.t003


                                           that their child had difficulty interacting with their peers, and 43.1% that their child had a his-
                                           tory of being isolated (not associating with their peers outside of school activities).


                                           Announcing a transgender-identification
                                           At the time the AYA announced they were transgender-identified (“came out”), most were liv-
                                           ing at home with one or both parents (88.3%) and a small number were living at college
                                           (6.2%). The average age of announcement of a transgender-identification was 15.2 years of age
                                           (range 10–21) (Table 5). Most of the parents (80.9%) answered affirmatively that their child’s
                                           announcement of being transgender came “out of the blue without significant prior evidence
                                           of gender dysphoria.” Respondents were asked to pinpoint a time when their child seemed not



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                              11 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 165 of 216
                                                                                                      Rapid-onset gender dysphoria in adolescents and young adults



Table 4. AYA baseline comorbidities and vulnerabilities predating the onset of gender dysphoria.
Characteristics                                                                                                                                                n    %
Mental disorder or neurodevelopmental disability diagnosed prior to the onset of                                                                             251
gender dysphoria
                                                                                   Anxiety                                                                   117 46.6
                                                                                   Depression                                                                99 39.4
                                                                                   Attention Deficit Hyperactivity Disorder (ADHD)                           29 11.6
                                                                                   Obsessive Compulsive Disorder (OCD)                                       21    8.4
                                                                                   Autism Spectrum Disorder (ASD)                                            20    8.0
                                                                                   Eating Disorder                                                           12    4.8
                                                                                   Bipolar Disorder                                                           8    3.2
                                                                                   Psychosis                                                                  6    2.4
                                                                                   None of above                                                             94 37.5
                                                                                   (Other) Borderline                                                         3    1.2
                                                                                   (Other) Oppositional Defiant Disorder                                      2    0.8
Traumatic or stressful experience prior to the onset of gender dysphoria                                                                                     252
                                                                                   Yes                                                                       122 48.4
                                                                                   No                                                                        91 36.1
                                                                                   Don’t know                                                                38 15.1
                                                                                   Other                                                                      1    0.4
Types of trauma                                                                                                                                             113
                                                                                   Family                                                                    50 44.2
                                                                                   Sex/Gender related                                                        34 30.1
                                                                                   Social                                                                    23 20.4
                                                                                   Moving                                                                    20 17.7
                                                                                   Psychiatric                                                                9    8.0
                                                                                   Medical                                                                    7    6.2
Non-suicidal self-injury (NSSI) before the onset of gender dysphoria                                                                                         180
                                                                                                                                                             81 45.0
Ability to handle negative emotions productively                                                                                                             255
                                                                                   Excellent/Good                                                            34 13.3
                                                                                   Fair                                                                      70 27.5
                                                                                   Poor/Extremely Poor                                                       148 58.0
                                                                                   Don’t know                                                                 3    1.2
Coping style for dealing with strong emotions                                                                                                                254
                                                                                   Overwhelmed by strong emotions and tries to /goes to great lengths to     156 61.4
                                                                                   avoid feeling them
                                                                                   Neither avoids nor seeks out strong emotions                              29 11.4
                                                                                   Tries to/goes to great lengths to seeks out strong emotions               33 13.0
                                                                                   Don’t know                                                                25    9.8
                                                                                   None of the above                                                         11    4.3
Social vulnerabilities                                                                                                                                       255
                                                                                   During adolescence child had social anxiety                               177 69.4
                                                                                   Child had difficulty interacting with their peers                         113 44.3
                                                                                   History of being isolated (not interacting with peers outside of school   110 43.1
                                                                                   activities)
                                                                                   Child felt excluded by peers throughout most of grade school              93 36.5
                                                                                   Child had persistent experiences of being bullied before the onset of     74 29.0
                                                                                   gender dysphoria

    may select more than one answer.

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PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                        12 / 41
                 Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 166 of 216
                                                                                                   Rapid-onset gender dysphoria in adolescents and young adults



                                           Table 5. Announcing a transgender-identification.
                                           Characteristics                                                                                                n    %
                                           Age of AYA when the AYA announced a                        15.2 average (10–21)                              255
                                           transgender-identification (range)
                                           Living arrangement at announcement                                                                           256
                                                                                                      Living at home with one or both parents           226 88.3
                                                                                                      Living at college or university                    16   6.2
                                                                                                      Other                                              14   5.5
                                           AYA’s announcement came from “out of the blue,                                                               256
                                           without significant prior evidence of gender
                                           dysphoria”
                                                                                                      Yes                                               207 80.9
                                                                                                      No                                                 33 12.9
                                                                                                      Other                                              16   6.2
                                           If a time was pinpointed when the child seemed                                                               250
                                           not at all gender dysphoric, how long between that
                                           time and the child’s announcement of a
                                           transgender-identity?
                                                                                                      Did not seem at all gender dysphoric when they     81 32.4
                                                                                                      announced and transgender-identity
                                                                                                      Less than a week to 3 months                       65 26.0
                                                                                                      4–6 months                                         31 12.4
                                                                                                      7–9 months                                         10   4.0
                                                                                                      10–12 months                                       29 11.6
                                                                                                      More than 12 months                                20   8.0
                                                                                                      Don’t know                                         14   5.6
                                           Parent suspects that when the child first                                                                    253
                                           announced a transgender-identity, that the child
                                           used language that they found online
                                                                                                      Yes                                               175 69.2
                                                                                                      No                                                 53 20.9
                                                                                                      N/A                                                25   9.9
                                           Parent thinks their child is correct in their child’s                                                        255
                                           belief of being transgender
                                                                                                      Yes                                                 6   2.4
                                                                                                      No                                                195 76.5
                                                                                                      Don’t know                                         38 14.9
                                                                                                      Other                                              16   6.3
                                           How soon after the announcement did the AYA                                                                  255
                                           ask for transition?
                                                                                                      At the same time                                   86 33.7
                                                                                                      Between less than one week to one month            33 12.9
                                                                                                      2–5 months after announcement                      26 10.2
                                                                                                      6 or more months after announcement                19   7.5
                                                                                                      Other                                              16   6.3
                                                                                                      N/A                                                75 29.4
                                           Intention and request for transition                                                                        189
                                                                                                      AYA told the parent that they want cross-sex      127 67.2
                                                                                                      hormones
                                                                                                      AYA told the parent that they want to go to a     111 58.7
                                                                                                      gender therapist/gender clinic
                                                                                                      AYA told the parent that they want surgery        101 53.4
                                                                                                                                                       (Continued)




PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                    13 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 167 of 216
                                                                                               Rapid-onset gender dysphoria in adolescents and young adults



                                           Table 5. (Continued)

                                           Characteristics                                                                                            n    %
                                                                                                  AYA brought up the issue of suicides in           59 31.2
                                                                                                  transgender teens as a reason that their parent
                                                                                                  should agree to treatment
                                           AYA has very high expectation that transitioning                                                         256
                                           will solve their problems in social, academic,
                                           occupational, or mental health areas
                                                                                                  Yes                                               143 55.9
                                                                                                  No                                                13    5.1
                                                                                                  Don’t know                                        100 39.1
                                           AYA was willing to work on basic mental health                                                           253
                                           before seeking gender treatments
                                                                                                  Yes                                               111 43.9
                                                                                                  No                                                71 28.1
                                                                                                  Don’t know                                        30 11.9
                                                                                                  N/A                                               41 16.2
                                           
                                               may select more than one answer.

                                           https://doi.org/10.1371/journal.pone.0202330.t005



                                           at all gender dysphoric and to estimate the length of time between that point and their child’s
                                           announcement of a transgender-identity. Almost a third of respondents (32.4%) noted that
                                           their child did not seem gender dysphoric when they made their announcement and 26.0%
                                           said the length of time from not seeming gender dysphoric to announcing a transgender iden-
                                           tity was between less than a week to three months. The most striking examples of “not seeming
                                           at all gender dysphoric” prior to making the announcement included a daughter who loved
                                           summers and seemed to love how she looked in a bikini, another daughter who happily wore
                                           bikinis and makeup, and another daughter who previously said, “I love my body!”
                                               The majority of respondents (69.2%) believed that their child was using language that they
                                           found online when they “came out.” A total of 130 participants provided optional open text
                                           responses to this question, and responses fell into the following categories: why they thought
                                           the child was using language they found online (51); description of what the child said but
                                           didn’t provide a reason that they suspected the child was using language they found online
                                           (61); something else about the conversation (8) or the child (7) and don’t know (3). Of the 51
                                           responses describing reasons why respondents thought their child was reproducing language
                                           they found online, the top two reasons were that it didn’t sound like their child’s voice (19
                                           respondents) and that the parent later looked online and recognized the same words and
                                           phrases that their child used when they announced a transgender identity (14 respondents).
                                           The observation that it didn’t sound like their child’s voice was also expressed as “sounding
                                           scripted,” like their child was “reading from a script,” “wooden,” “like a form letter,” and that it
                                           didn’t sound like their child’s words. Parents described finding the words their child said to
                                           them “verbatim,” “word for word,” “practically copy and paste,” and “identical” in online and
                                           other sources. The following quotes capture these top two observations. One parent said, “It
                                           seemed different from the way she usually talked—I remember thinking it was like hearing
                                           someone who had memorized a lot of definitions for a vocabulary test.” Another respondent
                                           said, “The email [my child sent to me] read like all of the narratives posted online almost word
                                           for word.”
                                               The following case summaries were selected to illustrate peer, trauma, and psychiatric con-
                                           texts that might indicate more complicated clinical pictures.



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                               14 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 168 of 216
                                                                                    Rapid-onset gender dysphoria in adolescents and young adults



                                           • A 12-year-old natal female was bullied specifically for going through early puberty and the
                                             responding parent wrote “as a result she said she felt fat and hated her breasts.” She learned
                                             online that hating your breasts is a sign of being transgender. She edited her diary (by cross-
                                             ing out existing text and writing in new text) to make it appear that she has always felt that
                                             she is transgender.
                                           • A 14-year-old natal female and three of her natal female friends were taking group lessons
                                             together with a very popular coach. The coach came out as transgender, and, within one
                                             year, all four students announced they were also transgender.
                                           • A natal female was traumatized by a rape when she was 16 years of age. Before the rape, she
                                             was described as a happy girl; after the rape, she became withdrawn and fearful. Several
                                             months after the rape, she announced that she was transgender and told her parents that she
                                             needed to transition.
                                           • A 21-year-old natal male who had been academically successful at a prestigious university
                                             seemed depressed for about six months. Since concluding that he was transgender, he went
                                             on to have a marked decline in his social functioning and has become increasingly angry and
                                             hostile to his family. He refuses to move out or look for a job. His entire family, including
                                             several members who are very supportive of the transgender community, believe that he is
                                             “suffering from a mental disorder which has nothing to do with gender.”
                                           • A 14-year-old natal female and three of her natal female friends are part of a larger friend
                                             group that spends much of their time talking about gender and sexuality. The three natal
                                             female friends all announced they were trans boys and chose similar masculine names. After
                                             spending time with these three friends, the 14-year-old natal female announced that she was
                                             also a trans boy.
                                               The majority (76.5%) of the surveyed parents felt that their child was incorrect in their
                                           belief of being transgender (Table 5). More than a third (33.7%) of the AYAs asked for medical
                                           and/or surgical transition at the same time that they announced they were transgender-identi-
                                           fied. Two thirds (67.2%) of the AYAs told their parent that they wanted to take cross-sex hor-
                                           mones; 58.7% that they wanted to see a gender therapist/gender clinic; and 53.4% that they
                                           wanted surgery for transition. Almost a third (31.2%) of AYAs brought up the issue of suicides
                                           in transgender teens as a reason that their parent should agree to treatment. More than half of
                                           the AYAs (55.9%) had very high expectations that transitioning would solve their problems in
                                           social, academic, occupational or mental health areas. While 43.9% of AYAs were willing to
                                           work on basic mental health before seeking gender treatments, a sizable minority (28.1%) were
                                           not willing to work on their basic mental health before seeking gender treatment. At least two
                                           parents relayed that their child discontinued psychiatric care and medications for pre-existing
                                           mental health conditions once they identified as transgender. One parent, in response to the
                                           question about if their child had very high expectations that transitioning would solve their
                                           problems elaborated, “Very much so. [She] discontinued anti- depressant quickly, stopped see-
                                           ing psychiatrist, began seeing gender therapist, stopped healthy eating. [She] stated ‘none of it’
                                           (minding what she ate and taking her Rx) ‘mattered anymore.’ This was her cure, in her
                                           opinion.”


                                           Friend-group exposure
                                           The adolescent and young adult children were, on average, 14.4 years old when their first
                                           friend became transgender-identified (Table 6). Within friendship groups, the average number
                                           of individuals who became transgender-identified was 3.5 per group. In 36.8% of the friend



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                  15 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 169 of 216
                                                                                               Rapid-onset gender dysphoria in adolescents and young adults



                                           groups described, the majority of individuals in the group became transgender-identified. The
                                           order that the focal AYA “came out” compared to the rest of their friendship group was calcu-
                                           lated from the 119 participants who provided the number of friends coming out both before
                                           and after their child and 74.8% of the AYAs were first, second or third of their group. Parents
                                           described intense group dynamics where friend groups praised and supported people who
                                           were transgender-identified and ridiculed and maligned non-transgender people. Where pop-
                                           ularity status and activities were known, 60.7% of the AYAs experienced an increased popular-
                                           ity within their friend group when they announced a transgender-identification and 60.0% of
                                           the friend groups were known to mock people who were not transgender or LGBTIA (lesbian,
                                           gay, bisexual, transgender, intersex, or asexual).
                                               For the question about popularity changes when the child came out as having a transgender-
                                           identification, 79 participants provided optional open text responses which were categorized as:
                                           descriptions of the responses the child received (39); descriptions of the friends (14); description
                                           that the child did not “come out” to friends (8); not sure (9); speculation on how the child felt


                                           Table 6. Friend group exposure.
                                           Characteristics                                                                                              n    %
                                           The AYA has been part of a friend group where one or more friends has                                      254
                                           come out as transgender around a similar timeframe as they did
                                                                                                                      Yes                             176 69.3
                                                                                                                      No                              47 18.5
                                                                                                                      Don’t know                      31 12.2
                                           Age of AYA when their first friend became transgender-identified (range) 14.4 average (11–21)              174
                                           Number of friends from the friendship group who became gender              3.5 average (2–10)              138
                                           dysphoric average (range)
                                           Where numbers known, friend groups where the MAJORITY of the                                               125
                                           friends in the friendship group became transgender-identified
                                                                                                                      Yes                             46 36.8
                                                                                                                      No                              79 63.2
                                           Order of the AYAs “coming out” compared to the others in the friendship                                    119
                                           group
                                                                                                                      First in the friendship group    4    3.4
                                                                                                                      Second in the friendship        52 43.7
                                                                                                                      group
                                                                                                                      Third in the friendship         33 27.7
                                                                                                                      group
                                                                                                                      Fourth in the friendship        18 15.1
                                                                                                                      group
                                                                                                                      Fifth in the friendship          5    4.2
                                                                                                                      group
                                                                                                                      Sixth or Seventh in the          6    5.0
                                                                                                                      friendship group
                                           Where popularity status known, change in popularity within friend group                                    178
                                           when AYA announced their transgender-identification
                                                                                                                      Increased popularity            108 60.7
                                                                                                                      Decreased popularity            11    6.2
                                                                                                                      Unchanged popularity            59 33.1
                                           Where friend group activities known, friend group known to mock                                            145
                                           people who are not transgender/LGBT
                                                                                                                      Yes                             87 60.0
                                                                                                                      No                              58 40.0
                                           https://doi.org/10.1371/journal.pone.0202330.t006




PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                 16 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 170 of 216
                                                                                     Rapid-onset gender dysphoria in adolescents and young adults



                                           from the response (4), other (5). Of the 39 descriptions of responses, 19 of these responses
                                           referred to positive benefits the child received after coming out including positive attention, com-
                                           pliments, increased status, increased popularity, increased numbers of online followers, and
                                           improved protection from ongoing bullying. The following are quotes from parents about the
                                           perceived benefits of transgender-identification afforded to their child. One respondent said,
                                           “Great increase in popularity among the student body at large. Being trans is a gold star in the
                                           eyes of other teens.” Another respondent explained, “not so much ‘popularity’ increasing as ‘sta-
                                           tus’. . .also she became untouchable in terms of bullying in school as teachers who ignored homo-
                                           phobic bullying . . .are now all at pains to be hot on the heels of any trans bullying.” Seven
                                           respondents described a mixed response where the child’s popularity increased with some
                                           friends and decreased with others. Seven respondents described a neutral response such as “All
                                           of the friends seemed extremely accepting.” Two described a temporary increase in their child’s
                                           popularity: “There was an immediate rush of support when he came out. Those same friends
                                           have dwindled to nothing as he rarely speaks to any of them now.” Another described the loss of
                                           friends. And two parents described that “coming out” prevented the loss of friends explained by
                                           one respondent as “to not be trans one would not have been included in his group.”
                                               Several AYAs expressed significant concern about the potential repercussions from their
                                           friend group when they concluded that they were not transgender after all. There were two
                                           unrelated cases with similar trajectories where the AYAs spent some significant time in a differ-
                                           ent setting, away from their usual friend group, without access to the internet. Parents described
                                           that these AYAs made new friendships, became romantically involved with another person, and
                                           during their time away concluded that they were not transgender. In both cases, the adolescents,
                                           rather than face their school friends, asked to move and transfer to different high schools. One
                                           parent said that their child, “. . .couldn’t face the stigma of going back to school and being
                                           branded as a fake or phony. . .. Or worse, a traitor or some kind of betrayer. . .[and] asked us if
                                           we could move.” In the other case, the parent relayed that their child thought none of the origi-
                                           nal friends would understand and expressed a strong desire to “. . .get out of the culture that ‘if
                                           you are cis, then you are bad or oppressive or clueless.’” Both families were able to relocate and
                                           both respondents reported that their teens have thrived in their new environments and new
                                           schools. One respondent described that their child expressed relief that medical transition was
                                           never started and felt there would have been pressure to move forward had the family not
                                           moved away from the peer group.
                                               Qualitative analysis. The open-ended responses from the question about whether the
                                           AYAs and friends mocked, teased, or made fun of individuals who weren’t transgender or
                                           LGBTIA was selected for additional qualitative analysis. Seven major themes were identified
                                           from the comments provided by participants and are described, with representative support-
                                           ing quotes.
                                               Theme: groups targeted. The groups targeted for mocking by the friend groups are often
                                           heterosexual (straight) people and non-transgender people (called “cis” or “cisgender”). Some-
                                           times animosity was also directed towards males, white people, gay and lesbian (non-transgen-
                                           der) people, aromantic and asexual people, and “terfs”. One participant explained, “They are
                                           constantly putting down straight, white people for being privileged, dumb and boring.” Another
                                           participant elaborated, “In general, cis-gendered people are considered evil and unsupportive,
                                           regardless of their actual views on the topic. To be heterosexual, comfortable with the gender
                                           you were assigned at birth, and non-minority places you in the ‘most evil’ of categories with this
                                           group of friends. Statement of opinions by the evil cis-gendered population are consider phobic
                                           and discriminatory and are generally discounted as unenlightened.”
                                               Theme: individuals targeted. In addition to targeting specific groups of people for mock-
                                           ing, the AYAs and their friend groups also directed mocking towards individuals in the AYAs’



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                   17 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 171 of 216
                                                                                     Rapid-onset gender dysphoria in adolescents and young adults



                                           lives such as parents, grandparents, siblings, peers, allies, and teachers. The following quotes
                                           describe individuals targeted. One participant said, “They call kids who are not LGBT dumb
                                           and cis. And the mocking has been aimed at my transgender-identified child’s [sibling].”
                                           Another parent said, “They definitely made fun of parents and teachers who did not agree
                                           with them.” And a third participant said, “. . .they were asked to leave [a school-based LGBT
                                           club] because they were not queer enough [as straight and bisexual allies]. [One of them] was
                                           [then] bullied, harassed and denounced online.”
                                               Theme: behaviors occurred both in person and in online settings. Parents observed the
                                           behaviors both in-person and in online settings, and specifically mentioned seeing posts and
                                           conversations on Tumblr, Twitter, Facebook, and Instagram. On participant said, “They speak
                                           with derision about how cis-gendered people do not understand them and are so close-minded.”
                                           Another participant said, “I hear them disparaging heterosexuality, marriage and nuclear fami-
                                           lies.” Another participant said, “On my daughter’s Tumblr blog, she has liked or favorited or re-
                                           posted disparaging comments about those who aren’t transgender or seem to misunderstand the
                                           transgender identity.” And another parent reported, “Her real life friends don’t [mock non-
                                           LGBT people] but online they are always swapping jokes and comments about cisgender and
                                           about transphobia.”
                                               Theme: examples of behaviors. Participants gave many examples of the observed behav-
                                           iors that were mocking towards non-transgender people and non-LGB people. One partici-
                                           pant said, “My daughter called me a ‘breeder’ and says things in a mocking ‘straight person
                                           voice’. Her friends egg her on when she does this.” Another parent offered, “If they aren’t
                                           mocking ‘cis’ people, they are playing pronoun police and mocking people who can’t get the
                                           pronouns correct.” Another participant said, “New vocabulary includes ‘cis-stupid’ and ‘cis-
                                           stupidity.’” And a fourth participant described, “They assume anyone that is critical about
                                           being transgender (even just asking questions) is either ignorant or filled with hate.”
                                               Theme: emphasizing victimhood. Participants described that their children and friend
                                           group seemed to focus on feeling as though they were victims. One participant described,
                                           “They seem to wear any problems they may have, real or perceived like badges of honor. . .I
                                           feel like they want to believe they are oppressed & have really ’been through life’, when they
                                           have little life experience.” Another participant said, “. . .there is a lot of feeling like a victim
                                           [and being] part of a victimized club.” Another parent said “But all talk is very ’victim’ cen-
                                           tered”. And finally, another said, “They passionately decry ‘Straight Privilege’ and ‘White Male
                                           Privilege’—while emphasizing their own ‘Victimhood.’”
                                               Theme: consequences of behaviors. A few participants describe that because of their
                                           child’s behavior, there were consequences, including making it difficult for one child to return
                                           to her school and the following description from another parent, “Most relatives have blocked
                                           her on [social media] over constant jokes regarding cis and straight people.”
                                               Theme: fueling the behaviors. In some cases, parents describe a synergistic effect of kids
                                           encouraging other kids to persist in the behavior as was described in a previous quote, “Her
                                           friends egg her on when she does this” as well as the following, “Lots of discussion revolving
                                           around how their teachers ‘discriminate’ or are ‘mean’ to them based on their declared LGBTIA
                                           identity, and they get each other riled up convincing each other of their persecution by these
                                           perceived wrongs . . . privately they mock our intolerance, and in person act upon these false
                                           beliefs by treating us as people out to get them. . .”


                                           Internet/social media exposure
                                           In the time period just before announcing that they were transgender, 63.5% of AYAs exhib-
                                           ited an increase in their internet/social media (Table 7). To assess AYA exposure to existing



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                   18 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 172 of 216
                                                                                               Rapid-onset gender dysphoria in adolescents and young adults



                                           online content, parents were asked what kind of advice their child received from someone/
                                           people online. AYAs had received online advice including how to tell if they were transgender
                                           (54.2%); the reasons that they should transition right away (34.7%); that if their parents did
                                           not agree for them to take hormones that the parents were “abusive” and “transphobic”
                                           (34.3%); that if they waited to transition they would regret it (29.1%); what to say and what not
                                           to say to a doctor or therapist in order to convince them to provide hormones (22.3%); that if
                                           their parents were reluctant to take them for hormones that they should use the “suicide narra-
                                           tive” (telling the parents that there is a high rate of suicide in transgender teens) to convince
                                           them (20.7%); and that it is acceptable to lie or withhold information about one’s medical or
                                           psychological history from a doctor or therapist in order to get hormones/get hormones faster
                                           (17.5%). Two respondents, in answers to other questions, described that their children later


                                           Table 7. Internet/social media exposures.
                                                                                                                                                            n    %
                                           AYAs internet/social media use just                                                                            255
                                           prior to announcement
                                                                                    Increased social media/internet use                                   162 63.5
                                                                                    Decreased social media/internet use                                    3    1.2
                                                                                    Unchanged social media/internet use                                   49 19.2
                                                                                    Don’t know                                                            41 16.1
                                           AYA exposure to internet content/                                                                              251
                                           advice
                                                                                    How to tell if they are transgender                                   136 54.2
                                                                                    The reasons that they should transition right away                    87 34.7
                                                                                    That if their parents did not agree to take them for hormones,        86 34.3
                                                                                    that the parents are “abusive” and “transphobic”
                                                                                    That if they waited to transition they would regret it                73 29.1
                                                                                    That if they didn’t transition immediately they would never be        72 28.7
                                                                                    happy
                                                                                    How to order physical items (binders, packers, etc) without           67 26.7
                                                                                    parents finding out
                                                                                    What to say and what NOT to say to a doctor or therapist in           56 22.3
                                                                                    order to convince them to provide hormones
                                                                                    That if their parents are reluctant to take them for hormones,        52 20.7
                                                                                    that they should use the “suicide narrative” to convince them
                                                                                    (telling the parents that there is a high rate of suicide in
                                                                                    transgender teens.)
                                                                                    Medical advice about the risks and benefits of hormones               55 21.9
                                                                                    Medical advice about the risks and benefits of surgery                47 18.7
                                                                                    That it is acceptable to lie to or withhold information about one’s   44 17.5
                                                                                    medical or psychological history from a doctor or therapist in
                                                                                    order to get hormones/get hormones faster
                                                                                    How to hide physical items from parents                               40 15.9
                                                                                    How to hide or make excuses for physical changes                      26 10.4
                                                                                    How to get money from others online in order to pay for               25 10.0
                                                                                    medications, etc
                                                                                    How to get hormones from online sources                               24    9.6
                                                                                    How to hide hormones from parents                                     21    8.4
                                                                                    I don’t know if my child received online advice about these           127 50.6
                                                                                    topics
                                           
                                               may select more than one answer.

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PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                     19 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 173 of 216
                                                                                               Rapid-onset gender dysphoria in adolescents and young adults



                                           told them what they learned from online discussion lists and sites. One parent reported, “He
                                           has told us recently that he was on a bunch of discussion lists and learned tips there. Places
                                           where teens and other trans people swap info. Like to use [certain, specific] words [with] the
                                           therapist when describing your GD, because [they are] code for potentially suicidal and will
                                           get you a diagnosis and Rx for hormones.” Another parent disclosed, “The threat of suicide
                                           was huge leverage. What do you say to that? It’s hard to have a steady hand and say no to medi-
                                           cal transition when the other option is dead kid. She learned things to say that would push our
                                           buttons and get what she wanted and she has told us now that she learned that from trans dis-
                                           cussion sites.”
                                              Parents identified the sources they thought were most influential for their child becoming
                                           gender dysphoric. The most frequently answered influences were: YouTube transition videos
                                           (63.6%); Tumblr (61.7%); a group of friends they know in person (44.5%); a community/group
                                           of people that they met online (42.9%); a person they know in-person (not online) 41.7%. In
                                           contrast to the majority of responses, two participants commented that they didn’t think the
                                           sources influenced their child to become gender dysphoric, rather they gave their child a name
                                           for their feelings or gave the child confidence to come out. The following quotes illustrate the
                                           dominant quantitative findings. One parent wrote, “We believe the biggest influence was the
                                           online pro-transition blogs and youtube videos. We feel she was highly influenced by the ‘if
                                           you are even questioning your gender-you are probably transgender’ philosophy. . .In the ‘real
                                           world’ her friends, other trans peers, and newfound popularity were additional areas of rein-
                                           forcement.” Another respondent described the online influence as part of a different question,


                                           Table 8. Outcomes and behaviors.
                                           Characteristics                                                                                              n    %
                                           AYA mental well-being since                                                                                254
                                           announcement
                                                                                    Worse                                                             120 47.2
                                                                                    Better                                                            32 12.6
                                                                                    Unchanged or mixed                                                101 39.8
                                                                                    Don’t know                                                         1    0.4
                                           Parent-child relationship since                                                                            253
                                           announcement
                                                                                    Worse                                                             145 57.3
                                                                                    Better                                                            18    7.4
                                                                                    Unchanged or mixed                                                89 35.2
                                                                                    Don’t know                                                         1    0.4
                                           Grades/academic performance                                                                                220
                                                                                    Worse                                                             76 34.5
                                                                                    Better                                                            14    6.4
                                                                                    Unchanged/mixed                                                   130 59.1
                                           Range of interests and hobbies                                                                             255
                                                                                    Much broader                                                       2    0.8
                                                                                    Somewhat broader                                                  11    4.3
                                                                                    Unchanged                                                         93 36.5
                                                                                    Somewhat narrower                                                 64 25.1
                                                                                    Much narrower                                                     56 22.0
                                                                                    There are very few topics outside of transgender issues that my   28 11.0
                                                                                    child is interested in
                                                                                    Don/t know                                                         1    0.4
                                           https://doi.org/10.1371/journal.pone.0202330.t008




PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                 20 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 174 of 216
                                                                                                 Rapid-onset gender dysphoria in adolescents and young adults



                                                    “I believe my child experienced what many kids experience on the cusp of puberty—uncom-
                                                    fortableness!—but there was an online world at the ready to tell her that those very normal
                                                    feelings meant she’s in the wrong body.”

                                                    Mental well-being, mental health, and behaviors
                                                    The trajectories of the AYAs were not consistent with the narrative of discovering one’s authentic
                                                    self and then thriving. Specifically, parents reported that, after “coming out,” their children exhib-
                                                    ited a worsening of their mental well-being. Additionally, parents noted worsening of the parent-
                                                    child relationship and observed that their children had narrowed their interests (Table 8).
                                                    Although small numbers of AYAs had improvement in mental well-being (12.6%), parent-child
                                                    relationship (7.4%), grades/academic performance (6.4%), and had broadened their interests and
                                                    hobbies (5.1%); the most common outcomes were worsened mental well-being (47.2%); wors-
                                                    ened parent child relationship (57.3%); unchanged or mixed grades/academic performance
                                                    (59.1%); and a narrowed range of interests and hobbies (58.1%). One parent describing her child’s
                                                    trajectory offered, “After announcing she was transgender, my daughter’s depression increased
                                                    significantly. She became more withdrawn. She stopped participating in activities which she pre-
                                                    viously enjoyed, stopped participating in family activities, and significantly decreased her interac-
                                                    tion with friends. Her symptoms became so severe that she was placed on medication by her
                                                    physician.” Table 9 describes cumulative rates of mental illness and neurodevelopmental disability
                                                    at the time of survey.
                                                        A total of 63.8% of the parents have been called “transphobic” or “bigoted” by their children
                                                    for one or more reasons, the most common being for: disagreeing with the child about the
                                                    child’s self-assessment of being transgender (51.2%); recommending that the child take more
                                                    time to figure out if their feelings of gender dysphoria persist or go away (44.6%); expressing
                                                    concerns for the child’s future if they take hormones and/or have surgery (40.4%); calling their
                                                    child by the pronouns they used to use (37.9%); telling the child they thought that hormones or
                                                    surgery would not help them (37.5%); recommending that their child work on other mental
                                                    health issues first to determine if they are the cause of the dysphoria (33.3%); calling the child by
                                                    their birth name (33.3%); or recommending a comprehensive mental health evaluation before
                                                    starting hormones and/or surgery (20.8%) (Table 10). There were eight cases of estrangement.
                                                    Estrangement was child-initiated in six cases where the child ran away, moved out, or otherwise
                                                    refused contact with parent. There were two cases where the estrangement was initiated by the
                                                    parent because the AYA’s outbursts were affecting younger siblings or there was a threat of vio-
                                                    lence made by the AYA to the parent.

Table 9. AYA Cumulative mental disorder and neurodevelopmental disability diagnoses.
Characteristics                                                                                                                           n               %
Mental disorder or neurodevelopmental disability                                                                                       243
                                                                Anxiety                                                                154              63.4
                                                                Depression                                                             143              58.8
                                                                Attention Deficit Hyperactivity Disorder (ADHD)                         36              14.8
                                                                Obsessive Compulsive Disorder (OCD)                                     30              12.3
                                                                Autism Spectrum Disorder (ASD)                                          30              12.3
                                                                Eating Disorder                                                         17               7.0
                                                                Bipolar Disorder                                                        17               7.0
                                                                Psychosis                                                                8               3.3
                                                                None of above                                                           52              21.4
                                                                (Other) Borderline                                                       7               2.9
                                                                (Other) Oppositional Defiant Disorder                                    2               0.8
https://doi.org/10.1371/journal.pone.0202330.t009



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                               21 / 41
               Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 175 of 216
                                                                                                      Rapid-onset gender dysphoria in adolescents and young adults



Table 10. Additional behaviors.
                                                                                                                                                               n    %
Parents have been called “transphobic” or “bigoted” by                                                                                                       240
their child for the following reasons
                                                          Disagreeing with their child about the child’s assessment of being transgender                     123 51.2
                                                          Recommending that their child take more time to figure out if their feelings of gender dysphoria   107 44.6
                                                          persist or go away
                                                          Expressing concerns for their child’s future if the child were to take hormones and/or have        97 40.4
                                                          surgery
                                                          Referring to their child by the pronouns that they used to use before announcement                 91 37.9
                                                          Telling their child that they thought hormones/surgery would not help them                         90 37.5
                                                          Calling their child by the child’s birth name                                                      80 33.3
                                                          Recommending that their child work on other mental health issues first to determine if they are    80 33.3
                                                          the cause of their dysphoria
                                                          Recommending therapy for basic mental health issues (not related to gender)                        74 30.8
                                                          Recommending a comprehensive evaluation before starting hormones and/or surgery                    50 20.8
                                                          None of the above                                                                                  87 36.2
Distrust and isolating behaviors exhibited by AYAs                                                                                                          251
                                                          Expressed distrust of information about gender dysphoria and transgenderism coming from            130 51.8
                                                          mainstream doctors and psychologists
                                                          Tried to isolate themselves from their family                                                      124 49.4
                                                          Expressed that they ONLY trust information about gender dysphoria and transgenderism that          117 46.6
                                                          comes from transgender websites and/or transgender people and sources
                                                          Lost interest in activities where participants aren’t predominantly transgender or LGBTIA          81 32.3
                                                          Lost interest in activities that were not related to transgender or LGBTIA issues                  65 25.9
                                                          Stopped spending time with friends who are not transgender                                         63 25.1
                                                          Expressed distrust of people who are not transgender                                               57 22.7
                                                          Expressed hostility towards people who are not transgender                                         46 18.3
                                                          None of the above                                                                                  44 17.5
Other behavior and outcomes for AYAs                                                                                                                        249
                                                          Withdrawn from family                                                                              112 45.0
                                                          Told other people or posted on social media that their parent is “transphobic”, “abusive”, or      107 43.0
                                                          “toxic” because the parent does not agree with the child’s assessment of being transgender
                                                          Refused to speak to parent                                                                         71 28.5
                                                          Defended the practice of lying to or withholding information from therapists or doctors in order   41 16.5
                                                          to obtain hormones for transition more quickly
                                                          Tried to run away                                                                                  17    6.8
                                                          Been unable to obtain a job                                                                        25 10.0
                                                          Been unable to hold a job                                                                          18    7.2
                                                          Dropped out of college                                                                             12    4.8
                                                          Dropped out of high school                                                                         12    4.8
                                                          Needed to take a leave of absence from college                                                     12    4.8
                                                          Been fired from a job                                                                               9    3.6
                                                          Needed a leave of absence from high school                                                          1    0.4
                                                          None of the above                                                                                  86 34.5
For any of the above, is this a significant change from                                                                                                      161
the child’s baseline behavior?
                                                          Yes                                                                                                115 71.4
                                                          No                                                                                                 46 28.6

    may select more than one answer.

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PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                        22 / 41
                 Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 176 of 216
                                                                                                 Rapid-onset gender dysphoria in adolescents and young adults



                                           Table 11. Interactions with clinicians.
                                                                                                                                                              n    %
                                           Did the AYA see a gender therapist, go to a                                                                      254
                                           gender clinic or see a physician for the purpose of
                                           transition?
                                                                                                   No                                                       151 59.4
                                                                                                   Yes                                                      92 36.2
                                                                                                   Don’t know                                               11    4.3
                                           Did the therapist/physician/clinic staff explore                                                                 100
                                           issues of mental health, previous trauma, or any
                                           alternative causes of gender dysphoria before
                                           proceeding?
                                                                                                   Yes                                                      21 21.0
                                                                                                   No                                                       53 53.0
                                                                                                   Don’t know                                               26 26.0
                                           Did the therapist/physician/clinic staff request                                                                 99
                                           any medical records before proceeding?
                                                                                                   Yes                                                      21 21.2
                                                                                                   No                                                       49 49.5
                                                                                                   Don’t know                                               29 29.3
                                           Of parents who knew the content of the visit, did                                                                80
                                           the AYA receive an Rx for puberty blockers and/
                                           or cross-sex hormones at their first visit?
                                                                                                   AYA received an Rx for puberty blockers and/or           17 21.2
                                                                                                   cross-sex hormones at their first visit
                                                                                                   AYA was offered a Rx for puberty blockers and/or          2    2.5
                                                                                                   cross-sex hormones at their first visit, but AYA or
                                                                                                   parent declined
                                                                                                   Total number of AYAs who received or were                19 23.8
                                                                                                   offered an Rx at first visit
                                                                                                   AYAs who did not receive/were not offered an Rx at       61 76.2
                                                                                                   their first visit
                                           Did AYA misrepresent their history to the doctor                                                                 96
                                           or relay their history accurately?
                                                                                                   Parent is reasonably sure or positive that their child   64 66.7
                                                                                                   misrepresented or omitted parts of their history
                                                                                                   Parent is reasonable sure or positive that their child   12 12.5
                                                                                                   relayed their history completely and accurately
                                                                                                   Don’t know                                               20 20.8
                                           https://doi.org/10.1371/journal.pone.0202330.t011


                                              AYAs are reported to have exhibited one or more of the following behaviors: expressed dis-
                                           trust of information about gender dysphoria and transgenderism coming from mainstream
                                           doctors and psychologists (51.8%); tried to isolate themselves from their family (49.4%);
                                           expressed that they only trust information about gender dysphoria and transgenderism that
                                           comes from transgender websites and/or transgender people and sources (46.6%); lost interest
                                           in activities where participants aren’t predominantly transgender or LGBTIA (32.3%); stopped
                                           spending time with friends who were not transgender (25.1%); expressed distrust of people
                                           who were not transgender (22.7%) (Table 10). Many AYAs have also: withdrawn from their
                                           family (45.0%); told other people or posted on social media that their parent is “transphobic,”
                                           “abusive,” or “toxic” because the parent does not agree with child’s self-assessment of being
                                           transgender (43.0%); refused to speak to their parent (28.5%), defended the practice of lying to
                                           or withholding information from therapists or doctors in order to obtain hormones for transi-
                                           tion more quickly (16.5%); tried to run away (6.8%). The behaviors and outcomes listed above



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                       23 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 177 of 216
                                                                                     Rapid-onset gender dysphoria in adolescents and young adults



                                           were considered significant changes from the child’s baseline behaviors for 71.4% of respon-
                                           dents checking any of the items.
                                              There was a subset of eight cases where parents described watching their child have declin-
                                           ing mental well-being as they became gender dysphoric and transgender-identified and then
                                           had improving mental well-being as they dropped or backed away from a transgender-identifi-
                                           cation. One parent described a marked change in her daughter when she was out of school
                                           temporarily. “[Her] routine was disrupted. She spent all day on the internet, and lost her many
                                           school friends—her only friends were on-line and members of the trans community. In three
                                           months, my daughter announced she is trans, gender dysphoric, wants binders and top sur-
                                           gery, testosterone shots. . .she started self-harming. Now back at school. . .she tweeted that
                                           she’s so young, isn’t sure if she is trans, no longer wants to be referred to by the male name she
                                           had chosen. . .Since she has started back at school and is being exposed to a wide variety of
                                           people she is WAY happier.” Another parent described, “My daughter’s insight has improved
                                           considerably over the last few years, and she has also outgrown the belief that she is transgen-
                                           der. My daughter actually seemed to be looking for a reason for her depression which is now
                                           being successfully treated. . .My daughter is MUCH happier now that she is being treated for
                                           her genuine issues. Coming out as trans made her much worse for a while.”
                                              There was a subset of 30 cases where the AYAs’ transgender-identification occurred in the
                                           context of a decline in their ability to function (such as dropping out of high school or college,
                                           needing a leave of absence from high school or college, and/or being unable to obtain or hold a
                                           job), which parents reported as a significant change from their child’s baseline behavior. The
                                           declines were substantial as 43.3% of these AYAs had been identified as academically gifted
                                           students (some described as top of their class in high school, earning outstanding grades at
                                           prestigious universities) before they began to fail their classes, drop out of high school or col-
                                           lege, and became unable to hold a job. In most of these cases (76.7%), there was one or more
                                           psychiatric diagnosis made at the same time or within the year (60.0%) or within two years
                                           (16.7%) of the AYA’s new transgender-identification. Of the 23 individuals who had a psychi-
                                           atric diagnoses made within two years of assuming a transgender-identification, 91.3% (21/23)
                                           were diagnosed with depression; 73.9% (17/23) with anxiety; 26.0% (6/23) with bipolar disor-
                                           der; 17.4% (4/23) with borderline personality disorder; 8.7% (2/23) with psychosis/psychotic
                                           episode: and 8.7% (2/23) with an eating disorder.


                                           Clinical encounters
                                           Parents were asked if their child had seen a gender therapist, gone to a gender clinic, or seen a
                                           physician for the purpose of beginning transition and 92 respondents (36.2%) answered in the
                                           affirmative (Table 11). Many of the respondents clarified that their child had seen a clinician
                                           regarding their gender dysphoria for evaluation only. Although participants were not asked
                                           directly what kind of provider their child saw, specialties that were mentioned in answers
                                           included: general psychologists, pediatricians, family doctors, social workers, gender therapists,
                                           and endocrinologists. For parents who knew the content of their child’s evaluation, 71.6%
                                           reported that the clinician did not explore issues of mental health, previous trauma, or any alter-
                                           native causes of gender dysphoria before proceeding and 70.0% report that the clinician did not
                                           request any medical records before proceeding. Despite all of the AYAs in this study sample hav-
                                           ing an atypical presentation of gender dysphoria (no gender dysphoria prior to puberty), 23.8%
                                           of the parents who knew the content of their child’s visit reported that the child was offered pre-
                                           scriptions for puberty blockers and/or cross-sex hormones at the first visit.
                                               One participant described, “For the most part, I was extremely frustrated with providers
                                           NOT acknowledging the mental disorder, anxiety, depression, etc before recommending



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                   24 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 178 of 216
                                                                                     Rapid-onset gender dysphoria in adolescents and young adults



                                           hormone replacement therapy.” And two participants described how the clinician treating
                                           their child’s gender dysphoria refused to speak with the patients’ primary care physicians. One
                                           participant said, “When we phoned the clinic, the doctor was hostile to us, told us to mind our
                                           own business. Our family doctor tried to reach our son’s new doctor, but the trans doctor
                                           refused to speak with her.” Another respondent shared “The pediatrician/‘gender specialist’
                                           did not return calls or emails from the primary care physician who requested to talk with her
                                           about my son’s medical history before she saw and treated him. . .she disregarded all historical
                                           information provided by the family and primary care physician. . .did not verify any informa-
                                           tion provided by my. . .son at his first visit even after being provided with multiple other his-
                                           torical sources which differed significantly from his story.”
                                               When asked about whether their child relayed their history completely and accurately to cli-
                                           nicians or whether they misrepresented or omitted parts of their history, of those who knew the
                                           content of their child’s visit, 84.2% of the parent respondents were reasonably sure or positive
                                           that their child had misrepresented or omitted parts of their history. Twenty-eight participants
                                           provided optional open text responses to this question and the responses were categorized into:
                                           describing how the parent knew that the child misrepresented their history (5); the content of
                                           what the child misrepresented (6 misrepresenting in general, 4 misrepresenting to the clinician
                                           for a total of 10 examples); don’t know/not sure (4); expressing certainty (1); and not relevant
                                           (8). For the five participants describing how they knew, the reasons included: being present
                                           when it happened, reading the report from the gender specialist, being told by their child that
                                           the child had misrepresented the truth, and being informed by the child’s psychiatrist. One
                                           respondent shared, “I have read the report from the gender specialist and it omits all the rele-
                                           vant context painting an almost unrecognizable picture of my son.” A second parent simply
                                           responded, “I was present.” Another respondent relayed about their (natal male) child, “My
                                           daughter told me and her mother that the first therapist she saw asked her stereotypical ques-
                                           tions. . .She was afraid that if she didn’t describe herself as a ‘typical girl’ she would not be
                                           believed.” And finally, one respondent wrote, “He has said now that he did [misrepresent his
                                           history] and used key words he was advised to say.” Ten participants provided 13 examples of
                                           the content of misrepresentations and of these, 6 examples could have been easily verified to be
                                           false (claiming to be under the care of a psychiatrist, claiming to be on medication to treat a psy-
                                           chiatric condition, how one was doing academically, and claiming a childhood history of having
                                           playmates of one sex when the opposite was observed, and claiming strong childhood prefer-
                                           ences for specific toys and clothing that is the opposite of what multiple individuals observed).
                                           Three of the content examples would have been challenging to verify as false including: how
                                           one was feeling as a child, how one was feeling when a picture was taken, and whether one was
                                           from an abusive home. And four of the content examples did not provide enough information
                                           to determine if they would be easy or challenging to verify as false, such as “My child distorts
                                           her history and our family life on a regular basis,” and “He has created an entire narrative that
                                           just isn’t true.”
                                               In addition to the previously mentioned case where the child literally rewrote her history by
                                           editing her diary, there were seven respondents who conveyed a process where their child was
                                           constantly rewriting their personal history to make it consistent with the idea that they always
                                           were transgender and/or had created a childhood history that was not what others had observed.
                                           It is unclear whether this process was deliberate or if the individuals were unaware of their
                                           actions. The following are quotes describing this phenomenon. One parent said, “. . .she is
                                           actively rewriting her personal history to support the idea that she was always trans.” Another
                                           respondent added,”. . .my daughter denies events I recollect from her childhood and puberty that
                                           contradicts her narrative of ‘always knowing she was a boy.’” Another respondent offered, “He is
                                           rewriting his personal history to suit his new narrative.” And a fourth respondent described,



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                   25 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 179 of 216
                                                                                    Rapid-onset gender dysphoria in adolescents and young adults



                                           “[Our] son has completely made up his childhood to include only girl friends and dressing up in
                                           girls clothes and playing with dolls, etc. This is not the same childhood we have seen as parents.”
                                                Qualitative analysis. The open-ended comments from the question about whether the
                                           clinician explored mental health, trauma or alternative causes of gender dysphoria before pro-
                                           ceeding were selected for qualitative analysis. Nine major themes emerged from the data. Each
                                           theme is described in the following paragraphs with supporting quotes from participants.
                                                Theme: failure to explore mental health, trauma or alternative causes of GD. Parents
                                           described that clinicians failed to explore their child’s mental health, trauma, or any alternative
                                           causes for the child’s gender dysphoria. This failure to explore mental health and trauma
                                           occurred even when patients had a history of mental health disorder or trauma, were currently
                                           being treated for a mental health disorder, or were currently experiencing symptoms. One par-
                                           ticipant said, “Nothing other than gender dysphoria was considered to explain my daughter’s
                                           desire to transition.” Another participant said, “My daughter saw a child therapist and the
                                           therapist was preparing to support transgendering and did not explore the depression and anx-
                                           iety or previous trauma.”
                                                Theme: insufficient evaluation. Another theme was insufficient evaluation where parents
                                           described evaluations that were too limited or too superficial to explore mental health, trauma
                                           or alternative causes of gender dysphoria. The following are three quotes by three different
                                           parents describing insufficient evaluations. One parent said, “The exploration was egregiously
                                           insufficient, very shallow, no effort to ask questions, engage in critical thinking about coexist-
                                           ing anxiety, or put on the brakes or even slow down.” Another participant stated, “When we
                                           tried to give our son’s trans doctor a medical history of our son, she refused to accept it. She
                                           said the half hour diagnosis in her office with him was sufficient, as she considers herself an
                                           expert in the field.” And a third parent wrote, “We were STUNNED by the lack of information,
                                           medical history sought by therapist and radical treatment suggestion. [One ]visit. The idea is,
                                           ‘if they say they were born in the wrong body, they are. To question this will only hurt her and
                                           prolong her suffering.’ [Our] daughter has had trauma in [the] past. [She] never was asked
                                           about it. [The] therapist did not ask parents a single question about our daughter.”
                                                Theme: unwillingness or disinterest in exploring mental health, trauma or alternative
                                           causes of GD. Parents described that clinicians did not seem interested or willing to explore
                                           alternative causes. One parent described. “Her current therapist seems to accept her self diag-
                                           nosis of gender dysphoria and follows what she says without seeming too much interested in
                                           exploring the sexual trauma in her past.” Another parent wrote, “The Asperger psychiatrist did
                                           not seem to care whether our daughter’s gender dysphoria stemmed from Asperger’s. If our
                                           daughter wanted to be male, then that was enough.” And a third parent said. “The therapist
                                           did ask about those issues but seemed to want to accept the idea wholeheartedly that my
                                           daughter was transgender first and foremost, all other factors aside.”
                                                Theme: mental health was explored. A few parents had the experience where the clinician
                                           either made an appropriate referral for further evaluation or the issues had been addressed pre-
                                           viously. One parent said, “[The] previous mental health issues [were] already explored by
                                           other therapists ([my] child was in therapy and medicated before coming out as transgender).”
                                                Theme: failure to communicate with patients’ medical providers. Several participants
                                           described clinicians who were unwilling to communicate with primary care physicians and
                                           mental health professionals even those professionals who were currently treating the patient.
                                           One participant relayed, “She did not review the extensive psychiatric records that were avail-
                                           able in a shared EMR [electronic medical record] and she did not consult with his outpatient
                                           psychiatrist prior to or after starting cross-sex hormonal therapy.” Another parent said, “My
                                           child had been seen for mental health issues for several years before presenting this new




PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                  26 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 180 of 216
                                                                                     Rapid-onset gender dysphoria in adolescents and young adults



                                           identity, but the endocrinologist did not consult the mental health professionals for their opin-
                                           ions before offering hormones.”
                                               Theme: misrepresentation of information by the patient. Several participants described
                                           how their child misrepresented their history to the clinician, thus, limiting the clinician’s abil-
                                           ity to adequately explore mental health, trauma and alternative causes. One participant wrote,
                                           “At [the] first visit, [my] daughter’s dialogue was well-rehearsed, fabricated stories about her
                                           life told to get [the] outcome she desired. She parroted people from the internet.” Another par-
                                           ent reported, “My son concealed the trauma and mental health issues that he and the family
                                           had experienced.” And a third parent said, “I overheard my son boasting on the phone to his
                                           older brother that ‘the doc swallowed everything I said hook, line and sinker. Easiest thing I
                                           ever did.’”
                                               Theme: transition steps were pushed by the clinician. Some parents described clinicians
                                           who seemed to push the process of transition before the patient asked for it. One parent
                                           described that the doctor gave her daughter a prescription that she didn’t ask for, “The family
                                           doctor who gave her the Androgel Rx [prescription] did NOT ask her many questions (she
                                           was surprised by this), nor did he await her assessment by a licensed psychiatrist before giving
                                           her this Rx. Nor did she ask him for this Rx.” Another parent reported that she and her child
                                           were at the endocrinologist’s office only to ask questions, and described, “. . .[he] didn’t listen
                                           to a word we were saying. He was too eager to get us set up with a ‘gender therapist’ to get the
                                           legal form he needed to start hormones, all while making sure we set up our next appointment
                                           within 6 months to start the hormones. . .”
                                               Theme: parent views were discounted or ignored. Parents describe that the clinicians did
                                           not take their concerns seriously. One parent described, “I have to say I don’t know, but it is
                                           hard to believe that they adequately examined the history of bullying and being ostracized for
                                           being different, and the autistic traits that would lend a person like my son to risk everything
                                           for identifying with a group. I know that in the few contacts I had with the providers, my con-
                                           cerns were discounted.” And another said, “All of our emails went unanswered and were
                                           ignored. We are left out of everything because of our constant questioning of this being right
                                           for our daughter [because of her] trauma and current depression, anxiety and self-esteem
                                           problems.”
                                               Theme: parent had concerns about the clinicians’ competence, professionalism or expe-
                                           rience. Parents expressed doubts about the clinicians regarding their experience, competence
                                           or professionalism. One parent said, “The clinic told me they explored these issues. I asked the
                                           risk manager at [redacted] if they’d considered a personality disorder. ‘Oh, no,’ she laughed.
                                           ‘That’s only with the older patients, not the teenagers.’ I’m deeply suspicious of their compe-
                                           tence.” Another parent described, “What does concern me is that the people she talked to
                                           seemed to have no sense of professional duties, but only a mission to promote a specific social
                                           ideology.”


                                           Steps towards transition and current identification status
                                           This section reports on the duration of AYA transgender-identification (time from the AYA’s
                                           announcement of a transgender identity until the time the parent completed the survey) that
                                           covers, on average, 15.0 months (range 0.1–120 months) with a median of 11 months (Table 12).
                                           The steps taken towards transition during this timeframe are listed in Table 12. At the end of the
                                           timeframe, 83.2% of the AYAs were still transgender-identified, 5.5% were not still transgender-
                                           identified (desisted), 2.7% seemed to be backing away from transgender-identification, and 8.6%
                                           of the parents did not know if their child was still identifying as transgender. Descriptions of
                                           backing away or moving from transgender-identified to not transgender-identified include the



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                   27 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 181 of 216
                                                                                               Rapid-onset gender dysphoria in adolescents and young adults



                                           following. One parent observed, “She identified as trans for six months . . . Now back at school,
                                           she is thinking maybe she’s not trans.” Another parent offered, “My daughter [identified] as
                                           trans from ages 13–16. She gradually desisted as she developed more insight into who she is.”
                                           One parent described that after one year of identifying as transgender, “basically, she changed
                                           her mind once she stopped spending time with that particular group of friends.” The duration of
                                           transgender-identification of the AYAs who were still transgender-identified at the time of sur-
                                           vey was compared to the duration of those who were no longer transgender-identified and those
                                           who seemed to be backing away from a transgender-identification (combined) by t-test. The dif-
                                           ference between these groups was statistically significant (p = .025), with a t-value of -2.25 show-
                                           ing that those who were no longer transgender-identified and backing away had a longer
                                           duration of identification (mean = 24.1 months) and those who were still transgender-identified
                                           had a shorter mean duration (mean = 14.4 months).
                                               To explore the differences between the AYAs who had exposure to social influence (friend
                                           group, internet/social media, or both) and AYAs who did not have a clear exposure to social
                                           influence (neither and don’t know), a series of chi-squared calculations were performed for
                                           selected variables. (See Table 13.) Statistically significant differences were revealed for AYAs
                                           with exposure to social influences having worse outcomes for mental well-being and parent-


                                           Table 12. Transition steps and disposition.
                                                                                                                                                      n    %
                                           Transition Steps                                                                                        256
                                                                                         Changed hairstyle                                          216 84.4
                                                                                         Changed style of clothing                                  210 82.0
                                                                                         Asks to be called a new name                               188 73.4
                                                                                         Asks for different pronouns                                175 68.4
                                                                                         Taken cross-sex hormones                                   29 11.3
                                                                                         Legally changed name on government documents               19    7.4
                                                                                         Taken anti-androgens                                       11    4.3
                                                                                         Taken puberty blockers                                      7    2.7
                                                                                         Had surgery                                                 5    2.0
                                                                                         None of the above                                          14    5.5
                                           Disposition                                                                                              256
                                                                                         Still transgender-identified                               213 83.2
                                                                                         Not transgender-identified any more (desisted)             14    5.5
                                                                                         Seems to be backing away from transgender-identification    7    2.7
                                                                                         Parent doesn’t know if the child is still transgender-     22    8.6
                                                                                         identified
                                                                                         De-transitioned (also counted in desisted category)         3    1.2
                                           Duration of transgender-identification                                                                   225
                                           overall
                                                                                         Median duration 11 months, Mean duration 15.0 months
                                                                                         (range 0.1 months-120 months), median 11 months
                                           Duration of transgender-identification if     Median duration 11 months, mean duration 14.4 months,      204
                                           still transgender-identified                  range (.1 months-72 months)
                                           Duration of transgender-identification if     Median duration 12 months, mean duration 24.2 months,      13
                                           no longer transgender-identified              range (.75 months to 120 months)
                                           Duration of transgender-identification if     Median duration 12 months, mean duration 15 months,         8
                                           backing away                                  range (3 months-36 months)
                                           
                                               may select more than one answer.

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PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                               28 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 182 of 216
                                                                                                   Rapid-onset gender dysphoria in adolescents and young adults



Table 13. chi-squared comparisons for exposure to social influence (SI) vs not exposure to social influence (NSI).
                                                                                                                                                SI      NSI          p
                                                                                                                                             n (%)     n (%)
Sex                                                                                                                                            222        34 .123
                                               Female                                                                                          187        25
                                                                                                                                             (84.2)    (73.5)
                                               Male                                                                                             35 9 (26.5)
                                                                                                                                             (15.8)
Indicators of childhood GD                                                                                                                     221        33 .004
                                               0–2 indicators                                                                                  216       29
                                                                                                                                             (97.7)   (87.9)
                                               3–4 indicators                                                                               5 (2.3)        4
                                                                                                                                                      (12.1)
Currently have two or more GD indicators                                                                                                       214        34 .808
                                               Yes                                                                                             179        29
                                                                                                                                             (83.6)    (85.3)
                                               No                                                                                          35(16.4)   5(14.7)
No mental health or NDD diagnoses before                                                                                                       222        34 .036
onset of GD
                                               Answered “None of the above”                                                                     87         7
                                                                                                                                             (39.9)   (20.6)
Mental well-being since announcement                                                                                                           220        33 .001
                                               Worse                                                                                           114         6
                                                                                                                                             (51.8)   (18.2)
                                               Better                                                                                           24         8
                                                                                                                                             (10.9)   (24.2)
                                               Unchanged/Mixed                                                                                  82       19
                                                                                                                                             (37.3)   (57.6)
Parent-child relationship since                                                                                                                219        33 .006
announcement
                                               Worse                                                                                           134       11
                                                                                                                                             (61.2)   (33.3)
                                               Better                                                                                      13 (5.9)        5
                                                                                                                                                      (15.2)
                                               Unchanged/Mixed                                                                                  72       17
                                                                                                                                             (32.9)   (51.5)
Range of interests and hobbies                                                                                                                 220        34 .000
                                               Broader range of interests and hobbies                                                           10         3
                                               Narrowed range of interest and hobbies                                                          139         9
                                               Unchanged range                                                                                  71        22
Distrust and Isolating Behaviors                                                                                                               222        34
                                               Tried to isolate themselves from family                                                         114       10 .017
                                                                                                                                             (51.4)   (29.4)
                                               Expressed that they ONLY trust information about GD and transgenderism that comes               107       10 .041
                                               from transgender sources                                                                      (48.2)   (29.4)
                                               Lost interest in activities where participants aren’t predominantly transgender or               76         5 .023
                                               LGBTIA                                                                                        (34.2)   (14.7)
                                               Stopped spending time with non-transgender friends                                               59 4 (11.8) .062
                                                                                                                                             (26.6)
                                               Expressed distrust of people who are not transgender                                             52 5 (14.7) .255
                                                                                                                                             (23.4)
                                               Told people or posted on social media that their parent is “transphobic,” “abusive,” or         102         5 .000
                                               “toxic” because the parent doesn’t agree with the child’s assessment of being transgender     (45.9)   (14.7)
                                                                                                                                                        (Continued)




PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                         29 / 41
              Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 183 of 216
                                                                                                          Rapid-onset gender dysphoria in adolescents and young adults



Table 13. (Continued)

                                                                                                                                                           SI     NSI          p
                                                                                                                                                        n (%)    n (%)
                                                    Defended the practice of lying to or withholding information from doctors/therapists to get           38    3 (8.8) .219
                                                    hormones for transition more quickly                                                               (17.1)
                                                    Brought up the issue of suicide in transgender teens as a reason parents should agree to              55 4 (11.8) .093
                                                    treatment                                                                                          (24.8)
Did the AYA misrepresent their history to the                                                                                                              68        8 .075
doctor or relay it accurately?
                                                    Parent is reasonable sure or positive that their child misrepresented or omitted parts of their       59 5 (62.5)
                                                    history                                                                                            (86.8)
                                                    Parent is reasonable sure or positive that child relayed their history completely and             9 (13.2) 3 (37.5)
                                                    accurately
https://doi.org/10.1371/journal.pone.0202330.t013


                                                      child relationships, and greater numbers exhibiting distrust, isolating and anti-social behaviors
                                                      including: narrowed range of interests and hobbies, expressing that they only trusted informa-
                                                      tion from transgender sources, trying to isolate themselves from their family, losing interest in
                                                      activities that weren’t predominantly with transgender or LGBTIA participants, and telling
                                                      people or posting on social media that their parent is “transphobic,” “abusive,” or “toxic”
                                                      because the parent doesn’t agree with the child’s assessment of being transgender. Although
                                                      the differences in additional isolating and anti-social behaviors did not reach statistical signifi-
                                                      cance, these behaviors trended towards higher rates in the AYAs who were exposed to social
                                                      influence and may have not reached significant levels due to small numbers. No significant dif-
                                                      ference for age of AYA (at announcement or at time of survey completion) was detected
                                                      between groups by a one-way ANOVA.

                                                      Discussion
                                                      This research describes parental reports about a sample of AYAs who would not have met
                                                      diagnostic criteria for gender dysphoria during their childhood but developed gender dyspho-
                                                      ria during adolescence or young adulthood. The strongest support for considering that the
                                                      gender dysphoria was new in adolescence or young adulthood is the parental answers for DSM
                                                      5 criteria for childhood gender dysphoria. Not only would none of the population have met
                                                      threshold criteria, the vast majority had zero indicators. Although one might argue that three
                                                      of the indicators could plausibly be missed by a parent (A1, A7, and A8 if the child had not
                                                      expressed these verbally), five of the indicators (A2-6) are readily observable behaviors and
                                                      preferences that would be difficult for a parent to miss. Six indicators (including A1) are
                                                      required for a threshold diagnosis. The nonexistent and low numbers of readily observable
                                                      indicators reported in the majority of this population does not support a scenario in which
                                                      gender dysphoria was always present but was only recently disclosed to the parents.
                                                          Before the onset of their gender dysphoria, many of the AYAs had been diagnosed with at
                                                      least one mental health disorder or neurodevelopmental disability and many had experienced
                                                      a traumatic or stressful event. Experiencing a sex or gender related trauma was not uncom-
                                                      mon, nor was experiencing a family stressor (such as parental divorce, death of a parent, or a
                                                      mental health disorder in a sibling or parent). Additionally, nearly half had been engaging in
                                                      self-harm prior to the onset of their gender dysphoria. In other words, many of the AYAs and
                                                      their families had been navigating multiple challenges and stressors before gender dysphoria
                                                      and transgender-identification became part of their lives. This context could possibly contrib-
                                                      ute to friction between parent and child and these complex, overlapping difficulties as well as
                                                      experiences of same-sex attraction may also be influential in the development of a transgender



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                                                   30 / 41
               Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 184 of 216
                                                                                     Rapid-onset gender dysphoria in adolescents and young adults



                                           identification for some of these AYAs. Care should be taken not to overstate or understate the
                                           context of pre-existing diagnoses or trauma in this population as they were absent in approxi-
                                           mately one third and present in approximately two thirds of the sample.
                                               This research sample of AYAs also differs from the general population in that it is predomi-
                                           nantly natal female, white, and has an over-representation of individuals who are academically
                                           gifted, non-heterosexual, and are offspring of parents with high educational attainment [41–43].
                                           The sex ratio favoring natal females is consistent with recent changes in the population of individ-
                                           uals seeking care for gender dysphoria. Gender clinics have reported substantial increases in
                                           referrals for adolescents with a change in the sex ratio of patients moving from predominantly
                                           natal males seeking care for gender dysphoria to predominantly natal females [19, 44–46].
                                           Although a decrease in stigma for transgender individuals might explain some of the rise in the
                                           numbers of adolescents presenting for care, it would not directly explain the inversion of the sex
                                           ratio. It is plausible that rapid-onset of gender dysphoria may have some similarities to anorexia
                                           nervosa and the characteristics that make female adolescents more susceptible than male adoles-
                                           cents to anorexia nervosa may be the same characteristics that make natal females more suscepti-
                                           ble than natal males to rapid-onset gender dysphoria. The unexpectedly high rate of academically
                                           gifted AYAs may be related to the high educational attainment of the parents and may be a reflec-
                                           tion of parents who are online, able to complete online surveys and are able to question and chal-
                                           lenge current narratives about gender dysphoria and transition. There may be other unknown
                                           variables that render academically gifted AYAs susceptible to rapid-onset gender dysphoria. The
                                           higher than expected rate of non-heterosexual orientations of the AYAs (prior to announcement
                                           of a transgender-identity) may suggest that the desire to be the opposite sex could stem from
                                           experiencing homophobia as a recent study showed that being the recipient of homophobic
                                           name calling from one’s peers was associated with a change in gender identity for adolescents
                                           [47]. The potential relationship of experienced homophobia and the development of ROGD
                                           deserves further study.
                                               This population is distinctively different than what is described in previous research about
                                           gender dysphoria because of the distribution of new cases occurring in cluster outbreaks in
                                           friendship groups, the preponderance of adolescent (natal) females, the absence of childhood
                                           gender dysphoria, and the suddenness of onset. The gender dysphoria and transgender-identi-
                                           fication of rapid-onset gender dysphoria may be temporary. The study’s findings on duration
                                           of transgender-identification suggests that a longer observation period might reveal greater
                                           rates of desistence and is consistent with anecdotal reports of adolescents who desisted from
                                           rapid-onset gender dysphoria approximately 9 to 36 months after presentation. Although it is
                                           still unknown whether transition in gender dysphoric individuals decreases, increases, or fails
                                           to change the rates of attempted or completed suicides [48] this study documents AYAs using
                                           a suicide narrative to manipulate parents and doctors into supporting and providing transition
                                           services. Despite the possibility that the AYAs are using a suicide narrative to manipulate oth-
                                           ers, it is critical that any suicide threat, ideation or concern is taken seriously and the individ-
                                           ual should be evaluated immediately by a mental health professional.
                                               The majority of parents were reasonably sure or certain that their child misrepresented or
                                           omitted key parts of their history to their therapists and physicians. In some cases, the misrep-
                                           resentation of one’s history may simply be a deliberate act by a person who is convinced that
                                           transition is the only way that they will feel better and who may have been coached that lying is
                                           the only way to get what they think they need. For others, the misrepresentation may not be a
                                           conscious act. The creation of an alternate version of one’s childhood that conforms to a story
                                           of always knowing one was transgender and that is in sharp contrast to the childhood that was
                                           observed by third parties raises the question of whether there has been the creation of false
                                           childhood memories as part of, or outside of, the therapy process. Respondent accounts of



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                   31 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 185 of 216
                                                                                     Rapid-onset gender dysphoria in adolescents and young adults



                                           clinicians who ignored or disregarded information (such as mental health symptoms and diag-
                                           noses, medical and trauma histories) that did not support the conclusion that the patient was
                                           transgender, suggests the possibility of motivated reasoning and confirmatory biases on the
                                           part of clinicians. In the 1990s, the beliefs and practices of many mental health professionals
                                           may have contributed to their patients’ creation of false childhood memories consistent with a
                                           child sexual abuse narrative and research since then has shown that false childhood memories
                                           of mundane events can be implanted in laboratory settings [49–51]. It may be worthwhile to
                                           explore if, in today’s culture, there might be beliefs and practices of some mental health profes-
                                           sionals that are contributing to their patients’ creation of false childhood memories consistent
                                           with an “always knew/always were transgender” narrative.


                                           Emerging hypotheses
                                               Hypothesis 1: Social contagion is a key determinant of rapid-onset gender dysphoria
                                           (ROGD). It is unlikely that friends and the internet can make people transgender. However,
                                           it is plausible that the following can be initiated, magnified, spread, and maintained via the
                                           mechanisms of social and peer contagion: (1) the belief that non-specific symptoms (including
                                           the symptoms associated with trauma, symptoms of psychiatric problems, and symptoms that
                                           are part of normal puberty) should be perceived as gender dysphoria and their presence as
                                           proof of being transgender; 2) the belief that the only path to happiness is transition; and 3) the
                                           belief that anyone who disagrees with the self-assessment of being transgender or the plan for
                                           transition is transphobic, abusive, and should be cut out of one’s life. The spread of these
                                           beliefs could allow vulnerable AYAs to misinterpret their emotions, incorrectly believe them-
                                           selves to be transgender and in need of transition, and then inappropriately reject all informa-
                                           tion that is contrary to these beliefs. In other words, “gender dysphoria” may be used as a
                                           catch-all explanation for any kind of distress, psychological pain, and discomfort that an AYA
                                           is feeling while transition is being promoted as a cure-all solution.
                                               One of the most compelling findings supporting the potential role of social and peer conta-
                                           gion in the development of a rapid onset of gender dysphoria is the cluster outbreaks of trans-
                                           gender-identification occurring in friendship groups. The expected prevalence of transgender
                                           young adult individuals is 0.7% [4]. Yet, more than a third of the friendship groups described
                                           in this study had 50% or more of the AYAs in the group becoming transgender-identified in a
                                           similar time frame, a localized increase to more than 70 times the expected prevalence rate.
                                           This is an observation that demands urgent further investigation. One might argue that the
                                           high rates of transgender-identified individuals within these friend groups were secondary
                                           only to the process of friend selection: choosing transgender-identified friends deliberately
                                           rather than the result of group dynamics and observed coping styles contributing to multiple
                                           individuals, in a similar timeframe, starting to interpret their feelings as consistent with being
                                           transgender. More research will be needed to finely delineate the timing of friend group for-
                                           mation and the timing and pattern of each new declaration of transgender-identification.
                                           Although friend selection may play a role in these high percentages of transgender-identifying
                                           members in friend groups, the described pattern of multiple friends (and often the majority of
                                           the friends in the friend group) becoming transgender-identified in a similar timeframe sug-
                                           gests that there may be more than just friend selection behind these elevated percentages.
                                               There are many insights from our understanding of peer contagion in eating disorders and
                                           anorexia that may apply to the potential peer contagion of rapid-onset gender dysphoria. Just
                                           as friendship cliques can set the level of preoccupation with one’s body, body image, weight,
                                           and techniques for weight loss [28–30], so too may friendship cliques set a level of preoccupa-
                                           tion with one’s body, body image, gender, and the techniques to transition. The descriptions



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                   32 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 186 of 216
                                                                                      Rapid-onset gender dysphoria in adolescents and young adults



                                           of pro-anorexia subculture group dynamics where the thinnest anorexics are admired while
                                           the anorexics who try to recover from anorexia are ridiculed and maligned as outsiders [30–
                                           32] resemble the group dynamics in friend groups that validate those who identify as transgen-
                                           der and mock those who do not. And the pro-eating-disorder websites and online communi-
                                           ties providing inspiration for weight loss and sharing tricks to help individuals deceive parents
                                           and doctors [33–35] may be analogous to the inspirational YouTube transition videos and the
                                           shared online advice about manipulating parents and doctors to obtain hormones.
                                               Hypothesis 2: ROGD is a maladaptive coping mechanism for AYAs. For some individ-
                                           uals, the drive to transition may represent an ego-syntonic but maladaptive coping mechanism
                                           to avoid feeling strong or negative emotions similar to how the drive to extreme weight loss
                                           can serve as an ego-syntonic but maladaptive coping mechanism in anorexia nervosa [52–53].
                                           A maladaptive coping mechanism is a response to a stressor that might relieve the symptoms
                                           temporarily but does not address the cause of the problem and may cause additional negative
                                           outcomes. Examples of maladaptive coping mechanisms include the use of alcohol, drugs, or
                                           self-harm to distract oneself from experiencing painful emotions. One reason that the treat-
                                           ment of anorexia nervosa is so challenging is that the drive for extreme weight loss and weight
                                           loss activities can become a maladaptive coping mechanism that allows the patient to avoid
                                           feeling and dealing with strong emotions [54]. In this context, dieting is not felt as distressing
                                           to the patient, because it is considered by the patient to be the solution to her problems, and
                                           not part of the problems. In other words, the dieting and weight loss activities are ego-syntonic
                                           to the patient. However, distress is felt by the patient when external actors (doctors, parents,
                                           hospital staff) try to interfere with her weight loss activities thus curtailing her maladaptive
                                           coping mechanism.
                                               Findings that may support a maladaptive coping mechanism hypothesis include that the most
                                           likely description of AYA ability to use negative emotions productively was poor/extremely poor
                                           and the majority of AYAs were described as “overwhelmed by strong emotions and tries to/goes
                                           to great lengths to avoid experiencing them.” Although these are not validated questions, the
                                           findings suggest, at least, that there is a history of difficulty dealing with emotions. The very high
                                           expectation that the majority of AYAs held that transition would solve their problems coupled
                                           with the sizable minority who became unwilling to work on their basic mental health issues
                                           before seeking treatment support the concept that the drive to transition might be used to avoid
                                           dealing with mental health issues and aversive emotions. Additional support for this hypothesis
                                           is that the sample of AYAs described in this study are predominantly female, experienced the
                                           onset of symptoms during adolescence and contained an overrepresentation of academically
                                           gifted students which bears a strong resemblance to populations of individuals diagnosed with
                                           anorexia nervosa as they are predominantly female [55–56]; typically have the onset of symptoms
                                           in adolescence [57] and are likely to have high IQ [58–59]. The risk factors, mechanisms and
                                           meanings of anorexia nervosa [53, 54, 60] may ultimately prove to be a valuable template to
                                           understand the risk factors, mechanisms, and meanings of rapid-onset gender dysphoria.
                                               Transition as a drive to escape one’s gender/sex, emotions, or difficult realities might also
                                           be considered when the drive to transition arises after a sex or gender-related trauma or within
                                           the context of significant psychiatric symptoms and decline in ability to function. Although
                                           trauma and psychiatric disorders are not specific for the development of gender dysphoria,
                                           these experiences may leave a person in psychological pain and in search of a coping mecha-
                                           nism. The first coping mechanism that a vulnerable person adopts may be the result of their
                                           environment and which narratives for pain and coping are most prevalent in that environ-
                                           ment—in some settings a gender dysphoria/drive to transition may be the dominant para-
                                           digm, in some settings a body dysphoria/drive for extreme weight loss is dominant, and in
                                           another the use of alcohol and drugs to cope with pain may be dominant. Because maladaptive



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                    33 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 187 of 216
                                                                                    Rapid-onset gender dysphoria in adolescents and young adults



                                           coping mechanisms do not address the root cause of distress and may cause their own negative
                                           consequences, the most likely outcome in this sample, AYAs experiencing a decline in their
                                           mental well-being after transgender-identification, is consistent with this hypothesis. There
                                           was a subset of AYAs who had improvement in their mental well-being as they desisted from
                                           their transgender-identification which would not be inconsistent with moving from a mal-
                                           adaptive coping mechanism to an adaptive coping mechanism.
                                               If the above hypotheses are correct, rapid onset of gender dysphoria that is socially medi-
                                           ated and/or used as a maladaptive coping mechanism may be harmful to AYAs in the follow-
                                           ing ways: (1) non-treatment or delayed treatment for trauma and mental health problems that
                                           might be the root of (or at least an inherent part of) the AYAs’ issues; (2) alienation of the
                                           AYAs from their parents and other crucial social support systems; (3) isolation from main-
                                           stream, non-transgender society, which may curtail educational and vocational potential; and
                                           (4) the assumption of the medical and surgical risks of transition without benefit. In addition
                                           to these indirect harms, there is also the possibility that this type of gender dysphoria, with the
                                           subsequent drive to transition, may represent a form of intentional self-harm. Promoting the
                                           affirmation of a declared gender and recommending transition (social, medical, surgical) with-
                                           out evaluation may add to the harm for these individuals as it can reinforce the maladaptive
                                           coping mechanism, prolong the length of time before the AYA accepts treatment for trauma
                                           or mental health issues, and interfere with the development of healthy, adaptive coping mecha-
                                           nisms. It is especially critical to differentiate individuals who would benefit from transition
                                           from those who would be harmed by transition before proceeding with treatment.


                                           Reflections
                                           Clinicians need to be aware of the myriad of barriers that may stand in the way of making
                                           accurate diagnoses when an AYA presents with a desire to transition including: the develop-
                                           mental stage of adolescence; the presence of subcultures coaching AYAs to mislead their doc-
                                           tors; and the exclusion of parents from the evaluation. In this study, 22.3% of AYAs had been
                                           exposed to online advice about what to say to doctors to get hormones, and 17.5% to the advice
                                           that it is acceptable to lie to physicians; and the vast majority of parents were reasonably sure
                                           or positive that their child misrepresented their history to their doctor or therapist. Further-
                                           more, although parents may be the most knowledgeable informants on matters of their own
                                           child’s developmental, medical, social, behavioral, and mental health history- and quite possi-
                                           bly because they are the most knowledgeable- they are often excluded from the clinical discus-
                                           sion by the AYAs, themselves. An AYA telling their clinician that their parents are transphobic
                                           and abusive may indeed mean that the parents are transphobic and abusive. However, the
                                           findings of this research indicate that it is also possible that the AYA calls the parent transpho-
                                           bic and abusive because the parent disagrees with the child’s self-diagnosis, has expressed con-
                                           cern for the child’s future, or has requested that the child be evaluated for mental health issues
                                           before proceeding with treatment.
                                               The conclusion of this exploratory study is that clinicians need to be very cautious before
                                           relying solely on self-report when AYAs seek social, medical or surgical transition. Adolescents
                                           and young adults are not trained medical professionals. When AYAs diagnose their own
                                           symptoms based on what they read on the internet and hear from their friends, it is quite pos-
                                           sible for them to reach incorrect conclusions. It is the duty of the clinician, when seeing a new
                                           AYA patient seeking transition, to perform their own evaluation and differential diagnosis to
                                           determine if the patient is correct or incorrect in their self-assessment of their symptoms and
                                           their conviction that they would benefit from transition. This is not to say that the convictions
                                           of the patient should be dismissed or ignored, some may ultimately benefit from transition.



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                  34 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 188 of 216
                                                                                     Rapid-onset gender dysphoria in adolescents and young adults



                                           However, careful clinical exploration should not be neglected, either. The patient’s history
                                           being significantly different than their parents’ account of the child’s history should serve as a
                                           red flag that a more thorough evaluation is needed and that as much as possible about the
                                           patient’s history should be verified by other sources. The findings that the majority of clini-
                                           cians described in this study did not explore trauma or mental health disorders as possible
                                           causes of gender dysphoria or request medical records in patients with atypical presentations
                                           of gender dysphoria is alarming. The reported behavior of clinicians refusing to communicate
                                           with their patients’ parents, primary care physicians, and psychiatrists betrays a resistance to
                                           triangulation of evidence which puts AYAs at considerable risk.
                                               It is possible that some teens and young adults may have requested that their discussions
                                           with the clinicians addressing gender issues be kept confidential from their parents, as is their
                                           right (except for information that would put themselves or others at harm). However, main-
                                           taining confidentiality of the patient does not prevent the clinician from listening to the medi-
                                           cal and social history of the patient provided by the parent. Nor does it prevent a clinician
                                           from accepting information provided by the patient’s primary care physicians and psychia-
                                           trists. Because adolescents may not be reliable historians and may have limited awareness and
                                           insight about their own emotions and behaviors, the inclusion of information from multiple
                                           informants is often recommended when working with or evaluating minors. One would
                                           expect that if a patient refuses the inclusion of information from parents and physicians (prior
                                           and current), that the clinician would explore this with the patient and encourage them to
                                           reconsider. At the very least, if a patient asks that all information from parents and medical
                                           sources be disregarded, it should raise the suspicion that what the patient is presenting may be
                                           less than forthcoming and the clinician should proceed with caution.
                                               The argument to surface from this study is not that the insider perspectives of AYAs pre-
                                           senting with rapid-onset gender dysphoria should be set aside by clinicians, but that the
                                           insights of parents are a pre-requisite for robust triangulation of evidence and fully informed
                                           diagnosis. All parents know their growing children are not always right, particularly in the
                                           almost universally tumultuous period of adolescence. Most parents have the awareness and
                                           humility to know that even as adults they are not always right themselves. When an AYA pres-
                                           ents with rapid-onset gender dysphoria it is incumbent upon all professionals to fully respect
                                           the young person’s insider perspective but also, in the interests of safe diagnosis and avoidance
                                           of clinical harm, to have the awareness and humility themselves to engage with parental per-
                                           spectives and triangulate evidence in the interest of validity and reliability.
                                               The strengths of this study include that it is the first empirical description of a specific phe-
                                           nomenon that has been observed by parents and clinicians [61] and that it explores the psychoso-
                                           cial context of youth who have recently identified as transgender with a focus on vulnerabilities,
                                           co-morbidities, peer group interactions, and social media use. This research provides additional
                                           hypotheses to explain the dramatic rise in the number of adolescents seeking care for gender dys-
                                           phoria, the recent inversion of the sex ratio for adolescents seeking care, and the new clinical pre-
                                           sentation of natal females having their gender dysphoria symptoms observed to begin during or
                                           after puberty (in the absence of readily observable indicators of childhood gender dysphoria).
                                           Additionally, the qualitative analysis of responses about peer group dynamics provides a rich
                                           illustration of AYA intra-group and inter-group behaviors. This research also provides a glimpse
                                           into parent perceptions of clinician interactions in the evaluation and treatment of AYAs with an
                                           adolescent-onset (or young adult-onset) of gender dysphoria symptoms.
                                               The limitations of this study include that it is a descriptive study with the purpose of a delin-
                                           eating previously unrecognized specific population of AYAs identifying as transgender and
                                           developing hypotheses about the origins and significance of rapid-onset gender dysphoria
                                           (ROGD). This is not a prevalence study and does not attempt to evaluate the degree to which



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                   35 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 189 of 216
                                                                                      Rapid-onset gender dysphoria in adolescents and young adults



                                           this presentation of a socially mediated onset of gender dysphoria or the use of the drive to
                                           transition as a maladaptive coping mechanism is widespread in the population. Gathering
                                           more data on the topics introduced is a key recommendation for further study. It is not unc-
                                           ommon for first, descriptive studies, especially when studying a population or phenomenon
                                           where the prevalence is unknown, to use targeted recruiting. To maximize the possibility of
                                           finding cases meeting eligibility criteria, recruitment is directed towards communities that are
                                           likely to have eligible participants. For example, in the first descriptive study about children
                                           who had been socially transitioned, the authors recruited potential subjects from gender
                                           expansive camps and gender conferences where parents who supported social transition for
                                           young children might be present and the authors did not seek out communities where parents
                                           might be less inclined to find social transition for young children appropriate [62]. In the same
                                           way, for the current study, recruitment was targeted primarily to sites where parents had
                                           described the phenomenon of a rapid onset of gender dysphoria because those might be com-
                                           munities where such cases could be found. The generalizability of the study must be carefully
                                           delineated based on the recruitment methods, and, like all first descriptive studies, additional
                                           studies will be needed to replicate the findings. The websites that were used for recruitment
                                           are sites which specifically offer to support parents worried about their transgender-identifying
                                           children and the population viewing these websites may be different from populations viewing
                                           websites that promote a “gender-affirming” perspective and both populations may differ from
                                           a broader general population in their attitudes about transgender-identified individuals.
                                               It would be most accurate to characterize the differences between parents viewing the websites
                                           used for recruitment and parents viewing websites that promote a gender-affirmative perspective
                                           as parents with a difference of opinion about how best to evaluate and treat gender dysphoric
                                           children and adolescents, with the former favoring judicious use of transition and the latter
                                           favoring a liberal use of transition. However, some may argue that the parents recruited from the
                                           websites used might be more oppositional to transgender-identified individuals in general. To
                                           address this potential concern, respondents were asked specifically whether they believe that
                                           transgender people deserve the same rights and protections as others and 88.2% of respondents
                                           gave affirmative answers to the question which is consistent with the 89% affirmative response
                                           reported in a US national poll [63]. All self-reported results have the potential limitation of social
                                           desirability bias. However, comparing this self-report sample to the national self-report samples
                                           [63], the results show similar rates of support. Therefore, there is no evidence that the study sam-
                                           ple is appreciably different in their support of the rights of transgender people than the general
                                           American population. It is also important to note that recruitment was not limited to the web-
                                           sites where the information about the study was first posted. Snowball sampling was also used so
                                           that any person viewing the recruitment information was encouraged to share the information
                                           with any person or community where they thought there could be potentially eligible partici-
                                           pants, thus substantially widening the reach of potential respondents. In follow up studies on this
                                           topic, an even wider variety of recruitment sources should be attempted.
                                               Another limitation of this study is that it included only parental perspective. Ideally, data
                                           would be obtained from both the parent and the child and the absence of either perspective
                                           paints an incomplete account of events. Input from the youth would have yielded additional
                                           information. Further research that includes data collection from both parent and child is
                                           required to fully understand this condition. However, because this research has been produced
                                           in a climate where the input from parents is often neglected in the evaluation and treatment of
                                           gender dysphoric AYAs, this research supplies a valuable, previously missing piece to the jigsaw
                                           puzzle. If Hypothesis 2 is correct that rapid-onset gender dysphoria (ROGD) represents an ego-
                                           syntonic maladaptive coping mechanism for AYAs, data from parents are especially important
                                           because affected AYAs may be so committed to the maladaptive coping mechanism that their



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                    36 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 190 of 216
                                                                                     Rapid-onset gender dysphoria in adolescents and young adults



                                           ability to assess their own situation may be impaired. Furthermore, parents uniquely can provide
                                           details of their child’s early development and the presence or absence of readily observable child-
                                           hood indicators of gender dysphoria are especially relevant to the diagnosis. There are, however,
                                           obvious limitations to relying solely on parent report. It is possible that some of the participating
                                           parents may not have noticed symptoms of gender dysphoria before their AYA’s disclosure of a
                                           transgender identity; could have been experiencing shock or grief from the disclosure; or even
                                           could have chosen to deny or obscure knowledge of long term gender dysphoria. Readers should
                                           hold this possibility in mind. Regardless, the 200 plus responses appear to have been prepared
                                           carefully and were rich in detail, suggesting they were written in good faith and that parents were
                                           attentive observers of their children’s lives. Although this research adds the necessary component
                                           of parent observation to our understanding of gender dysphoric adolescents and young adults,
                                           future study in this area should include both parent and child input.
                                               This research does not imply that no AYAs who become transgender-identified during
                                           their adolescent or young adult years had earlier symptoms nor does it imply that no AYAs
                                           would ultimately benefit from transition. Rather, it suggests that not all AYAs presenting at
                                           these vulnerable ages are correct in their self-assessment of the cause of their symptoms; some
                                           may be employing a drive to transition as a maladaptive coping mechanism; and that careful
                                           evaluation is essential to protect patients from the clinical harms of overtreatment and under-
                                           treatment. More research is needed to determine the incidence, prevalence, persistence and
                                           desistence rates, and the duration of gender dysphoria for adolescent-onset gender dysphoria
                                           in general and for rapid-onset gender dysphoria, specifically. Adolescent-onset gender dyspho-
                                           ria is sufficiently different from early-onset of gender dysphoria that persists or worsens at
                                           puberty and therefore, the research results from early-onset gender dysphoria should not be
                                           considered generalizable to adolescent-onset gender dysphoria. It is currently unknown
                                           whether the gender dysphorias of adolescent-onset gender dysphoria and of rapid-onset gen-
                                           der dysphoria are transient, temporary or likely to be long-term. Without the knowledge of
                                           whether the gender dysphoria is likely to be temporary, extreme caution should be applied
                                           before considering the use of treatments that have permanent effects such as cross-sex hor-
                                           mones and surgery. Research needs to be done to determine if affirming a newly declared gen-
                                           der identity, social transition, puberty suppression and cross-sex hormones can cause an
                                           iatrogenic persistence of gender dysphoria in individuals who would have had their gender
                                           dysphoria resolve on its own and whether these interventions prolong the duration of time
                                           that an individual feels gender dysphoric before desisting. There is also a need to discover how
                                           to diagnose these conditions, how to treat the AYAs affected, and how best to support AYAs
                                           and their families. Additionally, analyses of online content for pro-transition sites and social
                                           media should be conducted in the same way that content analysis has been performed for pro-
                                           eating disorder websites and social media content [32].


                                           Conclusion
                                           Rapid-onset gender dysphoria describes a phenomenon where the development of gender dys-
                                           phoria is observed to begin suddenly during or after puberty in an adolescent or young adult
                                           who would not have met criteria for gender dysphoria in childhood. ROGD appears to repre-
                                           sent an entity that is distinct in etiology from the gender dysphoria observed in individuals
                                           who have previously been described as transgender. It is plausible that ROGD represents an
                                           ego-syntonic maladaptive coping mechanism for some AYAs and that peer group and online
                                           influences may contribute to its development. It is unknown whether the gender dysphoria of
                                           rapid-onset gender dysphoria is temporary or likely to be long-term. The elevated number of
                                           friends per friendship group who became transgender-identified, the pattern of cluster



PLOS ONE | https://doi.org/10.1371/journal.pone.0202330 August 16, 2018                                                                   37 / 41
            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 191 of 216
                                                                                         Rapid-onset gender dysphoria in adolescents and young adults



                                           outbreaks of transgender-identification in these friendship groups, the substantial percentage
                                           of friendship groups where the majority of the members became transgender-identified, and
                                           the peer group dynamics observed all serve to support the plausibility of social and peer conta-
                                           gion for ROGD. The worsening of mental well-being and parent-child relationships and
                                           behaviors that isolate teens from their parents, families, non-transgender friends and main-
                                           stream sources of information are particularly concerning. More research is needed to better
                                           understand rapid-onset gender dysphoria, its implications, and scope.

                                           Supporting information
                                           S1 Appendix. Survey instrument.
                                           (PDF)
                                           S2 Appendix. COREQ Checklist.
                                           (PDF)


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            Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 195 of 216
                      EXHIBIT W




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 196 of 216
         Caring for Transgender
         and Gender ­Diverse Youth with                                                    10
         Co-occurring Neurodiversity

         Roy H. T. van Vlerken, Coralie E. Fuchs,
         and Anna I. R. van der Miesen




         Introduction

         Gender is thought to be a developmental process, and for some youth, gender
         identity may continue to shift and develop throughout childhood and into adoles-
         cence or adulthood. Diverse aspects of social, emotional, and identity develop-
         ment may be influenced by the presence of autism spectrum disorder (ASD), and
         increasingly, the co-occurrence of gender diversity and ASD is a focus of study.
         While most clinicians are aware of the potential co-occurrence of several psy-
         chological symptoms in transgender and gender diverse (TGD) children and ado-
         lescents [1, 2], less is known about the seemingly higher prevalence of ASD and/
         or social developmental impairments in TGD children and adolescents seen in
         specialized gender services. A growing body of literature has attempted to char-
         acterize and quantify the presence of ASD characteristics in TGD youth. This
         work started in the nineties with descriptions in case reports [e.g., 3]. In 2010, the
         first systematic study was performed investigating diagnoses of ASD in children
         and adolescents referred for gender dysphoria (GD) assessment [4]. Since then,
         the number of publications on the co-occurrence of GD/TGD and ASD has
         increased every year [5]. So, what do we know now about this potential co-
         occurrence? For example, can GD be diagnosed in youth with ASD? Likewise,
         can ASD be diagnosed in TGD youth? Also, what should every clinician working
         with TGD youth with (characteristics of) ASD know? This chapter describes the



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Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 197 of 216
         138                                                              R. H. T. van Vlerken et al.

         current state of the literature regarding this co-occurrence and addresses impor-
         tant clinical aspects with regard to assessment and gender affirmative treatment.


         What Is Autism Spectrum Disorder?

         The two main characteristics of ASD are (i) persistent impairments in social com-
         munication and interaction (criterion A) and (ii) restricted, repetitive patterns of
         behavior, interests, or activities (criterion B) [6]. The umbrella term ASD encom-
         passes conditions that were previous referred to in the DSM-IV-TR as autistic dis-
         order, Asperger’s syndrome, pervasive developmental disorder not otherwise
         specified (PDD-NOS), and childhood disintegrative disorder [7]. This creates some
         challenges in comparing literature over time and similarly reflects a changing and
         growing lexicon as well as growing body of evidence across the ASD frameworks,
         also visible in TGD data and frameworks.
             Characteristics of ASD usually manifest from early infancy onward [6]. ASD is
         heterogeneous with respect to clinical presentation and severity [8]. The extent to
         which characteristics manifest depends on the severity of the ASD characteristics as
         well as on the developmental level and chronologic age [6]. Difficulties in establish-
         ing, maintaining, and understanding social relations in youth with ASD vary from a
         lack of social interaction and play to difficulty adjusting one’s social behavior to
         different social settings (criterion A). Individuals with ASD might also struggle to
         share thoughts and feelings with others, to use nonverbal communication, such as
         eye contact or gesturing, and might find it difficult to respond to social situations or
         find these situations overwhelming. An example of the B criterion of repetitive
         behaviors typical for ASD could be a tendency to order toys instead of playing with
         them, or simple motor stereotyped behaviors such as hand flapping, rocking, or
         spinning [6]. Children and adolescents with ASD might also show a tendency to
         sameness, as can be apparent from a resistance to change and rigid patterns of think-
         ing (e.g., getting upset by a small change in routines). The limited and fixed interests
         seen in ASD are often unusual in focus and intensity [6], for example, an intense
         interest in trains. Sometimes, these interests might be correlated with being over-
         sensitive or under-sensitive to sensory input or with an unusual interest in the sen-
         sory aspect of the environment (e.g., the urge to touch certain fabrics, dislike of
         specific food textures, or fascinations with shiny objects) [6].
             The prevalence of ASD in the general population has recently been estimated
         around 1%, with a prevalence rate that is two to three times higher in males assigned
         at birth [8]. The exact cause of ASD is unknown. It has been suggested that ASD has
         a multifactorial origin, resulting from genetic and nongenetic risk factors (and their
         interaction) that might interfere with typical neurodevelopment [9]. ASD is often
         described as a neurodevelopmental condition. A more non-pathologizing approach
         is to view ASD as a neurodiverse condition resulting from developmental variation
         or as neurodiversity [10], instead of a disorder per se.




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 198 of 216
         10 Caring for Transgender and Gender Diverse Youth with Co-occurring…              139


         Co-occurrence

         A growing body of literature suggests that neurodiversity and GD/TGD intersect
         more frequently than might be anticipated by chance. Existing literature has for the
         most part framed this as a categorical question, attempting to quantify rates of co-
         occurrence of GD and ASD. Studies have differed in the methods used (both quali-
         tative and quantitative), the samples investigated (TGD individuals and individuals
         with ASD, respectively), and the use of control groups. The literature with regard to
         the co-occurrence of GD and ASD in children and adolescents was first described in
         several case reports [e.g., 3, 11]. The first quantitative study was a Dutch study that
         examined ASD in children and adolescents consecutively referred to a gender clinic
         by formally assessing an ASD diagnosis, using the Diagnostic Interview for Social
         and Communication Disorder [12]. An ASD incidence of 7.8% was found (n = 16
         meeting the full criteria of ASD out of a total of N = 204) [4]. Other quantitative
         studies investigated the characteristics of ASD instead of ASD diagnoses in TGD
         children and adolescents [13–19]. These studies included sample sizes ranging from
         25 to 490 TGD children and adolescents. Using different measures, such as the
         Social Responsiveness Scale [15, 17] or the Asperger Syndrome Diagnostic Scale
         [18], while using neurotypical [e.g., 13] or ASD reference groups [19], all studies
         that investigated clinical range ASD percentages found increased percentages of
         individuals that met the cut-off for a potential ASD diagnosis ranging from 14.5%
         to 68%. It should be noted, however, that none of these studies used a clinical con-
         trol group, and therefore, general conclusions about these studies should be made
         carefully [20].
             Conversely, one study investigated GD diagnoses in children with ASD [21].
         This study found that children with ASD were over four times as likely to be diag-
         nosed with GD, compared to children from the general population. In addition, four
         studies investigated gender variance (GV), defined as the wish to be of the other
         gender, in samples of children and adolescents diagnosed with ASD [22–25]. They
         found elevated levels of GV compared to the general population, with percentages
         ranging from 4% to 6.5%. One study also found increased levels of GV in individu-
         als with attention-deficit/hyperactivity disorder [24], and therefore, any conclusions
         about the specificity of these findings should be made with caution. One recent
         study investigated TGD and ASD in a community-based general population sample
         of children and found that increased ASD characteristics were associated with
         increased TGD characteristics [26].
             Although the literature strongly points out a more frequent intersection of TGD
         and neurodiversity, some additional conceptualizations are relevant. Diagnosing
         ASD properly can be challenging, even more so in clinic-referred youth. In general,
         more research with validated measures is necessary to investigate the co-occurring
         prevalence rates. Also, the social cognitive challenges that have been found in TGD
         youth might represent a distinct phenomenon from ASD; TGD individuals might
         score higher on social cognitive measures due to a high prevalence of minority
         stress and poor peer relations, instead of reflecting an ASD diagnosis [20].




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 199 of 216
         140                                                             R. H. T. van Vlerken et al.


          ow Could the Possible Co-occurrence of GD/TGD and ASD
         H
         Be Explained?

         In the literature, several ideas have been forwarded to make sense of the possible
         co-occurrence of GD/TGD and ASD. These can be subdivided into biological, psy-
         chological, and social mechanisms or a combination of those, as suggested by van
         der Miesen et al. [27] and will be discussed below.


         Biological Factors

         It may be hypothesized that the intersection between GD/TGD and ASD is related to
         shared, brain-based factors. In ASD research [28], as well as research related to the
         potential GD/TGD–ASD co-occurrence, one hypothesis is based on the extreme
         male brain (EMB) theory [29]. This theory posits that, on average, neurotypical
         males have a stronger drive to systemize than empathize, while neurotypical females
         have a stronger drive to empathize than systemize. Empathizing is the drive to under-
         stand and respond properly to another person’s thoughts and emotions, while system-
         izing is the drive to analyze, understand, or construct systems [29]. According to the
         EMB theory, the brain type – with regard to these cognitive profiles – of individuals
         with ASD has shifted toward an extreme male type, with on average more system-
         izing than empathizing [29]. Increased prenatal testosterone exposure has been sug-
         gested as one of the contributing factors underlying this shift and might influence the
         development of the brain in the male or female direction [30]. Furthermore, the EMB
         theory has been suggested to be involved in the GD–ASD co-occurrence [31], as
         increased intrauterine testosterone exposure could lead to both increase in autistic
         characteristics or ASD, and also GD, especially in assigned females at birth. While
         some studies indeed partly support the EMB theory by indirect evidence, most other
         studies do not support the EMB theory as an explanation [e.g., 19]. In addition, the
         EMB theory would only explain why assigned females at birth with ASD might have
         more co-occurring TGD/GD, and therefore, more research is needed to see if and
         how the EMB theory might be an underlying factor.


         Psychological Factors

         For clinicians assessing children or adolescents with ASD who exhibit gender diverse
         behavior (e.g., cross-dressing), it is important to consider whether this behavior
         might reflect the sometimes limited, fixed, and intense or focused interests, which are
         one of the B criteria for ASD [6]. Correspondingly, authors of several case reports
         have suggested that TGD in persons with ASD might originate from ASD-related
         preoccupations or fixations [3, 11, 32]. The first author who suggested this hypothe-
         sis described two boys with gender diverse behavior that was thought to be the result
         of a tendency to unusual objects [33]. In line with this hypothesis, one study investi-
         gated obsessions and compulsions in children referred for GD and found that both



Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 200 of 216
         10 Caring for Transgender and Gender Diverse Youth with Co-occurring…             141

         obsessions and compulsions were elevated compared to nonreferred individuals [16].
         In the children assigned male at birth referred for GD, themes in obsessions and
         compulsions were significantly more gender-related compared to their male siblings.
         In contrast, no differences were found among those assigned female at birth. Another
         study investigating different subdomains of the ASD spectrum (e.g., social problems,
         orientation problems, stereotyped behavior, and resistance to change) in children and
         adolescents referred for GD found elevations on all subdomains of the ASD spec-
         trum in both assigned boys and girls at birth, respectively [19]. These findings imply
         that factors contributing to the potential co-occurrence of GD–ASD might not be
         specific to obsessional interests in individuals with ASD as previously suggested, but
         rather be related to more than one subdomain of ASD. Thus, it remains unclear
         whether obsessional interests in cross-gender themes occur in the context of ASD or
         are in fact related to gender identity development [16, 20]. These interests might be
         a way of communicating their gender identity, especially when confronted with
         resistance from, for example, the family, or stem from minority stress or stigma,
         instead of ASD-related characteristics [15, 16]. TGD youth might, therefore, also
         score higher on ASD measures in general [20]. Further, other subdomains of ASD,
         such as hyper- or hyporesponsiveness and developmental rigidity, have been sug-
         gested [4] to contribute to TGD in individuals with ASD, but more research is needed
         to see whether this can be supported by empirical evidence [27].


         Social Factors

         Children and adolescents with ASD might be less aware of stereotypical societal
         gender norms and, therefore, be less hampered to express TGD, allowing them to
         follow their own creative gender path [24, 34]. Differences in social learning and
         this lack of awareness may lead to a less concrete, socially determined concept of
         being a binary “gendered” individual. The experiences of individuals with ASD,
         with regard to gender, might be very insightful in deconstructing society’s binary
         view of gender [34]. One study in adults has investigated different ASD character-
         istics and found support for the hypothesis that individuals with ASD might be more
         resistant to social gender conditioning [35].
             Children with ASD might find it difficult to form relationships with peers and to
         establish and maintain friendships [6]. Some reasons for these social difficulties
         include having a lack of shared interests and being less aware of the feelings and
         needs of others. Being ostracized or bullied might make it extra difficult to fit in
         with their own peer group. As a result, it has been hypothesized that children might
         develop a dislike of their own gender and develop feelings of belonging to the other
         gender [4, 11]. This phenomenon might even be reinforced if children feel that they
         are more tolerated or accepted by members of the other gender. For example, an
         assigned boy at birth who is not good at soccer, and therefore is bullied by other
         assigned boys at birth but is readily accepted by a group of assigned girls at birth,
         might develop a dislike toward being a boy and a greater sense of belonging to the
         group of girls. Likewise, an assigned girl at birth who does not understand the



Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 201 of 216
         142                                                              R. H. T. van Vlerken et al.

         unwritten social rules that apply to a group of assigned girls at birth and shares cer-
         tain interests or skills with assigned boys at birth (e.g., playing with dinosaurs)
         might identify more with a group of boys. One study in adults with ASD investi-
         gated social identification and found lower social identification with gender groups
         and less positive feelings (self-esteem) about gender groups compared to neurotypi-
         cal individuals. In addition, TGD adults with ASD reported lower gender identifica-
         tion and self-esteem than non-TGD individuals with ASD [36]. However, this
         hypothesis has not been directly investigated with regard to gender identity develop-
         ment and remains, therefore, speculative.


         Assessment and Treatment

         Children and adolescents with ASD or ASD characteristics might present gender-­
         related concerns to health professionals in different settings, for example, to their
         general practitioner, pediatrician, or mental health specialist. Questions might arise
         regarding the implications that co-occurring ASD might have on assessment and
         treatment of TGD children and adolescents. The following section addresses clini-
         cal aspects regarding assessment and treatment of TGD youth and co-occurring
         ASD together with a vignette example. To date, only initial clinical guidelines based
         on expert consensus for the care of TGD adolescents with ASD were published [37].


         Assessment

         While co-occurring ASD might come with challenges in assessment, there is clinical
         consensus that TGD and ASD can co-occur independently and that an ASD diagno-
         sis should not be an exclusion criterion for a GD diagnosis in children and adoles-
         cents nor for gender-affirming treatment in adolescents [37]. It is recommended to
         screen TGD children and adolescents for ASD and to refer for ASD diagnostics if
         indicated. Likewise, it is also advisable to screen youth with ASD for gender-related
         questions [37]. Individuals with (characteristics of) ASD who seek help for feelings
         of TGD could best be assessed by professionals with both expertise in TGD and ASD
         or by those with TGD expertise in close collaboration with ASD experts [37].
             The role of the mental health provider in general may include assessment for
         GD/TGD, including affirmative and open exploration of the gender identity, assess-
         ment for/treatment of coexisting mental health conditions, to educate and advocate,
         to provide information on peer support, and to inform about/refer for gender affir-
         mative medical interventions [38].
             What ASD-specific characteristics should clinicians take into consideration during
         the diagnostic process? Youth with ASD who seek help for gender-related concerns
         might not always present as their experienced gender or find it difficult to socially
         transition due to social anxiety and impaired executive functioning (e.g., planning,
         organizing, and abstract thinking). Also, it might be more difficult to present socially
         in the experienced gender role before any gender affirmative treatment has taken place



Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 202 of 216
         10 Caring for Transgender and Gender Diverse Youth with Co-occurring…                143

         [37]. For clinicians and parents, such a presentation could give rise to second thoughts
         about the credibility of their experience. Nonetheless, many of these youth might have
         persistent feelings of GD and should not be denied access to the assessment of
         GD. Instead, these individuals should be referred to professionals who might help
         them explore their gender identity and goals in a safe and supportive setting that incor-
         porates appropriate integration of any ASD impact on executing an affirmation plan.
            Assessment could additionally be complicated due to difficulties in communica-
         tion and expressing/exploring gender-related feelings [37]. Individuals with ASD
         might be less aware of how they feel about their body, and identity in general, which
         could make it difficult to discuss feelings with regard to gender identity. Also,
         because of a tendency to use “black-and-white” thinking rather than “gray,” indi-
         viduals with ASD might find it difficult during assessment to explore gender from a
         continuous perspective, instead of a binary concept [37]. Additionally, understand-
         ing of the long-term impacts of treatment might be difficult for youth with ASD if
         they have limited ability to envision the future.
            When assessing youth with ASD for GD, it is therefore advisable to have infor-
         mation on their strengths and challenges (e.g., cognitive functioning, communica-
         tion abilities, executive functioning) and to take ASD-related features into account
         by, for example, adjusting language to their cognitive level or making use of visual
         supports. Treatment for specific ASD-related challenges or needs, such as problems
         with emotion recognition or social communication problems, can be advised, both
         prior (during the diagnostic phase) and parallel to gender affirmative treatment [37].


            Vignette: Sam
            Sam, a 14-year-old assigned male at birth, was diagnosed with ASD at age 8.
            In early childhood, Sam’s development differed from peers in several areas.
            While growing up, Sam had several fixations, among others for dinosaurs,
            later for aliens and elves. Sam had a different way of interacting with peers,
            misunderstanding the intentions of others, and feeling left out and bullied.
            Sam also had a friendship with Ellen, a same aged assigned girl at birth living
            next door. They liked to play together with dolls and dress up as princesses.
            Sam never talked about gender identity questions till age 12. At that age, Sam
            mentioned the strong wish to be like Ellen. When presenting at the gender
            clinic, Sam could at first only describe what Ellen had that Sam also wished
            for, like having clothes with glitters and having more friendships with girls.
            Sam also told the clinician that Sam likes her name because it could both be a
            boy and girl name. During the assessment of GD, it took Sam several months
            to disentangle their own feelings and thoughts from the picture Sam had made
            of Ellen. Sam went to a therapist experienced in ASD to enable her to give
            words to her feelings. During these sessions, the despair became apparent that
            Sam felt because of the bodily changes caused by puberty. Sam’s parents were
            supportive, adding examples of gender diverse behavior from early infant-
            hood on, and giving room to Sam in discovering her own identity.




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 203 of 216
         144                                                              R. H. T. van Vlerken et al.

             It can sometimes be challenging to disentangle GD/TGD from ASD-related
         characteristics. Clinicians and/or caregivers might be worried that TGD feelings
         might stem from ASD-related characteristics such as fixations/obsessions, special
         interests, or a need for certain sensory input. It is to be advised to take an individual
         approach, with sometimes an extended assessment period [27, 37].
             Youth with ASD might report experiences of TGD since elementary school [39].
         However, sometimes children with ASD might be devoid of any self-reference to
         gender when they are younger and might be less aware of social gender norms. They
         might not think about gender at all when they are little, becoming aware of gender
         only in late childhood or adolescence, for example, when secondary sex character-
         istics develop [34, 35]. Involvement of family or caregivers is important because a
         history from parents or caregivers can provide valuable information of gender iden-
         tity development in (early) childhood. Moreover, family support can play a very
         important role in psychological health and well-being [38].
             Also, in some studies, an elevation of emotional and behavior problems, espe-
         cially affective, anxiety, and somatic problems, has been found in individuals with
         ASD and co-occurring TGD, compared to individuals with ASD alone [25].
         Clinicians should, thus, be alert of these and other co-occurring conditions during
         assessment and incorporate these in the treatment plan or refer individuals to spe-
         cific services.


          onmedical Interventions: A Stepwise Approach,
         N
         Psychoeducation, and Gender Exploration

         There is often no clear distinction between assessment and treatment of GD in youth
         with ASD, and assessment and treatment might partly overlap [37]. ASD-related
         problems in future thinking might lead to difficulties in envisaging how something
         in the future will be or feel. Steps in social transition should be evaluated in a step-
         wise approach, with regard to GD-related distress and general well-being [37]. This
         careful evaluation of the stepwise approach often continues during gender affirma-
         tive treatment, such as hormone treatment.

            Vignette: Sam (continued)
            The assessment of GD was helped by the parallel treatment with the ASD
            therapist. Sam was able to express her feelings by, for example, describing
            difficult situations in a diary, making a painting of herself and formulating
            steps necessary to become more happy with herself. Sam discovered a more
            expansive way of understanding her gender diverse thoughts, feelings, and
            experiences, by separating her gender identity, gender expression, gender
            assigned at birth, and physical or emotional attraction toward others. One of
            the more difficult subjects was Sam’s wish to be more socially accepted in the
            group of girls at school. Although she became more at ease with herself, she
            still experienced challenges in social interactions. It took Sam much effort to
            understand and accept that not everything would improve after transitioning.



Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 204 of 216
         10 Caring for Transgender and Gender Diverse Youth with Co-occurring…              145

             Extended psychoeducation for neurodiverse youth, as well as for parents/care-
         givers, is an important part of supporting youth and their parents to help develop a
         broad range of possible gender outcomes and increase flexibility in thinking about
         gender, self-awareness, and social insight [37, 39]. During consultations with youth,
         it is often helpful to explore gender as a continuum instead of a binary, to provide
         alternative gender outcomes (such as gender fluid, a-gender), and to inform them
         about the options of embodying various aspects of another gender without having a
         full medical transition.
             Youth with ASD should be encouraged to explore their gender identity, various
         options within the gender spectrum, and gender role/expression in their own pace,
         before possible irreversible medical treatment interventions. As youth with ASD
         might be inclined to “all or nothing” thinking, it can be challenging to take a gradual
         approach in exploring gender-affirming steps [37].
             Incorporating aspects of the experienced gender, before medical interventions
         have started or completed, can be confusing or provoke anxiety. Also, explora-
         tion beyond what is familiar or what feels safe can provoke anxiety. When youth
         with ASD find it complex to initiate or complete a social transition due to, for
         example, executive functioning problems, rigid thinking, or anxiety, caregivers
         should be involved to facilitate gender exploration and to support or give guid-
         ance regarding any difficulties. Such difficulties can vary from problems with
         coming out to using makeup or finding an own and satisfactory clothing style.
         Also, it can be helpful to offer a certain structure in themes to be explored, for
         example, clothing, hairstyle, and hobbies, and each step should be evaluated
         carefully.
             During this stepwise approach, it is important to monitor the process, and there-
         fore, appointment compliance is important. As youth with ASD find it sometimes
         difficult to come to sessions, involvement of caregivers and support with planning
         can be helpful [37].


         Medical Treatment
            Vignette: Sam (continued)
            After a period of assessment, the distress caused by the potential virilization
            of her body became very apparent (e.g., panic attacks because of the feeling
            of having facial hair, avoiding the confrontation with her body by refusing to
            take a shower). A treatment with puberty blockers was started as a first step to
            release this distress and to help Sam take the time to further discover her own
            unique identity. A big step was coming-out at school. Sam had first planned to
            transition over the summer holiday, even wanting to change school in order to
            avoid the confrontation with the in-between phase. Finally, with the help of
            her teacher, she accepted to change her plans and be open about her feelings
            in her own class. Much to her surprise, her peers were accepting Sam’s transi-
            tion. At age 16, Sam started gender-affirming hormones, already feeling a lot
            more at ease with herself.



Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 205 of 216
         146                                                               R. H. T. van Vlerken et al.

             TGD adolescents with ASD have undergone gender affirmative medical treatment
         [4]. It has been suggested that gonadotropin-releasing hormone (GNRH) analogues
         (puberty blockers) to suppress puberty development and gender-affirming cross-sex
         hormone (CSH) therapy in adolescents with GD are associated with alleviation of GD
         and improvement of mental health [40, 41]. Long-term follow-up studies in TGD
         adolescents with ASD on either the use of GNRH analogues and CSH are lacking, and
         it is, therefore, until now unsure what the outcomes of gender affirmative treatment
         are in individuals with ASD. Because of possible difficulties with future thinking,
         when it comes to medical treatment to relieve GD, prudence should be taken regard-
         ing irreversible effects of medical treatment and regarding having realistic expecta-
         tions for treatment. To be able to consent for treatment, benefits and risks of treatment
         should be discussed in a way taking the adolescents’ thinking style into account [37].
             The literature on gender-affirming surgery in adolescents is scarce and mainly
         comprises gender-affirming bilateral mastectomy [42]. Several studies have shown
         benefits of mastectomy in adolescents [42], yet no research has been done in adoles-
         cents with co-occurring ASD. Long-term follow-up studies are needed to see
         whether individuals with ASD will equally benefit from gender-affirming surgery as
         neurotypical individuals.


         Conclusion

         A growing body of literature suggests that neurodiversity and GD/TGD intersect
         more frequently than might be anticipated by chance. Underlying biological, psy-
         chological, and social hypotheses for this potential co-occurrence have been pro-
         posed, but empirical evidence for any of these hypotheses is lacking. It has also
         been suggested that due to minority stress in TGD individuals, they might show
         characteristics that resemble ASD but are a result of GD/TGD. Further research is
         needed to investigate if and why GD/TGD and ASD co-occur more frequently.
            The experience and expression of gender may be different depending on whether
         someone is neurodiverse or not. With regard to assessment and treatment, there is
         clinical consensus that GD and ASD can co-occur independently. Individuals with
         ASD who seek help for their feelings of GD might come with specific challenges
         during assessment and treatment. However, ASD should not be an exclusion crite-
         rion, and therefore, these individuals should have access to gender affirmative treat-
         ment. Future research is needed on the sometimes clinically challenging
         co-occurrence of GD/TGD and ASD, for example, on the development of specific
         assessment tools and on long-term follow-up of treatment.

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Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 206 of 216
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Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 207 of 216
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Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 208 of 216
                      EXHIBIT X




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 209 of 216
8/4/22, 12:45 PM                                          Board... - Brittania Morey - Linn-Mar School Board President | Facebook

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            Brittania Morey - Linn-Mar School Board President                                                       English (US) · Español ·
            April 28 ·                                                                                              Português (Brasil) · Français (France) ·
    Board Meeting Summary – April 25, 2022                                                                          Deutsch
    Monday evening’s board meeting was long, with nearly four hours of public comment. Before I get to              Privacy · Terms · Advertising · Ad Choices ·
    policy let me summarize the rest of the meeting.                                                                Cookies · More
    As president I swore in our interim board treasurer, Cortnee Hemesath, and secretary, Gayla Burgess             Meta © 2022
    due to the departure of CFO JT Anderson.
    The board recognized our 2022 LIONS and volunteer award recipients. The official awards ceremony is
    May 4 at 5 pm at the LRC.
    I read a proclamation announcing May 2-6 as Teacher Appreciation Week and Superintendent Bisgard
    read a proclamation announcing the month of May 2022 as School Board Appreciation Month. Both
    align with state and national recognitions.
    Board members shared thoughts on the recent visit to the Aquatic Center. The swimming curriculum is
    unique to Linn-Mar and equips our students with an important life skill. It’s also a lot of fun.
    Not much new news through the latest city council meeting – further approval of the construction to
    take place at Taube Park and the installation of a roundabout at Alburnett Road and Echo Hill Road.
    No legislative update other than to say session is still stalled as the two chambers work to find
    compromise.
    The board passed the resolution for the use of SAVE Revenue to be used on the upcoming tennis
    courts project. The board also passed final payments for projects, approved setting a public hearing for
    the 2022 amended certified budget and passed board value statements. Open enrollment requests and
    the consent agenda were also approved.
    Back to the bulk of our meeting – 76 community members signed up to speak, leading to nearly four
    hours of public comment. Nearly all comments pertained to policy 504.13 and 504.13-R, some in favor
    and some against.
    Following public comment, the board heard from the district legal counsel Ahlers & Cooney, who
    outlined the anti-discrimination laws which include gender identity at both the federal and state level,
    the guidance issued from the Office of Civil Rights at both the federal and state level on how to comply
    with the laws with regards to gender identity and the court rulings that have further determined how
    the laws are to be followed. It was also clarified that gender identity was added to the Iowa Civil Rights
    Code in 2007 and Title IX guidance at the federal level was first released in 2016. Iowa released similar
    guidance in 2017 and those procedures have been followed in public schools since that time.
    As stated in a previous post for the last board meeting – these policies do not change procedure, they
    simply put into policy for easy reference how these laws are followed within the district.
    The board passed the second reading of all the policies presented, including 504.13 and 504.13-R
    following the question and discussion segment of the meeting with our legal representation.
           66                                                                          80 Comments 3 Shares
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                                                                                                  See more of Brittania Morey - Linn-Mar School
                                                                                                                          Log In                     or
                   Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 210 of 216
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                      EXHIBIT Y




Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 211 of 216
                                               Democracy Dies in Darkness




Gender transitions at school
spur debate over when, or if,
parents are told
 By Donna St. George
July 18, 2022 at 6:00 a.m. EDT


Alexzander Baetsen came out at school to an English teacher. The revelation was made in a short letter on a piece of
lined notebook paper, handed to the teacher as the eighth-grader left class one day. The teen explained that while
they were assigned female at birth, they identified as transgender and gender fluid.

Baetsen remembers the teacher’s reaction: “Just come to me at the beginning of class and let me know what name
and pronouns you want to go by for that day.” It was better than Baetsen expected — not only acceptance but
someone who was able to “wrap their head around my situation.”

Still, it was six more months before the teenager told their parents. “You fear the worst,” said Baetsen, now 20.

Surprising many families nationally, public schools often don’t inform parents when students socially transition.
They see confidentiality as a priority — operating under gender-identity guidelines that put student privacy and
safety above family consent or knowledge.

School leaders say there are good reasons for the approach — mainly, to avoid outing kids who could be in harm’s
way at home or aren’t ready to tell their parents. They worry about family rejection and students’ mental health.
Transgender students are at a greater risk of suicide and substance use, according to the Centers for Disease Control
and Prevention. They are twice as likely to experience depressive symptoms. They, along with other LGBTQ youths,
constitute a larger share of the foster-care population and are at higher risk for homelessness.

At least 18 states, along with D.C. and Puerto Rico, have issued school guidance in some form focused on inclusion
and treatment of transgender and gender nonconforming students, said Melanie Willingham-Jaggers, executive
director of GLSEN, which advocates for LGBTQ issues in schools. “Not all state guidance is as strong as it should
be,” she said.




          Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 212 of 216
But where stronger rules are in place, school leaders have come under increasing fire for their perceived secrecy.
Critics argue they have no business cutting families out of a critical part of children’s lives. The practice has
prompted lawsuits in Massachusetts, Florida, Wisconsin, Kansas, Virginia and Maryland. Many of the legal actions
point to an especially controversial practice: requesting teachers use new trans names in class but revert to the
original “dead” names when talking with parents.

“These policies mandate automatic affirmation for children of any age, without confirming that parents are aware,”
Tyson Langhofer, senior counsel at the Alliance Defending Freedom (ADF), a conservative Christian legal nonprofit
that has filed suit in a string of cases. In many places, schools won’t tell parents unless students say it’s okay, he
pointed out. “These policies are starting with the assumption that the parents are the problem,” he said.

Yet schools see what happens as more of a process — supporting students while they ready themselves to come out
to their families, said Asaf Orr, senior staff attorney at the National Center for Lesbian Rights and director of its
Transgender Youth Project. Research shows the single-largest factor in the well-being and health of transgender
students is the level of support or rejection from their families, he said.

“This is the high-wire act of gender-inclusive practices,” Orr said.




‘I was the last to find out’
Experts say the number of gender-questioning youths is on the rise, partly because there is far less social stigma.
Nearly 16 percent of people slightly older than today’s teenagers — those in Gen Z — identify more broadly as LGBT,
according to a Gallup poll, a striking increase from the generations before it.

In schools, gender identity is often expressed through a change of names and pronouns. Some parents already know
about their child’s transition by then. But others don’t, and may not be told in the short term if a student feels they
would not be supportive.

The approach angers many parents.

Parents across many political beliefs argue that they can’t be supportive if no one tells them that their child came
out. They also point out that withholding the information seems wrong, when schools routinely send notes home to
parents about lesser matters — playground tussles, missing homework, social events.

A California mother who lives in a suburb outside the Bay Area went two years without knowing her sixth grader had
transitioned at school. “Basically, I was the last one to find out,” said the woman, who spoke on the condition of
anonymity to protect her child’s privacy. “They were all saving my kid from me.” The mother only made the
discovery, she said, when she took her child to the hospital one day and a doctor told her. She was stunned.

Erica Anderson, a clinical psychologist who is a transgender woman and former president of the U.S. Professional
Association for Transgender Health, said leaving parents in the dark is not the answer. “If there are issues between
parents and children, they need to be addressed,” she said. “It’s not like kicking a can down the road. It only
postpones, in my opinion, and aggravates any conflict that may exist.”




          Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 213 of 216
In Maryland, a sixth-grade student told his parents a couple of months after starting to transition at school. His
father said one of his reactions was: “Oh my God, how did I not know this was happening with my own child?” But
he also thought of his growing up. If he were a trans teen, he said, “I can’t imagine I would have wanted to come out
to my parents first.” One thing the father never expected was the school to tell him: “Your kid is the only one who
should do that,” he said.

Ideally, Joel Baum of the nonprofit Gender Spectrum said, families of gender questioning students would be able to
say: “Even if we don’t quite understand, we see you. We get you. Let’s talk about it.”

Students including Alex Prince, 16, of Virginia Beach, who identifies as nonbinary, said those who are coming out
best understand what they could be up against at home. “I have many friends who have parents that would kick
them out if they found out they were queer, or beat them so badly they could wind up dead,” he said. “That’s not an
exaggeration — that’s the environment that LGBTQ+ teens exist in.”

Nationally, LGBTQ students have been under attack, with a cascade of anti-transgender legislation under
consideration around the country — more than 300 bills this year — as conservatives push to exclude transgender
athletes from school sports, limit lessons that teachers can give about gender identity, remove LGBTQ-affirming
books from school libraries and criminalize efforts to provide hormone therapy and puberty blockers to minors.
Political campaigns and cable TV have driven up the tension, with Republican candidates attacking transgender
rights and Fox host Laura Ingraham referring to public schools as virtual “grooming centers for gender-identity
radicals.”

The Biden administration has pushed back, proposing changes in Title IX that are expected to increase protections
for transgender students. On Friday, a federal judge temporarily blocked enforcement of earlier guidance issued by
the administration to protect LGBTQ people in schools.

In central Florida, Jaime Jara’s youngest is a trans girl. She kept her birth name, and teachers at her elementary
school welcomed her. By first grade, everyone used her chosen pronouns: she/her. Now 10 years old, she has close
friends and feels like she belongs. She loves dancing and TikTok.

“She’s a regular 10-year-old kid,” Jara said.

Jara knows that her daughter is fortunate to find a world so accepting — and certainly better-off than some of Jara’s
students. About 2 percent of high school students identify as transgender, according to the CDC.

A history teacher, Jara has brightened her high school classroom with rainbow-colored accents and a “safe space”
sign on the door, and she hears sometimes from transgender students who struggle at home, she said. “If your own
parent is not accepting, how heartbreaking is that?” she said.

The political climate has reinforced feelings of rejection, she said.

Since 2006, more than 25 states have adopted laws or regulations that affirmed LGBTQ rights — on bullying, school
facilities, suicide prevention, health programs, sex education — according to the research organization Child Trends,
but 2021 marked a turning point. “I really think that the tide turned from a more affirming and supportive type of
policy environment to one that is more exclusionary,” said Deborah Temkin, who led the research.

In Florida, the “Parental Rights in Education” bill, which critics call the “Don’t Say Gay” law, has fired up supporters
and critics. The measure, which took effect July 1, restricts instruction on LGBTQ issues at schools and does not
allow school employees to keep from parents any issues that affect their child’s mental, emotional or physical health.

             Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 214 of 216
As Gov. Ron DeSantis (R) signed the bill, he pointed to a case in Leon County, where January Littlejohn and her
husband are suing the public school system for what they alleged was concealing information about their 13-year-
old’s gender-identity transition, violating their rights as parents and harming their relationship with the teen. A
spokesman for the school system did not return calls, but the superintendent has said that the situation was
misrepresented and that the district was following instructions from Littlejohn.

More recently, the school board in Leon County voted in late June to turn a spotlight on transgender students —
mandating that all families be informed when “a student who is open about their gender identity” is part of a PE
class or on an overnight trip, in case other parents want to remove their children.

In Virginia’s Shenandoah Valley, public schools in the college town of Harrisonburg are among the most recent legal
battle ground. School officials there keep student gender transitions confidential and say that students’ gender
identities should be affirmed, according to a staff presentation last October. “The ultimate goal is to help a student
safely come out to their parents with support from trusted adults,” the presentation said.

But a lawsuit brought in June by six parents and teachers — all said to be practicing Christians who believe “each of
us is born with a fixed biological sex that is a gift from God” — argues that the district’s practices usurp parents’
rights, violate free speech protections and force school employees to go against their religious faith. “Public schools
should never hide information from or lie to parents about a child’s mental health,” the complaint, filed by ADF,
begins. “And schools should never compel teachers to perpetrate such a deception.”

In a publicly posted exchange of letters between ADF and the school system, Superintendent Michael Richards said
he had not received complaints in line with what lawyers presented and was not inclined to support rescinding a
practice “that offers support and resources to some of our most vulnerable students and their families.” The district
uses “a team approach” to address student and family needs case by case, he said.

Earlier, 14 parents working with the conservative Wisconsin Institute for Law and Liberty and ADF, sued schools in
Madison, Wis., over guidelines that allow students to adopt gender-affirming names and pronouns without telling
parents.




For schools, approaches vary
To support those transitioning socially at school, some school systems create a “gender support plan” that outlines
how a student’s situation will be handled — with details about restrooms, extracurricular activities, trusted adults
and privacy.

But school systems take different approaches, and some practices evolve.

In Colorado’s Jeffco School District, outside of Denver, officials honor names and pronouns that align with students’
gender identities. But the 69,000-student system brings parents into the conversation as a way to support students,
said spokeswoman Kimberly Eloe, pointing out there is no real privacy in place if people are using new names and
pronouns in school.

In Maryland’s largest school system, parent involvement is ideal but not required. “Under the guidelines, we do
support the student,” said Gregory Edmundson, director of student welfare and compliance in Montgomery County,
with 159,000 students.


           Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 215 of 216
“If they are not out to their families, then we honor and respect that,” he said. “It’s not about trying to keep secrets.
It’s about us trying to keep kids safe.”

In the last three years, 350 to 400 Montgomery County students have completed gender identity support plans to
change names and pronouns to match their gender identity, Edmundson said. One question asks the student to rate
their parents’ support level, from a low of 1 to a high of 10.

Montgomery County is being sued, too. Lawyer Frederick W. Claybrook Jr., who is listed on the complaint with the
Christian conservative National Legal Foundation and an attorney based in the county, took the school system to
court in 2020 on behalf of three parents.

“Parents should be in the loop on this kind of decision,” Claybrook said. “The fact that they aren’t doesn’t even allow
them to help their children get professional care, which might well be very supportive of their transitional choice.
But this is a difficult decision that can have some very life-changing effects — and parents are principally in charge of
helping their children through those types of situations.”

Mark Eckstein, an LGBTQ advocate and father of two in the Maryland school system, said he understands that
parents would not want to be excluded. And since parent notification rests on how supportive parents are, he asks:
How does that get measured? Still, he maintains that the safety of the child outweighs the need of the parent to
know. But the goal, he said, is to include everyone.

“This is not us against them,” he said. “We have to all come together to support these issues because they’re not easy,
they’re complicated.”

For a mother of three living outside Seattle — historically liberal in her politics — the complications began when her
child was in fifth grade. One day she opened an email from a teacher and did not recognize the student’s name. At
first she thought the teacher had sent it to the wrong parent.

She soon realized it was her daughter. The fifth-grader had taken on a new name and male pronouns in school. “I
feel like they lied to us by omission,” the mother said, speaking on the condition of anonymity to protect her child’s
privacy.

The experience led to a couple years of home-schooling, which coincided with the pandemic. She says her daughter
now identifies again as a girl. The mother said she was not bothered by the child thinking through issues of sex and
gender. “A lot of us tried on different identities when we were young,” she said. But being transgender could
eventually lead to medical treatment, she said, and “once a kid says this, there is the automatic assumption that it
has to be true.” Even more, “they are protecting children from parents without ever giving us a chance to be
supportive.”

“They call us if they’re going to give our kids a Tylenol or if they have a scratch, but not with this?” she said.

Baetsen, who came out to their Maryland teacher while in eighth grade, said it is important that schools make sure
not to out students. Baetsen finally told their parents in ninth grade, finding their parents were “very, very
supportive,” asking questions but understanding. “You don’t know how people are going to react,” Baetsen said.




           Case 1:22-cv-00078-CJW-MAR Document 3-11 Filed 08/05/22 Page 216 of 216
